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 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 LEO D. PLOTKIN (SBN 101893)
 LEVY, SMALL & LALLAS
 A Partnership Including Professional Corporations
 815 Moraga Drive
 Los Angeles, California 90049-1633
 Telephone: (310)471-3000
 Facsimile: (310)471-7990
 lplotkin@lsl-la.com




 D     Individual appearing without attorney
 IZl   Attorney for: PNC Bank, National Association

                                         UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION

 In re:                                                                        CASE NO.: 8:16-bk-10738-SC
 PCA Aerostructures Company                                                    CHAPTER: 7

                                                                                    NOTICE OF MOTION AND MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                            UNDER 11 U.S.C. § 362
                                                                                        (with supporting declarations)
                                                                                          (PERSONAL PROPERTY)

                                                                               DATE:
                                                                               TIME:
                                                                Debtor(s).     COURTROOM: 5C
 Movant: PNC Bank, National Association



1.     Hearing Location:

       D    255 East Temple Street, Los Angeles, CA 90012                             1Z] 411 West Fourth Street, Santa Ana, CA 92701
       D    21041 Burbank Boulevard, Woodland Hills, CA 91367                         D    1415 State Street, Santa Barbara, CA 93101
       D    3420 Twelfth Street, Riverside, CA 92501

2.     Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
       parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
       granting relief from the automatic stay, as to Debtor and Debtor's bankruptcy estate on the grounds set forth in the
       attached motion.

3.     To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
       preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
       the format required by LBR 9004-1 and the Court Manual.



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4.   When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
     was filed by an unrepresented individual) at the address set forth above.

5.   If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
     such failure as consent to granting of the motion.

6.   0      This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1 (d). If you wish to oppose this motion,
            you must file a written response to this motion with the court and serve a copy of it upon the Movant's attorney (or
            upon Movant, if the motion was filed by an unrepresented individual) at the address set forth above no less than
            14 days before the hearing and appear at the hearing of this motion.

7.   IX!    This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
            motion, you must file and serve a response no later than (date)     and (time)               ; and, you
            may appear at the hearing.

     a.     0   An application for order setting hearing on shortened notice was not required (according to the calendaring
                procedures of the assigned judge).

     b.     0   An application for order setting hearing on shortened notice was filed and was granted by the court and such
                motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.     ~ An application for order setting hearing on shortened notice and remains pending. After the court has ruled
                on that application, you will be served with another notice or an order that will specify the date, time and place
                of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
                motion.


Date:      03/04/2016                                                               Levy, Small & Lallas
                                                                                    Printed name of law firm (if applicable)

                                                                                     Leo D. Plotkin
                                                                                    Printed name of individual Movant or attorney for Movant




                                                                                    Signature of individual Movant or attorney for Movant




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          MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO PERSONAL PROPERTY


1.   Movant has a perfected security interest in the Property.

2.   The Property at Issue (Property):

     a.   D      Vehicle (year, manufacturer, type, and moden:

                 Vehicle Identification Number.
                 Location of vehicle (if known):


     b.   D      Equipment (manufacturer, type, and characteristics):

                 Serial number(s):

                 Location (if known):


     c.   IZI    Other Personal Property (type, identifying information, and location):
                 All work in process (WIP) located at Debtor's former Gardena facility and with outside processors relating to
                 purchase orders for Fuji Heavy Industries Ltd. which purchase orders total $107,428

3.   Bankruptcy Case History:

     a.   ~ A voluntary bankruptcy petition D An involuntary bankruptcy petition
            under chapter ~ 7 D 11 D 12 D 13 was filed on (date) 02/25/2016

     b.   D      An order to convert this case to chapter           D   7   D     11   D   12   D   13 was entered on (date) _ _ _ __

     c.   D      Plan was confirmed on (date) _ _ _ __


4.   Grounds for Relief from Stay:

     a.    ~ Pursuant to 11 U.S.C. § 362(d)(1 ), cause exists to grant Movant the requested relief from stay as follows:

           (1) [gl Movant's interest in the Property is not adequately protected.

                 (A) ~ Movant's interest in the Property is not protected by an adequate equity cushion.

                 (B) ~ The fair market value of the Property is declining and payments are not being made to Movant
                       sufficient to protect Movant's interest against that decline.

                 (C)   D   Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor's
                           obligation to insure the collateral under the terms of Movant's contract with Debtor.

                 (D)   D   Other (see attached continuation page).

           (2)   D     The bankruptcy case was filed in bad faith.

                 (A)   D   Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor's case
                           commencement documents.




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                 (B)   D   The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.

                 (C)   D   A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                           filing this bankruptcy case.

                 (D)   D   Other bankruptcy cases were filed in which an interest in the Property was asserted.

                 (E)   D   The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                           and statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.

           (3)   D     (Chapter 12or13 cases only) All payments on account of the Property are being made through the plan
                       and plan payments have not been made to the chapter 12 or chapter 13 trustee for payments due
                       D postpetition preconfirmation D postpetition postconfirmation.
           (4)   D     The lease has matured, been rejected or deemed rejected by operation of law.

           (5)   D     The Debtor filed a statement of intention that indicates the Debtor intends to surrender the Property.

           (6)   D     Movant regained possession of the Property on (date) _ _ _ _ _ , which is
                       D prepetition D postpetition.

           (7)   D     For other cause for relief from stay, see attached continuation page.

     b.    ~ Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to 11 U.S.C.
             § 362(d)(2)(B), the Property is not necessary for an effective reorganization.

5.   Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.    D     These actions were taken before Movant knew that the bankruptcy petition had been filed and Movant would
                 have been entitled to relief from stay to proceed with those actions,

     b.    D     Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                 with these enforcement actions,

     c.    D     Other (specify):


6.   ~ Evidence in Support of Motion: (Declaration(s) must be signed under penalty of perjury and attached to
           this motion)

     a.    The PERSONAL PROPERTY DECLARATION on page 6 of this motion.

     b.    ~ Supplemental declaration(s).

     c.    D     The statements made by the Debtor under penalty of perjury concerning Movant's claims and the Property as
                 set forth in the Debtor's case commencement documents. Authenticated copies of the relevant portions of
                 the case commencement documents are attached as Exhibit(s) _ _ _ __

     d.    D     Other:



7.   An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1.    Relief from the stay is granted under:           ~ 11 U.S.C. § 362(d)(1)           ~ 11 U.S.C. § 362(d)(2)

2.    ~ Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
        remedies to repossess and sell the Property.

3.    D    Confirmation that there is no stay in effect.

4.    D    The stay is annulled retroactive to the petition date. Any postpetition actions taken by Movant to enforce its
           remedies regarding the Property do not constitute a violation of the stay.

5.    D    The co-debtor stay of 11 U.S.C. § 1201 (a) or§ 1301 (a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

6.    ~ The 14-day stay prescribed by FRBP 4001 (a)(3) is waived.

7.    D    The order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years after
           the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
           based upon changed circumstances or for good cause shown, after notice and hearing.

8.    D    The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
           days, so that no further automatic stay shall arise in that case as to the Property.

9.    D    The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
           interest in the Property for a period of 180 days, so that no further stay shall arise in that case as to the Property.

10.   D    The order is binding and effective in any future bankruptcy case, no matter who the debtor may be
           D without further notice, or D upon recording of a copy of this order or giving appropriate notice of its entry in
           compliance with applicable nonbankruptcy law.

11.   D    If relief from stay is not granted, the court orders adequate protection.

12. ~ See continuation page for other relief requested



Date:     03/04/2016                                                    Levy, Small & Lallas
                                                                        Print name of law firm

                                                                        Leo D. Plotkin
                                                                        Print name of individual Movant or attorney for Movant




                                                                        Signature of individual Movant or attorney for Movant




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Continuation Page (as referenced on Page 5 of the Motion for Relief From Automatic Stay,
Item No.12)


Movant is prepared to have the proceeds of the sale of the Property paid to the Trustee, subject to
liens of Movant and other lien claimants, if any.
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                                                 PERSONAL PROPERTY DECLARATION


I, (name of declarant) .:....F"""'re:;..:d"""e;.;..ri=c.;...;.k-=-K.:.;..ie=h..:..:.n"'""'e'-------------' declare:

1.   I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
     competently testify thereto. I am over 18 years of age. I have knowledge regarding Movant's interest in the Property
     (specify):

     a.    D     I am the Movant.

     b.    ~ I am employed by Movant as (title and capacity): Senior Vice President of PNC Bank (PNC Business Credit)



     c.    D     Other (specify):




2.   a.    ~ I am one of the custodians of the books, records and files of Movant that pertain to loans, leases, or
                 extensions of credit given to Debtor concerning the Property. I have personally worked on books, records
                 and files, and as to the following facts, I know them to be true of my own knowledge or I have gained
                 knowledge of them from the business records of Movant on behalf of Movant, which were made at or about
                 the time of the events recorded, and which are maintained in the ordinary course of Movant's business at or
                 near the time of the acts, conditions or events to which they relate. Any such document was prepared in the
                 ordinary course of business of Movant by a person who had personal knowledge of the event being recorded
                 and had or has a business duty to record accurately such event. The business records are available for
                 inspection and copies can be submitted to the court if required.

     b.    D     Other (see attached):



 3. The Property is:

     a.    D     Vehicle (year, manufacturer, type, model and year):

                 Vehicle Identification Number.
                 Location of vehicle (if known):


     b.    D     Equipment (manufacturer, type, and characteristics):

                 Serial number(s):
                 Location (if known):


     c.    ~ Other personal property (type, identifying information, and location):
                  All work in process (WIP) located at Debtor's former Gardena facility and with outside processors relating to
                  purchase orders for Fuji Heavy Industries Ltd. which purchase orders total $107,428




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4.   The nature of Debtor's interest in the Property is:

     a.    IZl   Sole owner
     b.    D     Co-owner (specify):
     c.    D     Lessee
     d.    D     Other (specify):
     e.    D     Debtor     D did D did not         list the Property in the schedules filed in this case.

5.   D     The lease matured or was rejected on (date)

     a.    D     rejected
           (1)   D   by operation of law.
           (2)   D   by order of the court.
     b.    D     matured.

6.   Movant has a perfected security interest in the Property.

     a.    ~ A true and correct copy of the promissory note or other document that evidences the debt owed by the Debtor
             to Movant is attached as Exhibit 1       .

     b.    D     The Property is a motor vehicle, boat, or other personal property for which a certificate of title is provided for
                 by state law. True and correct copies of the following items are attached to this motion:
           (1)   D   Certificate of title ("pink slip") (Exhibit                           ).
           (2)   D   Vehicle or other lease agreement (Exhibit                                  ).
           (3)   D   Security agreement (Exhibit                      ).
           (4)   D   Other evidence of a security interest (Exhibit                                  ).


     c.    IZI   The Property is equipment, intangibles, or other personal property for which a certificate of title is not provided
                 for by state law. True and correct copies of the following items are attached to this motion:
           (1) ~ Security agreement (Exhibit 2                        ).
           (2) ~ UCC-1 financing statement (Exhibit 3                                 ).
           (3) ~ UCC financing statement search results (Exhibit 4                                        ).
           (4)   D   Recorded or filed leases (Exhibit                           ).
           (5)   D   Other evidence of perfection of a security interest (Exhibit                              ).

     d.    D     The Property is consumer goods. True and correct copies of the following items are attached to this motion:
           (1)   D   Credit application (Exhibit                 ).
           (2)   D   Purchase agreement (Exhibit                           ).
           (3)   D   Account statement showing payments made and balance due (Exhibit                                    ).
           (4)   D   Other evidence of perfection of a security interest (if necessary under state law) (Exhibit                                 ).

     e.    IZI   Other liens against the Property are attached as Exhibit _4_ __




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7.    Status of Movant's debt:

      a.    The amount of the monthly payment: $ - - - - - - - - - -

      b.    Number of payments that became due and were not tendered:                                        D   prepetition        D    postpetition.

      c.    Total amount in arrears: $ - - - - - - - - - -

      d.    Last payment received on (date): _ _ _ __

      e.    Future payments due by the anticipated hearing date (if applicable): _ _ _ __
            An additional payment of$                              will come due on (date)                , and on
            the                day of each month thereafter. If the payment is not received by the _ _ _ __
            day of the month, a late charge of$                        will be charged under the terms of the loan.

8.    D     Attached as Exhibit          is a true and correct copy of a POSTPETITION payment history that accurately
            reflects the dates and amounts of all payments made by the Debtor since the petition date.

9.    Amount of Movant's debt:

      a.    Principal: ...................................................................................................................... $ 5 944 975.93
      b.    Accrued interest: ......................................................................................................... $ -'4=5..i..:8:;...;:6=2""'.0:;...;:6'-------
      c.    Costs (attorney's fees, late charges, other costs): ...................................................... $ ....,2..,,0""'0....,,0,_,.0"'0""'.0'""0'------
      d.    Advances (property taxes, insurance): ....................................................................... $ _ _ _ _ _ _ _ _ __
      e.    TOTAL CLAIM as of 02/24/2016 : ............................................................................ $ 6 190 837.99


10.   181   (Chapter 7 and 11 cases only) Valuation: The fair market value of the Property is: $ _4..;..;3;;..L..;;;...00"'"'0'-'-."'"'00.;;___ _ _ __
            This valuation is based upon the following supporting evidence:

      a.    D     This is the value stated for property of this year, make, model, and general features in the reference guide
                  most commonly used source for valuation data used by Movant in the ordinary course of its business for
                  determining the value of this type of property. True and correct copies of the relevant excerpts of the most
                  recent edition of the reference guide are attached as Exhibit _ __

      b.    D     This is the value determined by an appraisal or other expert evaluation. True and correct copies of the
                  expert's report and/or declaration are attached as Exhibit _ __

      c.    D     The Debtor's admissions in the Debtor's schedules filed in the case. True and correct copies of the relevant
                  portions of the Debtor's schedules are attached as Exhibit _ __

      d.    IZI   Other basis for valuation (specify):
                  The gross amount of the purchase orders is $107,428, as established in the Declaration of Satoshi
                  Kawazoe, and WIP is approximately 40% completed, as represented by FHI and agreed by Movant
                  based upon available information.


            NOTE:        If valuation is contested, supplemental declarations providing additional foundation for the
                         opinions of value should be submitted.

11. Calculation of equity in Property:

      a.    IZI   11 U.S.C. § 362(d)(1) - Equity Cushion:

                  I calculate that the value of the "equity cushion" in the Property exceeding Movant's debt and any lien(s)
                  senior to Movant's debt is$ 0.00                           and is         % of the fair market value of the
                  Property.


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      b.    IZI   11 U.5.C. § 362(d)(2)(A) - Equity:

                  By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
                  Paragraph 10 above, I calculate that the Debtor's equity in the Property is$ _O_.o_o_ _ _ _ _ _ __

12.   IZI   The fair market value of the Property is declining because:
            If the property is not sold to Fuji Heavy Industries Ltd. with the transaction completed on or before March 8,
            2016, PNC is advised that the purchaser will no longer purchase the WIP. As scrap metal, the alternative, the
            WIP is worth no more than 5 cents on the$$ or, at most, $7,000
13.   D     The Debtor's intent is to surrender the Property. A true and correct copy of the Debtor's statement of intentions is
            attached as Exhibit _ __

14.   D     Movant regained possession of the Property on (date) _ _ _ _ _ , which is:                              D   prepetition    D   postpetition.

15.   D     (Chapter 12or13 cases only) Status of Movant's debt and other bankruptcy case information:

      a.    The 341(a) meeting of creditors is currently scheduled for (or concluded on) (date) _ _ _ __
            A plan confirmation hearing is currently scheduled for (or concluded on) (date) _ _ _ __
            The plan was confirmed on (if applicable) (date) _ _ _ __
      b.    Postpetition oreconfirmation payments due BUT REMAINING UNPAID after the filing of the case:
              Number of        Number of           Amount of Each Payment
                                                                                                   Total
              Payments        Late Chan:ies            or Late CharQe
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
            (See attachment for additional breakdown of information attached as Exhibit                                 .)

      c.    Postconfirmation payments due BUT REMAINING UNPAID after the plan confirmation date (if applicable):
              Number of        Number of           Amount of Each Payment
                                                                                                   Total
              Payments        Late CharQes             or Late CharQe
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
                                                   $                                   $
      d.    Postpetition advances or other charges due but unpaid:                                             $
            (For details of type and amount, see Exhibit _ _)
      e.    Attorneys' fees and costs:                                                                         $
            (For details of type and amount, see Exhibit _ _ )
      f.     Less suspense account or partial paid balance:                                                    $[
                                 TOTAL POSTPETITION DELINQUENCY:                                               $




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      g.    D   The entire claim is provided for in the chapter 12or13 plan and postpetition plan payments are delinquent.
                The plan payment history is attached as Exhibit _ _ . See attached declaration(s) of chapter 12 trustee or
                13 trustee regarding receipt of payments under the plan (attach LBR form F 4001-1.DEC.AGENT. TRUSTEE).

16.   D     Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor's obligation to
            insure the collateral under the terms of Movant's contract with Debtor.

17.   D     The bankruptcy case was filed in bad faith:

      a.    D   Movant is the only creditor or one of few creditors listed in the Debtor's case commencement documents.

      b.    D   Other bankruptcy cases have been filed in which an interest in the Property was asserted.

      c.    D   The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
                (or chapter 13 plan, if appropriate) have not been filed.

      d.    D   Other (specify):




18.   D     The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
      a.    D   The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                court approval. See attached continuation page for facts establishing the scheme.
      b.    D   Multiple bankruptcy cases affecting the Property:
            (1) Casename: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                Chapter:__                    Case number: _ _ _ _ _ _ _ __
                Date filed:                       Date discharged:                                            Date dismissed:
                                                                                                                                  -----
                Relief from stay regarding the Property D was D was not granted.

            (2) Casename: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                Chapter:__                    Case number:---------
                Date filed:                          Date discharged:                                        Date dismissed: _ _ _ __
                Relief from stay regarding the Property            D   was     D was not      granted.

            (3) Casename:---------------------------------~
                Chapter:__  Case number:---------
                Date filed:        Date discharged: Date dismissed:
                                                                                                                                  -----
                Relief from stay regarding the Property            D   was     D was not      granted.

            D   See attached continuation page for more information about other bankruptcy cases affecting the Property.
            D   See attached continuation page for additional facts establishing that the multiple bankruptcy cases were part
                of a scheme to delay, hinder, and defraud creditors.

19.   D     Enforcement actions taken after the bankruptcy petition was filed are specified in the attached supplemental
            declaration( s).

      a.    D   These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from stay to proceed with these actions.




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    b.   D     Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _ _.

    c.   D     For other facts justifying annulment, see attached continuation page.



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 03/04/2016           Frederick Kiehne
 Date                          Printed Name                                                      Signature




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
815 Moraga Drive, Los Angeles, CA 90049-1633


A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11U.S.C.§362 (with supporting declarations) (PERSONAL PROPERTY) will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 03/04/2016 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 Mark S Horoupian (Counsel for Debtor) mhoroupian@sulmeyerlaw.com
 Jeffrey I Golden (Chapter 7 Trustee) jgolden@lwgfllp.com
 U.S. Trustee ustpregion16.sa.ecf@usdoj.gov
 Denice Gaucin denice@evict123.com
                                                                                        D    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 03/04/2016 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
PCA Aerostructures Company, Debtor
17800 Gothard Street
Huntington Beach, CA 92647


                                                                                    ~Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 03/04/2016 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA FEDERAL EXPRESS
Hon. Scott C. Clarkson
411 West Fourth Street, Suite 5130/Courtroom SC
Santa Ana, CA 92701-4593

                                                                                        D    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  03/04/2016
                      ~~~-P-ri-n-te_d_N_a_m_e~~~~~~~~~--~
                      Heidi Petrilli                                               ~            /. /             .   ~-----                      1

 Date


            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Continued from Item No. 2 of Proof of Service
(Service by U.S. Mail)


GemCap
Attn: David Ellis
24955 Pacific Coast Highway I Suite A202 I Malibu, California 90265
Direct: 310.593.9074
Mobile: 310.494.1437
Direct Fax: 310.919.3143
dellis@gemcapsolutions.com

Vintage Capital Group, LLC
Attn: Tom Webster
11611 San Vicente Blvd.
10th Floor
Los Angeles, CA 90049
Office:    310-806-6595
Cell:    760-908-7 441
email: twebster@vintagecapitalgroup.com

Metal Improvement Co., Inc.,
Attn: Ken Smolko,
2588-A Industry Way
Lynwood, CA 90262.
Phone 323-563-1527
Fax 323-563-21 05.
Ken. smolko@cwst.com
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            SECOND AMENDED AND RESTATED REVOLVING CREDIT NOTE

 $15,000,000.00                                                      Date: November26, 2012


       Reference is made to that certain Amended and Restated Revolving Credit Note, dated April
20, 2011, executed by the undersigned maker in favor of the payee hereunder, in the original
principal amount of Ten Million Dollars ($10,000,000.00) (the "First Restated Revolving Note").
The First Restated Revolving Note is hereby amended and restated in its entirety as set forth herein.

        This Second Amended and Restated Revolving Credit Note is executed and delivered under
and pursuant to the te1ms of that certain Revolving Credit, Term Loan and Security Agreement
dated as of November 2, 2005 between PNC BANK, NATIONAL ASSOCIATION ("PNC"), the
various financial institutions named therein or which hereafter become a party thereto (together with
PNC, collectively, "Lenders") and PNC as agent for Lenders (in such capacity, "Agent"), on the one
side, and PCA Aerospace, Inc. and PCA Aerostructures Company, on the other side (and with such
Revolving Credit, Tenn Loan and Security Agreement as amended, restated, supplemented or
otherwise modified from time to time, including without limitation, as amended by that certain
Amendment to Loan and Security Agreement dated as of the date hereof being referred to herein as
the "Loan Agreement"). Unless otherwise defined herein, capitalized terms defind in the Loan
Agreement are used herein as therein defined.

        FOR VALUE RECEIVED, Borrower hereby promises to pay to the order of PNC, at the
office of Agent located at PNC Bank Center, Two Tower Center, 8th Floor, East Brunswick, New
Jersey 08816 or at such other place as Agent may from time to time designate to Borrower in
writing:

        (i)    the   principal sum of Fifteen Million Dollars ($15,000,000.00) or, if different from
such amount, the     unpaid principal balance of PNC's Commitment Percentage of the Revolving
Advances as may      be due and owing under the Loan Agreement, payable in accordance with the
provisions of the    Loan Agreement, subject to acceleration upon the occurrence of an Event of
Default under the    Loan Agreement or earlier tem1ination of the Loan Agreement pursuant to the
te1ms thereof; and

        (ii)    interest on the principal amount of this Note from time to time outstanding until such
principal amount is paid in full at the applicable Revolving Interest Rate in accordance with the
provisions of the Loan Agreement. In no event, however, shall interest exceed the maximum
interest rate pennitted by law. Upon and after the occurrence of an Event of Default, and during the
continuation thereof, interest shall be payable at the Default Rate.

         This Note is the Revolving Credit Note referred to in the Loan Agreement and is secured,
inter alia, by the liens granted pursuant to the Loan Agreement and the Other Documents, is entitled
to the benefits of the Loan Agreement and the Other Documents and is subject to all of the
agreements, tenns and conditions therein contained.

         This Note is subject to mandatory prepayment and may be voluntarily prepaid, in whole or
in part, on the tenns and conditions set forth in the Loan Agreement.



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        If an Event of Default under Section 10. 7 or 10.8 of the Loan Agreement shall occur, then
this Note shall immediately become due and payable, without notice, together with reasonable
attorneys' fees if the collection hereof is placed in the hands of an attorney to obtain or enforce
payment hereof. If any other Event of Default shall occur under the Loan Agreement or any of the
Loan Documents, which is not cured within any applicable grace period, then this Note may, as
provided in the Loan Agreement, be declared to be immediately due and payable, without notice,
together with reasonable attorneys' fees, if the collection hereof is placed in the hands of an attorney
to obtain or enforce payment hereof.

        This Note shall be construed and enforced in accordance with the laws of the State of New
York.

       Bo1TOwer expressly waives any presentment, demand, protest, notice of protest, or notice of
any kind except as expressly provided in the Loan Agreement.


        PCA Aerospace, Inc.,                                  PCA Aerostructures Company,
        a California corporation                              a Delaware corporation




                                                               L
                                                                     ~~~
                                                                                 VIVI GOENAWAN          ·p,
                                                               ~             Commission # 1894893        t
                                                               ;?            Notary Public - California  ji
                                                l                   '<~.i.~·      Orange County         ~
                                                ~~~-
                                   /GLafe   ~ °'~ ~ A)~ ~11~1-.




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 STATE OF CALIFORNIA                                  )
                                                     ) SS.
COUNTY OF tOS ANGEt-ES                               )
                       Oj2..ANt;"€

         On                N<::ll./.   2- "'T                  2012, me,   before
                                                                               the       undersigned,
_ _ _ _ _ _ _ _ _ _V_1_·.;_(_          Gioe.l'\ClWQ.V'I             , a Notary Public in and for said
State, personally appeared      Et~<3~- TuoM.::\.S ~fp.:x l"b                  , personally known to
me (or proved to me on the basis of satisfactory evidence) to be the person~) whose name€s') is/ru:e
subscribed to the within instrument and acknowledged to me that he/sh~ executed the same in
his/~ir authorized capacity(ic:s ), and that by his/h~r signature(~) on the instrument the
person~), or the entity upon behalf of which the person€s) acted, executed the instrument.


         Witness my hand and official seal.
                                   VIVI GOENAWAN
         ~                      Commission # 1894893
         ~ •               ,   Notary Public • California 2     Signature_ _ _ _ _ _ _- + - - + - - - - - - -
         1     «,..   ••            Orange County         ~
         ,.._,_..,           My Comm. Expires Jul 9, 2014 f'
               , ,.- •e••••••••••• .. -.lt'
(Seal)




STATE OF CALIFORNIA                                  )
                                                     ) SS.
COUNTY OF LOS ANGELES                                )


        On                                   2012,       before       me,       the     undersigned,
- - - - - - - - - - - - - - - - - - - - ' a Notary Public in and for said State,
personally appeared                                                     , personally known to me (or
proved to me on the basis of satisfactory evidence) to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

         Witness my hand and official seal.


                                                                Signature_ _ _ _ _ _ _ _ _ _ _ _ _ __

(Seal)




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                         REVOLVING CREDIT, TERM LOAN

                                        AND

                            .. ~ESYEJJYAGREEM.~NT
                                                 •   •   I'.   ·.~.~·:·::·.i?.\:~{·\<:. ·.-r:·.;·~·.·::.~:;:·.:::·•,· :.·::"\:~~-':'·'.·,· :::·,·: ··'."~·. ::::r:::·>"):   ••
                                                                                     . .                              . . /:>:·::·<··',:.:·



                        PNC BANK, NATIONAL ASSOCIATION
                                                                                                                                                                                        '"




                                      WITH


                             PCA AEROSPACE, INC.

                                       AND
                        PCA AEROSTRUCTURES COMPANY

                                 (BORROWERS)



                                November 2, 2005




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                               REVOLVING CREDIT, TERM LOAN
                                          AND
                                  SECURITY AGREEMENT



           Revolving Credit, Term Loan and Security Agreement dated as of November 2, 2005
   among PCA Aerospace, Inc., a corporation organized under the laws of the State of California
   ("Parent"), PCA Aerostructures Company, a corporation organized under the Jaws of the State of
   Delaware ("Sub") (Parent and Sub, each a "Borrower'', and collectively "Borrowers"), the
   financial institutions which are now or which hereafter become a party hereto (collectively, the
   "Lenders" and individually a "Lender") and PNC BANK, NATIONAL ASSOCIATION
   ("PNC"), as agent for Lenders (PNC, in such capacity, the "Agent").

         IN CONSIDERATION of the mutual covenants and undertakings herein contained,
   Borrowers, Lenders and Agent hereby agree as follows:

          DEFINITIONS.

             1.1. Accounting Terms. As used in this Agreement, the Other Documents or any
   certificate, report or other document made or delivered pursuant to this Agreement, accounting
   terms not defined in Section 1.2 or elsewhere in this Agreement and accounting terms partly
   defined in Section 1.2 to the extent not defined, shall have the respective meanings given to them
   under GAAP.

            1.2. General Terms. For purposes of this Agreement the following terms shall have
   the following meanings:

          "Accountants" shall have the meaning set forth in Section 9.7 hereof.

          "Advance Rates "shall mean, collectively, the Receivables Advance Rate and the
  Inventory Advance Rate.

         "Advances" shall mean and include the Revolving Advances, Letters of Credit, as well as
  the Term Loan.

          "Affiliate" of any Person shall mean (a) any Person which, directly or indirectly, is in
  control of, is controlled by, or is under common control with such Person, or (b) any Person who
  is a director, managing member, general partner or officer (i) of such Person, (ii) of any
  Subsidiary of such Person or (iii) of any Person described in clause (a) above. For purposes of
  this definition, control of a Person shall mean the power, direct or indirect, (x) to vote 5% or
  more of the Equity Interests having ordinary voting power for the election of directors of such
  Person or other Persons performing similar functions for any such Person, or (y) to direct or
  cause the direction of the management and policies of such Person whether by ownership of
  Equity Interests, contract or otherwise.

         "Agent" shall have the meaning set forth in the preamble to this Agreement and shall
  include its successors and assigns.




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           "Agreement" shall mean this Revolving Credit, Term Loan and Security Agreement, as
    the same may be amended, restated, supplemented or otherwise modified from time to time.

           "Alternate Base Rate" shall mean, for any day, a rate per arurnm equal to the higher of (i)
   the Base Rate in effect on such day and (ii) the Federal Funds Open Rate in effect on such day
   plus 1/2 of 1%.

          "Anti-Terrorism Laws" shall mean any Applicable Laws relating to terrorism or money
   laundering, including Executive Order No. 13224, the USA PATRIOT Act, the Applicable Laws
   comprising or implementing the Bank Secrecy Act, and the Applicable Laws administered by the
   United States Treasury Department's Office of Foreign Asset Control (as any of the foregoing
   Applicable Laws may from time to time be amended, renewed, extended, or replaced).

           "Applicable Law" shall mean all laws, rules and regulations applicable to the Person,
   conduct, transaction, covenant, Other Document or contract in question, including all applicable
   common law and equitable principles; all provisions of all applicable state, federal and foreign
   constitutions, statutes, rules, regulations and orders of any Governmental Body, and all orders,
   judgments and decrees of all courts and arbitrators.

          "Applicable Period" is defined in Section 6.5(b ).

          "Authority" shall have the meaning set forth in Section 4. l 9(d).

            "Base Rate" shall mean the base commercial lending rate of PNC as publicly announced
   to be in effect from time to time, such rate to be adjusted automatically, without notice, on the
   effective date of any change in such rate. This rate of interest is determined from time to time by
   PNC as a means of pricing some loans to its customers and is neither tied to any external rate of
   interest or index nor does it necessarily reflect the lowest rate of interest actually charged by
   PNC to any particular class or category of customers of PNC.

          "Blocked Accounts" shall have the meaning set forth in Section 4.1 S(h).

          "Blocked Account Bank" shall have the meaning set fo1ih in Section 4.15(h).

          "Blocked Person" shall have the meaning set forth in Section 5. 24(b) hereof.

        "Borrower" or "Borrowers" shall have the meaning set forth in the preamble to this
  Agreement and shall extend to all permitted successors and assigns of such Persons.

       "Borrowers on a Consolidated B_asis" shall mean the consolidation in accordance with
  GAAP of the accounts or other items of the Borrowers and their respective Subsidiaries.

          "Bor19wer~.'   Account" shall have the meaning set forth in Section 2.8.

         "Bonowing_Agent" shall mean Parent.

         "Borrowing Base Certificate" shall mean a certificate in substantially the form of Exhibit
  l .2A duly executed by the President, Chief Financial Officer or Controller of the Borrowing



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    and delivered to the Agent, appropriately completed, by which such officer shall certify to Agent
    the Formula Amount and calculation thereof as of the date of such certificate.

           "Business Day" shall mean any day other than Saturday or Sunday or a legal holiday on
    which commercial banks are authorized or required by law to be closed for business in East
    Brunswick, New Jersey and, if the applicable Business Day relates to any Eurodollar Rate Loans,
    such day must also be a day on which dealings are carried on in the London interbank market.

           "Capital Expenditures" shall mean expenditures made or liabilities incurred for the
    acquisition of any fixed assets or improvements, replacements, substitutions or additions thereto
    which have a useful life of more than one year, including the total principal portion of
    Capitalized Lease Obligations, which, in accordance with GAAP, would be classified as capital
    expenditures.

          "Capitali~ed Lease Obligation" shall mean any Indebtedness of any Borrower represented
   by obligations under a lease that is required to be capitalized for financial reporting purposes in
   accordance with GAAP.

           "CER.CLA" shall mean the Comprehensive Environmental Response, Compensation and
   Liability Act of 1980, as amended, 42 U.S.C. §§9601 et seq.

           "Change of Material Officer" shall mean any of the following persons ceasing to hold the
   offices of Borrower presently held by them, and such person is not replaced with a person
   acceptable to Agent in its good faith business judgment within twenty days thereafter: Peter B.
   Webber, President; George Robinson, Senior Vice President; David L. Patterson, Executive Vice
   President and Chief Financial Officer.

           "Change of Ownership" shall mean (a) the Webber Family Trust shall own less than 51 %
   of the total Equity Interests of Parent (including for the purposes of the calculation of percentage
   ownership, any Equity Interests into which any Equity Interests of Parent held by any Person are
   convertible or for which any such Equity Interests of Parent or of any other Person may be
   exchanged and any Equity Interests issuable to any Person upon exercise of any warrants,
   options or similar rights which may at the time of calculation be held by such Person) or (b) any
   merger, consolidation or sale of substantially all of the property or assets of any Borrower
   (except for the merger or consolidation of one Borrower into another Borrower or the sale of
   substantially all of the property or assets of one Borrower to another Borrower), or ( c) Parent
   shall cease to own 100% of the Equity Interests of Sub, or (d) Vintage shall cease to hold Equity
   Interests and/or warrants to purchase Equity Interests of Parent in an amount not Jess than 13%
   of the total Equity Interests of Parent or shall cease to hold any or all of the Vintage
   Subordinated Debt.

           "Charges" shall mean all taxes, charges, fees, imposts, levies or other assessments,
  including all net income, gross income, gross receipts, sales, use, ad valorem, value added,
  transfer, franchise, profits, inventory, capital stock, license, withholding, payroll, employment,
  social security, unemployment, excise, severance, stamp, occupation and property taxes, custom
  duties, fees, assessments, liens, claims and charges of any kind whatsoever, together with any
  interest and any penalties, additions to tax or additional amounts, imposed by any taxing or other



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    authority, domestic or foreign (including the Pension Benefit Guaranty Corporation or any
    environmental agency or superfund), upon the Collateral, any Borrower or any of its Affiliates.

            "Closing Date" shall mean November 2, 2005 or such other date as may be agreed to by
    the parties hereto.

           "Code" shall mean the Internal Revenue Code of 1986, as the same may be amended or
   supplemented from time to time, and any successor statute of similar import, and the rules and
   regulations thereunder, as from time to time in effect.

           "Collateral" shall mean and include:

                   (a)     all Receivables;

                   (b)     all Equipment;

                   (c)     all General Intangibles;

                   (d)     all Inventory;

                   (e)    all Investment Property;

                   (f)     all of each Borrower's right, title and interest in and to, whether now
   owned or hereafter acquired and wherever located, (i) its respective goods and other property
   including, but not limited to, all merchandise returned or rejected by Customers, relating to or
   securing any of the Receivables; (ii) all of each Borrower's rights as a consignor, a consignee, an
   unpaid vendor, mechanic, artisan, or other lienor, including stoppage in transit, setoff, detinue,
   replevin, reclamation and repurchase; (iii) all additional amounts due to any Borrower from any
   Customer relating to the Receivables; (iv) other property, including warranty claims, relating to
  any goods securing the Obligations; (v) all of each Borrower's contract rights, rights of payment
  which have been earned under a contt:act right, instruments (including promissory notes),
  documents, chattel paper (including electronic chattel paper), warehouse receipts, deposit
  accounts, letters of credit and money; (vi) all commercial tort claims (whether now existing or
  hereafter arising); (vii) if and when obtained by any Borrower, all real and personal property of
  third parties in which such Borrower has been granted a lien or security interest as security for
  the payment or enforcement of Receivables; (viii) all letter of credit rights (whether or not the
  respective letter of credit is evidenced by a writing); (ix) all supporting obligations; and (x) any
  other goods; personal property or real property now owned or hereafter acquired in which any
  Borrower has expressly granted a security interest or may in the future grant a security interest to
  Agent hereunder, or in any amendment or supplement hereto or thereto, or under any other
  agreement between Agent and any Borrower;

                    (g)       all of each Borrower's ledger sheets, ledger cards, files, correspondence,
  records, books of account, business papers, computers, computer software (owned by any
  Borrower or in which it has an interest), computer programs, tapes, disks and documents relating
  to (a), (b), (c), (d), (e), and (f) of this Paragraph; and




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                    (h)   all proceeds and products of (a), (b), (c), (d), (e), and (f) in whatever form,
    including, but not limited to: cash, deposit accounts (whether or not comprised solely of
    proceeds), certificates of deposit, insurance proceeds (including hazard, flood and credit
    insurance), negotiable instruments and other instruments for the payment of money, chattel
    paper, security agreements, documents, eminent domain proceeds, condemnation proceeds and
    tort claim proceeds.

           "Commitment_ Percentage" of any Lender shall mean the percentage set forth below such
    Lender's name on the signature page hereof as same may be adjusted upon any assignment by a
    Lender pursuant to Section 16.3 (b) hereof.

            "Commitment Transfer Supplement" shall mean a document in the form of Exhibit 16.3
    hereto, properly completed and otherwise in form and substance satisfactory to Agent by which
    the Purchasing Lender purchases and assumes a portion of the obligation of Lenders to make
    Advances under this Agreement.

           "Compliance Certificate" shall mean a compliance ce1iificate to be signed by the Chief
   Financial Officer or Controller of Borrowing Agent, in the form of Exhibit 1.2B, which shall
   state that, based on an examination sufficient to permit such officer to make an informed
   statement, no Default or Event of Default exists, or if such is not the case, specifying such
   Default or Event of Default, its nature, when it occurred, whether it is continuing and the steps
   being taken by Borrowers with respect to such default and, such certificate shall have appended
   thereto calculations which set forth Borrowers' compliance with the requirements or restrictions
   imposed by Sections 6.5, 7.4, 7.5, 7.6, 7.7, 7.8 and 7.11.

          "Consents" shall mean all filings and all licenses, permits, consents, approvals,
   authorizations, qualifications and orders of Governmental Bodies and other third parties,
   domestic or foreign, necessary to carry on any Borrower's business or necessary (including to
   avoid a conflict or breach under any agreement, instrument, other document, license, permit or
   other authorization) for the execution, delivery or performance of this Agreement, the Other
   Documents, the Subordinated Loan Documentation including any Consents required under all
   applicable federal, state or other Applicable Law.

           "Consigned Inventory" shall mean Inventory of any Borrower that is in the possession of
   another Person on a consignment, sale or return, or other basis that does not constitute a final
   sale and acceptance of such Inventory.

           "Contract Rate" shall mean, as applicable, the Revolving Interest Rate or the Term Loan
   Rate.

           "ControJJed Group" shall mean, at any time, each Borrower and all members of a
   controlled group of corporations and all trades or businesses (whether or not incorporated) under
   common control and all other entities which, together with any Borrower, are treated as a single
   employer under Section 414 of the Code.

          "Customer" shall mean and include the account debtor with respect to any Receivable
  and/or the prospective purchaser of goods, services or both with respect to any contract or
  contract right, and/or any party who enters into or proposes to enter into any contract or other


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    arrangement with any Borrower, pursuant to which such Borrower is to deliver any personal
    property or perform any services.

           "Default" shall mean an event, circumstance or condition which, with the giving of notice
    or passage of time or both, would constitute an Event of Default.

           "Default Rate" shall have the meaning set forth in Section 3.1 hereof

           "Defaulting Lender" shall have the meaning set forth in Section 2.23(a) hereof.

           "Depository Accounts" shall have the meaning set forth in Sedion 4. l 5(h) hereof.

           "Documents" shall have the meaning set forth in Section 8. I (c) hereof.

           "Dollar" and the sign".$." shall mean lawful money of the United States of America.

          "Domestic Rate Loan" shall mean any Advance that bears interest based upon the
   Alternate Base Rate.

           "Drawing Date" shall have the meaning set forth in Section 2.12(b) hereof.

           "Early Termination Date" shall have the meaning set fo1ih in Section 13 .I hereof.

            "Earnings Before Interest and Taxes" shall mean for any period the sum of (i) net income
   (or loss) of Borrowers on a Consolidated Basis for such period (excluding extraordinary gains),
   plus (ii) all interest expense of Borrowers on a Consolidated Basis for such period, plus (iii) all
   charges against income of Borrowers on a Consolidated Basis for such period for federal, state
   and local taxes actually paid.

           "EBITDA" shall mean for any period the sum of (i) Earnings Before Interest and Taxes
   for such period plus (ii) depreciation expenses for such period, plus (iii) amortization expenses
   for such period.

           "Eligible Inventory" shall mean and include Inventory consisting of finished goods and
   raw materials, excluding work in process, with respect to each Borrower, which is not, in
   Agent's opinion, obsolete, slow moving or unmerchantable and which Agent, in its sole
   discretion (exercised in good faith), shall not deem ineligible Inventory, based on such
   considerations as Agent may from time to time deem appropriate including whether the
   Inventory is subject to a perfected, first priority security interest in favor of Agent and no other
   Lien (other than Permitted Encumbrances which do not have priority over the security interest of
   Agent). In addition, Inventory shall not be Eligible Inventory if it (i) does not conform to all
  standards imposed by any Governmental Body which has regulatory authority over such goods
  or the use or sale thereof, (ii) is in transit, (iii) is located outside the continental United States or
  at a location that is not otherwise in compliance with this Agreement, (iv) constitutes Consigned
  Inventory, (v) is the subject of an Intellectual Property Claim; (vi) is subject to a License
  Agreement or other agreement that limits, conditions or restricts any Borrower's or Agent's right
  to sell or otherwise dispose of such Inventory, unless Agent is a party to a Licensor/Agent
  Agreement with the Licensor under such License Agreement; (vii) is situated at a location not


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    owned by a Borrower unless the owner or occupier of such location has executed in favor of
    Agent a Lien Waiver Agreement; or (viii) does not have all necessary or required governmental
    and other ce1tifications.

            "Eligible Receivables" shall mean and include with respect to each Borrower, each
    Receivable of such Borrower arising in the Ordinary Course of Business and which Agent, in its
    sole credit judgment, shall deem to be an Eligible Receivable, based on such considerations as
    Agent may from time to time deem appropriate. A Receivable shall not be deemed eligible
    unless such Receivable is subject to Agent's first priority perfected security interest and no other
    Lien (other than Permitted Encumbrances), and is evidenced by an invoice or other documentary
    evidence satisfactory to Agent. In addition, no Receivable shall be an Eligible Receivable if:

                 (a)     it arises out of a sale made by any Borrower to an Affiliate of any
   Borrower or to a Person controlled by an Affiliate of any Borrower;

                    (b)     it is due or unpaid more than ninety (90) days after the original invoice
   date;

                 (c)    fifty percent (50%) or more of the Receivables from such Customer are
   not deemed Eligible Receivables hereunder;

                  (d)    any covenant, representation or wananty contained in this Agreement with
   respect to such Receivable has been breached;

                   (e)     the Customer shall (i) apply for, suffer, or consent to the appointment of,
   or the taking of possession by, a receiver, custodian, trustee or liquidator of itself or of all or a
   substantial part of its property or call a meeting of its creditors, (ii) admit in writing its inability,
   or be generally unable, to pay its debts as they become due or cease operations of its present
   business, (iii) make a general assignment for the benefit of creditors, (iv) commence a voluntary
   case under any state or federal bankruptcy laws (as now or hereafter in effect), (v) be adjudicated
   a bankrupt or insolvent, (vi) file a petition seeking to take advantage of any other law providing
   for the relief of debtors, (vii) acquiesce to, or fail to have dismissed, any petition which is filed
   against it in any involuntary case under such bankruptcy laws, or (viii) take any action for the
   purpose of effecting any of the foregoing;

                  (f)     the sale is to a Customer outside the continental United States of America,
  unless the sale is on letter of credit, guaranty or acceptance terms, in each case acceptable to
  Agent in its sole discretion;

                  (g)   the sale to the Customer is on a bill-and-hold, guaranteed sale, sale-and-
  return, sale on approval, consignment or any other repurchase or return basis or is evidenced by
  chattel paper;

                 (h)    Agent believes, in its sole judgment (exercised in good faith), that
  collection of such Receivable is insecure or that such Receivable may not be paid by reason of
  the Customer's financial inability to pay;




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                  (i)    the Customer is the United States of America, any state or any department,
    agency or instrumentality of any of them, unless the applicable Borrower assigns its right to
    payment of such Receivable to Agent pursuant to the Assignment of Claims Act of 1940, as
    amended (31 U.S.C. Sub-Section 3727 et seq. and 41 U.S.C. Sub-Section 15 et seq.) or has
    otherwise complied with other applicable statutes or ordinances;

                   G)      the goods giving rise to such Receivable have not been delivered to and
   accepted by the Customer or the services giving rise to such Receivable have not been performed
   by the applicable Borrower and accepted by the Customer or the Receivable otherwise does not
   represent a final sale;

                   (k)     the Receivables of the Customer exceed a credit limit determined by
   Agent, in its sole discretion (exercised in good faith), to the extent such Receivable exceeds such
   limit;

                  (1)    the Receivable is subject to any offset, deduction, defense, dispute, or
   counterclaim, the Customer is also a creditor or supplier of a Borrower or the Receivable is
   contingent in any respect or for any reason;

                   (m)     the applicable Borrower has made any agreement with any Customer for
   any deduction therefrom, except for discounts or allowances made in the Ordinary Course of
   Business for prompt payment, all of which discounts or allowances are reflected in the
   calculation of the face value of each respective invoice related thereto;

                  (n)      any return, rejection or repossession of the merchandise has occurred or
   the rendition of services has been disputed;

                  (o)     such Receivable is not payable to a Bonower; or

                  (p)    such Receivable is not otherwise satisfactory to Agent as determined in
   good faith by Agent in the exercise of its discretion in a reasonable manner; or

  Receivables owing from one Customer will not be deemed Eligible Receivables to the extent
  they exceed 20% of the total Receivables outstanding; provided that said percentage shall be
  50% in the case of Lockheed Martin and 35% in the case of Boeing Company.

          "Environment;:tl Com1:ilaint" shall have the meaning set forth in Section 4.19(d) hereof.

           "Environmental Laws" shall mean all federal, state and local environmental, land use,
  zoning, health, chemical use, safety and sanitation laws, statutes, ordinances and codes relating
  to the protection of the environment and/or governing the use, storage, treatment, generation,
  transportation, processing, handling, production or disposal of Hazardous Substances and the
  rules, regulations, policies, guidelines, interpretations, decisions, orders and directives of federal,
  state and local governmental agencies and authorities with respect thereto.

          "Eguipment" shall mean and include as to each Borrower all of such Borrower's goods
  (other than Inventory) whether now owned or hereafter acquired and wherever located including



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    all equipment, machine1y, apparatus, motor vehicles, fittings, furniture, furnishings, fixtures,
    parts, accessories and all replacements and substitutions therefor or accessions thereto.

             "fuluity Interests" of any Person shall mean any and all shares, rights to purchase,
    options, warrants, general, limited or limited liability partnership interests, member interests,
    participation or other equivalents of or interest in (regardless of how designated) equity of such
    Person, whether voting or nonvoting, including common stock, preferred stock, convertible
    securities or any other "equity security" (as such term is defined in Rule 3al 1-1 of the General
    Rules and Regulations promulgated by the SEC under the Exchange Act).

           "ERISA" shall mean the Employee Retirement Income Security Act of 1974, as amended
    from time to time and the rules and regulations promulgated thereunder.

            "Eurodollar Rate" shall mean for any Eurodollar Rate Loan for the then current Interest
   Period relating thereto the interest rate per annum determined by Agent by dividing (the resulting
   quotient rounded upwards, if necessary, to the nearest Ill OOth of l % per annum) (i) the rate of
   interest determined by Agent in accordance with its usual procedures (which determination shall
   be conclusive absent manifest error) to be the average of the London interbank offered rates for
   U.S. Dollars quoted by the British Bankers' Association as set forth on Moneyline Telerate (or
   appropriate successor or, if British Banker's Association or its successor ceases to provide such
   quotes, a comparable replacement determined by Agent) display page 3750 (or such other
   display page on the Moneyline Telerate system as may replace display page 3750) two (2)
   Business Days prior to the first day of such Interest Period for an amount comparable to such
   Eurodollar Rate Loan and having a borrowing date atid a maturity comparable to such Interest
   Period by (ii) a number equal to 1.00 minus the Reserve Percentage. The Eurodollar Rate may
   also be expressed by the following fommla:

          Eurodollar Rate=   Average of London interbank offered rates quoted by BBA as shown on
                             Moneyline Telerate Service displav page 3750 or appropriate successor

                                                     I .00 - Reserve Percentage




          The Eurodollar Rate shall be adjusted with respect to any Eurodollar Rate Loan that is
   outstanding on the effective date of any change in the Reserve Percentage as of such effective
   date. The Agent shall give prompt notice to the Borrowing Agent of the Eurodollar Rate as
   determined or adjusted in accordance herewith, which determination shall be conclusive absent
   manifest error.

         "Eurodollar Rate Loan" shall mean an Advance at any time that bears interest based on
  the Eurodollar Rate.

          "Event of Default" shall have the meaning set forth in A1iicle X hereof.

          "Exchange Ac_t" shall have the mean the Securities Exchange Act of 1934, as amended.




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          "Exec;utive Order No. 13224" shall mean the Executive Order No. 13224 on Terrorist
   Financing, effective September 24, 2001, as the same has been, or shall hereafter be, renewed,
   extended, amended or replaced.

           "F~<leral Funds Effective Rate" for any day shall mean the rate per annum (based on a
   year of 360 days and actual days elapsed and rounded upward to the nearest 1/100 of 1%)
   announced by the Federal Reserve Bank of New York (or any successor) on such day as being
   the weighted average of the rates on overnight federal funds transactions arranged by federal
   funds brokers on the previous trading day, as computed and announced by such Federal Reserve
   Bank (or any successor) in substantially the same manner as such Federal Reserve Bank
   computes and announces the weighted average it refers to as the "Federal Funds Effective Rate"
   as of the date of this Agreement; provided, if such Federal Reserve Bank (or its successor) does
   not mmounce such rate on any day, the "Federal Funds Effective Rate" for such day shall be the
   Federal Funds Effective Rate for the last day on which such rate was announced.

           "Federal Funds Open Rate" shall mean the rate per annum determined by the Agent in
   accordance with its usual procedures (which determination shall be conclusive absent manifest
   error) to be the "open" rate for federal funds transactions as of the opening of business for federal
   funds transactions among members of the Federal Reserve System arranged by federal funds
   brokers on such clay, as quoted by Garvin Guybutler Corporation, any successor entity thereto, or
   any other broker selected by the Agent, as set forth on the applicable Telerate display page;
   provided, however; that if such day is not a Business Day, the Federal Funds Open Rate for such
   day shall be the "open" rate on the immediately preceding Business Day, or if no such rate shall
   be quoted by a Federal funds broker at such time, such other rate as determined by the Agent in
   accordance with its usual procedures.

           "Fixed Charge Coverage Ratio "shall mean and include, with respect to any fiscal
  period, the ratio of (a) EBITDA plus one-time moving costs incurred by Borrower related to the
  consolidation of the Borrower's facilities prior to June 30, 2006, but only to the extent of up to a
  maximum of $2,000,000, minus non-financed capitalized expenditures made during the period,
  minus cash taxes paid during such period, TO (b) all Senior Debt Payments plus all Subordinated
  Debt Payments made during such period (other than principal payments made on the Banner
  Subordinated Debt (which shall only be made to the extent permitted herein and in the
  Subordination Agreement)).

         "Foreign Subsidiaif' of any Person, shall mean any Subsidiary of such Person that is not
  organized or incorporated in the United States or any State or territory thereof

          "Formula Amount" shall have the meaning set forth in Section 2.1 (a).

         "GAAP" shall mean generally accepted accounting principles in the United States of
  America in effect from time to time.

          "General Intangibles" shall mean and include as to each Borrower all of such Borrower's
  general intangibles, whether no-vv owned or hereafter acquired, including all payment intangibles,
  all choses in action, causes of action, corporate or other business records, inventions, designs,
  patents, patent applications, equipment formulations, manufacturing procedures, quality control



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    procedures, trademarks, trademark applications, service marks, trade secrets, goodwill,
    copyrights, design rights, software, computer information, source codes, codes, records and
    updates, registrations, licenses, franchises, customer lists, tax refunds, tax refund claims,
    computer programs, all claims under guaranties, security interests or other security held by or
    granted to such Borrower to secure payment of any of the Receivables by a Customer (other than
    to the extent covered by Receivables), all rights of indemnification and all other intangible
    property of every kind and nature (other than Receivables).

           "Governmental Acts" shall have the meaning set forth in Section 2.17.

            "Governmental Body" shall mean any nation or government, any state or other political
   subdivision thereof or any entity, authority, agency, division or department exercising the
   legislative, judicial, regulatory or administrative functions of or pertaining to a government.

          "Guarantor" shall mean any Person who may hereafter guarantee payment or
   performance of the whole or any part of the Obligations and "Guarantors" means collectively all
   such Persons.

         "Guarantor Security Agreement" shall mean any Security Agreement executed by any
   Guarantor in favor of Agent securing the Guaranty of such Guarantor.

         "Guaranty" shall mean any guaranty of the obligations of Borrowers executed by a
   Guarantor in favor of Agent for its benefit and for the ratable benefit of Lenders.

          "Hazardous Discharge" shall have the meaning set forth in Section 4.19( d) hereof.

          "Hazardous Substance" shall mean, without limitation, any flammable explosives, radon,
   radioactive materials, asbestos, urea formaldehyde foam insulation, polychlorinated biphenyls,
   petroleum and petroleum products, methane, hazardous materials, Hazardous Wastes, hazardous
   or Toxic Substances or related materials as defined in CERCLA, the Hazardous Materials
   Transportation Act, as amended (49 U.S.C. Sections 1801, et seq.), RCRA, Articles 15 and 27 of
   the New York State Environmental Conservation Law or any other applicable Environmental
   Law and in the regulations adopted pursuant thereto.

           "Hazardous Wastes" shall mean all waste materials subject to regulation under CERCLA,
   RCRA or applicable state law, and any other applicable Federal and state laws now in force or
   hereafter enacted relating to hazardous waste disposal.

          "Hedge Liabilities" shall have the meaning provided in the definition of "Lender-
   Provided Interest Rate Hedge".

           "Indebtedness" of a Person at a particular date shall mean all obligations of such Person
  which in accordance with GAAP would be classified upon a balance sheet as liabilities (except
  capital stock and surplus earned or otherwise) and in any event, without limitation by reason of
  enumeration, shall include all indebtedness, debt and other similar monetary obligations of such
  Person whether direct or guaranteed, and all premiums, if any, due at the required prepayment
  dates of such indebtedness, and all indebtedness secured by a Lien on assets owned by such
  Person, whether or not such indebtedness actually shall have been created, assumed or incurred


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   by such Person. Any indebtedness of such Person resulting from the acquisition by such Person
   of any assets su~ject to any Lien shall be deemed, for the purposes hereof, to be the equivalent of
   the creation, assumption and incurring of the indebtedness secured thereby, whether or not
   actually so created, assumed or incurred.

           "Ineligible Security" shall mean any security which may not be underwritten or dealt in
   by member banks of the Federal Reserve System under Section 16 of the Banking Act of 1933
   (12 U.S. C. Section 24, Seventh), as amended.

           "Intellectual Property" shall mean property constituting under any Applicable Law a
   patent, patent application, copyright, trademark, service mark, trade name, mask work, trade
   secret or license or other right to use any of the foregoing.

           "Intellectual Prope1iy Claim" shall mean the assertion by any Person of a claim (whether
   asserted in writing, by action, suit or proceeding or otherwise) that any Borrower's ownership,
   use, marketing, sale or distribution of any Inventory, Equipment, Intellectual Property or other
   property or asset is violative of any ownership of or right to use any Intellectual Property of such
   Person.

           "Interest Period" shall mean the period provided for any Eurodollar Rate Loan pursuant
   to Section 2.2(b).

           "Interest Rate Hedge" shall mean an interest rate exchange, collar, cap, swap, adjustable
   strike cap, adjustable strike corridor or similar agreements entered into by any Borrower or its
   Subsidiaries in order to provide protection to, or minimize the impact upon, such Borrower, any
   Guarantor and/or their respective Subsidiaries of increasing floating rates of interest applicable to
   Indebtedness.

           "Inventory" shall mean and include as to each Borrower all of such Borrower's now
  owned or hereafter acquired goods, merchandise and other personal property, wherever located,
  to be furnished under any consignment arrangement, contract of service or held for sale or lease,
  all raw materials, work in process, finished goods and materials and supplies of any kind, nature
  or description which are or might be used or consumed in such Borrower's business or used in
  selling or furnishing such goods, merchandise and other personal property, and all documents of
  title or other documents representing them.

          "Inventory Advance Rate" shall have the meaning set forth in Section 2.l(a)(y)(ii) hereof.

          "Investment Property" shall mean and include as to each Borrower, all of such
  Borrower's now owned or hereafter acquired securities (whether certificated or unce1iificated),
  securities entitlements, securities accounts, commodities contracts and commodities accounts.

         "Issuer" shall mean any Person who issues a Letter of Credit and/or accepts a draft
  pursuant to the terms hereof.

          "L~_nder" and "Lenders" shall have the meaning ascribed to such term in the preamble to
  this Agreement and shall include each Person which becomes a transferee, successor or assign of
  any Lender.


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           "Lender-Provided Interest Rate Hedge" shall mean an Interest Rate Hedge which is
   provided by any Lender and with respect to which the Agent confirms meets the following
   requirements: such Interest Rate Hedge (i) is documented in a standard International Swap
   Dealer Association Agreement, (ii) provides for the method of calculating the reimbursable
   amount of the provider's credit exposure in a reasonable and customary manner, and (iii) is
   entered into for hedging (rather than speculative) purposes. The liabilities of any Borrower to
   the provider of any Lender-Provided Interest Rate Hedge (the "Hedge Liabilities") shall be
   "Obligations" hereunder and otherwise treated as Obligations for purposes of each of the Other
   Documents. The Liens securing the Hedge Liabilities shall be pari passu with the Liens securing
   all other Obligations under this Agreement and the Other Documents.

          "Letter of Credit Fees" shall have the meaning set forth in Section 3.2.

          "Letter of Credit Borrowing" shall have the meaning set forth in Section 2.12(d).

          "Letter of Credit Sublimit" shall mean $2,000,000.

          "Letters of Credit" shall have the meaning set forth in Section 2. 9.

          "License Agreement" shall mean any agreement between any Borrower and a Licensor
  pursuant to which such Borrower is authorized to use any Intellectual Property in connection
  with the manufacturing, marketing, sale or other distribution of any Inventory of such Borrower
  or otherwise in connection with such Borrower's business operations.

         "Licensor" shall mean any Person from whom any Borrower obtains the right to use
  (whether on an exclusive or non-exclusive basis) any Intellectual Property in connection with
  such Borrower's manufacture, marketing, sale or other distribution of any Inventory or otherwise
  in connection with such Borrower's business operations.

         "Licensor/Agent Agreement" shall mean an agreement between Agent and a Licensor, in
  form and content satisfactory to Agent, by which Agent is given the unqualified right, vis-a-vis
  such Licensor, to enforce Agent's Liens with respect to and to dispose of any Borrower's
  Inventory with the benefit of any Intellectual Property applicable thereto, irrespective of such
  Borrower's default under any License Agreement with such Licensor.

          "Lien" shall mean any mortgage, deed of trust, pledge, hypothecation, assignment,
  security interest, lien (whether statutory or otherwise), Charge, claim or encumbrance, or
  preference, priority or other security agreement or preferential arrangement held or asserted in
  respect of any asset of any kind or nature whatsoever including any conditional sale or other title
  retention agreement, any lease having substantially the same economic effect as any of the
  foregoing, and the filing of, or agreement to give, any financing statement under the Uniform
  Commercial Code or comparable law of any jurisdiction.

          "Lien Waiyer Agreement" shall mean an agreement which is executed in favor of Agent
  by a Person who owns or occupies premises at which any Collateral may be located from time to
  time and by which such Person shall waive any Lien that such Person may ever have with
  respect to any of the Collateral and shall authorize Agent from time to time to enter upon the



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    premises to inspect or remove the Collateral from such premises or to use such premises to store
    or dispose of such Inventory.

          "Loan Documents" shall mean collectively this Loan Agreement and the Other
    Documents.

          "Material Adverse Effect" shall mean a material adverse effect on (a) the condition
   (financial or otherwise), results of operations, assets, business, properties or prospects of any
   Borrower, (b) any Borrower's ability to duly and punctually pay or perform the Obligations in
   accordance with the terms thereof, (c) the value of the Collateral, or Agent's Liens on the
   Collateral or the priority of any such Lien or ( d) the practical realization of the benefits of
   Agent's and each Lender's rights and remedies under this Agreement and the Other Documents.

           "Maximum Face Amount" shall mean, with respect to any outstanding Letter of Credit,
   the face amount of such Letter of Credit including all automatic increases provided for in such
   Letter of Credit, whether or not any such automatic increase has become effective.

           "Maximum Revolving Advance Amount" shall mean $5,000,000.

          "Maximum Undrawn Amount" shall mean with respect to any outstanding Letter of
   Credit, the amount of such Letter of Credit that is or may become available to be drawn,
   including all automatic increases provided for in such Letter of Credit, whether or not any such
   automatic increase has become effective.

           "Minimum Tangible Net Worth" is defined in Section 6.5(a).

          "Multiemployer Plan" shall mean a "multiemployer plan" as defined in Sections 3(3 7)
   and 4001(a)(3) of ERISA.

           "Multiple Employer Plan" shall mean a Plan which has two or more contributing
   spm;sors (including any Borrower or any member of the Controlled Group) at least two of whom
   are not under common control, as such a plan is described in Section 4064 of ERISA.

          "New Gantty" is defined in Section 2.22(b)(l).

          "Note" shall mean collectively, the Term Note, and the Revolving Credit Note.

           "Obligations" shall mean and include any and all loans, advances, debts, liabilities,
   obligations, covenants and duties owing by any Borrower to Lenders or Agent or to any other
  direct or indirect subsidiary or affiliate of Agent or any Lender of any kind or nature, present or
  future (including any interest or other amounts accruing thereon aher maturity, or after the filing
  of any petition in bankruptcy, or the commencement of any insolvency, reorganization or like
  proceeding relating to any Borrower, whether or not a claim for post-filing or post-petition
  interest or other amounts is allowed in such proceeding), whether or not evidenced by any note,
  guaranty or other instrument, whether arising under any agreement, instrument or document,
  (including this Agreement and the Other Documents) whether or not for the payment of money,
  whether arising by reason of an extension of credit, opening of a letter of credit, loan, equipment
  lease or guarantee, under any interest or currency swap, future, option or other similar


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    agreement, or in any other manner, whether arising out of overdrafts or deposit or other accounts
    or electronic funds transfers (whether through automated clearing houses or otherwise) or out of
    the Agent's or any Lender's non-receipt of or inability to collect funds or otherwise not being
    made whole in connection with depository transfer check or other similar an-angements, whether
   direct or indirect (including those acquired by assignment or participation), absolute or
   contingent, joint or several, due or to become due, now existing or hereafter arising, contractual
   or tortious, liquidated or unliquidated, regardless of how such indebtedness or liabilities arise or
   by what agreement or instrument they may be evidenced or whether evidenced by any agreement
   or instrument, including, but not limited to, any and all of any Borrower's Indebtedness and/or
   liabilities under this Agreement, the Other Documents or under any other agreement between
   Agent or Lenders and any Borrower and any amendments, extensions, renewals or increases and
   all costs and expenses of Agent and any Lender incurred in the documentation, negotiation,
   modification, enforcement, collection or otherwise in connection with any of the foregoing,
   including but not limited to reasonable attorneys' fees and expenses and all obligations of any
   BotTower to Agent or Lenders to perform acts or refrain from taking any action.

          "Ordinary Course of Business" shall mean with respect to any Borrower, the ordinary
   course of such Borrower's business as conducted on the Closing Date.

          "Other Documents "shall mean the Note, the Questiom1aire, any Guaranty, any
  Guarantor Security Agreement, any Lender-Provided Interest Rate Hedge and any and all other
  agreements, instruments and documents, including guaranties, pledges, powers of attorney,
  consents, interest or currency swap agreements or other similar agreements and all other writings
  heretofore, now or hereafter executed by any Borrower or any Guarantor and/or delivered to
  Agent or any Lender in respect of the transactions contemplated by this Agreement.

          "Out-of-Formula Loans" shall have the meaning set forth in Section 15.2(b).

          "Parent Enti_ty:" of any Person shall mean a corporation or other entity owning, directly or
  indirectly at least 50% of the shares of stock or other ownership interests having ordinary voting
  power to elect a majority of the directors of the Person, or other Persons performing similar
  ±Unctions for any such Person.

          "Participant" shall mean each Person who shall be granted the right by any Lender to
  participate in any of the Advances and who shall have entered into a participation agreement in
  form and substance satisfactory to such Lender.

         "Participation Advance" shall have the meaning set forth in Section 2.12(d).

          "Participati01) Commitment" shall mean each Lender's obligation to buy a participation
  of the Letters of Credit issued hereunder.

          "Payment Office" shall mean initially Two Tower Center Boulevard, East Brunswick,
  New Jersey 08816; thereafter, such other office of Agent, if any, which it may designate by
  notice to Borrowing Agent and to each Lender to be the Payment Office.

          ".PJiQC" shall mean the Pension Benefit Guaranty Corporation established pursuant to
  Subtitle A of Title IV of ERISA or any successor.


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             "Pension Benefit Plan" shall mean at any time any employee pension benefit plan
    (including a Multiple Employer Plan, but not a Multiemploycr Plan) which is covered by Title
    IV of ERISA or is subject to the minimum funding standards under Section 412 of the Code and
    either (i) is maintained by any member of the Controlled Group for employees of any member of
    the Controlled Group; or (ii) has at any time within the preceding five years been maintained by
    any entity which was at such time a member of the Controlled Group for employees of any entity
    which was at such time a member of the Controlled Group.

            "Permitted Encumbrances" shall mean (a) Liens in favor of Agent for the benefit of
    Agent and Lenders; (b) Liens for taxes, assessments or other governmental charges not
    delinquent or being contested in good faith and by appropriate proceedings and with respect to
    which proper reserves have been taken by Borrowers; provided, that, the Lien shall have no
    effect on the priority of the Liens in favor of Agent or the value of the assets in which Agent has
    such a Lien and a stay of enforcement of any such Lien shall be in effect; (c) Liens disclosed in
    the financial statements referred to in Section 5.5, the existence of which Agent has consented to
    in writing; ( d) deposits or pledges to secure obligations under worker's compensation, social
    security or similar laws, or under unemployment insurance; (e) deposits or pledges to secure
    bids, tenders, contracts (other than contracts for the payment of money), leases, statutory
    obligations, surety and appeal bonds and other obligations of like nature arising in the Ordinary
    Course of Business; (f) Liens arising by virtue of the rendition, entry or issuance against any
   Borrower or any Subsidiary, or any property of any Borrower or any Subsidiary, of any
   judgment, writ, order, or decree for so long as each such Lien (a) is in existence for less than 30
   consecutive days after it first arises or is being Properly Contested and (b) is at all times junior in
   priority to any Liens in favor of Agent; (g) mechanics', workers', materialmen's or other like
   Liens arising in the Ordinary Course of Business with respect to obligations which are not due or
   which are being contested in good faith by the applicable Bon-ower; (h) Liens placed upon fixed
   assets hereafter acquired to secure a portion of the purchase price thereof, provided that (x) any
   such lien shall not encumber any other property of any Borrower and (y) the aggregate amount of
   Indebtedness secured by such Liens incurred as a result of such purchases during any fiscal year
   shall not exceed the amount provided for in Section 7.6; and (i) Liens disclosed on Schedule 1.2.

            "Person" shall mean any individual, sole proprietorship, partnership, corporation,
   business trust, joint stock company, trust, unincorporated organization, association, limited
   liability company, limited liability partnership, institution, public benefit corporation, joint
   venture, entity or Governmental Body (whether federal, state, county, city, municipal or
   otherwise, including any instrumentality, division, agency, body or department thereof).

         "Plan" shall mean any employee benefit plan within the meaning of Section 3(3) of
  ERISA (including a Pension Benefit Plan), maintained for employees of any Borrower or any
  member of the Controlled Group or any such Plan to which any Borrower or any member of the
  Controlled Group is required to contribute on behalf of any of its employees.

         "PNC" shall have the meaning set forth in the preamble to this Agreement and shall
  extend to all of its successors and assigns.

          "Pro Forma rinanciaLStatements" shall have the meaning set forth in Section 5.5 hereof.




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             "PrQ.Qerly Contested" shall mean, in the case of any Indebtedness of any Person
    (including any taxes) that is not paid as and when due or payable by reason of such Person's
    bona fide dispute concerning its liability to pay same or concerning the amount thereof, (i) such
    Indebtedness is being properly contested in good faith by appropriate proceedings promptly
    instituted and diligently conducted; (ii) such Person has established appropriate reserves as shall
    be required in conformity with GAAP; (iii) the non-payment of such Indebtedness will not have
    a Material Adverse Effect and will not result in the forfeiture of any assets of such Person; (iv)
    no Lien is imposed upon any of such Person's assets with respect to such Indebtedness unless
    such Lien is at all times junior and subordinate in priority to the Liens in favor of the Agent
    (except only with respect to property taxes that have priority as a matter of applicable state law)
   and enforcement of such Lien is stayed during the period prior to the final resolution or
   disposition of such dispute; (v) if such Indebtedness results from, or is determined by the entry,
   rendition or issuance against a Person or any of its assets of a judgment, WTit, order or decree,
   enforcement of such judgment, writ, order or decree is stayed pending a timely appeal or other
   judicial review; and (vi) if such contest is abandoned, settled or determined adversely (in whole
   or in part) to such Person, such Person forthwith pays such Indebtedness and all penalties,
   interest and other amounts due in connection therewith.

             "Projections" shall have the meaning set forth in Section 5.5(b) hereof.

             "Purchasing Lender" shall have the meaning set forth in Section 16.3 hereof.

          "Questionnaire" shall mean the Representations and Warranties dated October 17, 2005
   executed and delivered by Parent to Agent.

           "RCRA" shall mean the Resource Conservation and Recovery Act, 42 U.S.C. §§ 6901 et
   seq., as same may be amended from time to time.

            "Real Property" is defined in Section 4. l 9(a).

          "Receivables" shall mean and include, as to each Borrower, all of such Borrower's
  accounts, contract rights, instruments (including those evidencing indebtedness owed to such
  Borrower by its Affiliates), documents, chattel paper (including electronic chattel paper), general
  intangibles relating to accounts, drafts and acceptances, credit card receivables and all other
  forms of obligations owing to such Borrower arising out of or in connection with the sale or
  lease of Inventory or the rendition of services, all supporting obligations, guarantees and other
  security therefor, whether secured or unsecured, now existing or hereafter created, and whether
  or not specifically sold or assigned to Agent hereunder.

            "Receivables Advance Rate" shall have the meaning set forth in Section 2.1 (a)(y)(i)
  hereof.

            "_Reimbursement Obligation" shall have the meaning set forth in Section 2. l 2(b) hereof.

            "Rel~cise"   shall have the meaning set forth in Section 5.7(c)(i) hereof.

          "RepQiiable Event" shall mean a reportable event described in Section 4043(c) of ERJSA
  or the regulations promulgated thereunder.


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           "Required Lender~" shall mean Lenders holding at least 66-2/3% of the Advances and, if
    no Advances are outstanding, shall mean Lenders holding 66-2/3% of the Commitment
    Percentages; provided, however, if there are fewer than three (3) Lenders, Required Lenders
    shall mean all Lenders.

          "Reserve Percentage" shall mean as of any day the maximum percentage in effect on
   such day as prescribed by the Board of Governors of the Federal Reserve System (or any
   successor) for determining the reserve requirements (including supplemental, marginal and
   emergency reserve requirements) with respect to eurocurrency funding (currently referred to as
   "Eurocurrency Liabilities").

         "Revolving Advances" shall mean Advances made other than Letters of Credit, and the
   Tenn Loan.

             "Revolving Credit Note" shall mean the promissory note referred to in Section 2.1 (a)
   hereof.

          "Revolving Interest Rate" shall mean an interest rate per annum equal to (a) the Alternate
   Base Rate with respect to Domestic Rate Loans, and (b) the sum of the Eurodollar Rate plus two
   and one-half percent (2.50%)with respect to Eurodollar Rate Loans.

             "SEC" shall mean the Securities and Exchange Commission or any successor thereto.

           "Section 20 Subsidiary" shall mean the Subsidiary of the bank holding company
   controlling PNC, which Subsidiary has been granted authority by the Federal Reserve Board to
   underwrite and deal in ce1iain Ineligible Securities.

             "Securitie.s Act" shall mean the Securities Act of 1933, as amended.

           "Senior Debt Payments" shall mean and include all cash actually expended by any
   Borrower to make (a) interest payments on any Advances hereunder, plus (b) scheduled principal
   payments on the Term Loan, plus (c) payments for all fees, commissions and charges set forth
   herein and with respect to any Advances, plus ( d) capitalized lease payments, plus (e) payments
   with respect to any other Indebtedness for borrowed money (other than Subordinated Debt).

         "Settlement Date" shall mean the Closing Date and thereafter Wednesday or Thursday of
  each week or more frequently if Agent deems appropriate unless such day is not a Business Day
  in which case it shall be the next succeeding Business Day.

         "Subordinated Debt" shall mean (i) "Subordinated Indebtedness" (the "Banner
  Subordinated Debt") as defined in the Subordination Agreement of substantially even date (the
  "Banner Subordination Agreement") between Agent and Banner, and (ii) "Junior Debt
  Obligations" (the "Vintage Subordinated Debt") as defined in the Subordination Agreement of
  substantially even date (the "Vintage Subordination Agreement") between Agent and Vintage.

        "Subordinated Debt Payments" shall mean and include all cash actually expended to
  make payments of principal and interest on the Subordinated Debt.



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           "Subordinated Lender" shall mean (i) Banner Aerospace Holding Company I, Inc.
    ("Banner"), and (ii) Vintage Capital Partners, LP, a Delaware limited liability company
    ("Vintage").

         "Subordinated Loan Documentation" shall mean the documents and agreements between
   Borrowers and Subordinated Lender referred to in the Subordination Agreements or relating to
   Subordinated Debt.

         "Subordination Agreement "shall mean, collectively, (i) the Banner Subordination
   Agreement, and (ii) the Vintage Subordination Agreement.

           "Subsidiaiy" of any Person shall mean a corporation or other entity of whose Equity
   Interests having ordinary voting power (other than Equity Interests having such power only by
   reason of the happening of a contingency) to elect a majority of the directors of such corporation,
   or other Persons performing similar functions for such entity, are owned, directly or indirectly,
   by such Person.

          "Subsidiary Stock" shall mean all of the issued and outstanding Equity Interests of any
   Subsidiary owned by any Borrower.

           "Tangible Net Worth" shall mean, at a particular date, (a) the aggregate amount of all
   assets of Borrowers on a Consolidated Basis as may be properly classified as such in accordance
   with GAAP consistently applied excluding such other assets as are properly classified as
   intangible assets under GAAP, less (b) the aggregate amount of all liabilities of Borrowers on a
   Consolidated Basis (other than the Subordinated Debt).

          "Tenn" shall have the meaning set forth in Section 13 .1 hereof.

          "Term Loan" shall mean the Advances made pursuant to Section 2.4 hereof.

           "Term Loan Rate" shall mean an interest rate per annum equal to (a) the sum of the
   Alternate Base Rate plus one percent (1 %) with respect to Domestic Rate Loans and (b) the sum
   of the Eurodollar Rate plus three and one-half percent (3.50%) with respect to Eurodollar Rate
   Loans.

          "Term Note" shall mean the promissory note described in Section 2.4 hereof.

           "Termination Event" shall mean (i) a Reportable Event with respect to any Plan or
  Multiemployer Plan; (ii) the withdrawal of any Borrower or any member of the Controlled
  Group from a Plan or Multiemployer Plan during a plan year in which such entity was a
  "substantial employer" as defined in Section 4001 (a)(2) of ERISA; (iii) the providing of notice
  of intent to terminate a Plan in a distress termination described in Section 4041 (c) of ERISA; (iv)
  the institution by the PBGC of proceedings to terminate a Plan or Multiemployer Plan; (v) any
  event or condition (a) which might constitute grounds under Section 4042 of ERISA for the
  termination of, or the appointment of a trustee to administer, any Plan or Muhiemployer Plan, or
  (b) that may result in termination of a M ultiemployer Plan pursuant to Section 4041 A of ERlSA;
  or (vi) the partial or complete withdrawal within the meaning of Sections 4203 and 4205 of
  ERlSA, of any Borrower or any member of the Controlled Group from a Multiemployer Plan.


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          "Toxic Substance" shall mean and include any material present on any Real Prope1iy
   which has been shown to have significant adverse effect on human health or which is subject to
   regulation under the Toxic Substances Control Act (TSCA), 15 U.S.C. §§ 2601 et seq.,
   applicable state law, or any other applicable Federal or state laws now in force or hereafter
   enacted relating to toxic substances. "Toxic Substance" includes but is not limited to asbestos,
   polychlorinated biphenyls (PCBs) and lead-based paints.

          "Trading with the Enemy Act" shall mean the foreign assets control regulations of the
   United States Treasury Department (31 CFR, Subtitle B, Chapter V, as amended) and any
   enabling legislation or executive order relating thereto.

          "Transactions" shall have the meaning set forth in Section 5.5 hereof.

          "Transferee" shall have the meaning set fo1ih in Section 16.3(c) hereof.

            "Undrawn Availability" at a particular date shall mean an amount equal to (a) the lesser
   of (i) the Formula Amount or (ii) the Maximum Revolving Advance Amount, minus (b) the sum
   of (i) the outstanding amount of Advances (other than the Term Loan) plus (ii) all amounts due
   and owing to any Borrower's trade creditors which are outstanding beyond normal trade terms,
   plus (iii) fees and expenses for which Borrowers are liable but which have not been paid or
   charged to Borrowers' Account.

          "Uniform Commercial Code" shall have the meaning set forth in Section 1.3 hereof.

           "USA PA TRI OT Act" shall mean the Uniting and Strengthening America by Providing
   Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001, Public Law 107-
   56, as the same has been, or shall hereafter be, renewed, extended, amended or replaced.

        "Week" shall mean the time period commencing with the opening of business on a
  Wednesday and ending on the end of business the following Tuesday.

            1.3. Uniform Commercial Code Terms. All terms used herein and defined in the
  Uniform Commercial Code as adopted in the State of New York from time to time (the "Uniform
  Commercial Code") shall have the meaning given therein unless otherwise defined herein.
  Without limiting the foregoing, the terms "accounts", "chattel paper", "instruments", "general
  intangibles", "payment intangibles", "supporting obligations", "securities", "investment
  property", "documents", "deposit accounts", "software", "letter of credit rights", "inventory",
  "equipment" and "fixtures", as and when used in the description of Collateral shall have the
  meanings given to such ten11s in Articles 8 or 9 of the Uniform Commercial Code. To the extent
  the definition of any category or type of collateral is expanded by any amendment, modification
  or revision to the Uniform Commercial Code, such expanded definition will apply automatically
  as of the date of such amendment, modification or revision.

           1.4. Certain Ma.tters of Construction. The terms "herein", "hereof' and "hereunder"
  and other words of similar import refer to this Agreement as a whole and not to any particular
  section, paragraph or subdivision. All references herein to Articles, Sections, Exhibits and
  Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
  this Agreement. Any pronoun used shall be deemed to cover all genders. Wherever appropriate


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     in the context, terms used herein in the singular also include the plural and vice versa. All
     references to statutes and related regulations shall include any amendments of same and any
     successor statutes and regulations. Unless otherwise provided, all references to any instruments
     or agreements to which Agent is a party, including references to any of the Other Documents,
     shall include any and all modifications or amendments thereto and any and all extensions or
     renewals thereof. All references herein to the time of day shall mean the time in New York, New
     York. Whenever the words "including" or "include" shall be used, such words shall be
     understood to mean "including, without limitation" or "include, without limitation". A Default
     or Event of Default shall be deemed to exist at all times during the period commencing on the
     date that such Default or Event of Default occurs to the date on which such Default or Event of
     Default is waived in writing pursuant to this Agreement or, in the case of a Default, is cured
     within any period of cure expressly provided for in this Agreement; and an Event of Default shall
     "continue" or be "continuing" until such Event of Default has been waived in writing by the
     Required Lenders. Any Lien referred to in this Agreement or any of the Other Documents as
     having been created in favor of Agent, any agreement entered into by Agent pursuant to this
     Agreement or any of the Other Documents, any payment made by or to or funds received by
    Agent pursuant to or as contemplated by this Agreement or any of the Other Documents, or any
    act taken or omitted to be taken by Agent, shall, unless otherwise expressly provided, be created,
    entered into, made or received, or taken or omitted, for the benefit or account of Agent and
    Lenders. Wherever the phrase "to the best of Borrowers' knowledge" or words of similar import
    relating to the knowledge or the awareness of any Borrower are used in this Agreement or Other
    Documents, such phrase shall mean and refer to (i) the actual knowledge of a senior officer of
    any Borrower or (ii) the knowledge that a senior officer would have obtained if he had engaged
    in good faith and diligent performance of his duties, including the making of such reasonably
    specific inquiries as may be necessary of the employees or agents of such Borrower and a good
    faith attempt to ascertain the existence or accuracy of the matter to which such phrase relates.
    All covenants hereunder shall be given independent effect so that if a particular action or
   condition is not permitted by any of such covenants, the fact that it would be permitted by an
   exception to, or otherwise within the limitations of, another covenant shall not avoid the
   occurrence of a default if such action is taken or condition exists. In addition, all representations
   and warranties hereunder shall be given independent effect so that if a particular representation
   or warranty proves to be incorrect or is breached, the fact that another representation or warranty
   concerning the same or similar subject matter is correct or is not breached will not affect the
   incorrectness of a breach of a representation or warranty hereunder.

   II     ADVANCES, PAYMENTS.

           2.1.   Revolving Advances.

                  (a)   Amount of Revolving Advances. Subject to the terms and conditions set
  forth in this Agreement including Sections 2.l(b) and (c), each Lender, severally and not jointly,
  vvill makc Revolving Advances to Borrowers in aggregate amounts outstanding at any time equal
  to such Lender's Commitment Percentage of the lesser of (x) the Maximum Revolving Advance
  Amount less the aggregate Maximum Undrawn Amount of all outstanding Letters of Credit or
  (y) an amount equal to the sum of:




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                        (i)    up to 85%, subject to the provisions of Section 2.l(c) hereof
    ("Receivables Advance Rate"), of Eligible Receivables, plus

                           (ii)   up to the lesser of (A) 85%, subject to the provisions of Section
   2.1 (c) hereof: of the value of the Eligible Inventory) ("Inventory Advance Rate" and together
   with the Receivables Advance Rate, collectively, the "Advance Rates"), (B) 85% of the
   appraised net orderly liquidation value of Eligible Inventory (as evidenced by an Inventory
   appraisal satisfactory to Agent in its sole discretion exercised in good faith) or (C) $2,500,000 in
   the aggregate at any one time, inclusive of amounts under clause (iii) of this clause (y), plus

                          (iii)  the product of (a) the aggregate Maximum Undrawn Amount of all
   outstanding trade Letters of Credit times (b) the Inventory Advance Rate, minus

                          (iv)     the aggregate Maximum Undrawn Amount of all outstanding
   Letters of Credit, minus

                          (v)      such reserves as Agent may reasonably deem proper and necessary
   from time to time.

   The amount derived from the sum of (x) Sections 2.1 (a)(y)(i) plus (ii) plus (iii) minus (iv) and
   minus (v) at any time and from time to time shall be referred to as the "Formula Amount". The
   Revolving Advances shall be evidenced by one or more secured promissory notes (collectively,
   the "Revolving Credit Note") substantially in the form attached hereto as Exhibit 2.1 (a).

   Without limiting the right of the Agent to establish such other reserves as it shall reasonably
   deem proper and necessary from time to time, Agent may establish the following reserves under
   clause (v) above:

          (i)    tlu-ee months rent on any premises with respect to which Agent has not received a
                 landlord agreement satisfactory to Agent in its good faith business judgment,
                 within sixty days after the date hereof; and

          (ii)    $500,000 until such time as the Baill1er Subordinated Debt is paid in full or it is
                  confirmed to Agent's satisfaction that there is no liability on the Banner
                 Subordinated Debt. In the event the amount owing on the Banner Subordinated
                 Debt is in Agent's judgment (exercised in good faith) likely to be more than
                 $500,000, such reserve shall be increased to such higher amount. BorrO\ver shall
                 promptly provide Agent with all pertinent information relating to the Banner
                 Subordinated Debt and to discussions and negotiations relating to the liability on
                 the Banner Subordinated Debt. Nothing herein limits any of the provisions
                 restricting payments on the Banner Subordinated Debt in this Agreement or in the
                 Banner Subordination Agreement. Borrowers represent and warrant that, to the
                 best of their lmowledge, the amount payable on the Baimer Subordinated Debt is,
                 and will be confirmed to be, zero.

               (b)    Individual Revolving Advances. Lenders may, in their discretion, make
  Revolving Advances separately to each Borrower based on the Collateral of each Borrower.



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                     (c) Discretionary Rights. The Advance Rates may be increased or decreased
    by Agent at any time and from time to time in the exercise of its reasonable discretion. Each
    Borrower consents to any such increases or decreases and acknowledges that decreasing the
    Advance Rates or increasing or imposing reserves may limit or restrict Advances requested by
    Borrowing Agent. The rights of Agent under this subsection are subject to the provisions of
    Section 16. 2(b).

             2.2.   Procedure for Revolving Advances Borrowing.

                  (a)     Borrowing Agent on behalf of any Borrower may notify Agent prior to
    10:00 a.m. on a Business Day of a Borrower's request to incur, on that day, a Revolving
   Advance hereunder. Should any amount required to be paid as interest hereunder, or as fees or
   other charges under this Agreement or any other agreement with Agent or Lenders, or with
   respect to any other Obligation, become due, same shall be deemed a request for a Revolving
   Advance as of the date such payment is due, in the amount required to pay in full such interest,
   fee, charge or Obligation under this Agreement or any other agreement with Agent or Lenders,
   and such request shall be irrevocable.

                   (b)     Notwithstanding the provisions of subsection (a) above, in the event any
    Borrower desires to obtain a Eurodollar Rate Loan, Bo1TOwing Agent shall give Agent written
   notice by no later than I 0:00 a.m. on the day which is three (3) Business Days prior to the date
   such Eurodollar Rate Loan is to be borrowed, specifying (i) the date of the proposed borrowing
   (which shall be a Business Day), (ii) the type of borrowing and the amount on the date of such
   Advance to be borrowed, which amount shall be a minimum of $1,000,000 with integral
   multiples of $500,000 in excess thereof, and (iii) the duration of the first Interest Period therefor.
   Interest Periods for Eurodollar Rate Loans shall be for one, two, or three months; provided, if an
   Interest Period would end on a day that is not a Business Day, it shall end on the next succeeding
   Business Day unless such day falls in the next succeeding calendar month in which case the
   Interest Period shall end on the next preceding Business Day. No Eurodollar Rate Loan shall be
   made available to any Borrower during the continuance of a Default or an Event of Default.
   After giving effect to each requested Eurodollar Rate Loan, including those which are converted
   from a Domestic Rate Loan under Section 2.2(d), there shall not be outstanding more than four
   (4) Eurodollar Rate Loans, in the aggregate.

                    (c)     Each Interest Period of a Eurodollar Rate Loan shall commence on the
   date such Eurodollar Rate Loan is made and shall end on such date as Borrowing Agent may
   elect as set forth in subsection (b )(iii) above provided that the exact length of each Interest Period
   shall be determined in accordance with the practice of the interbank market for offshore Dollar
   deposits and no Interest Period shall end after the last day of the Term.

          Borrowing Agent shall elect the initial Interest Period applicable to a Eurodollar Rate
  Loan by its notice of borrowing given to Agent pursuant to Section 2.2(b) or by its notice of
  conversion given to Agent pursuant to Section 2.2(d), as the case may be. Borrowing Agent
  shall elect the duration of each succeeding Interest Period by giving irrevocable written notice to
  Agent of such duration not later than 10:00 a.m. on the day which is three (3) Business Days
  prior to the last day of the then current Interest Period applicable to such Eurodollar Rate Loan.
  If Agent docs not receive timely notice of the Interest Period elected by Borrowing Agent,


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   Borrowing Agent shall be deemed to have elected to convert to a Domestic Rate Loan subject to
   Section 2.2(d) hcreinbelow.

                   (d)     Provided that no Event of Default shall have occurred and be continuing,
    Borrowing Agent may, on the last Business Day of the then current Interest Period applicable to
    any outstanding Eurodollar Rate Loan, or on any Business Day with respect to Domestic Rate
    Loans, conve1i any such loan into a loan of another type in the same aggregate principal amount
   provided that any conversion of a Eurodollar Rate Loan shall be made only on the last Business
   Day of the then current Interest Period applicable to such Eurodollar Rate Loan. If Borrowing
   Agent desires to convert a loan, Borrowing Agent shall give Agent written notice by no later
   than 10:00 a.m. (i) on the day which is three (3) Business Days' prior to the date on which such
   conversion is to occur with respect to a conversion from a Domestic Rate Loan to a Eurodollar
   Rate Loan, or (ii) on the day which is one (1) Business Day prior to the date on which such
   conversion is to occur with respect to a conversion from a Eurodollar Rate Loan to a Domestic
   Rate Loan, specifying, in each case, the date of such conversion, the loans to be conve1ied and if
   the conversion is from a Domestic Rate Loan to any other type of loan, the duration of the first
   Interest Period therefor.

                   ( e)    At its option and upon written notice given prior to 10:00 a.m. (New York
   time) at least three (3) Business Days' prior to the date of such prepayment, any Borrower may
   prepay the Eurodollar Rate Loans in whole at any time or in part from time to time with accrued
   interest on the principal being prepaid to the date of such repayment. Such Borrower shall
   specify the date of prepayment of Advances which are Eurodollar Rate Loans and the amount of
   such prepayment. In the event that any prepayment of a Eurodollar Rate Loan is required or
   permitted on a date other than the last Business Day of the then current Interest Period with
   respect thereto, such Borrower shall indemnify Agent and Lenders therefor in accordance with
   Section 2.2(f) hereof

                 (f)    Each Borrower shall indemnify Agent and Lenders and hold Agent ~md
  Lenders harmless from and against any and all losses or expenses that Agent and Lenders may
  sustain or incur as a consequence of any prepayment, conversion of or any default by any
  Borrower in the payment of the principal of or interest on any Eurodollar Rate Loan or failure by
  any Borrower to complete a borrowing of, a prepayment of or conversion of or to a Eurodollar
  Rate Loan after notice thereof has been given, including, but not limited to, any interest payable
  by Agent or Lenders to lenders of funds obtained by it in order to make or maintain its
  Eurodollar Rate Loans hereunder. A certificate as to any additional amounts payable pursuant to
  the foregoing sentence submitted by Agent or any Lender to Borrowing Agent shall be
  conclusive absent manifost error.

                 (g)     Notwithstanding any other provision hereof, if any Applicable Law, treaty,
  regulation or directive, or any change therein or in the inteqJretation or application thereof, shall
  make it unlawful for any Lender (for purposes of this subsection (g), the term "Lender" shall
  include any Lender and the office or branch where any Lender or any corporation or bank
  controlling such Lender makes or maintains any Eurodollar Rate Loans) to make or maintain its
  Eurodollar Rate Loans, the obligation of Lenders to make Eurodollar Rate Loans hereunder shall
  forthwith be cancelled and Borrowers shall, if any affected Eurodollar Rate Loans are then
  outstanding, promptly upon request from Agent, either pay all such affected Eurodollar Rate


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   Loans or convert such affected Eurodollar Rate Loans into loans of another type. If any such
   payment or conversion of any Eurodollar Rate Loan is made on a day that is not the last day of
   the Interest Period applicable to such Eurodollar Rate Loan, Borrowers shall pay Agent, upon
   Agent's request, such amount or amounts as may be necessary to compensate Lenders for any
   loss or expense sustained or incurred by Lenders in respect of such Eurodollar Rate Loan as a
   result of such payment or conversion, including (but not limited to) any interest or other amounts
   payable by Lenders to lenders of funds obtained by Lenders in order to make or maintain such
   Eurodollar Rate Loan. A certificate as to any additional amounts payable pursuant to the
   foregoing sentence submitted by Lenders to Borrowing Agent shall be conclusive absent
   manifest error.

             2.3. Disbursement of Advance Proceeds. All Advances shall be disbursed from
    whichever office or other place Agent may designate from time to time and, together with any
    and all other Obligations of Borrowers to Agent or Lenders, shall be charged to Borrowers'
    Account on Agent's books. During the Term, Borrowers may use the Revolving Advances by
   borrowing, prepaying and reborrowing, all in accordance with the terms and conditions hereof.
   The proceeds of each Revolving Advance requested by Borrowing Agent on behalf of any
   Borrower or deemed to have been requested by any Borrower under Section 2.2 hereof shall,
   with respect to requested Revolving Advances to the extent Lenders make such Revolving
   Advances, be made available to the applicable Borrower on the day so requested by way of
   credit to such Borrower's operating account at PNC, or such other bank as Borrowing Agent may
   designate following notification to Agent, in immediately available federal funds or other
   immediately available funds or, with respect to Revolving Advances deemed to have been
   requested by any Borrower, be disbursed to Agent to be applied to the outstanding Obligations
   giving rise to such deemed request.

          2.4.    Term Loan. Subject to the terms and conditions of this Agreement, each Lender,
  severally and not jointly, will make a Term Loan to Borrowers in the sum equal to such Lender's
  Commitment Percentage of $5,000,000. The Term Loan shall be advanced on the Closing Date
  and shall be, with respect to principal, payable as follows, subject to acceleration upon the
  occurrence of an Event of Default under this Agreement or termination of this Agreement: equal
  monthly principal payments of $83,333.33 each, commencing December 1, 2005 and continuing
  on the first day of each month thcreafier. The Tenn Loan shall be evidenced by one or more
  secured promissory notes (collectively, the "Term Note") in substantially the form attached
  hereto as Exhibit 2.4.

           2. 5. Maximum Advances. The aggregate balance of Revolving Advances outstanding
  at any time shall not exceed the lesser of (a) the Maximum Revolving Advance Amount or (b)
  the Formula Amount less, in each case (but without duplication), the aggregate Maximum
  Undrawn Amount of all issued and outstanding Letters of Credit.

          2.6.   &12ayment of Advances.

                (a)     The Revolving Advances shall be due and payable in full on the last day
  of the Term subject to earlier prepayment as herein provided. The Term Loan shall be due and
  payable as provided in Section 2.4 hereof and in the Term Note, subject to mandatory
  prepayments as herein provided.


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                   (b)    Each Borrower recognizes that the amounts evidenced by checks, notes,
   drafts or any other items of payment relating to and/or proceeds of Collateral may not be
   collectible by Agent on the date received. In consideration of Agent's agreement to
   conditionally credit Borrowers' Account as of the Business Day on which Agent receives those
   items of payment, each Borrower agrees that, in computing the charges under this Agreement, all
   items of payment shall be deemed applied by Agent on account of the Obligations one (1)
   Business Day after (i) the Business Day Agent receives such payments via wire transfer or
   electronic depository check or (ii) in the case of payments received by Agent in m1y other form,
   the Business Day such payment constitutes good funds in Agent's account. Agent is not,
   however, required to credit Borrowers' Account for the amount of any item of payment which is
   unsatisfactory to Agent and Agent may charge Borrowers' Account for the amount of any item
   of payment which is returned to Agent unpaid.

                   (c)    All payments of principal, interest and other amounts payable hereunder,
   or under any of the Other Documents shall be made to Agent at the Payment Office not later than
   1:00 P.M. (New York time) on the due date therefor in lawful money of the United States of
   America in federal funds or other funds immediately available to Agent. Agent shall have the
   right to effectuate payment on any and all Obligations due and owing hereunder by charging
   Borrowers' Account or by making Advances as provided in Section 2.2 hereof.

                   (d)    Borrowers shall pay principal, interest, and all other amounts payable
   hereunder, or under any related agreement, without any deduction whatsoever, including, but not
   limited to, any deduction for any setoff or counterclaim.

           2.7. Repayment of Excess Advances. The aggregate balance of Advances outstanding
   at any time in excess of the maximum amount of Advances permitted hereunder shall be
   immediately due and payable without the necessity of any demand, at the Payment Office,
   whether or not a Default or Event of Default has occurred.

            2.8. Statement of Account. Agent shall maintain, in accordance with its customary
   procedures, a loan account ("Borrowers' Account") in the name of Borrowers in which shall be
  recorded the date and amount of each Advance made by Agent and the date and amount of each
  payment in respect thereof; provided, however, the failure by Agent to record the date and
  amount of any Advance shall not adversely affect Agent or any Lender. Each month, Agent
  shall send to Borrowing Agent a statement showing the accounting for the Advances made,
  payments made or credited in respect thereof, and other transactions between Agent and
  Borrowers during such month. The monthly statements shall be deemed correct and binding
  upon Borrowers in the absence of manifest error and shall constitute an account stated between
  Lenders and Borrowers unless Agent receives a written statement of Borrowers' specific
  exceptions thereto within ninety days after such statement is received by Borrowing Agent. The
  records of Agent with respect to the loan account shall be conclusive evidence absent manifest
  error of the amounts of Advances and other charges thereto and of payments applicable thereto.

          2.9. Letters of Credit. Subject to the terms and conditions hereof, Agent shall issue or
  cause the issuance of standby and/or trade Letters of Credit ("Letters of Credit") for the account
  of any Borrower; provided, however, that Agent will not be required to issue or cause to be
  issued any Letters of Credit to the extent that the issuance thereof would then cause the sum of


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    (i) the outstanding Revolving Advances plus (ii) the Maximum Undrawn Amount of all
    outstanding Letters of Credit to exceed the lesser of (x) the Maximum Revolving Advance
    Amount or (y) the Formula Amount. The Maximum Undrawn Amount of outstanding Letters of
    Credit shall not exceed in the aggregate at any time the Letter of Credit Sublimit. All
    disbursements or payments related to Letters of Credit shall be deemed to be Domestic Rate
    Loans consisting of Revolving Advances and shall bear interest at the Revolving Interest Rate
    for Domestic Rate Loans; Letters of Credit that have not been drawn upon shall not bear interest.

            2.10. Issuance of Letters of Credit.

                   (a)     Borrowing Agent, on behalf of Borrowers, may request Agent to issue or
   cause the issuance of a Letter of Credit by delivering to Agent at the Payment Office, prior to
   10:00 a.m. (New York time), at least five (5) Business Days' prior to the proposed date of
   issuance, Agent's form of Letter of Credit Application (the "Letter of Credit Application")
   completed to the satisfaction of Agent; and, such other certificates, docwnents and other papers
   and information as Agent may reasonably request. Borrowing Agent, on behalf of Borrowers,
   also has the right to give instructions and make agreements with respect to any application, any
   applicable letter of credit and security agreement, any applicable letter of credit reimbursement
   agreement and/or any other applicable agreement, any letter of credit and the disposition of
   documents, disposition of any unutilized funds, and to agree with Agent upon any amendment,
   extension or renewal of any Letter of Credit.

                   (b)     Each Letter of Credit shall, among other things, (i) provide for the
   payment of sight drafts, other written demands for payment, or acceptances of usance drafts
    when presented for honor thereunder in accordance with the terms thereof and when
    accompanied by the documents described therein and (ii) have an expiry date not later than
   twenty-four (24) months after such Letter of Credit's date of issuance and in no event later than
   the last day of the Term. Each standby Letter of Credit shall be subject either to the Uniform
   Customs and Practice for Documentary Credits ( 1993 Revision), International Chamber of
   Commerce Publication No. 500, and any amendments or revision thereof adhered to by the
   Issuer ("UCP 500") or the International Standby Practices (ISP98-International Chamber of
   Commerce Publication Number 590) (the "ISP98 Rules"), as determined by Agent, and each
   trade Letter of Credit shall be subject to UCP 500.

               (c)     Agent shall use its reasonable efforts to notify Lenders of the request by
  Borrowing Agent for a Letter of Credit hereunder.

           2.11. Requirements for Issuance of Letters of Credit. Borrowing Agent shall authorize
  and direct any Issuer to name the applicable Borrower as the "Applicant" or "Account Party" of
  each Letter of Credit. If Agent is not the Issuer of any Letter of Credit, Borrowing Agent shall
  authorize and direct the Issuer to deliver to Agent all instruments, documents, and other writings
  and property received by the Issuer pursuant to the Letter of Credit and to accept and rely upon
  Agent's instructions and agreements with respect to all matters arising .in connection with the
  Letter of Credit, and the application therefor.

          2.12. Disbursements, Reimbursement.




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                    (a)   Immediately upon the issuance of each Letter of Credit, each Lender shall
    be deemed to, and hereby irrevocably and unconditionally agrees to, purchase from Agent a
    participation in such Letter of Credit and each drawing thereunder in an amount equal to such
    Lender's Commitment Percentage of the Maximum Face Amount of such Letter of Credit and
    the amount of such drawing, respectively.

                   (b)     In the event of any request for a drawing under a Letter of Credit by the
    beneficiary or transferee thereof, Agent will promptly notify Borrowing Agent. Provided that
    Borrowing Agent shall have received such notice, the Borrowers shall reimburse (such
   obligation to reimburse Agent shall sometimes be refened to as a "Reimbursement Obligation")
   Agent prior to 12:00 Noon, New York time on each date that an amount is paid by Agent under
   any Letter of Credit (each such date, a "Drawing Date") in an amount equal to the amount so
   paid by Agent. In the event Borrowers fail to reimburse Agent for the full amount of any
   drawing under any Letter of Credit by 12:00 Noon, New York time, on the Drawing Date, Agent
   will promptly notify each Lender thereof, and Borrowers shall be deemed to have requested that
   a Domestic Rate Loan be made by the Lenders to be disbursed on the Drawing Date under such
   Letter of Credit, subject to the amount of the unutilized portion of the lesser of Maximum
   Revolving Advance Amount or the Formula Amount and subject to Section 8.2 hereof. Any
   notice given by Agent pursuant to this Section 2. l 2(b) may be oral if immediately confirmed in
   writing; provided that the lack of such an immediate confirmation shall not affect the
   conclusiveness or binding effect of such notice.

                  (c)     Each Lender shall upon any notice pursuant to Section 2.12(b) make
   available to Agent an amount in immediately available funds equal to its Commitment
   Percentage of the amount of the drawing, whereupon the participating Lenders shall (subject to
   Section 2. 12(d)) each be deemed to have made a Domestic Rate Loan to Borrowers in that
   amount. If any Lender so notified fails to make available to Agent the amount of such Lender's
   Commitment Percentage of such amount by no later than 2:00 p.m., New York time on the
   Drawing Date, then interest shall accrue on such Lender's obligation to make such payment,
  from the Drawing Date to the date on which such Lender makes such payment (i) at a rate per
  annum equal to the Federal Funds Effective Rate during the first three days following the
  Drawing Date and (ii) at a rate per annum equal to the rate applicable to Domestic Rate Loans on
  and after the fourth day following the Drawing Date. Agent will promptly give notice of the
  occurrence of the Drawing Date, but failure of Agent to give any such notice on the Drawing
  Date or in sufficient time to enable any Lender to effect such payment on such date shall not
  relieve such Lender from its obligation under this Section 2.12( c), provided that such Lender
  shall not be obligated to pay interest as provided in Section 2.12(c) (i) and (ii) until and
  commencing from the date ofreccipt of notice from Agent of a drawing.

                   ( d)    With respect to any unreirnbursed drawing that is not converted into a
   Domestic Rate Loan to Borrowers in whole or in part as contemplated by Section 2. l 2(b ),
  because of Borrowers' failure to satisfy the conditions set forth in Section 8.2 (other than any
  notice requirements) or for any other reason, Bonowers shall be deemed to have incurred from
  Agent a borrowing (each a "Letter of Credit Borrowing") in the amount of such drawing. Such
  Letter of Credit Borrowing shall be due and payable on demand (together with interest) and shall
  bear interest at the rate per annum applicable to a Domestic Rate Loan. Each Lender's payment
  to Agent pursuant to Section 2.12( c) shall be deemed to be a payment in respect of its


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    participation in such Letter of Credit Borrowing and shall constitute a "Participation Advance"
    from such Lender in satisfaction of its Participation Commitment under this Section 2.12.

                  (e)    Each Lender's Participation Commitment shall continue until the last to
   occur of any of the following events: (x) Agent ceases to be obligated to issue or cause to be
   issued Letters of Credit hereunder; (y) no Letter of Credit issued or created hereunder remains
   outstanding and uncancelled and (z) all Persons (other than the Borrowers) have been fully
   reimbursed for all payments made under or relating to Letters of Credit.

            2.13. Repayment of Participation Advances.

                   (a)   Upon (and only upon) receipt by Agent for its account of immediately
   available funds from Borrowers (i) in reimbursement of any payment made by the Agent under
   the Letter of Credit with respect to which any Lender has made a Participation Advance to
   Agent, or (ii) in payment of interest on such a payment made by Agent under such a Letter of
   Credit, Agent will pay to each Lender, in the same funds as those received by Agent, the amount
   of such Lender's Commitment Percentage of such funds, except Agent shall retain the amount of
   the Commitment Percentage of such funds of any Lender that did not make a Participation
   Advance in respect of such payment by Agent.

                   (b)    If Agent is required at any time to return to any Bonower, or to a trustee,
   receiver, liquidator, custodian, or any official in any insolvency proceeding, any portion of the
   payments made by Borrowers to Agent pursuant to Section 2. l 3(a) in reimbursement of a
   payment made under the Letter of Credit or interest or fee thereon, each Lender shall, on demand
   of Agent, forthwith return to Agent the amount of its Commitment Percentage of any amounts so
   returned by Agent plus interest at the Federal Funds Effective Rate.

             2.14. Documentation. Each Borrower agrees to be bound by the terms of the Letter of
   Credit Application and by Agent's interpretations of any Letter of Credit issued on behalf of
   such Borrower and by Agent's written regulations and customary practices relating to letters of
   credit, though Agent's interpretations may be different from such Borrower's own. In the event
  of a conflict between the Letter of Credit Application and this Agreement, this Agreement shall
  govern. It is understood and agreed that, except in the case of gross negligence or willful
  misconduct, Agent shall not be liable for any error, negligence and/or mistakes, whether of
  omission or commission, in following the Borrowing Agent's or any Borrower's instructions or
  those contained in the Letters of Credit or any modifications, amendments or supplements
  thereto.

           2.15. Determination to Honor Drawing: Request. In determining whether to honor any
  request for drawing under any Letter of Credit by the beneficiary thereof, Agent shall be
  responsible only to determine that the documents and certificates required to be delivered under
  such Letter of Credit have been delivered and that they comply on their face with the
  requirements of such Letter of Credit and that any other drawing condition appearing on the face
  of such Letter of Credit has.been satisfied in the manner so set forth.

          2.16. Nature of Participation c.md Reim_bursement Obligations. Except in the case of
  gross negligence or intentional misconduct on the part of Agent, each Lender's obligation in



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    accordance with this Agreement to make the Revolving Advances or Pm1icipation Advances as a
    result of a drawing under a Letter of Credit, and the obligations of Bonowers to reimburse Agent
    upon a draw under a Letter of Credit, shall be absolute, unconditional and irrevocable, and shall
    be performed strictly in accordance with the terms of this Section 2.16 under all circumstances,
    including the following circumstances:

                       (i)    any set-off, counterclaim, recoupment, defense or other right
    which such Lender may have against Agent, any Borrower or any other Person for any reason
    whatsoever;

                         (ii)    the failure of any Borrower or any other Person to comply, in
   connection with a Letter of Credit Borrowing, with the conditions set forth in this Agreement for
   the making of a Revolving Advance, it being acknowledged that such conditions are not required
   for the making of a Letter of Credit Borrowing and the obligation of the Lenders to make
   Participation Advances under Section 2.12;

                           (iii)     any lack of validity or enforceability of any Letter of Credit;

                          (iv)   any claim of breach of warranty that might be made by Borrower
   or any Lender against the beneficiary of a Letter of Credit, or the existence of any claim, set-off,
   recoupment, counterclaim, crossclaim, defense or other right which any Bonower or any Lender
   may have at any time against a beneficiary, any successor beneficiary or any transferee of any
   Letter of Credit or the proceeds thereof (or any Persons for whom any such transferee may be
   acting), Agent or any Lender or any. other Person, whether in connection with this Agreement,
   the transactions contemplated herein or any unrelated transaction (including any underlying
   transaction between any Borrower or any Subsidiaries of such Borrower and the beneficiary for
   which any Letter of Credit was procured);

                           (v)     the lack of power or authority of any signer of (or any defect in or
   forgery of any signature or endorsement on) or the form of or lack of validity, sufficiency,
   accuracy, enforceability or genuineness of any draft, demand, instrument, certificate or other
   document presented under or in connection with any Letter of Credit, or any fraud or alleged
   fraud in connection with any Letter of Credit, or the transport of any property or provision of
   services relating to a Letter of Credit, in each case even if Agent or any of Agent's Affiliates has
   been notified thereof;

                         (vi)    payment by Agent under any Letter of Credit against presentation
  of a demand, draft or ce1iificate or other document which does not comply with the terms of such
  Letter of Credit;

                          (vii) the solvency of, or any acts or omissions by, any beneficiary of any
  Letter of Credit, or any other Person having a role in any transaction or obligation relating to a
  Letter of Credit, or the existence, nature, quality, quantity, condition, value or other characteristic
  of any property or services relating to a Letter of Credit;

                          (viii) any failure by the Agent or any of Agent's Affiliates to issue any
  Letter of Credit in the form requested by Borrowing Agent, unless the Agent has received written
  notice from Borrovving Agent of such failure within three (3) Business Days after the Agent shall


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    have furnished Borrowing Agent a copy of such Letter of Credit and such error is material and
    no drawing has been made thereon prior to receipt of such notice;

                           (ix)     any Material Adverse Effect on any Borrower or any Guarantor;

                           (x)      any breach of this Agreement or any Other Document by any party
    thereto;

                         (xi)    the occurrence or continuance of an insolvency proceeding with
    respect to any Borrower or any Guarantor;

                           (xii)    the fact that a Default or Event of Default shall have occurred and
   be continuing;

                        (xiii) the fact that the Term shall have expired or this Agreement or the
   Obligations hereunder shall have been terminated; and

                           (xiv) any other circumstance or happening whatsoever, whether or not
   similar to any of the foregoing.

             2.17. Indemnity. In addition to amounts payable as provided in Section 16.5, each
   Borrower hereby agrees to protect, indemnify, pay and save harmless Agent and any of Agent's
   Affiliates that have issued a Letter of Credit from and against any and all claims, demands,
   liabilities, damages, taxes, penalties, interest, judgments, losses, costs, charges and expenses
   (including reasonable fees, expenses and disbursements of counsel and allocated costs of internal
   counsel) which the Agent or any of Agent's Affiliates may incur or be subject to as a
   consequence, direct or indirect, of the issuance of any Letter of Credit, other than as a result of
   (A) the gross negligence or willful misconduct of the Agent or (b) the wrongful dishonor by the
   Agent or any of Agent's Affiliates of a proper demand for payment made under any Letter of
   Credit, except if such dishonor resulted from any act or omission, whether rightful or wrongful,
   of any present or future de jure or de facto Governmental Body (all such acts or omissions herein
   called "Governmental Acts").

            2.18. Liability for Acts and Omissions. As between Borrowers and Agent and Lenders,
   each Borrower assumes all risks of the acts and omissions of, or misuse of the Letters of Credit
   by, the respective beneficiaries of such Letters of Credit. In fmtherance and not in limitation of
   the respective foregoing, Agent shall not be responsible for: (i) the form, validity, sufficiency,
   accuracy, genuineness or legal effect of any document submitted by any party in connection with
  the application for an issuance of any such Letter of Credit, even if it should in fact prove to be
   in any or all respects invalid, insufficient, inaccurate, fraudulent or forged (even if Agent shall
  have been notified thereof); (ii) the validity or sufficiency of any instrument transferring or
  assigning or purporting to transfer or assign any such Letter of Credit or the rights or benefits
  thereunder or proceeds thereof, in whole or in part, which may prove to be invalid or ineffective
  for any reason; (iii) the failure of the beneficiary of any such Letter of Credit, or any other paiiy
  to which such Letter of Credit may be transferred, to comply fully with any conditions required
  in order to draw upon such Letter of Credit or any other claim of any Borrower against any
  beneficiary of such Letter of Credit, or any such transferee, or any dispute between or among any
  Borrower and any beneficiary of any Letter of Credit or any such transferee; (iv) errors,


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     omissions, interruptions or delays in transmission or delivery of any messages, by mail, cable,
     telegraph, telex or otherwise, whether or not they be in cipher; (v) errors in interpretation of
     technical terms; (vi) any loss or delay in the transmission or otherwise of any document required
     in order to make a drawing under any such Letter of Credit or of the proceeds thereof; (vii) the
     misapplication by the beneficiary of any such Letter of Credit of the proceeds of any drawing
     under such Letter of Credit; or (viii) any consequences arising from causes beyond the control of
     Agent, including any governmental acts, and none of the above shall affect or impair, or prevent
    the vesting of, any of Agent's rights or powers hereunder. Nothing in the preceding sentence
    shall relieve Agent from liability for Agent's gross negligence or willful misconduct in
    connection with actions or omissions described in such clauses (i) through (viii) of such
    sentence. In no event shall Agent or Agent's Affiliates be liable to any Borrower for any
    indirect, consequential, incidental, punitive, exemplary or special damages or expenses
    (including without limitation attorneys' fees), or for any damages resulting from any change in
    the value of any prope1ty relating to a Letter of Credit.

             Without limiting the generality of the foregoing, Agent and each of its Affiliates (i) may
    rely on any oral or other communication believed in good faith by Agent or such Affiliate to
    have been authorized or given by or on behalf of the applicant for a Letter of Credit, (ii) may
    honor any presentation if the documents presented appear on their face substantially to comply
    with the terms and conditions of the relevant Letter of Credit; (iii) may honor a previously
    dishonored presentation under a Letter of Credit, whether such dishonor was pursuant to a court
    order, to settle or compromise any claim of wrongfol dishonor, or otherwise, and shall be entitled
   to reimbursement to the same extent as if such presentation had initially been honored, together
   with any interest paid by Agent or its Affiliates; (iv) may honor any drawing that is payable upon
   presentation of a statement advising negotiation or payment, upon receipt of such statement
   (even if such statement indicates that a draft or other document is being delivered separately),
   and shall not be liable for any failure of any such draft or other document to arrive, or to conform
   in any way with the relevant Letter of Credit; (v) may pay any paying or negotiating bank
   claiming that it rightfully honored under the laws or practices of the place where such bank is
   located; and (vi) may settle or adjust any claim or demand made on Agent or its Affiliate in any
   way related to any order issued at the applicant's request to an air carrier, a letter of guarantee or
   of indemnity issued to a carrier or any similar document (each an "Order") and honor any
   drawing in connection with any Letter of Credit that is the subject of such Order,
   notwithstanding that any drafts or other documents presented in connection with such Letter of
   Credit fail to conform in any way with such Letter of Credit.

           In furtherance and extension and not in limitation of the specific provisions set forth
   above, any action taken or omitted by Agent under or in connection with the Letters of Credit
   issued by it or any documents and certificates delivered thereunder, if taken or omitted in good
   faith and without gross negligence, shall not put Agent under any resulting liability to any
   Borrower or any Lender.

          2.19. Additional Payments. Any sums expended by Agent or any Lender due to any
  Borrower's failure to perform or comply with its obligations under this Agreement or any Other
  Document including any Borrower's obligations under Sections 4.2, 4.4, 4.12, 4.13, 4.14 and 6.1
  hereof, may be charged to Borrowers' Account as a Revolving Advance and added to the
  Obligations.


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            2.20. Manner_of Borrowing and Payment.

                  (a)   Each borrowing of Revolving Advances shall be advanced according to
   the applicable Commitment Percentages of Lenders. The Term Loan shall be advanced
   according to the Commitment Percentages of Lenders.

                    (b)   Each payment (including each prepayment) by any Borrower on account
   of the principal of and interest on the Revolving Advances, shall be applied to the Revolving
   Advances pro rata according to the applicable Commitment Percentages of Lenders. Each
   payment (including each prepayment) by any Borrower on account of the principal of and
   interest on the Term Note, shall be made from or to, or applied to that portion of the Term Loan
   evidenced by the Term Note pro rata according to the Commitment Percentages of Lenders.
   Except as expressly provided herein, all payments (including prepayments) to be made by any
   Borrower on account of principal, interest and fees shall be made without set off or counterclaim
   and shall be made to Agent on behalf of the Lenders to the Payment Office, in each case on or
   prior to l :00 P.M., New York time, in Dollars and in immediately available funds.

                  (c)

                          (i)    Notwithstanding anything to the contrary contained in Sections
   2.20(a) and (b) hereof: commencing with the first Business Day following the Closing Date, each
   borrowing of Revolving Advances shall be advanced by Agent and each payment by any
  Borrower on account of Revolving Advances shall be applied first to those Revolving Advances
  advanced by Agent. On or before 1 :00 P .M., New York time, on each Settlement Date
  commencing with the first Settlement Date following the Closing Date, Agent and Lenders shall
  make certain payments as follows: (I) if the aggregate amount of new Revolving Advances made
  by Agent during the preceding Week (if any) exceeds the aggregate amount of repayments
  applied to outstanding Revolving Advances during such preceding Week, then each Lender shall
  provide Agent with funds in an amount equal to its applicable Commitment Percentage of the
  difference between (w) such Revolving Advances and (x) such repayments and (II) if the
  aggregate amount of repayments applied to outstanding Revolving Advances during such Week
  exceeds the aggregate amount of new Revolving Advances made during such Week, then Agent
  shall provide each Lender with funds in an amount equal to its applicable Commitment
  Percentage of the difference between (y) such repayments and (z) such Revolving Advances.

                        (ii)   Each Lender shall be entitled to earn interest at the applicable
  Contract Rate on outstanding Advances which it has funded.

                         (iii)   Promptly following each Settlement Date, Agent shall submit to
  each Lender a certificate with respect to payments received and Advances made during the Weck
  immediately preceding such Settlement Date. Such certificate of Agent shall be conclusive in
  the absence of manifest error.

                  (d)   If any Lender or Participant (a "benefited Lender") shall at any time
  receive any payment of all or part of its Advances, or interest thereon, or receive any Collateral
  in respect thereof (whether voluntarily or involuntarily or by set-off) in a greater proportion than
  any such payment to and Collateral received by any other Lender, if any, in respect of such other



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    Lender's Advances, or interest thereon, and such greater proportionate payment or receipt of
    Collateral is not expressly permitted hereunder, such benefited Lender shall purchase for cash
    from the other Lenders a participation in such portion of each such other Lender's Advances, or
   shall provide such other Lender with the benefits of any such Collateral, or the proceeds thereof,
   as shall be necessary to cause such benefited Lender to share the excess payment or benefits of
   such Collateral or proceeds ratably with each of the other Lenders; provided, however, that if all
   or any portion of such excess payment or benefits is thereafter recovered from such benefited
   Lender, such purchase shall be rescinded, and the purchase price and benefits returned, to the
   extent of such recovery, but without interest. Each Lender so purchasing a portion of another
   Lender's Advances may exercise all rights of payment (including rights of set-off) with respect
   to such portion as fully as if such Lender were the direct holder of such po1iion.

                    (e)     Unless Agent shall have been notified by telephone, confirmed in writing,
    by any Lender that such Lender will not make the amount which would constitute its applicable
    Commitment Percentage of the Advances available to Agent, Agent may (but shall not be
    obligated to) assume that such Lender shall make such amount available to Agent on the next
    Settlement Date and, in reliance upon such assumption, make available to Borrowers a
    corresponding amount. Agent will promptly notify Borrowing Agent of its receipt of any such
    notice from a Lender. If such amount is made available to Agent on a date after such next
   Settlement Date, such Lender shall pay to Agent on demand an amount equal to the product of (i)
   the daily average Federal Funds Effective Rate (computed on the basis of a year of 360 days)
   during such period as quoted by Agent, times (ii) such amount, times (iii) the number of days
   from and including such Settlement Date to the date on which such amount becomes
   immediately available to Agent. A certificate of Agent submitted to any Lender with respect to
   any amounts owing under this paragraph ( e) shall be conclusive, in the absence of manifest error.
   If such amount is not in fact made available to Agent by such Lender within three (3) Business
   Days after such Settlement Date, Agent shall be entitled to recover such an amount, with interest
   thereon at the rate per annum then applicable to such Revolving Advances hereunder, on demand
   from Borrowers; provided, however, that Agent's right to such recovery shall not prejudice or
   otherwise adversely affect Bonowers' rights (if any) against such Lender.

           2.21. Mandatory Prepayments. Subject to Section 4.3 hereof, when any Borrower sells
  or otherwise disposes of any Collateral other than Inventory in the Ordinary Course of Business,
  Borrowers shall repay the Advances in an amount equal to the net proceeds of such sale (i.e.,
  gross proceeds less the reasonable costs of such sales or other dispositions), such repayments to
  be made promptly but in no event more than one (1) Business Day following receipt of such net
  proceeds, and until the date of payment, such proceeds shall be held in trust for Agent. The
  foregoing shall not be deemed to be implied consent to any such sale otherwise prohibited by the
  terms and conditions hereof Such repayments shall be applied first, to the outstanding principal
  installments of the Term Loan in the inverse order of the maturities thereof and second to the
  remaining Advances in such order as Agent may determine, subject to Borrowers' ability to
  rebonow Revolving Advances in accordance with the terms hereof.

          2.22. Use of Proceed;.;.

                 (a)    ,Proceeds. Borrowers shall apply the proceeds of Advances to (i) repay
  existing indebtedness owed to CapitalSource Finance LLC, (ii) pay fees and expenses relating to


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    this transaction, (iii) provide for its working capital needs and reimburse drawings under Letters
    of Credit; and make payments to Vintage permitted by Section 2.22(b).

                   (b)     New Gantry; Vintage Bridge Note.

                           (1)     Borrower represents and wanants that it has borrowed $600,000
    from Vintage, evidenced by that certain promissory note dated October 24, 2005 in the original
    principal amount of $600,000 made by Borrower to Vintage (the "Vintage Bridge Note"). The
    proceeds of such borrowing were utilized by Borrower to purchase that certain Kolb Varimat, S-
    axis, single-spindle, high speed CNC Gantry type vertical mill machine (the "New Gant1y").

                          (2)    Borrower agrees to sell the New Gantry and lease it back (the
   "Gantry Sale Leaseback") within 90 days after the date hereof, and in connection therewith
   Lenders shall release or subordinate their security interest in the New Gantry to permit such sale
   to be consummated (provided no Default or Event of Default has occurred and is continuing).

                         (3)    Borrower may utilize the proceeds of Advances to repay the
   Vintage Bridge Note (provided no Default or Event of Default has occurred and is continuing).
   If Borrower has repaid the Vintage Bridge Note at the time of the Gantry Sale Leaseback, the
   proceeds of the Gantry Sale Leaseback shall be paid to Agent in accordance with Section 2.21
   (except that such proceeds shall be applied to the outstanding Revolving Advances, rather than
   the Term Loan).

                           (4)    If Borrower has not repaid the Vintage Bridge Note at the time of
   the Gantry Sale Leaseback, the proceeds of the Gantry Sale Leaseback shall be used to repay the
   Vintage Bridge Note (provided no Default or Event of Default has occurred and is continuing),
   and any excess shall be paid to Agent in accordance with Section 2.21 (except that such proceeds
   shall be applied to the outstanding Revolving Advances, rather than the Term Loan).

                   (c)    Trading with the Enemy Act. Without limiting the generality of Section
   2.22(a) above, neither the BotTowers nor any other Person which may in the future become party
   to this Agreement or the Other Documents as a Borrower, intends to use nor shall they use any
   portion of the proceeds of the Advances, directly or indirectly, for any purpose in violation of the
   Trading with the Enemy Act.

           2.23. Defaulting Lender.

                  (a)   Notwithstanding anything to the contrary contained herein, in the event
  any Lender (x) has refused (which refusal constitutes a breach by such Lender of its obligations
  under this Agreement) to make available its portion of any Advance or (y) notifies either Agent
  or Borrowing Agent that it does not intend to make available its portion of any Advance (if the
  actual refusal would constitute a breach by such Lender of its obligations under this Agreement)
  (each, a "Lender Default"), all rights and obligations hereunder of such Lender (a "Defaulting
  Lender") as to which a Lender Default is in effect and of the other parties hereto shall be
  modified to the extent of the express provisions of this Section 2.23 while such Lender Default
  remains in effect.




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                     (b)    Advances shall be incurred pro rata from Lenders (the "Non-Defaulting
    Lenders") which are not Defaulting Lenders based on their respective Commitment Percentages,
    and no Commitment Percentage of any Lender or any pro rata share of any Advances required to
    be advanced by any Lender shall be increased as a result of such Lender Default. Amounts
    received in respect of principal of any type of Advances shall be applied to reduce the applicable
    Advances of each Lender (other than any Defaulting Lender) pro rata based on the aggregate of
    the outstanding Advances of that type of all Lenders at the time of such application; provided,
    that, Agent shall not be obligated to transfer to a Defaulting Lender any payments received by
    Agent for the Defaulting Lender's benefit, nor shall a Defaulting Lender be entitled to the
    sharing of any payments hereunder (including any principal, interest or fees). Amounts payable
    to a Defaulting Lender shall instead be paid to or retained by Agent. Agent may hold and, in its
    discretion, re-lend to a Bon-ower the amount of such payments received or retained by it for the
    account of such Defaulting Lender.

                  (c)    A Defaulting Lender shall not be entitled to give instructions to Agent or
   to approve, disapprove, consent to or vote on any matters relating to this Agreement and the
   Other Documents. All amendments, waivers and other modifications of this Agreement and the
   Other Documents may be made without regard to a Defaulting Lender and, for purposes of the
   definition of "Required Lenders'', a Defaulting Lender shall be deemed not to be a Lender and
   not to have Advances outstanding.

                   (d)    Other than as expressly set forth in this Section 2.23, the rights and
   obligations of a Defaulting Lender (including the obligation to indemnify Agent) and the other
   parties hereto shall remain unchanged. Nothing in this Section 2.23 shall be deemed to release
   any Defaulting Lender from its obligations under this Agreement and the Other Docwnents, shall
   alter such obligations, shall operate as a waiver of any default by such Defaulting Lender
   hereunder, or shall prejudice any rights which any Borrower, Agent or any Lender may have
   against any Defaulting Lender as a result of any default by such Defaulting Lender hereunder.

                  (e)     In the event a Defaulting Lender retroactively cures to the satisfaction of
   Agent the breach which caused a Lender to become a Defaulting Lender, such Defaulting Lender
   shall no longer be a Defaulting Lender and shall be treated as a Lender under this Agreement.

   llI    INTEREST AND FEES.

           3. l. Interest. Interest on Advances shall be payable in arrears on the first day of each
   month with respect to Domestic Rate Loans and, with respect to Eurodollar Rate Loans, at the
   end of each Interest Period or, for Eurodollar Rate Loans with an Interest Period in excess of
  three months, at the earlier of (a) each tlu-ee months from the commencement of such Eurodollar
  Rate Loan or (b) the end of the Interest Period. Interest charges shall be computed on the actual
  principal amount of Advances outstanding during the month at a rate per annum equal to (i) with
  respect to Revolving Advances, the applicable Revolving Interest Rate and (ii) with respect to
  the Term Loan, the Term Loan Rate. Whenever, subsequent to the date of this Agreement, the
  Alternate Base Rate is increased or decreased, the applicable Contract Rate for Domestic Rate
  Loans shall be similarly changed without notice or demand of any kind by an amount equal to
  the amount of such change in the Alternate Base Rate during the time such change or changes
  remain in effect. The Eurodollar Rate shall be adjusted with respect to Eurodollar Rate Loans


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   without notice or demand of any kind on the effective date of any change in the Reserve
   Percentage as of such effective date. Upon and after the occurrence of an Event of Default, and
   during the continuation thereof, at the option of Agent or at the direction of Required Lenders,
   the Obligations shall bear interest at the applicable Contract Rate plus two (2%) percent per
   ammm (as applicable, the "Default Rate").

            3.2.   Letter of Credit Fees.

                    (a)     Borrowers shall pay (x) to Agent, for the ratable benefit of Lenders, fees
    for each Letter of Credit for the period from and excluding the date of issuance of same to and
    including the date of expiration or termination, equal to the average daily face amount of each
    outstanding Letter of Credit multiplied by 2.50% per annum, such fees to be calculated on the
    basis of a 360-day year for the actual number of days elapsed and to be payable quarterly in
    arrears on the first day of each quarter and on the last day of the Term, and (y) to the Issuer, a
    fronting fee of one quarter of one percent (0.25%) per annum, together with any and all
    administrative, issuance, amendment, payment and negotiation charges with respect to Letters of
    Credit and all fees and expenses as agreed upon by the Issuer and the Borrowing Agent in
    connection with any Letter of Credit, including in connection with the opening, amendment or
   renewal of any such Letter of Credit and any acceptances created thereunder and shall reimburse
   Agent for any and all fees and expenses, if any, paid by Agent to the Issuer (all of the foregoing
   fees, the "Letter of Credit Fees"). All such charges shall be deemed earned in full on the date
   when the same are due and payable hereunder and shall not be subject to rebate or pro-ration
   upon the termination of this Agreement for any reason. Any such charge in effect at the time of
   a particular transaction shall be the charge for that transaction, notwithstanding any subsequent
   change in the Issuer's prevailing charges for that type of transaction. All Letter of Credit Fees
   payable hereunder shall be deemed earned in full on the date when the same are due and payable
   hereunder and shall not be subject to rebate or pro-ration upon the termination of this Agreement
   for any reason.

                   (b)    On demand made at any time (i) during the existence of an Event of
   Default, with respect to all outstanding Letters of Credit or (ii) on or before the end of the Tenn,
   with respect to any outstanding Letters of Credit with an expiry date, or that can be renewed,
   beyond the day before the last day of the Term (without limitation upon any provision hereof
   which may prohibit such an expiry date or renewal), Borrowers will cause cash to be deposited
  and maintained in an account with Agent, as cash collateral, in an amount equal to one hundred
  and five percent (I 05%) of the Maximum lJndrawn Amount of all outstanding Letters of Credit,
  and each Borrower hereby irrevocably authorizes Agent, in its discretion, on such Borrower's
  hehalf and in such Borrower's name, to open such an account and to make and maintain deposits
  therein, or in an account opened by such Borrower, in the amounts required to be made by such
  Borrower, out of the proceeds of Receivables or other Collateral or out of any other funds of
  such Borrower coming into any Lender's possession at any time. Agent will invest such cash
  collateral (less applicable reserves) in such short-term money-market items as to which Agent
  and such Borrower mutually agree and the net return on such investments shall be credited to
  such account and constitute additional cash collateral. No Borrower may withdraw amounts
  credited to any such account except upon the occurrence of all of the following: (x) payment and
  performance in full of all Obligations, (y) expiration of all Letters of Credit and (z) termination
  of this Agreement.


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            3.3.   Closing Fee and Facility Fee.

                  (a)     Closing Fee. Upon the execution of this Agreement, Borrowers shall pay
   to Agent for the ratable benefit of Lenders a closing fee of $75,000, less any portion of the
   deposit heretofore paid by Borrowers to Agent remaining after application of such deposit to out
   of pocket expenses, and less the commitment fee previously paid by Borrower to Agent.

                  (b)    Facility Fee. If, for any calendar quarter during the Term, the average
   daily unpaid balance of the Revolving Advances, plus the average daily Maximum Undrawn
   Amount, for each day of such calendar quarter does not equal the Maximum Revolving Advance
   Amount, then Borrowers shall pay to Agent for the ratable benefit of Lenders a fee at a rate equal
   to 0.375% per annum on the amount by which the Maximum Revolving Advance Amount
   exceeds the average daily unpaid balance of the Revolving Advances, plus the average daily
   Maximum Undrawn Amount, for each day of such calendar quarter. Such fee shall be payable to
   Agent in arrears on the first day of each calendar quarter with respect to the previous calendar
   quarter.

           3.4.    Collateral Evaluation Fee, Collateral Monitoring Fee.

                  (a)    Collateral Evaluation Fee. Borrowers shall pay Agent a collateral
   evaluation fee equal to $1,500 per month commencing on the first day of the month following
   the Closing Date and on the first day of each month thereafter during the Term. The collateral
   evaluation fee shall be deemed earned in full on the date when same is due and payable
   hereunder and shall not be subject to rebate or proration upon termination of this Agreement for
   any reason.

                  (b)     Collateral Monitoring Fee. Borrowers shall pay to Agent on the first day
   of each month following any month in which Agent performs any collateral monitoring - namely
   any field examination, collateral analysis or other business analysis, the need for which is to be
  determined by Agent and which monitoring is undertaken by Agent or for Agent's benefit - a
  collateral monitoring fee in an amount equal to $750 per day for each person employed to
  perform such monitoring, plus all costs and disbursements incurred by Agent in the performance
  of such examination or analysis. Field examinations shall be limited to four in any consecutive
  12-month period, except that (i) such limitation shall not apply if any Default or Event of Default
  has occmTed and is continuing or, in Agent's judgment (exercised in good faith) there is reason
  for concern that a Default or Event of Default may have occurred and may be continuing, and (ii)
  such limit shall not apply to field examinations by Agent at its own expense.

          3.5. Computation ofinterest and Fees. Interest and fees hereunder shall be computed
  on the basis of a year of 360 days and for the actual number of days elapsed. If any payment to
  be made hereunder becomes due and payable on a day other than a Business Day, the due date
  thereof shall be extended to the next succeeding Business Day and interest thereon shall be
  payable at the applicable Contract Rate for Domestic Rate Loans during such extension.

          3.6. Maximum Charges. In no event whatsoever shall interest and other charges
  charged hereunder exceed the highest rate permissible under law. In the event interest and other
  charges as computed hereunder would otherwise exceed the highest rate permitted under law,



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    such excess amount shall be first applied to any unpaid principal balance owed by Borrowers,
    and if the then remaining excess amount is greater than the previously unpaid principal balance,
    Lenders shall promptly refund such excess amount to Borrowers and the provisions hereof shall
    be deemed amended to provide for such permissible rate.

            3.7. Increased Costs. In the event that any Applicable Law, treaty or governmental
   regulation, or any change therein or in the interpretation or application thereof, or compliance by
   any Lender (for purposes of this Section 3. 7, the term "Lender" shall include Agent or any
   Lender and any corporation or bank controlling Agent or any Lender) and the office or branch
   where Agent or any Lender (as so defined) makes or maintains any Eurodollar Rate Loans with
   any request or directive (whether or not having the force of law) from any central bank or other
   financial, monetary or other authority, shall:

                   (a)    subject Agent or any Lender to any tax of any kind whatsoever with
   respect to this Agreement or any Other Document or change the basis of taxation of payments to
   Agent or any Lender of principal, fees, interest or any other amount payable herew1der or under
   any Other Documents (except for changes in the rate of tax on the overall net income of Agent or
   any Lender by the jurisdiction in which it maintains its principal office);

                  (b)     impose, modify or hold applicable any reserve, special deposit, assessment
   or similar requirement against assets held by, or deposits in or for the account of, advances or
   loans by, or other credit extended by, any office of Agent or any Lender, including pursuant to
   Regulation D of the Board of Governors of the Federal Reserve System; or

                 (c)    impose on Agent or any Lender or the London interbank Eurodollar
   market any other condition with respect to this Agreement or any Other Document;

  and the result of any of the foregoing is to increase the cost to Agent or any Lender of making,
  renewing or maintaining its Advances hereunder by an amount that Agent or such Lender deems
  to be material or to reduce the amount of any payment (whether of principal, interest or
  otherwise) in respect of any of the Advances by an amount that Agent or such Lender deems to
  be material, then, in any case Borrowers shall promptly pay Agent or such Lender, upon its
  demand, such additional amount as will compensate Agent or such Lender for such additional
  cost or such reduction, as the case may be, provided that the foregoing shall not apply to
  increased costs which are reflected in the Eurodollar Rate, as the case may be. Agent or such
  Lender shall certify the amount of such additional cost or reduced amount to Borrowing Agent,
  and such certification shall be conclusive absent manifest enor.

          3.8. Basis For Determining Interest Rate Inadequate or Unfair. In the event that Agent
  or any Lender shall have determined that:

                  (a)    reasonable means do not exist for asce1iaining the Eurodollar Rate for any
  Interest Period; or

                  (b)    Dollar deposits in the relevant amount and for the relevant maturity are not
  available in the London interbank Eurodollar market, with respect to an outstanding Eurodollar
  Rate Loan, a proposed Eurodollar Rate Loan, or a proposed conversion of a Domestic Rate Loan
  into a Eurodollar Rate Loan,


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    then Agent shall give Borrowing Agent prompt written, telephonic or telegraphic notice of such
    determination. If such notice is given, (i) any such requested Eurodollar Rate Loan shall be
    made as a Domestic Rate Loan, unless Borrowing Agent shall notif'.y Agent no later than 10:00
    a.m. (New York City time) two (2) Business Days prior to the date of such proposed borrowing,
    that its request for such borrowing shall be cancelled or made as an unaffected type of Eurodollar
    Rate Loan, (ii) any Domestic Rate Loan or Eurodollar Rate Loan which was to have been
    converted to an affected type of Eurodollar Rate Loan shall be continued as or converted into a
    Domestic Rate Loan, or, if Borrowing Agent shall notify Agent, no later than 10:00 a.m. (New
    York City time) two (2) Business Days prior to the proposed conversion, shall be maintained as
    an unaffected type of Eurodollar Rate Loan, and (iii) any outstanding affected Eurodollar Rate
    Loans shall be converted into a Domestic Rate Loan, or, if Borrowing Agent shall notify Agent,
    no later than 10:00 a.m. (New York City time) two (2) Business Days prior to the last Business
    Day of the then current Interest Period applicable to such affected Eurodollar Rate Loan, shall be
   converted into an unaffected type of Eurodollar Rate Loan, on the last Business Day of the then
   current Interest Period for such affected Eurodollar Rate Loans. Until such notice has been
   withdrawn, Lenders shall have no obligation to make an affected type of Eurodollar Rate Loan or
   maintain outstanding affected Eurodollar Rate Loans and no Borrower shall have the right to
   convert a Domestic Rate Loan or an unaffected type of Eurodollar Rate Loan into an affected
   type of Eurodollar Rate Loan.

           3.9.   Capital Adequacy.

                   (a)    In the event that Agent or any Lender shall have determined that any
   Applicable Law, rule, regulation or guideline regarding capital adequacy, or any change therein,
   or any change in the interpretation or administration thereof by any Governmental Body, central
   bank or comparable agency charged with the interpretation or administration thereof, or
   compliance by Agent or any Lender (for purposes of this Section 3.9, the term "Lender" shall
   include Agent or any Lender and any corporation or bank controlling Agent or any Lender) and
   the office or branch where Agent or any Lender (as so defined) makes or maintains any
   Eurodollar Rate Loans with any request or directive regarding capital adequacy (whether or not
   having the force of law) of any such authority, central bank or comparable agency, has or would
   have the effect of reducing the rate of return on Agent or any Lender's capital as a consequence
   of its obligations hereunder to a level below that which Agent or such Lender could have
  achieved but for such adoption, change or compliance (taking into consideration Agent's and
  each Lender's policies with respect to capital adequacy) by an amount deemed by Agent or any
  Lender to be material, then, from time to time, Borrowers shall pay upon demand to Agent or
  such Lender such additional amount or amounts as will compensate Agent or such Lender for
  such reduction. In determining such amount or amounts, Agent or such Lender may use any
  reasonable averaging or attribution methods. The protection of this Section 3. 9 shall be available
  to Agent and each Lender regardless of any possible contention of invalidity or inapplicability
  with respect to the Applicable Law, regulation or condition.

                (b)     A certificate of Agent or such Lender setting forth such amount or
  amounts as shall be necessary to compensate Agent or such Lender with respect to Section 3.9(a)
  hereof when delivered to Borrowing Agent shall be conclusive absent manifest error.




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            3.10. Gross Up for Taxes. If any Borrower shall be required by Applicable Law to
   withhold or deduct any taxes from or in respect of any sum payable under this Agreement or any
   of the Other Documents to Agent, or any Lender, assignee of any Lender, or Participant (each,
   individually, a "Payee" and collectively, the "Payees"), (a) the sum payable to such Payee or
   Payees, as the case may be, shall be increased as may be necessary so that, after making all
   required withholding or deductions, the applicable Payee or Payees receives an amount equal to
   the sum it would have received had no such withholding or deductions been made (the "Gross-
   Up Payment"), (b) such Borrower shall make such withholding or deductions, and ( c) such
   Borrower shall pay the full amount withheld or deducted to the relevant taxation authority or
   other authority in accordance with Applicable Law. Notwithstanding the foregoing, no Borrower
   shall be obligated to make any portion of the Gross-Up Payment that is attributable to any
   withholding or deductions that would not have been paid or claimed had the applicable Payee or
   Payees properly claimed a complete exemption with respect thereto pursuant to Section 3.11
   hereof.

            3 .11. Withholding Tax Exemption.

                   (a)    Each Payee that is not incorporated under the Laws of the United States of
   America or a state thereof (and, upon the written request of Agent, each other Payee) agrees that
   it will deliver to Borrowing Agent and Agent two (2) duly completed appropriate valid
   Withholding Certificates (as defined under § 1.1441-1 (c )( 16) of the Income Tax Regulations
   ("Regulations")) certifying its status (i.e., U.S. or foreign person) and, if appropriate, making a
   claim of reduced, or exemption from, U.S. withholding tax on the basis of an income tax treaty
   or an exemption provided by the Code. The term "Withholding Certificate" means a Form W-9;
   a Form W-8BEN; a Form W-8ECI; a Form W-8IMY and the related statements and
   certifications as required under § 1.1441-1 (e )(2) and/or (3) of the Regulations; a statement
   described in §1.871-14(c)(2)(v) of the Regulations; or any other certificates under the Code or
   Regulations that certify or establish the status of a payee or beneficial owner as a U.S. or foreign
   person.

                   (b)    Each Payee required to deliver to Borrowing Agent and Agent a valid
   Withholding Certificate pursuant to Section 3 .11 (a) hereof shall deliver such valid Withholding
   Certificate as follows: (A) each Payee which is a party hereto on the Closing Date shall deliver
   such valid Withholding Certificate at least five (5) Business Days prior to the first date on which
  any interest or fees are payable by any Borrower hereunder for the account of such Payee; (B)
  each Payee shall deliver such valid Withholding Certificate at least five (5) Business Days before
  the effective date of such assignment or participation (unless Agent in its sole discretion shall
  permit such Payee to deliver such Withholding Certificate less than five (5) Business Days
  before such date in which case it shall be due on the date specified by Agent). Each Payee which
  so delivers a valid Withholding Certificate further undertakes to deliver to Borrowing Agent and
  Agent two (2) additional copies of such Withholding Certificate (or a successor form) on or
  before the date that such Withholding Certificate expires or becomes obsolete or after the
  occurrence of any event requiring a change in the most recent Withholding Certificate so
  delivered by it, and such amendments thereto or extensions or renewals thereof as may be
  reasonably requested by Borrowing Agent or Agent.




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                 (c)     Notwithstanding the submission of a Withholding Certificate claiming a
   reduced rate of or exemption from U.S. withholding tax required under Section 3.1 l(b) hereof,
   Agent shall be entitled to withhold United States federal income taxes at the full 30%
   withholding rate if in its reasonable judgment it is required to do so under the due diligence
   requirements imposed upon a withholding agent under §1.1441-7(b) of the Regulations. Further,
   Agent is indemnified under §1.1461-1 (e) of the Regulations against any claims and demands of
   any Payee for the amount of any tax it deducts and withholds in accordance with regulations
   under §1441 of the Code.

   IV      COLLATERAL: GENERAL TERMS.

            4.1. Security Interest in the Collateral. To secure the prompt payment and
   performance to Agent and each Lender of the Obligations, each Borrower hereby assigns,
   pledges and grants to Agent for its benefit and for the ratable benefit of each Lender a continuing
   security interest in and to and Lien on all of its Collateral, whether now owned or existing or
   hereafter acquired or arising and wheresoever located. Each Borrower shall mark its books and
   records as may be necessary or appropriate to evidence, protect and perfect Agent's security
   interest and shall cause its financial statements to reflect such security interest. Each Borrower
   shall promptly provide Agent with written notice of all commercial tort claims, such notice to
   contain the case title together with the applicable court and a brief description of the claim(s).
   Upon delivery of each such notice, such Borrower shall be deemed to hereby grant to Agent a
   security interest and lien in and to such commercial tort claims and all proceeds thereof.

             4.2. Perfection of Security Interest. Each Borrower shall take all action that may be
    necessary or desirable, or that Agent may request, so as at all times to maintain the validity,
    perfection, enforceability and priority of Agent's security interest in and Lien on the Collateral or
   to enable Agent to protect, exercise or enforce its rights hereunder and in the Collateral,
   including, but not limited to, (i) immediately discharging all Liens other than Permitted
   Encumbrances, (ii) obtaining Lien Waiver Agreements, (iii) delivering to Agent, endorsed or
   accompanied by such instruments of assignment as Agent may specify, and stamping or
   marking, in such manner as Agent may specify, any and all chattel paper, instruments, letters of
   credits and advices thereof and documents evidencing or forming a part of the Collateral, (iv)
   entering into warehousing, lockbox and other custodial arrangements satisfactory to Agent, and
   (v) executing and delivering financing statements, control agreements, instruments of pledge,
  mortgages, notices and assignments, in each case in form and substance satisfactory to Agent,
  relating to the creation, validity, perfection, maintenance or continuation of Agent's security
  interest and Lien under the Uniform Commercial Code or other Applicable Law. By its
  signature hereto, each Borrower hereby authorizes Agent to file against such Borrower, one or
  more financing, continuation or amendment statements pursuant to the Uniform Commercial
  Code in form and substance satisfactory to Agent (which statements may have a description of
  collateral which is broader than that set forth herein). All charges, expenses and fees Agent may
  incur in doing any of the foregoing, and any local taxes relating thereto, shall be charged to
  Borrowers' Account as a Revolving Advance of a Domestic Rate Loan and added to the
  Obligations, or, at Agent's option, shall be paid to Agent for its benefit and for the ratable benefit
  of Lenders immediately upon demand.




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             4.3. Disposition of Collateral. Each Borrower will safoguard and protect all Collateral
    for Agent's general account and make no disposition thereof whether by sale, lease or otherwise
    except (a) the sale of Inventory in the Ordinary Course of Business and (b) the disposition or
    transfer of obsolete and worn-out Equipment in the Ordinary Course of Business during any
   fiscal year haviri.g an aggregate fair market value of not more than $100,000 and only to the
   extent that (i) the proceeds of any such disposition are used to acquire replacement Equipment
   which is subject to Agent's first priority security interest or (ii) the proceeds of which are
   remitted to Agent to be applied pursuant to Section 2.21, and (c) the sale of the Kolb Gantry
   machine, as permitted in the Subordination Agreement and subject to the terms thereof~ with the
   portion of the proceeds thereof which are payable to Borrower to be remitted to Agent to be
   applied pursuant to Section 2.21, and (cl) sale of Receivables, which are outstanding for more
   than 180 days, to Baimer in accordance with Section 4B of the Bmmer Subordination Agreement,
   for a cash purchase price equal to their face value, with the proceeds thereof to be remitted to
   Agent to be applied pursuant to Section 2.21.

            4.4. Preservation of Collateral. Following the occurrence of a Default or Event of
   Default, in addition to the rights and remedies set forth in Section 11.1 hereof, Agent: (a) may at
  any time take such steps as Agent deems necessary to protect Agent's interest in and to preserve
  the Collateral, including the hiring of such security guards or the placing of other security
  protection measures as Agent may deem appropriate; (b) may employ and maintain at any of any
  Borrower's premises a custodian who shall have full authority to do all acts necessary to protect
  Agent's interests in the Collateral; (c) may lease warehouse facilities to which Agent may move
  all or part of the Collateral; (cl) may use any Borrower's owned or leased lifts, hoists, trucks and
  other facilities or equipment for handling or removing the Collateral; and (e) shall have, and is
  hereby grantee!, a right of ingress and egress to the places where the Collateral is located, and
  may proceed over and through any of Borrower's owned or leased property. Each Borrower
  shall cooperate fully with &ll of Agent's efforts to preserve the Collateral and will take such
  actions to preserve the Collateral as Agent may direct. All of Agent's expenses of preserving the
  Collateral, including any expenses relating to the bonding of a custodian, shall be charged to
  Borrowers' Account as a Revolving Advance and added to the Obligations.

           4.5.   Ownership of Collateral.

                  (a)      With respect to the Collateral, at the time the Collateral becomes subject
   to Agent's security interest: (i) each Borrower shall be the sole owner of and fully authorized
   and able to sell, transfer, pledge and/or grant a first priority security interest in each and every
   item of the its respective Collateral to Agent; and, except for Permitted Encumbrances the
  Collateral shall be free and clear of all Liens and encumbrances whatsoever; (ii) each document
  and agreement executed by each Borrower or delivered to Agent or any Lender in connection
  with this Agreement shall be true and correct in all respects; (iii) all signatures and endorsements
  of each Borrower that appear on such documents and agreements shall be genuine and each
  Borrower shall have full capacity to execute same; and (iv) each Borrower's Equipment and
  Inventory shall be located as set forth on Schedule 4.5 and shall not be removed from such
  loeation(s) without the prior written consent of Agent except with respect to the sale of Inventory
  in the Ordinary Course of Business and Equipment to the extent permitted in Section 4.3 hereof.




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                   (b) (i) There is no location at which any Borrower has any Inventory (except for
    Inventory in transit) other than those locations listed on Schedule 4. 5; (ii) Schedule 4.5 hereto
    contains a correct and complete list, as of the Closing Date, of the legal names and addresses of
   each warehouse at which Inventory of any Borrower is stored; none of the receipts received by
   any Borrower from any warehouse states that the goods covered thereby arc to be delivered to
   bearer or to the order of a named Person or to a named Person and such named Person's assigns;
   (iii) Schedule 4.5 hereto sets forth a correct and complete list as of the Closing Date of (A) each
   place of business of each Borrower and (B) the chief executive office of each Borrower; and (iv)
   Schedule 4.5 hereto sets forth a correct and complete list as of the Closing Date of the location,
   by state and street address, of all real property owned or leased by each Borrower, together with
   the names and addresses of any landlords.

                  ( c) Borrower shall have the right to exercise all voting rights with respect to all
   Investment Property included in the Collateral, provided no Default or Event of Default has
   occurred and is continuing. Upon the occurrence of any Default or Event of Default, Agent shall
   have the right (but not any obligation) to exercise all voting rights with respect to such
   Investment Prope1iy.

             4.6. Defense of Agent's and Lenders' Interests. Until (a) payment and performance in
    full of all of the Obligations and (b) termination of this Agreement, Agent's interests in the
    Collateral shall continue in full force and effect. During such period no Borrower shall, without
   Agent's prior written consent, pledge, sell (except Inventory in the Ordinary Course of Business
   and Equipment to the extent permitted in Section 4.3 hereof), assign, transfer, create or suffer to
   exist a Lien upon or encumber or allow or suffer to be encumbered in any way except for
   Permitted Encumbrances, any part of the Collateral. Each Borrower shall defend Agent's
   interests in the Collateral against any and all Persons whatsoever. At any time following demand
   by Agent for payment of all Obligations, Agent shall have the right to take possession of the
   indicia of the Collateral and the Collateral in whatever physical form contained, including:
   labels, stationery, documents, instruments and advertising materials. If Agent exercises this right
  to take possession of the Collateral, Borrowers shall, upon demand, assemble it in the best
  manner possible and make it available to Agent at a place reasonably convenient to Agent. In
  addition, with respect to all Collateral, Agent and Lenders shall be entitled to all of the rights and
  remedies set forth herein and further provided by the Uniform Commercial Code or other
  Applicable Law. Each Borrower shall, and Agent may, at its option, instruct all suppliers,
  carriers, forwarders, warchousers or others receiving or holding cash, checks, Inventory,
  documents or instruments in which Agent holds a security interest to deliver same to Agent
  and/or subject to Agent's order and if they shall come into any Borrower's possession, they, and
  each of them, shall be held by such Bo1Tower in trust as Agent's trustee, and such Borrower will
  immediately deliver them to Agent in their original form together with any necessary
  endorsement.

           4.7. Books and Records. Each Borrower shall (a) keep proper books of record and
  account in which full, true and correct entries will be made of all dealings or transactions of or in
  relation to its business and affairs; (b) set up on its books accruals with respect to all taxes,
  assessments, charges, levies and claims; and (c) on a reasonably current basis set up on its books,
  from its earnings, allowances against doubtful Receivables, advances and investments and all
  other proper accruals (including by reason of enumeration, accruals for premiums, if any, due on


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    required payments and accruals for depreciation, obsolescence, or amortization of properties),
    which should be set aside from such earnings in connection with its business. All determinations
    pursuant to this subsection shall be made in accordance with, or as required by, GAAP
    consistently applied in the opinion of such independent public accountant as shall then be
    regularly engaged by Borrowers.

             4.8. Financial Disclosure. Each Borrower hereby irrevocably authorizes and directs
   all accountants and auditors employed by such Borrower at any time during the Term to exhibit
   and deliver to Agent and each Lender copies of any of such Borrower's financial statements, trial
   balances or other accounting records of any sort in the accountant's or auditor's possession, and
   to disclose to Agent and each Lender any information such accountants may have concerning
   such Borrower's financial status and business operations. Each Borrower hereby authorizes all
   Governmental Bodies to furnish to Agent and each Lender copies of reports or examinations
   relating to such Borrower, whether made by such Borrower or otherwise; however, Agent and
   each Lender will attempt to obtain such information or materials directly from such Borrower
   prior to obtaining such information or materials from such accountants or Governmental Bodies.

            4.9. Compliance with Laws. Each Borrower shall comply in all material respects with
   all Applicable Laws with respect to the Collateral or any part thereof or to the operation of such
   Borrower's business the non-compliance with which could reasonably be expected to have a
   Material Adverse Effect. The Collateral at all times shall be maintained in accordance with the
   requirements of all insurance carriers which provide insurance with respect to the Collateral, so
   that such insurance shall remain in full force and effect.

            4.10. Inspection of Premises. At all reasonable times Agent and each Lender shall have
   full access to and the right to audit, check, inspect and make abstracts and copies from each
   Borrower's books, records, audits, correspondence and all other papers relating to the Collateral
   and the operation of each Borrower's business. Agent, any Lender and their agents may enter
   upon any premises of any Borrower at any time during business hours and at any other
   reasonable time, and from time to time, for the purpose of inspecting the Collateral and any and
   all records pertaining thereto and the operation of such Borrower's business.

           4.11. Insurance. The assets and properties of each Borrower at all times shall be
  maintained in accordance with the requirements of all insurance carriers which provide insurance
   with respect to the assets and properties of such Borrower so that such insurance shall remain in
  full force and effect. Each Borrower shall bear the full risk of any loss of any nature whatsoever
  with respect to the Collateral. At each Borrower's own cost and expense in amounts and with
  carriers acceptable to Agent, each Borrower shall (a) keep all its insurable properties and
  properties in which such Borrower has an interest insured against the hazards of fire, flood,
  sprinkler leakage, those hazards covered by extended coverage insurance and such other hazards,
  and for such amounts, as is customary in the case of companies engaged in businesses similar to
  such Borrower's including business interruption insurance; (b) maintain a bond in such amounts
  as is customary in the case of companies engaged in businesses similar to such Borrower
  insuring against larceny, embezzlement or other criminal misappropriation of insured's officers
  and employees who may either singly or jointly with others at any time have access to the assets
  or funds of such Borrower either directly or through authority to draw upon such funds or to
  direct generally the disposition of such assets; (c) maintain public and product liability insurance


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     against claims for personal injury, death or property damage suffered by others; (d) maintain all
     such worker's compensation or similar insurance as may be required under the laws of any state
     or jurisdiction in which such Borrower is engaged in business; (e) [intentionally omitted]; (f)
     furnish Agent with (i) copies of all policies and evidence of the maintenance of such policies by
     the renewal thereof at least thirty (30) days before any expiration date, and (ii) appropriate loss
     payable endorsements in form and substance satisfactory to Agent, naming Agent as a co-insured
     and loss payee as its interests may appear with respect to all insurance coverage referred to in
     clauses (a) and (c) above, and providing (A) that all proceeds thereunder shall be payable to
     Agent, (B) no such insurance shall be affected by any act or neglect of the insured or owner of
     the property described in such policy, and (C) that such policy and loss payable clauses may not
    be cancelled, amended or terminated unless at least thirty (30) days' prior written notice is given
    to Agent. In the event of any loss thereunder, the carriers named therein hereby are directed by
    Agent and the applicable Borrower to make payment for such loss to Agent and not to such
    Borrower and Agent jointly. If any insurance losses are paid by check, draft or other instrument
    payable to any Borrower and Agent jointly, Agent may endorse such Borrower's name thereon
    and do such other things as Agent may deem advisable to reduce the same to cash. Agent is
    hereby authorized to adjust and compromise claims under insurance coverage referred to in
    clauses (a) and (b) above. All loss recoveries received by Agent upon any such insurance may
    be applied to the Obligations, in such order as Agent in its sole discretion shall determine. Any
    surplus shall be paid by Agent to Borrowers or applied as may be otherwise required by law.
    Any deficiency thereon shall be paid by Borrowers to Agent, on demand. Anything hereinabove
   to the contrary notwithstanding, and subject to the fulfillment of the conditions set forth below,
   Agent shall remit to Borrowing Agent insurance proceeds received by Agent during any calendar
   year under insurance policies procured and maintained by Borrowers which insure Borrowers'
   insurable properties to the extent such insurance proceeds do not exceed $100,000 in the
   aggregate during such calendar year or $50,000 per occurrence. In the event the amount of
   insurance proceeds received by Agent for any occurrence exceeds $50,000, then Agent shall not
   be obligated to remit the insurance proceeds to Borrowing Agent unless Borrowing Agent shall
   provide Agent with evidence reasonably satisfactory to Agent that the insurance proceeds will be
   used by Bonowers to repair, replace or restore the insured property which was the subject of the
   insurable loss. In the event Borrowing Agent have previously received (or, after giving effect to
   any proposed remittance by Agent to Bonowing Agent would receive) insurance proceeds which
   equal or exceed $100,000 in the aggregate during any calendar year, then Agent may, in its sole
  discretion, either remit the insurance proceeds to Borrowing Agent upon Borrowing Agent
  providing Agent with evidence reasonably satisfactory to Agent that the insurance proceeds will
  be used by Borrowers to repair, replace or restore the insured property which was the subject of
  the insurable loss, or apply the proceeds to the Obligations, as aforesaid. The agreement of
  Agent to remit insurance proceeds in the manner above provided shall be subject in each instance
  to satisfaction of each of the following conditions: (x) No Event of Default or Default shall then
  have occurred, and (y) Borrowers shall use such insurance proceeds to repair, replace or restore
  the insurable prope1iy which was the subject of the insurable loss and for no other purpose.

          4. 12. Failure to Pay Insurance. If any Borrower fails to obtain insurance as hereinabove
  provided, or to keep the same in force, Agent, if Agent so elects, may obtain such insurance and
  pay the premium therefor on behalf of such Borrower, and charge Borrowers' Account therefor
  as a Revolving Advance of a Domestic Rate Loan and such expenses so paid shall be part of the
  Obligations.


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             4.13. Payment of Taxes. Each Borrower will pay, when due, all taxes, assessments and
    other Charges lawfully levied or assessed upon such Borrower or any of the Collateral including
    real and personal property taxes, assessments and charges and all franchise, income,
    employment, social security benefits, withholding, and sales taxes. Except for taxes payable on
    the net income of Agent or any Lender, if any tax by any Governmental Body is or may be
    imposed on or as a result of any transaction between any Borrower and Agent or any Lender
   which Agent or any Lender may be required to withhold or pay or if any taxes, assessments, or
   other Charges remain unpaid after the date fixed for their payment, or if any claim shall be made
   which, in Agent's or any Lender's opinion, may possibly create a valid Lien on the Collateral,
   Agent may without notice to Borrowers pay the taxes, assessments or other Charges and each
   Borrower hereby indemnifies and holds Agent and each Lender harmless in respect thereof. The
   amount of any payment by Agent under this Section 4.13 shall be charged to Borrowers'
   Account as a Revolving Advance and added to the Obligations and, until Borrowers shall furnish
   Agent with an indemnity therefor (or supply Agent with evidence satisfactory to Agent that due
   provision for the payment thereof has been made), Agent may hold without interest any balance
   standing to Borrowers' credit and Agent shall retain its security interest in and Lien on any and
   all Collateral held by Agent.

           4.14. Payment of Leasehold Obligations. Each Borrower shall at all times pay, when
   and as due, its rental obligations under all leases under which it is a tenant, and shall otherwise
   comply, in all material respects, with all other terms of such leases and keep them in full force
   and effect and, at Agent's request will provide evidence of having done so.

           4.15. Receivables.

                  (a)    Nature of Receivables. Each of the Receivables shall be a bona fide and
  valid account representing a bona fide indebtedness incurred by the Customer therein named, for
  a fixed sum as set forth in the invoice relating thereto (provided immaterial or unintentional
  invoice errors shall not be deemed to be a breach hereof) with respect to an absolute sale or lease
  and delivery of goods upon stated terms of a Borrower, or work, labor or services theretofore
  rendered by a Borrower as of the date each Receivable is created. Same shall be due and owing
  in accordance with the applicable Borrower's standard terms of sale without dispute, setoff or
  counterclaim except as may be stated on the accounts receivable schedules delivered by
  Borrowers to Agent.

                  (b)    Solvency of Cl1stomers. Each Customer, to the best of each Borrower's
  knowledge, as of the date each Receivable is created, is and will be solvent and able to pay all
  Receivables on which the Customer is obligated in full when due or with respect to such
  Customers of any Borrower who are not solvent such Borrower has set up on its books and in its
  financial records bad debt reserves adequate to cover such Receivables.

                 (c)    Location of Borrowers. Parent's chief executive office is located at 225
  Oregon Street, El Segundo, California 90245, and Sub's chief executive office is located at
  17800 Gothard Street, Huntington Beach, California 9264 7. Until written notice is given to
  Agent by Borrowing Agent of any other office at which any Borrower keeps its records
  pertaining to Receivables, all such records shall be kept at such executive office.




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                   (d)     Collection of Receivables. Borrower shall instruct all of its Customers to
    make all payments with respect to Receivables to the Blocked Account, and in the event, for any
    reason, any such payment is made to Borrower, Bonower shall hold the same in trust for Agent
    and shall not commingle such collections with any of Borrower's funds and Borrower shall
    deposit the same in the Blocked Account in original form and on the date of receipt thereof.

                   (e)    Notification of Assignm~nt of Receivables. At any time following the
   occurrence of an Event of Default or a Default, Agent shall have the right to send notice of the
   assignment of, and Agent's security interest in and Lien on, the Receivables to any and all
   Customers or any third party holding or otherwise concerned with any of the Collateral.
   Thereafter, Agent shall have the sole right to collect the Receivables, take possession of the
   Collateral, or both. Agent's actual collection expenses, including, but not limited to, stationery
   and postage, telephone and telegraph, secretarial and clerical expenses and the salaries of any
   collection personnel used for collection, may be charged to Borrowers' Account and added to the
   Obligations.

                    (f)     Power of Agent to Act on Borrowers' Behalf. Agent shall have the right
    to receive, endorse, assign and/or deliver in the name of Agent or any Borrower any and all
    checks, drafts and other instruments for the payment of money relating to the Receivables, and
    each Borrower hereby waives notice of presentment, protest and non-payment of any instrument
    so endorsed. Each Borrower hereby constitutes Agent or Agent's designee as such Borrower's
    attorney with power (i) to endorse such Borrower's name upon any notes, acceptances, checks,
   drafts, money orders or other evidences of payment or Collateral; (ii) to sign such Borrower's
    name on any invoice or bill of lading relating to any of the Receivables, drafts against
   Customers, assignments and verifications of Receivables; (iii) to send verifications of
   Receivables to any Customer; (iv) to sign such Borrower's name on all financing statements or
   any other documents or instruments deemed necessary or appropriate by Agent to preserve,
   protect, or perfect Agent's interest in the Collateral and to file same; (v) to demand payment of
   the Receivables; (vi) to enforce payment of the Receivables by legal proceedings or otherwise;
   (vii) to exercise all of such Borrower's rights and remedies with respect to the collection of the
   Receivables and any other Collateral; (viii) to settle, adjust, compromise, extend or renew the
   Receivables; (ix) to settle, adjust or compromise any legal proceedings brought to collect
   Receivables; (x) to prepare, file and sign such Borrower's name on a proof of claim in
   bankruptcy or similar document against any Customer; (xi) to prepare, file and sign such
  Borrower's name on any notice of Lien, assignment or satisfaction of Lien or similar document
  in connection with the Receivables; and (xii) to do all other acts and things necessary to carry out
  this Agreement. All acts of said attorney or designee are hereby ratified and approved, and said
  attorney or designee shall not be liable for any acts of omission or commission nor for any error
  of judgment or mistake of fact or of law, unless done maliciously or with gross (not mere)
  negligence; this power being coupled with an interest is inevocable while any of the Obligations
  remain unpaid. Agent shall have the right at any time following the occurrence of an Event of
  Default or Default, to change the address for delivery of mail addressed to any Borrower to such
  address as Agent may designate and to receive, open and dispose of all mail addressed to any
  Borrower.

                (g)     No __ Liability. Neither Agent nor any Lender shall, under any
  circumstances or in any event whatsoever, have any liability for any error or omission or delay of


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   any kind occurring in the settlement, collection or payment of any of the Receivables or any
   instrument received in payment thereof, or for any damage resulting therefrom. Following the
   occurrence of an Event of Default or Default, Agent may, without notice or consent from any
   Borrower, sue upon or otherwise collect, extend the time of payment of, compromise or settle for
   cash, credit or upon any terms any of the Receivables or any other securities, instruments or
   insurance applicable thereto and/or release any obligor thereof. Agent is authorized and
   empowered to accept following the occurrence of an Event of Default or Default the return of the
   goods represented by any of the Receivables, without notice to or consent by any Borrower, all
   without discharging or in any way affecting any Borrower's liability hereunder.

                    (h)    Establishment of a Lockbox Account, Dominion Account. Except as
    otherwise provided herein, all proceeds of Collateral shall be deposited by Borrowers into either
    (i) a lockbox account, dominion account or such other "blocked account" ("Blocked Accounts")
    established at a bank or banks (each such bank, a "Blocked Account Bank") pursuant to an
    arrangement with such Blocked Account Bank as may be selected by Borrowing Agent and be
    acceptable to Agent or (ii) depository accounts ("Depository Accounts") established at the Agent
    for the deposit of such proceeds. Each applicable Borrower, Agent and each Blocked Account
   Bank shall enter into a deposit account control agreement in form and substance satisfactory to
   Agent directing such Blocked Account Bank to transfer such funds so deposited to Agent, either
   to any account maintained by Agent at said Blocked Account Bank or by wire transfer to
   appropriate account(s) of Agent. All funds deposited in such Blocked Accounts shall
   immediately become the property of Agent and Borrowing Agent shall obtain the agreement by
   such Blocked Account Bank to waive any offset rights against the funds so deposited. Neither
   Agent nor any Lender assumes any responsibility for such blocked account arrangement,
   including any claim of accord and satisfaction or release with respect to deposits accepted by any
   Blocked Account Bank thereunder. All deposit accounts and investment accounts of each
   Borrower and its Subsidiaries are set forth on Schedule 4.1 S(h).

                 (i)    Adjustments. No Borrower will, without Agent's consent, compromise or
  adjust any Receivables (or extend the time for payment thereof) or accept any returns of
  merchandise or grant any additional discounts, allowances or credits thereon except for those
  compromises, adjustments, returns, discounts, credits and allowances as have been heretofore
  customary in the business of such Borrower.

          4.16. Inventory. To the extent Inventory held for sale or lease has been produced by
  any Borrower, it has been and will be produced by such Bonower in accordance with the Federal
  Fair Labor Standards Act of 1938, as amended, and all rules, regulations and orders thereunder.

           4.17. Maintenance of Equipment. The Equipment shall be maintained in good
  operating condition and repair (reasonable wear and tear excepted) and all necessary
  replacements of and repairs thereto shall be made so that the value and operating efficiency of
  the Equipment shall be maintained and preserved. No Borrower shall use or operate the
  Equipment in violation of any law, statute, ordinance, code, rule or regulation. Each Borrower
  shall have the right to sell Equipment to the extent set forth in Section 4.3 hereof.

           4.18. Exculpation of Liability. Nothing herein contained shall be construed to
  constitute Agent or any Lender as any Borrower's agent for any purpose whatsoever, nor shall


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   Agent or any Lender be responsible or liable for any shortage, discrepancy, damage, loss or
   destruction of any pa1i of the Collateral wherever the same may be located and regardless of the
   cause thereof. Neither Agent nor any Lender, whether by anything herein or in any assignment
   or otherwise, assume any of any Borrower's obligations under any contract or agreement
   assigned to Agent or such Lender, and neither Agent nor any Lender shall be responsible in any
   way for the performance by any Borrower of any of the terms and conditions thereoL

            4 .19. Environmental Matters.

                  (a)    Borrowers shall ensure that all present and future real property now or
   hereafter owned or leased by Borrower (the "Real Property") and all operations and businesses
   conducted thereon remains in compliance with all Environmental Laws and they shall not place
   or permit to be placed any Hazardous Substances on any Real Property except as permitted by
   Applicable Law or appropriate governmental authorities.

                  (b)    Borrowers shall establish and maintain a system to assure and monitor
   continued compliance with all applicable Enviromnental Laws which system shall include
   periodic reviews of such compliance.

                   (c)     Borrowers shall (i) employ in connection with the use of the Real Property
  appropriate technology necessary to maintain compliance with any applicable Environmental
  Laws and (ii) dispose of any and all Hazardous Waste generated at the Real Property only at
  facilities and with carriers that maintain valid permits under RCRA and any other applicable
  Environmental Laws. Borrowers shall use their best efforts to obtain certificates of disposal,
  such as hazardous waste manifest receipts, from all treatment, transport, storage or disposal
  facilities or operators employed by Bo1TOwers in connection with the transpmi or disposal of any
  Hazardous Waste generated at the Real Property.

                  (d)     In the event any Borrower obtains, gives or receives notice of any Release
   or threat of Release of a reportable quantity of any Hazardous Substances at the Real Property
   (any such event being hereinafter referred to as a "Hazardous Discharge") or receives any notice
   of violation, request for information or notification that it is potentially responsible for
   investigation or cleanup of environmental conditions at the Real Property, demand letter or
   complaint, order, citation, or other written notice with regard to any Hazardous Discharge or
   violation of Environmental Laws affecting the Real Property or any Borrower's interest therein
   (any of the foregoing is referred to herein as an "Environmental Complaint") from any Person,
  including any state agency responsible in whole or in part for environmental matters in the state
  in which the Real Property is located or the United States Environmental Protection Agency (any
  such person or entity hereinafter the "Authority"), then Borrowing Agent shall, within five (5)
  Business Days, give written notice of same to Agent detailing facts and circumstances of which
  any Borrower is aware giving rise to the Hazardous Discharge or Environmental Complaint.
  Such information is to be provided to allow Agent to protect its security interest in and Lien on
  the Real Property and the Collateral and is not intended to create nor shall it create any
  obligation upon Agent or any Lender with respect thereto.

               (e)    Borrowing Agent shall promptly forward to Agent copies of any request
  for information, notification of potential liability, demand letter relating to potential



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   responsibility with respect to the investigation or cleanup of Hazardous Substances at any other
   site owned, operated or used by any Borrower to dispose of Hazardous Substances and shall
   continue to forward copies of correspondence between any Borrower and the Authority
   regarding such claims to Agent until the claim is settled. Borrowing Agent shall promptly
   forward to Agent copies of all documents and reports concerning a Hazardous Discharge at the
   Real Property that any Borrower is required to file under any Environmental Laws. Such
   information is to be provided solely to allow Agent to protect Agent's security interest in and
   Lien on the Real Prope1iy and the Collateral.

                    (f)    Borrowers shall respond promptly to any Hazardous Discharge or
    Environmental Complaint and take all necessary action in order to safeguard the health of any
    Person and to avoid subjecting the Collateral or Real Property to any Lien. If any Borrower shall
    fail to respond promptly to any Hazardous Discharge or Environmental Complaint or any
   Borrower shall fail to comply with any of the requirements of any Environmental Laws, Agent
   on behalf of Lenders may, but without the obligation to do so, for the sole purpose of protecting
   Agent's interest in the Collateral: (A) give such notices or (B) enter onto the Real Property (or
   authorize third parties to enter onto the Real Property) and take such actions as Agent (or such
   third pa1iies as directed by Agent) deem reasonably necessary or advisable, to clean up, remove,
   mitigate or otherwise deal with any such Hazardous Discharge or Environmental Complaint. All
   reasonable costs and expenses incurred by Agent and Lenders (or such third parties) in the
   exercise of any such rights, including any sums paid in connection with any judicial or
   administrative investigation or proceedings, fines and penalties, together with interest thereon
   from the date expended at the Default Rate for Domestic Rate Loans constituting Revolving
   Advances shall be paid upon demand by Borrowers, and until paid shall be added to and become
   a part of the Obligations secured by the Liens created by the terms of this Agreement or any
   other agreement between Agent, any Lender and any Borrower.

                   (g)   Promptly upon the written request of Agent from time to time, Borrowers
   shall provide Agent, at Borrowers' expense, with an environmental site assessment or
   environmental audit report prepared by an environmental engineering firm acceptable in the
   reasonable opinion of Agent, to assess with a reasonable degree of certainty the existence of a
  Hazardous Discharge and the potential costs in connection with abatement, cleanup and removal
  of any Hazardous Substances found on, under, at or within the Real Property. Any report or
  investigation of such Hazardous Discharge proposed and acceptable to an appropriate Authority
  that is charged to oversee the clean-up of such Hazardous Discharge shall be acceptable to
  Agent. If such estimates, individually or in the aggregate, exceed $100,000, Agent shall have the
  right to require Borrowers to post a bond, letter of credit or other security reasonably satisfactory
  to Agent to secure payment of these costs and expenses.

                   (h)    Borrowers shall defend and indemnify Agent and Lenders and hold Agent,
  Lenders and their respective employees, agents, directors and officers harmless from and against
  all Joss, liability, damage and expense, claims, costs, fines and penalties, including attorney's
  fees, suffered or incurred by Agent or Lenders under or on account of any Environmental Laws,
  including the assertion of any Lien thereunder, with respect to any Hazardous Discharge, the
  presence of any Hazardous Substances affecting the Real Property, whether or not the same
  originates or emerges from the Real Prope1iy or any contiguous real estate, including any loss of
  value of the Real Property as a result of the foregoing except to the extent such loss, liability,


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   damage and expense is attributable to any Hazardous Discharge resulting from actions on the
   part of Agent or any Lender. Borrowers' obligations under this Section 4.19 shall arise upon the
   discovery of the presence of any Hazardous Substances at the Real Property, whether or not any
   federal, state, or local environmental agency has taken or threatened any action in connection
   with the presence of any Hazardous Substances. Borrowers' obligation and the indemnifications
   hereunder shall survive the termination of this Agreement.

                 (i)   For purposes of Section 4.19 and 5. 7, all references to Real Property shall
   be deemed to include all of each Borrower's right, title and interest in and to its owned and
   leased premises.

           4.20. Financing Statements. Except as respects the financing statements filed by Agent
   and the financing statements described on Schedule 1.2, no financing statement covering any of
   the Collateral or any proceeds thereof is on file in any public office.

   V       REPRESENTATIONS AND WARRANTIES.

           Each Borrower represents and warrants as follows:

            5.1. Authority. Each Borrower has full power, authority and legal right to enter into
   this Agreement and the Other Documents and to perform all its respective Obligations hereunder
   and thereunder. This Agreement, the Subordination Agreement and the Other Documents have
   been duly executed and delivered by each Borrower, and this Agreement, the Subordination
   Agreement and the Other Documents constitute the legal, valid and binding obligation of such
   Borrower enforceable in accordance with their terms, except as such enforceability may be
   limited by any applicable bankruptcy, insolvency, moratorium or similar laws affecting
   creditors' rights generally. The execution, delivery and performance of this Agreement and of
   the Other Documents (a) are within such Borrower's corporate powers, have been duly
   authorized by all necessary corporate action, are not in contravention of law or the terms of such
   Borrower's by-laws, certificate of incorporation or other applicable documents relating to such
   Borrower's formation or to the conduct of such Borrower's business or of any material
   agreement or undertaking to which such Borrower is a party or by which such Borrower is
  bound, including the Subordinated Loan Documentation, (b) will not conflict with or violate any
  law or regulation, or any judgment, order or decree of any Governmental Body, ( c) will not
  require the Consent of any Governmental Body or any other Person, except those Consents set
  forth on Schedule 5.1 hereto, all of which will have been duly obtained, made or compiled prior
  to the Closing Date and which are in full force and effect and (d). will not conflict with, nor result
  in any breach in any of the provisions of or constitute a default under or result in the creation of
  any Lien except Permitted Encumbrances upon any asset of such Borrower under the provisions
  of any agreement, charter document, instrument, by-law, or other instrument to which such
  Borrower is a party or by which it or its property is a party or by which it may be bound,
  including under the provisions of the Subordinated Loan Documentation.

           5.2.   Formation and Qualification.

                   (a)    Each Borrower is duly incorporated and in good standing under the laws
  of the state listed on Schedule 5 .2( a) and is qualified to do business and is in good standing in the



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    states listed on Schedule 5.2(a) which constitute all states in which qualification and good
    standing are necessary for such Borrower to conduct its business and own its prope1iy and where
    the failure to so qualify could reasonably be expected to have a Material Adverse Effect on such
    Borrower. Each Borrower has delivered to Agent true and complete copies of its certificate of
    incorporation and by-laws and will promptly notify Agent of any amendment or changes thereto.

                   (b)     The only Subsidiaries of each Borrower are listed on Schedule 5.2(b ).

             5 .3. Survival of Representations and Warranties. All representations and warranties of
    such Borrower contained in this Agreement and the Other Documents shall be true at the time of
    such Borrower's execution of this Agreement and the Other Documents, and shall survive the
    execution, delivery and acceptance thereof by the parties thereto and the closing of the
    transactions described therein or related thereto.

            5.4. Tax Returns. Each Borrower's federal tax identification number is set forth on
   Schedule 5.4. Each Borrower has filed all federal, state and local tax returns and other reports
   each is required by law to file and has paid all taxes, assessments, fees and other governmental
   charges that are due and payable. Federal, state and local income tax returns of each Borrower
   have been examined and reported upon by the appropriate taxing authority or closed by
   applicable statute and satisfied for all fiscal years prior to and including the fiscal year ending
   December 31, 2004. The provision for taxes on the books of each Bonower is adequate for all
   years not closed by applicable statutes, and for its cunent fiscal year, and no Bo1rnwer has any
   knowledge of any deficiency or additional assessment in connection therewith not provided for
   on its books.

            5.5.   financial Statements.

                   (a)    The twelve-month cash flow projections of Borrowers on a Consolidated
   Basis and their projected balance sheets as of the Closing Date, copies of which are annexed
   hereto as Exhibit 5.5(b) (the "Projections") were prepared by the Chief Financial Officer of
   Borrower, are based on underlying assumptions which provide a reasonable basis for the
   projections contained therein and reflect Borrowers' judgment based on present circumstances of
   the most likely set of conditions and course of action for the projected period. The cash flow
   Projections are referred to as the "Pro Forma Financial Statements".

                    (b)    The consolidated and consolidating balance sheets of Borrowers, their
   Subsidiaries and such other Persons described therein (including the accounts of all Subsidiaries
   for the respective periods during which a subsidiary relationship existed) as of July 31, 2005, and
   the related statements of income, changes in stockholder's equity, and changes in cash flow for
   the period ended on such date, copies of which have been delivered to Agent, have been prepared
   in accordance with GAAP, consistently applied and present fairly the financial position of
   Borrowers and their Subsidiaries at such date and the results of their operations for such period.
   Since July 31, 2005, there bas been no change in the condition, financial or otherwise, of
   Borrowers or their Subsidiaries as shown on the consolidated balance sheet as of such date and
   no change in the aggregate value of machinery, equipment and Real Property owned by
   Borrowers and their respective Subsidiaries, except changes in the Ordinary Course of Business,
   none of which individually or in the aggregate has been materially adverse.



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            5.6. Entity Names. No Borrower has been known by any other corporate name in the
   past five years and does not sell Inventory under any other name except as set forth on Schedule
   5.6, nor has any Borrower been the surviving corporation of a merger or consolidation or
   acquired all or substantially all of the assets of any Person during the preceding five (5) years
   (provided that this representation, with respect to Sub is being made on the basis of Parent's best
   knowledge).

            5.7.    O.S.H.A. and Environmental Comnliance.

                  (a)     Each Borrower has duly complied with, and its facilities, business, assets,
   property, leaseholds, Real Property and Equipment are in compliance in all material respects
   with, the provisions of the Federal Occupational Safety and Health Act, the Environmental
   Protection Act, RCRA and all other Environmental Laws; there are no outstanding citations,
   notices or orders of non-compliance issued to any Borrower or relating to its business, assets,
   property, leaseholds or Equipment under any such laws, rules or regulations.

                    (b)     Each Borrower has been issued all required federal, state and local
   licenses, certificates or permits relating to all applicable Environmental Laws.

                  (c)    (i) There arc no visible signs of releases, spills, discharges, leaks or
  disposal (collectively referred to as "Releases") of Hazardous Substances at, upon, under or
  within any Real Property or any premises leased by any Borrower; (ii) there are no underground
  storage tanks or polychlorinated biphenyls on the Real Property or any premises leased by any
  Borrower; (iii) neither the Real Property nor any premises leased by any Borrower has ever been
  used as a treatment, storage or disposal facility of Hazardous Waste; and (iv) no Hazardous
  Substances are present on the Real Property or any premises leased by any Bonower, excepting
  such quantities as are handled in accordance with all applicable manufacturer's instructions and
  governmental regulations and in proper storage containers and as are necessary for the operation
  of the commercial business of any Borrower or of its tenants.

           5.8.    .S_olvenc:y; No Litigation, Violation, Indebtedness or Default.

                  (a)      After giving effect to the Transactions, each Borrower will be solvent,
  able to pay its debts as they mature, will have capital sufficient to carry on its business and all
  businesses in which it is about to engage, and (i) as of the Closing Date, the fair present saleable
  value of its assets, calculated on a going concern basis, is in excess of the amount of its liabilities
  and (ii) subsequent to the Closing Date, the fair saleable value of its assets (calculated on a going
  concern basis) will be in excess of the amount of its liabilities.

                 (b)     Except as disclosed in Schedule 5.8(b), no Borrower has (i) any pending
  or threatened litigation, arbitration, actions or proceedings which involve the possibility of
  having a Material Adverse Effect, and (ii) any liabilities or indebtedness for borrowed money
  other than the Obligations.

                  (c)     No Borrower is in violation of any applicable statute, law, rule, regulation
  or ordinance in any respect which could reasonably be expected to have a Material Adverse
  Effect, nor is any Borrower in violation of any order of any cowi, Governmental Body or
  arbitration board or tribunal.


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                     (d)    No Borrower nor any member of the Controlled Group maintains or
     contributes to any Plan other than those listed on Schedule 5.8(d) hereto. (i) No Plan has
     incurred any "accumulated funding deficiency," as defined in Section 302(a)(2) of ERISA and
     Section 412(a) of the Code, whether or not waived, and each Borrower and each member of the
     Controlled Group has met all applicable minimum funding requirements under Section 302 of
     ERJSA in respect of each Plan; (ii) each Plan which is intended to be a qualified plan under
     Section 40l(a) of the Code as currently in effect has been determined by the Internal Revenue
     Service to be qualified under Section 40l(a) of the Code and the trust related thereto is exempt
     from federal income tax under Section 501 (a) of the Code; (iii) neither any Borrower nor any
    member of the Controlled Group has incurred any liability to the PBGC other than for the
    payment of premiums, and there are no premium payments which have become due which are
    unpaid; (iv) no Plan has been terminated by the plan administrator thereof nor by the PBGC, and
    there is no occurrence which would cause the PBGC to institute proceedings under Title IV of
    BRISA to terminate any Plan; (v) at this time, the current value of the assets of each Plan
    exceeds the present value of the accrued benefits and other liabilities of such Plan and neither
    any Borrower nor any member of the Controlled Group knows of any facts or circumstances
    which would materially change the value of such assets and accrued benefits and other liabilities;
    (vi) neither any Borrower nor any member of the Controlled Group has breached any of the
    responsibilities, obligations or duties imposed on it by ERISA with respect to any Plan; (vii)
    neither any Borrower nor any member of a Controlled Group has incurred any liability for any
    excise tax arising under Section 4972 or 4980B of the Code, and no fact exists which could give
   rise to any such liability; (viii) neither any Borrower nor any member of the Controlled Group
   nor any fiduciary of, nor any trustee to, any Plan, has engaged in a "prohibited transaction"
   described in Section 406 of the ERJSA or Section 4975 of the Code nor taken any action which
   would constitute or result in a Termination Event with respect to any such Plan which is subject
   to BRISA; (ix) each Borrower and each member of the Controlled Group has made all
   contributions due and payable with respect to each Plan; (x) there exists no event described in
   Section 4043 (b) of ERISA, for which the thirty (30) day notice period has not been waived; (xi)
   neither any Borrower nor any member of the Controlled Group has any fiduciary responsibility
   for investments with respect to any plan existing for the benefit of persons other than employees
   or former employees of any Borrower and any member of the Controlled Group; (xii) neither any
  Borrower nor any member of the Controlled Group maintains or contributes to any Plan which
  provides health, accident or life insurance benefits to former employees, their spouses or
  dependents, other than in accordance with Section 4980B of the Code; (xiii) neither any
  Borrower nor any member of the Controlled Group has withdrawn, completely or partially, from
  any Multiemployer Plan so as to incur liability under the Multiemployer Pension Plan
  Amendments Act of 1980 and there exists no fact which would reasonably be expected to result
  in any such liability; and (xiv) no Plan fiduciary (as defined in Section 3(21) of ERJSA) has any
  liability for breach of fiduciary duty or for any failure in connection with the administration or
  investment of the assets of a Plan.

           5.9. Patents, Trademarks, Copyrights and Licenses. All patents, patent applications,
  trademarks, trademark applications, service marks, service mark applications, copyrights,
  copyright applications, design rights, tradenames, assumed names, trade secrets and licenses
  owned or utilized by any Borrower are set forth on Schedule 5.9, are valid and have been duly
  registered or filed with all appropriate Governmental Bodies and constitute all of the intellectual
  property rights which are necessary for the operation of its business; there is no objection to or


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   pending challenge to the validity of any such patent, trademark, copyright, design rights,
   tradename, trade secret or license and no Borrower is aware of any grounds for any challenge,
   except as set forth in Schedule 5.9 hereto. Each patent, patent application, patent license,
   trademark, trademark application, trademark license, service mark, service mark application,
   service mark license, design rights, copyright, copyright application and copyright license owned
   or held by any Borrower and all trade secrets used by any Borrower consist of original material
   or property developed by such Borrower or was lawfully acquired by such Borrower from the
   proper and lawful owner thereof. Each of such items has been maintained so as to preserve the
   value thereof from the date of creation or acquisition thereof. With respect to all software used
   by any Borrower, such Borrower is in possession of all source and object codes related to each
   piece of software or is the beneficiary of a source code escrow agreement, each such source code
   escrow agreement being listed on Schedule 5.9 hereto.

            5.10. Lic«nses and Permits. Except as set forth in Schedule 5.10, each Borrower (a) is
   in compliance with and (b) has procured and is now in possession of, all material licenses or
   permits required by any applicable federal, state or local law, rule or regulation for the operation
   of its business in each jurisdiction wherein it is now conducting or proposes to conduct business
   and where the failure to procure such licenses or permits could have a Material Adverse Effect.

           5. I 1. Default of Indebtedness. No Borrower is in default in the payment of the
   principal of or interest on any Indebtedness or under any instrument or agreement under or
   subject to which any Indebtedness has been issued and no event has occurred under the
   provisions of any such instrument or agreement which with or without the lapse of time or the
   giving of notice, or both, constitutes or would constitute an event of default thereunder.

            5.12. No Default. No Borrower is in default in the payment or performance of any of
   its contractual obligations and no Default has occurred.

           5.13. No Burdensome Restrictions. No Borrower is party to any contract or agreement
  the performance of which could have a Material Adverse Effect. Each Borrower has heretofore
  delivered to Agent true and complete copies of all material contracts to which it is a party or to
  which it or any of its properties is subject. No Borrower has agreed or consented to cause or
  permit in the future (upon the happening of a contingency or otherwise) any of its property,
  whether now owned or hereafter acquired, to be subject to a Lien which is not a Permitted
  Encumbrance.

          5.14. No Labor Disputes. No Borrower is involved in any labor dispute; there are no
  strikes or walkouts or union organization of any Borrower's employees threatened or in
  existence and no labor contract is scheduled to expire during the Term other than as set forth on
  Schedule 5.14 hereto.

          5.15. MaiJW:t Regulations. No Borrower is engaged, nor will it engage, principally or
  as one of its important activities, in the business of extending credit for the purpose of
  "purchasing" or "carrying" any "margin stock" within the respective meanings of each of the
  quoted terms under Regulation U of the Board of Governors of the Federal Reserve System as
  now and from time to time hereafter in effect. No part of the proceeds of any Advance will be




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    used for "purchasing" or "carrying" "margin stock" as defined in Regulation U of such Board of
    Governors.

            5.16. Jnvestment Company Act. No Borrower is an "investment company" registered
   or required to be registered under the Investment Company Act of 1940, as amended, nor is it
   controlled by such a company.

            5 .17. Disclosure. No representation or warranty made by any Borrower in this
   Agreement, the Subordinated Loan Documentation, or in any financial statement, report,
   certificate or any other document furnished in connection herewith or therewith contains any
   untrue statement of a material fact or omits to state any material fact necessary to make the
   statements herein or therein not misleading. There is no fact known to any Borrower or which
   reasonably should be known to such Borrower which such Borrower has not disclosed to Agent
   in writing with respect to the transactions contemplated by the Subordinated Loan
   Documentation or this Agreement which could reasonably be expected to have a Material
   Adverse Effect.

            5 .18. Delivery of Subordinated Loan Documentation. Agent has received complete
   copies of the Subordinated Loan Documentation (including all exhibits, schedules and disclosure
   letters referred to therein or delivered pursuant thereto, if any) and all amendments thereto,
   waivers relating thereto and other side letters or agreements affecting the terms thereof. None of
   such documents and agreements has been amended or supplemented, nor have any of the
   provisions thereof been waived, except pursuant to a written agreement or instrument which has
   heretofore been delivered to Agent.

          5.19. Swaps. No Borrower is a pmiy to, nor will it be a party to, any swap agreement
  whereby such Borrower has agreed or will agree to swap interest rates or currencies unless same
  provides that damages upon termination following an event of default thereunder are payable on
  an unlimited "two-way basis" without regard to fault on the part of either party.

           5.20. Conflicting Agreements. No provision of any mortgage, indenture, contract,
  agreement, judgment, decree or order binding on any Borrower or affecting the Collateral
  conflicts with, or requires any Consent which has not already been obtained to, or would in any
  way prevent the execution, deli very or performance of, the terms of this Agreement or the Other
  Documents.

           5.21. Application of Certain L:iws and Regulations. Neither any Borrower nor any
  Affiliate of any Borrower is subject to any law, statute, rule or regulation which regulates the
  incurrence of any Indebtedness, inclu<ling laws, statutes, rules or regulations relative to common
  or interstate carriers or to the sale of electricity, gas, steam, water, telephone, telegraph or other
  public utility services.

          5 .22. Business and Property of Borrowers. Upon and after the Closing Date, Borrowers
  do not propose to engage in any business other than manufacturing components and
  subassemblies for commercial and military aerospace programs, and activities necessary to
  conduct the foregoing. On the Closing Date, each Borrower will own all the property and




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    possess all of the rights and Consents necessary for the conduct of the business of such
    Borrower.

            5.23. Section 20 Subsidiaries. Borrowers do not intend to use and shall not use any
    portion of the proceeds of the Advances, directly or indirectly, to purchase during the
    underwriting period, or for 30 days thereafter, Ineligible Securities being underwritten by a
    Section 20 Subsidiary.

             5.24. Anti-Terrorism Laws.

                   (a)      General. Neither any Borrower nor any Affiliate of any Borrower is in
    violation of any Anti-Terrorism Law or engages in or conspires to engage in any transaction that
    evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
    prohibitions set forth in any Anti-Terrorism Law.

                 (b)     Executive Order No. 13224. Neither any Borrower nor any Affiliate of
   any Borrower or their respective agents acting or benefiting in any capacity in connection with
   the Advances or other transactions hereunder, is any of the following (each a "Blocked Person"):

                          (i)    a Person that is listed in the annex to, or is otherwise subject to the
   provisions of, the Executive Order No. 13224;

                        (ii)    a Person owned or controlled by, or acting for or on behalf of,
   any Person that is listed in the annex to, or is otherwise subject to the provisions of, the
   Executive Order No. 13224;

                         (iii)  a Person or entity with which any Lender is prohibited from
   dealing or otherwise engaging in any transaction by any Anti-Terrorism Law;

                         (iv)    a Person or entity that commits, threatens or conspires to c01ru11it
   or supports "terrorism" as defined in the Executive Order No. 13224;

                           (v)   a Person or entity that is named as a "specially designated
   national" on the most current list published by the U.S. Treasury Department Office of Foreign
   Asset Control at its official website or any replacement website or other replacement official
   publication of such list, or

                          (vi)    a Person or entity who is affiliated or associated with a Person or
   entity listed above.

          Neither any Borrower nor to the knowledge of any Borrower, any of its agents acting in
  any capacity in connection with the Advances or other transactions hereunder (i) conducts any
  business or engages in making or receiving any contribution of funds, goods or services to or for
  the benefit of any Blocked Person, or (ii) deals in, or otherwise engages in any transaction
  relating to, any property or interests in property blocked pursuant to the Executive Order No.
  13224.




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            5.25. Trading with the Enemv. No Borrower has engaged, nor does it intend to engage,
    in any business or activity prohibited by the Trading with the Enemy Act.

            5.26. Federal Securities Laws. Neither any Borrower nor any of its Subsidiaries (i) is
    required to file periodic reports under the Exchange Act, (ii) has any securities registered under
    the Exchange Act or (iii) has filed a registration statement that has not yet become effective
    under the Securities Act.

    VI     AFFIRMATIVE COVENANTS.

          Each Borrower shall, until payment in full of the Obligations and termination of this
    Agreement:

           6.1. Payment of Fees. Pay to Agent on demand all usual and customary fees and
   expenses which Agent incurs in c01rnection with (a) the forwarding of Advance proceeds and (b)
   the establishment and maintenance of any Blocked Accounts or Depository Accounts as
   provided for in Section 4.1 S(h). Agent may, without making demand, charge Borrowers'
   Account for all such fees and expenses.

              6.2. Conduct of Business and Maintenance of Existence and Assets. (a) Conduct
    continuously and operate actively its business according to good business practices and maintain
    all of its properties useful or necessary in its business in good working order and condition
   (reasonable wear and tear excepted and except as may be disposed of in accordance with the
   terms of this Agreement), including all licenses, patents, copyrights, design rights, tradenames,
   trade secrets and trademarks and take all actions necessary to enforce and protect the validity of
   any intellectual property right or other right included in the Collateral; (b) keep in full force and
   effect its existence and comply in all material respects with the laws and regulations governing
   the conduct of its business where the failure to do so could reasonably be expected to have a
   Material Adverse Effect; and ( c) make all such reports and pay all such franchise and other taxes
   and license fees and do all such other acts and things as may be lawfully required to maintain its
   rights, licenses, leases, powers and franchises under the laws of the United States or any political
   subdivision thereof.

            6.3. Violations. Promptly notify Agent in writing of any violation of any law, statute,
   regulation or ordinance of any Governmental Body, or of any agency thereof, applicable to any
   Borrower which could reasonably be expected to have a Material Adverse Effect.

           6.4. Government Receivables. Take all steps necessary to protect Agent's interest in
  the Collateral under the Federal Assignment of Claims Act, the Unifo1m Commercial Code and
  all other applicable state or local statutes or ordinances and deliver to Agent appropriately
  endorsed, any instrument or chattel paper connected with any Receivable arising out of contracts
  between any Borrower and the United States, any state or any department, agency or
  instrumentality of any of them.

           6.5.   Financial Covenants.

                (a)    Ismgible Net Worth. Maintain as of the end of each calendar quarter,
  beginning with the calendar quarter ending December 31, 2005, a Tangible Net Worth in an


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    amount not less than $5,800,000 (1he "Minimum Tangible Net Worth"), provided that, at the
    end of each subsequent calendar quarter, the Minimum Tangible Net Worth requirement shall be
    increased by 50% of the consolidated net income of the Borrower realized for such quarter. Said
    increased Minimum Tangible Net Worth requirement shall be effective as of the end of such
    fiscal quarter, and thereafter. In no event shall the Minimum Tangible Net Worth requirement be
    decreased.

                  (b)     Fixed Charge Coverage Ratio. Maintain during each Applicable Period a
   Fixed Charge Coverage Ratio of not less than 1.25 to 1.0. "Applicable Period" as used in this
   Agreement means (i) the period from October 1, 2005 through December 31, 2005, (ii) the
   period from October 1, 2005 through March 31, 2006, (iii) the period from October 1, 2005
   through June 30, 2006, and (iv) the twelve-month period ending September 30, 2006, and each
   consecutive cumulative rolling twelve-month period ending on the end of each subsequent
   calendar quarter throughout the term of this Agreement.

            6.6. Execution of Supplemental Instruments. Execute and deliver to Agent from time
   to time, upon demand, such supplemental agreements, statements, assignments and transfers, or
   instructions or documents relating to the Collateral, and such other instruments as Agent may
   request, in order that the full intent of this Agreement may be canied into effect.

           6.7. Payment of Indebtedness. Pay, discharge or otherwise satisfy at or before
   maturity (subject, where applicable, to specified grace periods and, in the case of the trade
   payables, to normal payment practices) all its obligations and liabilities of whatever nature,
   except when the failure to do so could not reasonably be expected to have a Material Adverse
   Effect or when the amount or validity thereof is currently being contested in good faith by
   appropriate proceedings and each Borrower shall have provided for such reserves as Agent may
   reasonably deem proper and necessary, subject at all times to any applicable subordination
   arrangement in favor of Lenders.

           6.8. Standards of Financial Statements. Cause all financial statements referred to in
   Sections 9.7, 9.8, 9.9, 9.10, 9.11, 9.12, 9.13 and 9.14 as to which GAAP is applicable to be
   complete and correct in all material respects (subject, in the case of interim financial statements,
   to normal year-end audit adjustments) and to be prepared in reasonable detail and in accordance
   with GAAP applied consistently throughout the periods reflected therein (except as concurred in
   by such reporting accountants or officer, as the case may be, and disclosed therein).

           6.9. Federal Securitie.s Laws. Promptly notify Agent in writing if any Borrower or any
  of its Subsidiaries (i) is required to file periodic reports under the Exchange Act, (ii) registers any
  securities under the Exchange Act or (iii) files a registration statement under the Securities Act.

  VII     NEGATIVE COVENANTS.

        No Borrower shall, until satisfaction in full of the Obligations and termination of this
  Agreement:

           7.1.   Merger,   Consolis}atiQn,_z\~uisition   and Sale of Assets.




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                  (a)     Enter into any merger, consolidation or other reorganization with or into
    any other Person or acquire all or a substantial portion of the assets or Equity Interests of any
    Person or permit any other Person to consolidate with or merge with it.

                   (b)     Sell, lease, transfer or otherwise dispose of any of its properties or assets,
   except (i) dispositions of Inventory and Equipment to the extent expressly permitted by Section
   4.3 and (ii) any other sales or dispositions expressly permitted by this Agreement.

            7.2. Creation of Liens. Create or suffer to exist any Lien or transfer upon or against
   any of its prope1ty or assets now owned or hereafter acquired, except Permitted Encumbrances.

           7.3. Guarantees. Become liable upon the obligations or liabilities of any Person by
   assumption, endorsement or guaranty thereof or otherwise (other than to Lenders).

            7.4. Investments. Purchase or acquire obligations or Equity Interests of, or any other
   interest in, any Person, except (a) obligations issued or guaranteed by the United States of
   America or any agency thereof, (b) commercial paper with maturities of not more than 180 days
   and a published rating of not less than A-1 or P-1 (or the equivalent rating), (c) certificates of
   time deposit and bankers' acceptances having maturities of not more than 180 days and
   repurchase agreements backed by United States government securities of a commercial bank if
   (i) such bank has a combined capital and surplus of at least $500,000,000, or (ii) its debt
   obligations, or those of a holding company of which it is a Subsidiary, are rated not less than A
   (or the equivalent rating) by a nationally recognized investment rating agency, and ( d) U.S.
   money market funds that invest solely in obligations issued or guaranteed by the United States of
   America or an agency thereof.

            7.5. Loans. Make advances, loans or extensions of credit to any Person, including any
  Parent Entity, Subsidiary or Affiliate, except with respect to the extension of commercial trade
  credit in connection with the sale oflnventory in the Ordinary Course of Business.

           7.6. Capital Expenditures. Contract for, purchase or make any expenditure or
  commitments for any unfinanced Capital Expenditures in any fiscal year in an aggregate amount
  for all Borrowers in excess of $200,000, except for (i) the purchase of the New Gantry in
  October of 2005 for a purchase price not to exceed $595,000, plus moving costs (to the extent
  the same are capital expenditures) for the same in an amount not to exceed $200,000, and (ii)
  one-time moving costs (to the extent the same are capital expenditures) incurred by Borrower
  related to the consolidation of the Borrower's facilities prior to June 3 0, 2006, but only to the
  extent of up to a maximum of $2,000,000

           7.7. Dividends. Declare, pay or make any dividend or distribution on any shares of
  the common stock or preferred stock of any Borrower (other than dividends or distributions
  payable in its stock, or split-ups or reclassifications of its stock) or apply any of its funds,
  property or assets to the purchase, redemption or other retirement of any common or preferred
  stock, or of any options to purchase or acquire any such shares of common or preferred stock of
  any Borrower.

          7.8. lndebtednes~. Create, incur, assume or suffer to exist any Indebtedness (exclusive
  of trade debt) except in respect of (i) Indebtedness to Lenders; (ii) Indebtedness incurred for


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    Capital Expenditures permitted under Section 7.6 hereof; and (iii) Indebtedness due under the
    Subordinated Loan Documentation.

            7.9. Nature of Business. Substantially change the nature of the business in which it is
   presently engaged, nor except as specifically permitted hereby purchase or invest, directly or
   indirectly, in any assets or property other than in the Ordinary Course of Business for assets or
   property which are useful in, necessary for and are to be used in its business as presently
   conducted.

           7. I 0. Transactions with Affiliates. Directly or indirectly, purchase, acquire or lease any
   property from, or sell, transfer or lease any property to, or otherwise enter into any transaction or
   deal with, any Affiliate, except transactions disclosed to the Agent, which are in the Ordinary
   Course of Business, on an arm's-length basis on terms and conditions no less favorable than
   terms and conditions which would have been obtainable from a Person other than an Affiliate.

            7.11. Leases. Enter as lessee into any lease arrangement for real or personal property
   (unless capitalized and permitted under Section 7 .6 hereof) if after giving effect thereto,
   aggregate annual rental payments for all leased property would exceed $1,980,000 in any one
   fiscal year in the aggregate for all Borrowers plus $20,000 per month with respect to the New
   Gantry.

           7.12. Subsidiaries.

                  (a)    Form any Subsidiary, unless (i) prior to the acquisition of any assets by
  such Subsidiary, such Subsidiary expressly joins in this Agreement as a borrower and becomes
  jointly and severally liable for the obligations of Borrowers hereunder, under the Notes, and
  under any other agreement between any Borrower and Lenders and (ii) Agent shall have received
  all documents, including legal opinions, it may reasonably require to establish compliance with
  each of the foregoing conditions.

                 (b)     Enter into any partnership, joint venture or similar arrangement.

          7.13. Fiscal Year and_ Accounting Changes. Change its fiscal year end from the last
  Sunday of December, or make any change (i) in accounting treatment and reporting practices
  except as required by GAAP or (ii) in tax reporting treatment except as required by law.

          7.14. Pledge of Credit. Novv or hereafter pledge Agent's or any Lender's credit on any
  purchases or for any purpose whatsoever or use any portion of any Advance in or for any
  business other than such Borrower's business as conducted on the date of this Agreement.

          7.15. Amt;ndment of A1iicles oflncorporation, By-Laws. Amend, modify or waive any
  term or material provision of its Articles ofincorporation or By-Laws, unless required by law.

          7.16. Compliance with ERISA. (i) (x) Maintain, or permit any member of the
  Controlled Group to maintain, or (y) become obligated to contribute, or permit any member of
  the Controlled Group to become obligated to contribute, to any Plan, other than those Plans
  disclosed on Schedule 5. 8( d), (ii) engage, or permit any member of the Controlled Group to
  engage, in any non-exempt "prohibited transaction", as that term is defined in section 406 of


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    ERISA and Section 4975 of the Code, (iii) incur, or permit any member of the Controlled Group
    to incur, any "accumulated funding deficiency", as that term is defined in Section 302 of BRISA
   or Section 412 of the Code, (iv) terminate, or permit any member of the Controlled Group to
    terminate, any Plan where such event could result in any liability of any Borrower or any
   member of the Controlled Group or the imposition of a lien on the property of any Borrower or
   any member of the Controlled Group pursuant to Section 4068 of ERISA, (v) assume, or permit
   any member of the Controlled Group to assume, any obligation to contribute to any
   Multiemployer Plan not disclosed on Schedule 5.8(d), (vi) incur, or permit any member of the
   Contrqlled Group to incur, any withdrawal liability to any Multiemployer Plan; (vii) fail
   promptly to notify Agent of the occurrence of any Termination Event, (viii) fail to comply, or
   permit a member of the Controlled Group to fail to comply, with the requirements of ERlSA or
   the Code or other Applicable Laws in respect of any Plan, (ix) fail to meet, or permit any
   member of the Controlled Group to fail to meet, all minimum funding requirements under
   ERISA or the Code or postpone or delay or allow any member of the Controlled Group to
   postpone or delay any funding requirement with respect of any Plan.

            7.17. Prepayment of Indebtedness. Except as permitted pursuant to Section 7.21
   hereof, at any time, directly or indirectly, prepay any Indebtedness (other than to Lenders), or
   repurchase, redeem, retire or otherwise acquire any Indebtedness of any Borrower.

           7.18. Anti-Terrorism Laws. No Borrower shall, until satisfaction in full of the
   Obligations and termination of this Agreement, nor shall it permit any Affiliate or agent to:

                   (a)      Conduct any business or engage in any transaction or dealing with any
   Blocked Person, including the making or receiving any contribution of funds, goods or services
   to or for the benefit of any Blocked Person.

                   (b)     Deal in, or otherwise engage in any transaction relating to, any property or
   interests in prope1iy blocked pursuant to the Executive Order No. 13224.

                 (c)     Engage in or conspire to engage in any transaction that evades or avoids,
  or has the purpose of evading or avoiding, or attempts to violate, any of the prohibitions set forth
  in the Executive Order No. 13224, the USA PATRIOT Act or any other Anti-Terrorism Law.
  Borrower shall deliver to Lenders any ce1iification or other evidence requested from time to time
  by any Lender in its sole discretion, confirming Borrower's compliance with this Section.

           7.19. [intentionally omitted]

          7.20. Trading with the Enemy Act. Engage in any business or activity in violation of
  the Trading with the Enemy Act.

          7 .21. Subordinated Debt. At any time, directly or indirectly, pay, prepay, repurchase,
  redeem, retire or otherwise acquire, or make any payment on account of any principal of, interest
  on or premium payable in connection with the repayment or redemption of any of the
  Subordinated Debt, except (A) as otherwise permitted under the Banner Subordination
  Agreement as to any principal payments of the Banner Subordinated Debt and as long as after
  giving effect to any such otherwise permitted payment, Borrower shall have Undrawn
  Availability of at least $500,000; and (B) that payments of accrued interest on the Subordinated


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    Debt shall be permitted provided no Default or Event of Default has occurred and is continuing,
    and, after giving effect to the payment, Borrower shall have Undrawn Availability of at least
    $500,000.

            7.22. Other Agreements. Enter into any material amendment, waiver or modification of
    the Subordinated Loan Documentation or any related agreements.

   VIII    CONDITIONS PRECEDENT.

           8.1. Conditions to Initial Advances. The agreement of Lenders to make the initial
   Advances requested to be made on the Closing Date is subject to the satisfaction, or waiver by
   Agent, immediately prior to or concurrently with the making of such Advances, of the following
   conditions precedent:

                  (a)     Note. Agent shall have received the Notes duly executed and delivered by
   an authorized officer of each Borrower;

                    (b)    Filings, Registrations and Recordings. Each document (including any
    Uniform Commercial Code financing statement) required by this Agreement, any related
   agreement or under law or reasonably requested by the Agent to be filed, registered or recorded
   in order to create, in favor of Agent, a perfected security interest in or lien upon the Collateral
   shall have been properly filed, registered or recorded in each jurisdiction in which the filing,
   registration or recordation thereof is so required or requested, and Agent shall have received an
   acknowledgment copy, or other evidence satisfactory to it, of each such filing, registration or
   recordation and satisfactory evidence of the payment of any necessary fee, tax or expense
   relating thereto;

                  (c)    Corporate Proceedings of Borrowers. Agent shall have received a copy of
  the resolutions in form and substance reasonably satisfactory to Agent, of the Board of Directors
  of each Borrower authorizing (i) the execution, delivery and performance of this Agreement, the
  Notes, any related agreements, the Subordinated Loan Documentation, (collectively the
  "Documents") and (ii) the granting by each Borrower of the security interests in and liens upon
  the Collateral in each case certified by the Secretary or an Assistant Secretary of each Borrower
  as of the Closing Date; and, such certificate shall state that the resolutions thereby certified have
  not been amended, modified, revoked or rescinded as of the date of such certificate;

                   (d)   Jncumbency Certificates of Borrowers. Agent shall have received a
  certificate of the Secretary or an Assistant Secretary of each Borrower, dated the Closing Date,
  as to the incumbency and signature of the officers of each Borrower executing this Agreement,
  the Other Documents, any certificate or other documents to be delivered by it pursuant hereto,
  together with evidence of the incumbency of such Secretary or Assistant Secretary;

                 (e)    [intentionally omitted]

                 (f)    [intentionally omitted]

                 (g)    Certificates. Agent shall have received a copy of the Articles or
  Certificate of Incorporation of each Borrower, and all amendments thereto, certified by the


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    Secretary of State or other appropriate official of its jurisdiction of incorporation together with
    copies of the By-Laws of each Borrower and all agreements of each Borrower's shareholders
    certified as accurate and complete by the Secretary of each Borrower;

                    (h)   Good Standing Certificates. Agent shall have received good standing
   certificates for each Borrower dated not more than 30 days prior to the Closing Date, issued by
   the Secretary of State or other appropriate official of each Borrower's jurisdiction of
   incorporation and each jurisdiction where the conduct of each Bonower's business activities or
   the ownership of its properties necessitates qualification;

                  (i)     Legal Opinion. Agent shall have received the executed legal opinion of
   Holland & Knight in form and substance satisfactory to Agent which shall cover such matters
   incident to the transactions contemplated by this Agreement, the Notes, the Other Documents,
   the Subordination Agreement and related agreements as Agent may reasonably require and each
   Borrower hereby authorizes and directs such counsel to deliver such opinions to Agent and
   Lenders;

                   U)     No Litigation. (i) No litigation, investigation or proceeding before or by
   any arbitrator or Governmental Body shall be continuing or threatened against any Borrower or
   against the officers or directors of any Borrower (A) in connection with this Agreement, the
   Other Documents, the Subordinated Loan Documents or any of the transactions contemplated
   thereby and which, in the reasonable opinion of Agent, is deemed material or (B) which could, in
   the reasonable opinion of Agent, have a Material Adverse Effect; and (ii) no injunction, writ,
   restraining order or other order of any nature materially adverse to any Borrower or the conduct
   of its business or inconsistent with the due consummation of the Transactions shall have been
   issued by any Governmental Body;

                  (k)    (Intentionally Omitted.] (1) Collateral Examination. Agent shall have
   completed Collateral examinations and received appraisals, the results of which shall be
   satisfactory in form and substance to Lenders, of the Receivables, Inventory, General
   Intangibles, and Equipment of each Borrower and all books and records in connection therewith;

                  (m)     Fees. Agent shall have received all fees payable to Agent and Lenders on
  or prior to the Closing Date hereunder, including pursuant to Article III hereof;

               (n)     Pro Fonna Financial Statements. Agent shall have received a copy of the
  Pro Forma Financial Statements which shall be satisfactory in all respects to Lenders;

                (o)    Subordinated Loan Documents. Agent shall have received final executed
  copies of the Subordinated Loan Documentation, and all related agreements, documents and
  instruments as in effect on the Closing Date all of which shall be satisfactory in form and
  substance to Agent and the transactions contemplated by such documentation shall be
  consummated prior to or simultaneously with the making of the initial Advance;

                (p)   Subordination Agreements.         Agent shall have entered into the
  Subordination Agreements, which shall be satisfactory in form and substance to Agent in its sole
  discretion;



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                   (q)    Insurance. Agent shall have received in form and substance satisfacto1y to
    Agent, certified copies of Borrowers' casualty insurance policies, together with loss payable
    endorsements on Agent's standard form of loss payee endorsement naming Agent as loss payee,
    and certified copies of Borrowers' liability insurance policies, together with endorsements
    naming Agent as a co-insured;

                  (r)     lintentionally omitted]

                  (s)   Pavment Instructi9ns. Agent shall have received written instructions from
    Borrowing Agent directing the application of proceeds of the initial Advances made pursuant to
    this Agreement;

                   (t)    Blocked Accounts. Agent shall have received duly executed agreements
   establishing the Blocked Accounts or Depository Accounts with financial institutions acceptable
   to Agent for the collection or servicing of the Receivables and proceeds of the Collateral;

                   (u)   Consents. Agent shall have received any and all Consents necessary to
   permit the effectuation of the transactions contemplated by this Agreement and the Other
   Documents; and, Agent shall have received such Consents and waivers of such third parties as
   might assert claims with respect to the Collateral, as Agent and its counsel shall deem necessa1y;

                  (v)    No Adverse Material Change. (i) since July 31, 2005, there shall not have
   occurred any event, condition or state of facts which could reasonably be expected to have a
   Material Adverse Effect and (ii) no representations made or information supplied to Agent or
   Lenders shall have been proven to be inaccurate or misleading in any material respect;

                 (w)    [intentionally omitted] Borrower represents and warrants that none of its
   Inventory, Equipment or books or records are located with a warehouseman or other third-party;

                  (x)    Subordinated Loan Documentation. Agent shall have received final
   executed copies of the Subordinated Loan Documentation which shall contain such terms and
   provisions including subordination terms, satisfactory to Agent;

                   (y)      Contract Review. Agent shall have reviewed all material contracts of
   Borrowers including leases, union contracts, labor contracts, vendor supply contracts, license
   agreements and distributorship agreements and such contracts and agreements shall be
   satisfacto1y in all respects to Agent;

                 (z)     Closing Certificate. Agent shall have received a closing certificate signed
  by the Chief Financial Officer of each Borrower dated as of the date hereof~ stating that (i) all
  representations and warranties set forth in this Agreement and the Other Documents are true and
  correct on and as of such date, (ii) Borrowers are on such date in compliance with all the terms
  and provisions set forth in this Agreement and the Other Documents, (iii) on such date no
  Default or Event of Default has occurred or is continuing;

                (aa)   Borrowing Base. Agent shall have received evidence from Borrowers that
  the aggregate amount of Eligible Receivables and Eligible Inventory is sufficient in value and
  amount to support Advances in the amount requested by Borrowers on the Closing Date;


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                 (bb)   Undrawn Availabilitv. After g1vmg effect to the initial Advances
   hereunder, Borrowers shall have Undrawn Availability of at least $1,000,000;

                (cc)    Compliance with Laws. Agent shall be reasonably satisfied that each
   Borrower is in compliance with all pertinent federal, state, local or territorial regulations,
   including those with respect to the Federal Occupational Safety and Health Act, the
   Environmental Protection Act, ERISA and the Trading with the Enemy Act; and

                  (dd) Other. Agent shall receive such other certificates as it shall specify, and
   all corporate and other proceedings, and all documents, instruments and other legal matters in
   connection with the Transactions shall be satisfactory in form and substance to Agent and its
   counsel.

            8.2. Conditions to Each Advance_. The agreement of Lenders to make any Advance
   requested to be made on any date (including the initial Advance), is subject to the satisfaction of
   the following conditions precedent as of the date such Advance is made:

                  (a)      Representations and Warranties.         Each of the representations and
   warranties made by any Borrower in or pursuant to this Agreement, the Other Documents and
   any related agreements to which it is a party, and each of the representations and warranties
   contained in any certificate, document or financial or other statement furnished at any time under
   or in connection with this Agreement, the Other Documents or any related agreement shall be
   true and correct in all material respects on and as of such date as if made on and as of such date;

                 (b)    No Default. No Event of Default or Default shall have occurred and be
  continuing on such date, or would exist after giving effect to the Advances requested to be made,
  on such date; provided, however that Agent, in its sole discretion, may continue to make
  Advances notwithstanding the existence of an Event of Default or Default and that any Advances
  so made shall not be deemed a waiver of any such Event of Default or Default; and

                 (c)     Maximum Advances. In the case of any type of Advance requested to be
  made, after giving effect thereto, the aggregate amount of such type of Advance shall not exceed
  the maximum amow1t of such type of Advance permitted under this Agreement.                     ·

          Each request for an Advance by any Borrower hereunder shall constitute a representation
  and warranty by each Borrower as of the date of such Advance that the conditions contained in
  this subsection shall have been satisfied.

  IX      INFORMATION AS TO BORROWERS.

        Each Borrower shall, or (except with respect to Section 9.11) shall cause Borrowing
  Agent on its behalf to, until satisfaction in full of the Obligations and the termination of this
  Agreement:

          9.1. Pisclosurc of Material Matters. Immediately upon learning thereof, report to
  Agent all matters materially affecting the value, enforceability or collectibility of any portion of
  the Collateral, including any Borrower's reclamation or repossession of, or the return to any



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    Borrower of, a material amount of goods or claims or disputes asserted by any Customer or other
    obligor.

              9.2. Schedules. Deliver to Agent on or before the fifteenth (15th) day of each month
    as and for the prior month (a) accounts receivable agings inclusive of reconciliations to the
    general ledger, (b) accounts payable schedules inclusive of recol.1ciliations to the general ledger,
    ( c) Inventory reports, and ( d) a Borrowing Base Certificate in form and substance satisfactory to
    Agent (which shall be calculated as of the last day of the prior month and which shall not be
    binding upon Agent or restrictive of Agent's rights under this Agreement). In addition, each
    Borrower will deliver to Agent at such intervals as Agent may require: (i) confirmatory
    assignment schedules, (ii) copies of Customer's invoices, (iii) evidence of shipment or delivery,
    and (iv) such further schedules, documents and/or information regarding the Collateral as Agent
   may require including trial balances and test verifications, including without limitation weekly
   reports of sales, collections and credits. Agent shall have the right to confirm and verify all
   Receivables by any manner and through any medium it considers advisable and do whatever it
   may deem reasonably necessary to protect its interests hereunder. The items to be provided
   under this Section are to be in form satisfactory to Agent and executed by each Borrower and
   delivered to Agent from time to time solely for Agent's convenience in maintaining records of
   the Collateral, and any Borrower's failure to deliver any of such items to Agent shall not affect,
   terminate, modify or otherwise limit Agent's Lien with respect to the Collateral.

            9.3. Environmental Reports. Furnish Agent, concurrently with the delivery of the
   financial statements referred to in Sections 9. 7 and 9.8, with a certificate signed by the President
   of Borrowing Agent stating, to the best of his knowledge, that each Borrower is in compliance in
   all material respects with all federal, state and local Environmental Laws. To the extent any
   Borrower is not in compliance with the foregoing laws, the certificate shall set forth with
   specificity all areas of non-compliance and the proposed action such Borrower will implement in
   order to achieve full compliance.

            9.4. Litigation. Promptly notify Agent in writing of any claim, litigation, suit or
   administrative proceeding affecting any Borrower, whether or not the claim is covered by
   insurance, and of any litigation, suit or administrative proceeding, which in any such case affects
   the Collateral or which could reasonably be expected to have a Material Adverse Effect.

            9.5. Material Occurrences. Promptly notify Agent in writing upon the occurrence of
   (a) any Event of Default or Default; (b) any event of default under the Subordinated Loan
   Documentation; ( c) any event which with the giving of notice or lapse of time, or both, would
   constitute an event of default under the Subordinated Loan Documentation; (d) any event,
   development or circumstance whereby any financial statements or other reports furnished to
   Agent fail in any material respect to present fairly, in accordance with GAAP consistently
  applied, the financial condition or operating results of any Borrower as of the date of such
  statements; (e) any accumulated retirement plan funding deficiency which, if such deficiency
  continued for two plan years and was not corrected as provided in Section 4971 of the Code,
  could subject any Borrower to a tax imposed by Section 4971 of the Code; (f) each and every
  default by any Borrower which might result in the acceleration of the maturity of any
  Indebtedness, including the names and addresses of the holders of such Indebtedness with
  respect to which there is a default existing or with respect to which the maturity has been or


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   could be accelerated, and the amount of such Indebtedness; and (g) any other development in the
   business or affairs of any Borrower which could reasonably be expected to have a Material
   Adverse Effect; in each case describing the nature thereof and the action Borrowers propose to
   take with respect thereto.

            9.6. Government Receivables. Notify Agent immediately if any of its Receivables
   arise out of contracts between any BotTower and the United States, any state, or any department,
   agency or instrumentality of any of them.'

             9.7. Annual Financial Statements. Furnish Agent within 120 days after the end of
   each fiscal year of Borrowers, financial statements of Borrowers on a consolidating and
   consolidated basis including, but not limited to, statements of income and stockholders' equity
   and cash flow from the beginning of the current fiscal year to the end of such fiscal year and the
   balance sheet as at the end of such fiscal year, all prepared in accordance with GAAP applied on
   a basis consistent with prior practices, and in reasonable detail and repo1ied upon without
   qualification by an independent certified public accounting firm selected by Borrowers and
   satisfactory to Agent (the "Accountants"). The report of the Accountants shall be accompanied
   by a statement of the Accountants certifying that (i) they have caused this Agreement to be
   reviewed, (ii) in making the examination upon which such report was based either no
   information came to their attention which to their knowledge constituted an Event of Default or a
   Default under this Agreement or any related agreement or, if such information came to their
   attention, specifying any such Default or Event of Default, its nature, when it occurred and
   whether it is continuing, and such report shall contain or have appended thereto calculations
   which set forth Borrowers' compliance with the requirements or restrictions imposed by Sections
   6.5, 7.4, 7.5, 7.6, 7.7, 7.8 and 7.11 hereof. In addition, the reports shall be accompanied by a
   Compliance Certificate.

           9.8.   [intentionally omitted]

           9.9. Monthly Financial Statements. Furnish Agent within thirty (30) days after the
  end of each month, an unaudited balance sheet of Borrowers on a consolidated and consolidating
  basis and unaudited statements of income and stockholders' equity and cash flow of Borrowers
  on a consolidated and consolidating basis reflecting results of operations from the beginning of
  the fiscal year to the end of such month and for such month, prepared on a basis consistent with
  prior practices and complete and correct in all material respects, subject to normal and recurring
  year end adjustments that individually and in the aggregate are not material to Borrowers'
  business. The reports shall be accompanied by a Compliance Certificate.

            9.10. Other Keports. Furnish Agent as soon as available, but in any event within ten
  (10) days after the issuance thereof, (i) with copies of such financial statements, reports and
  returns as each Borrower shall send to its stockholders, and (ii) copies of all notices, reports,
  financial statements and other materials sent pursuant to the Subordinated Loan Documentation.
  In addition, Borrower shall furnish to Agent the following: (i) within 60 days after the date
  hereof, monthly projections for Borrower's 2006 fiscal year, showing projected revenue and net
  profit, in such form as Agent shall specify, which shall be satisfacto1y to Agent in its discretion,
  and (ii) within 30 days after the date hereof, balance sheet of Sub as of the closing of the
  acquisition of Sub by Parent, prepared in accordance with GAAP applied on a basis consistent


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    with prior practices, and in reasonable detail and audited by the Accountants, which balance
    sheet shall be satisfactory to Agent in its discretion (exercised in good faith).

             9 .11. Additional Information. Furnish Agent with such additional information as Agent
   shall reasonably request in order to enable Agent to determine whether the terms, covenants,
   provisions and conditions of this Agreement and the Notes have been complied with by
   Borrowers including, without the necessity of any request by Agent, (a) copies of all
   environmental audits and reviews, (b) at least thirty (30) days prior thereto, notice of any
   Borrower's opening of any new office or place of business or any Borrower's closing of any
   existing office or place of business, and (c) promptly upon any Borrower;s learning thereof,
   notice of any labor dispute to which any Borrower may become a party, any strikes or walkouts
   relating to any of its plants or other facilities, and the expiration of any labor contract to which
   any Borrower is a party or by which any Bonower is bound.

            9.12. Projected Operating Budget. Furnish Agent, no later than thirty (30) days prior to
   the beginning of each Borrower's fiscal years commencing with fiscal year 2006, a month by
   month projected operating budget and cash flow of Borrowers on a consolidated and
   consolidating basis for such fiscal year (including an income statement for each month and a
   balance sheet as at the end of the last month in each fiscal quarter), such projections to be
   accompanied by a certificate signed by the President or Chief Financial Officer of each Borrower
   to the effect that such projections have been prepared on the basis of sound financial planning
   practice consistent with past budgets and financial statements and that such officer has no reason
   to question the reasonableness of any material assumptions on which such projections were
   prepared.

           9.13. Variances From Operating Budget.            Furnish Agent, concurrently with the
   delivery of the financial statements referred to in Section 9. 7 and each monthly report, a written
   report summarizing all material variances from budgets submitted by Borrowers pursuant to
   Section 9 .12 and a discussion and analysis by management with respect to such variances.

            9 .14. Notice of Suits, Adverse Events. Furnish Agent with prompt written notice of (i)
  any lapse or other termination of any Consent issued to any Borrower by any Governmental
  Body or any other Person that is material to the operation of any Borrower's business, (ii) any
  refusal by any Governmental Body or any other Person to renew or extend any such Consent;
  and (iii) copies of any periodic or special reports filed by any Bonower with any Governmental
  Body or Person, if such reports indicate any material change in the business, operations, affairs
  or condition of any Borrower, or if copies thereof are requested by Lender, and (iv) copies of any
  material notices and other communications from any Governmental Body or Person which
  specifically relate to any Borrower.

            9.15. ERISA Notices and Requests. Furnish Agent with immediate written notice in
  the event that (i) any Borrower or any member of the Controlled Group knows or has reason to
  !mow that a Termination Event has occurred, together with a written statement describing such
  Termination Event and the action, if any, which such Borrower or any member of the Controlled
  Group has taken, is taking, or proposes to take with respect thereto and, when known, any action
  taken or threatened by the Internal Revenue Service, Department of Labor or PBGC with respect
  thereto, (ii) any Borrmver or any member of the Controlled Group knows or has reason to know


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     that a prohibited transaction (as defined in Sections 406 of EIUSA and 4975 of the Code) has
     occurred together with a written statement describing such transaction and the action which such
     Borrower or any member of the Controlled Group has taken, is taking or proposes to take with
    respect thereto, (iii) a funding waiver request has been filed with respect to any Plan together
    with all communications received by any Borrower or any member of the Controlled Group with
    respect to such request, (iv) any increase in the benefits of any existing Plan or the establishment
    of any new Plan or the commencement of contributions to any Plan to which any Borrower or
    any member of the Controlled Group was not previously contributing shall occur, (v) any
    Borrower or any member of the Controlled Group shall receive from the PBGC a notice of
    intention to terminate a Plan or to have a trustee appointed to administer a Plan, together with
    copies of each such notice, (vi) any Borrower or any member of the Controlled Group shall
    receive any favorable or unfavorable determination letter from the Internal Revenue Service
   regarding the qualification of a Plan under Section 401 (a) of the Code, together with copies of
   each such letter; (vii) any Borrower or any member of the Controlled Group shall receive a
   notice regarding the imposition of withdrawal liability, together with copies of each such notice;
   (viii) any Borrower or any member of the Controlled Group shall fail to make a required
   installment or any other required payment under Section 412 of the Code on or before the due
   date for such installment or payment; (ix) any Borrower or any member of the Controlled Group
   knows that (a) a Multiemployer Plan has been terminated, (b) the administrator or plan sponsor
   of a Multiemployer Plan intends to terminate a Multiemployer Plan, or (c) the PBGC has
   instituted or will institute proceedings under Section 4042 of ERISA to terminate a
   Multiemployer Plan.

          9.16. Additional Documents. Execute and deliver to Agent, upon request, such
  documents and agreements as Agent may, from time to time, reasonably request to carry out the
  purposes, terms or conditions of this Agreement.

  X       EVENTS OF DEFAULT.

         The occurrence of any one or more of the following events shall constitute an "Event of
  Default":

          10.1. Nonpavment. Failure by any Borrower to pay any principal or interest on the
  Obligations when due, whether at maturity or by reason of acceleration pursuant to the terms of
  this Agreement or by notice of intention to prepay, or by required prepayment or failure to pay
  any other liabilities or make any other payment, fee or charge provided for herein when due or in
  any Other Document;

            I 0.2. Breach of Representation. Any representation or wmrnnty made or deemed made
  by any Borrower in this Agreement, any Other Document or any related agreement or in any
  certificate, document or financial or other statement furnished at any time in connection herewith
  or therewith shall prove to have been misleading in any material respect on the date when made
  or deemed to have been made;

          10.3. Financial Information. Failure by any Borrower to (i) furnish financial
  information when due or when requested, or (ii) permit the inspection of its books or records;




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            10.4. Judicial Actions. Issuance of a notice of Lien, levy, assessment, injunction or
    attachment against any Borrower's Inventory or Receivables or against a material portion of any
    Borrower's other property which is not stayed or lifted within thirty (30) days;

              10.5. Noncompliance. Except as otherwise provided for in Sections 10.1, 10.3 and
   10.5(ii), (i) failui:e or neglect of any Borrower to perform, keep or observe any term, provision,
   condition, covenant herein contained, or contained in any Other Document or any other
   agreement or arrangement, now or hereafter entered into between any Borrower and Agent or
   any Lender, or (ii) failure or neglect of any Borrower to perform, keep or observe any term,
   provision, condition or covenant, contained in Sections 4.6, 4.7, 4.9, 4.13, 4.14, 4,19, 6.1, 6.3,
   6.4, 9 .4 or 9.6 hereof which is not cured within ten (10) days from the occurrence of such fail me
   or neglect;

            10.6. Judgments. Any judgment or judgments are rendered against any Borrower for an
   aggregate amount in excess of $250,000 or against all Borrowers for an aggregate amount in
   excess of $250,000 and (i) enforcement proceedings shall have been commenced by a creditor
   upon such judgment, (ii) there shall be any period of thirty (30) consecutive days during which a
   stay of enforcement of such judgment, by reason of a pending appeal or otherwise, shall not be in
   effect, or (iii) any such judgment results in the creation of a Lien upon any of the Collateral
   (other than a Permitted Encumbrance);

             10.7. Bankruptcy. Any Borrower shall (i) apply for, consent to or suffer the
   appointment of, or the taking of possession by, a receiver, custodian, trustee, liquidator or similar
   fiduciary of itself or of all or a substantial part of its property, (ii) make a general assignment for
   the benefit of creditors, (iii) commence a voluntary case under any state or federal bankruptcy
   laws (as now or hereafter in effect), (iv) be adjudicated a bankrupt or insolvent, (v) file a petition
   seeking to take advantage of any other law providing for the relief of debtors, (vi) acquiesce to,
   or fail to have dismissed, within thirty (30) days, any petition filed against it in any involuntary
   case under such bankruptcy laws, or (vii) take any action for the purpose of effecting any of the
   foregoing;

            10.8. Inability to Pay. Any Borrower shall admit in writing its inability, or be generally
   unable, to pay its debts generally as they become due or cease operations of its present business;

            I 0. 9. Affiliate Bankruptcy. Any Subsidiary of any Borrower shall (i) apply for, consent
  to or suffer the appointment of, or the taking of possession by, a receiver, custodian, trustee,
  liquidator or similar fiduciary of itself or of all or a substantial part of its prope1iy, (ii) admit in
  writing its inability, or be generally unable, to pay its debts as they become due or cease
  operations of its present business, (iii) make a general assignment for the benefit of creditors, (iv)
  commence a voluntary case under any state or federal bankruptcy laws (as now or hereafter in
  effect), (v) be adjudicated a bankrupt or insolvent, (vi) file a petition seeking to take advantage of
  any other law providing for the relief of debtors, (vii) acquiesce to, or fail to have dismissed,
  within thirty (3 0) days, any petition filed against it in any involuntary case under such
  bankruptcy laws, or (viii) take any action for the purpose of effecting any of the foregoing;




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            10.10. Material Adverse Effect. Any change in any Borrower's results of operations or
    condition (financial or otherwise) which in Agent's opinion (exercised in good faith) has a
    Material Adverse Effect;

              10.11. L_ien Priority. Any Lien created hereunder or provided for hereby or under any
    related agreement for any reason ceases to be or is not a valid and perfected Lien having a first
    priority interest;

           10.12. Subordinated Loan Default. An event of default has occurred under any of the
   Subordinated Loan Documentation or the Subordination Agreement, which default shall not have
   been cured or waived in writing within any applicable grace period;

            10.13. Cross Default. A default of the obligations of any Borrower under any other
   agreement to which it is a party shall occur which materially and adversely affects its condition,
   affairs or prospects (financial or otherwise) which default is not cured within any applicable
   grace period;

            10.14. [intentionally omitted]

            I 0.15. Change of Ownership_. Any Change of Ownership or Change of Material Officer
   shall occur;

             10.16. Invalidity. Any material provision of this Agreement or any Other Document
   shall, for any reason, cease to be valid and binding on Borrower, or any Borrower shall so claim
   in writing to Agent or any Lender;

            10.17. Licenses. (i) Any Governmental Body shall (A) revoke, terminate, suspend or
   adversely modify any license, permit, patent trademark or tradename of any Borrower, the
   continuation of which is material to any Borrower's business, or (B) commence proceedings to
  suspend, revoke, terminate or adversely modify any such license, permit, trademark, tradename
  or patent and such proceedings shall not be dismissed or discharged within sixty (60) days, or (c)
  schedule or conduct a hearing on the renewal of any license, permit, trademark, tradename or
  patent necessary for the continuation of any Borrower's business and the staff of such
  Governmental Body issues a report recommending the termination, revocation, suspension or
  material, adverse modification of such license, permit, trademark, tradename or patent; (ii) ariy
  agreement which is necessary or material to the operation of any Borrower's business shall be
  revoked or terminated and not replaced by a substitute acceptable to Agent within thirty (30)
  days after the date of such revocation or termination, and such revocation or termination and
  non-rt:5placement would reasonably be expected to have a Material Adverse Effect;

           10.18. Seizures. Any portion of the Collateral shall be seized or taken by a
  Governmental Body, or any Borrower or the title and rights of any Borrower of any material
  portion of the Collateral shall have become the subject matter of claim, litigation, suit or other
  proceeding which might, in the opinion of Agent, upon final determination, result in impairment
  or loss of the security provided by this Agreement or the Other Documents;

           10.19. Qperations. The operations of any Borrower's manufacturing facility are
  interrupted at any time for more than seven consecutive days (except for interruption for up to


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   ten days in connection with the presently contemplated consolidation of Borrower's operations),
   unless such Borrower shall (i) be entitled to receive for such period of interruption, proceeds of
   business interruption insurance sufficient to assure that its per diem cash needs during such
   period is at least equal to its average per diem cash needs for the consecutive tlu-ee month period
   immediately preceding the initial date of interruption and (ii) receive such proceeds in the
   amount described in clause (i) preceding not later than thirty (30) days following the initial date
   of any such interruption; provided, however, that notwithstanding the provisions of clauses (i)
   and (ii) of this section, an Event of Default shall be deemed to have occurred if such Borrower
   shall be receiving the proceeds of business interruption insurance for a period of thirty (30)
   consecutive days; or

            10.20. Pension Plans. An event or condition specified in Sections 7.16 or 9.15 hereof
   shall occur or exist with respect to any Plan and, as a result of such event or condition, together
   with all other such events or conditions, any Borrower or any member of the Controlled Group
   shall incur, or in the opinion of Agent be reasonably likely to incur, a liability to a Plan or the
   PBGC (or both) which, in the reasonable judgment of Agent, would have a Material Adverse
   Effect.

   XI     LENDERS' RJGHTS AND REMEDIES AFTER DEFAULT.

           11.1. Rights and Remedies.

                    (a)     Upon the occurrence of (i) an Event of Default pursuant to Section 10.7 all
    Obligations shall be immediately due and payable and this Agreement and the obligation of
    Lenders to make Advances shall be deemed terminated; and (ii) any of the other Events of
    Default and at any time thereafter (such default not having previously been cured), at the option
    of Required Lenders all Obligations shall be immediately due and payable and Lenders shall
   have the right to terminate this Agreement and to terminate the obligation of Lenders to make
   Advances; and (iii) a filing of a petition against any Borrower in any involuntary case under any
   state or federal bankruptcy laws, all Obligations shall be immediately due and payable and the
   obligation of Lenders to make Advances hereunder shall be terminated other than as may be
   required by an appropriate order of the bankruptcy court having jurisdiction over such Bonowcr.
   Upon the occurrence of any Event of Default, Agent shall have the right to exercise any and all
   rights and remedies provided for herein, under the Other Documents, under the Uniform
   Commercial Code and at Jaw or equity generally, including the right to foreclose the security
   interests granted herein and to realize upon any Collateral by any available judicial procedure
   and/or to take possession of and sell any or all of the Collateral with or without judicial process.
   Agent may enter any of any Borrower's premises or other premises without legal process and
   without incurring liability to any Borrower therefor, and Agent may thereupon, or at any time
  thereafter, in its discretion without notice or demand, take the Collateral and remove the same to
  such place as Agent may deem advisable and Agent may require Borrowers to make the
  Collateral available to Agent at a convenient place. With or without having the Collateral at the
  time or place of sale, Agent may sell the Collateral, or any part thereof, at public or private sale,
  at any time or place, in one or more sales, at such price or prices, and upon such terms, either for
  cash, credit or future delivery, as Agent may elect. Except as to that part of the Collateral which
  is perishable or threatens to decline speedily in value or is of a type customarily sold on a
  recognized market, Agent shall give Borrowers reasonable notification of such sale or sales, it


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    being agreed that in all events written notice mailed to Borrowing Agent at least ten ( 10) days
    prior to such sale or sales is reasonable notification. At any public sale Agent or any Lender may
    bid for and become the purchaser, and Agent, any Lender or any other purchaser at any such sale
    thereafter shall hold the Collateral sold absolutely free from any claim or right of whatsoever
    kind, including any equity of redemption and all such claims, rights and equities are hereby
    expressly waived and released by each Borrower. In connection with the exercise of the
    foregoing remedies, including the sale of Inventory, Agent is granted a perpetual nonrevocable,
    royalty free, nonexclusive license and Agent is granted permission to use all of each Bon-ower's
   (a) trademarks, trade styles, trade names, patents, patent applications, copyrights, service marks,
    licenses, franchises and other proprietary rights which are used or useful in connection with
   Inventory for the purpose of marketing, advertising for sale and selling or otherwise disposing of
   such Inventory and (b) Equipment for the purpose of completing the manufacture of unfinished
   goods. The cash proceeds realized from the sale of any Collateral shall be applied to the
   Obligations in the order set fo1ih in Section 11.5 hereof. Noncash proceeds will only be applied
   to the Obligations as they are converted into cash. If any deficiency shall arise, Borrowers shall
   remain liable to Agent and Lenders therefor.

                     (b)     To the extent that Applicable Law imposes duties on the Agent to exercise
    remedies in a commercially reasonable manner, each Borrower acknowledges and agrees that it
    is not commercially unreasonable for the Agent (i) to fail to incur expenses reasonably deemed
    significant by the Agent to prepare Collateral for disposition or otherwise to complete raw
    material or work in process into finished goods or other finished products for disposition, (ii) to
    fail to obtain third party consents for access to Collateral to be disposed of, or to obtain or, if not
    required by other law, to fail to obtain governmental or third party consents for the coI!ection or
    disposition of Collateral to be collected or disposed of, (iii) to fail to exercise collection remedies
    against Customers or other Persons obligated on Collateral or to remove Liens on or any adverse
    claims against Collateral, (iv) to exercise collection remedies against Customers and other
   Persons obligated on Collateral directly or through the use of collection agencies and other
   collection specialists, (v) to advertise dispositions of Collateral through publications or media of
   general circulation, whether or not the Collateral is of a specialized nature, (vi) to contact other
   Persons, whether or not in the same business as any Borrower, for expressions of interest in
   acquiring all or any portion of such Collateral, (vii) to hire one or more professional auctioneers
   to assist in the disposition of Collateral, whether or not the Collateral is of a specialized nature,
   (viii) to dispose of Collateral by utilizing internet sites that provide for the auction of assets of
  the types included in the Collateral or that have the reasonable capacity of doing so, or that
   match buyers and sellers of assets, (ix) to dispose of assets in wholesale rather than retail
  markets, (x) to disclaim disposition warranties, such as title, possession or quiet enjoyment, (xi)
  to purchase insurance or credit enhancements to insure the Agent against risks of loss, collection
  or disposition of Collateral or to provide to the Agent a guaranteed return from the collection or
  disposition of Collateral, or (xii) to the extent deemed appropriate by the Agent, to obtain the
  services of other brokers, investment bankers, consultants and other professionals to assist the
  Agent in the collection or disposition of any of the Collateral. Each Borrower acknowledges that
  the purpose of this Section 11. l (b) is to provide non-exhaustive indications of what actions or
  omissions by the Agent would not be commercially unreasonable in the Agent's exercise of
  remedies against the Collateral and that other actions or omissions by the Agent shall not be
  deemed commercially unreasonable solely on account of not being indicated in this Section
  11.1 (b ). Without limitation upon the foregoing, nothing contained in this Section 11.1 (b) shall be


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    construed to grant any rights to any Borrower or to impose any duties on Agent that would not
    have been granted or imposed by this Agreement or by Applicable Law in the absence of this
    Section 11.1 (b ).

              11.2. Agent's Discretion. Agent shall have the right in its sole discretion to determine
    which rights, Liens, security interests or remedies Agent may at any time pursue, relinquish,
    subordinate, or modify or to take any other action with respect thereto and such determination
    will not in any way modify or affect any of Agent's or Lenders' rights hereunder.

             11.3. Setoff. Subject to Section 14.12, in addition to any other rights which Agent or
    any Lender may have under Applicable Law, upon the occurrence of an Event of Default
    hereunder, Agent and such Lender shall have a right, immediately and without notice of any
    kind, to apply any Borrower's property held by Agent and such Lender to reduce the
    Obligations.

             11.4. Rights and Remedies not Exclusive. The enumeration of the foregoing rights and
   remedies is not intended to be exhaustive and the exercise of any rights or remedy shall not
   preclude the exercise of any other right or remedies provided for herein or otherwise provided by
   law, all of which shall be cumulative and not alternative.

            11.5. Allocation of Payments After Event of Default. Notwithstanding any other
   provisions of this Agreement to the contrmy, after the occurrence and during the continuance of
   an Event of Default, all amounts collected or received by the Agent on account of the
   Obligations or any other amounts outstanding w1der any of the Other Documents or in respect of
   the Collateral may, at Agent's discretion, be paid over or delivered as follows:

           FIRST, to the payment of all reasonable out-of-pocket costs and expenses (including
   reasonable attorneys' foes) of the Agent in connection with enforcing its rights and the rights of
   the Lenders under this Agreement and the Other Documents and any protective advances made
   by the Agent with respect to the Collateral under or pursuant to the terms of this Document;

          SECOND, to payment of any fees owed to the Agent;

          THIRD, to the payment of all reasonable out-of-pocket costs and expenses (including
   reasonable attorneys' fees) of each of the Lenders in connection with enforcing its rights under
   this Agreement and the Other Documents or otherwise with respect to the Obligations owing to
   such Lender;

          FOURTH, to the payment of all of the Obligations consisting of accrued fees and
  interest;

         FIFTH, to the payment of the outstanding principal amount of the Obligations (including
  the payment or cash collateralization of any outstanding Letters of Credit);

         SIXTH, to all other Obligations and other obligations which shall have become due and
  payable under the Other Documents or otherwise and not repaid pursuant to clauses "FIRST"
  through "FIFTH" above; and



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           SEVENTH, to the payment of the surplus, if any, to whoever may be lawfully entitled to
   receive such surplus.

           In carrying out the foregoing, (i) amounts received shall be applied in the numerical order
   provided until exhausted prior to application to the next succeeding category; (ii) each of the
   Lenders shall receive (so long as it is not a Defaulting Lender) an amount equal to its pro rata
   share (based on the proportion that the then outstanding Advances held by such Lender bears to
   the aggregate then outstanding Advances) of amounts available to be applied pursuant to clauses
   "FOURTH", "FIFTH" and "SIXTH" above; and (iii) to the extent that any amounts available for
   distribution pursuant to clause "FIFTH" above are attributable to the issued but undrawn amount
   of outstanding Letters of Credit, such amounts shall be held by the Agent in a cash collateral
   account and applied (A) first, to reimburse the Issuer from time to time for any drawings under
   such Letters of Credit and (B) then, following the expiration of all Letters of Credit, to all other
   obligations of the types described in clauses "FIFTH" and "SIXTH" above in the manner
   provided in this Section 11.5.

   XII    WAIVERS AND JUDICIAL PROCEEDINGS.

           12.1. Waiver of Notice. Each Borrower hereby waives notice of non-payment of any of
   the Receivables, demand, presentment, protest and notice thereof with respect to any and all
   instruments, notice of acceptance hereof, notice of loans or advances made, credit extended,
   Collateral received or delivered, or any other action taken in reliance hereon, and all other
   demands and notices of any description, except such as are expressly provided for herein.

            12.2. Delay. No delay or omission on Agent's or any Lender's part in exercising any
   right, remedy or option shall operate as a waiver of such or any other right, remedy or option or
   of any Default or Event of Default.

        12.3. Jury Waiver. EACH PARTY TO THIS AGREEMENT HEREBY
  EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND,
  ACTION OR CAUSE OF ACTION (A) ARISING UNDER THIS AGREEMENT OR ANY
  OTHER INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR
  DELIVERED IN CONNECTION HEREWITH, OR (B) IN ANY WAY CONNECTED
  WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES
  HERETO OR ANY OF THEM WITH RESPECT TO THIS AGREEMENT OR ANY
  OTHER INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR
  DELIVERED IN CONNECTION HEREWITH, OR THE TRANSACTIONS RELATED
  HERETO OR THERETO IN EACH CASE WHETHER NOW EXISTING OR
  HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT OR TORT OR
  OTHERWISE AND EACH PARTY HEREBY CONSENTS THAT ANY SUCH CLAIM,
  DEMAND, ACTION OR CAUSE OF ACTION SHALL BE DECIDED BY COURT
  TRIAL WITHOUT A JURY, AND THAT ANY PARTY TO THIS AGREEMENT MAY
  FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY
  COURT AS WRITTEN EVIDENCE OF THE CONSENTS OF THE PARTIES HERETO
  TO THE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.

  XIII   EFFECTIVE DATE AND TERMINATION.



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             13 .1. Term. This Agreement, which shall inure to the benefit of and shall be binding
    upon the respective successors and permitted assigns of each Borrower, Agent and each Lender,
    shall become effective on the date hereof and shall continue in full force and effect until
   November 2, 2008 (the "Term") unless sooner terminated as herein provided. Borrowers may
    terminate this Agreement at any time upon ninety (90) days' prior written notice upon payment
   in full of the Obligations. In the event the Obligations are prepaid in full prior to the last day of
   the Term (the date of such prepayment hereinafter referred to as the "Early Termination Date"),
   Borrowers shall pay to Agent for the benefit of Lenders an early termination fee in an amount
   equal to (x) $75,000 if the Early Termination Date occurs on or after the Closing Date to and
   including the date immediately preceding the first anniversary of the Closing Date, (y) $50,000 if
   the Early Termination Date occurs on or after the first anniversary of the Closing Date to and
   including the date immediately preceding the second anniversary of the Closing Date, and (z)
   $37,500 if the Early Termination Date occurs on or after the second anniversary of the Closing
   Date to and including the date immediately preceding the third anniversary of the Closing Date.
   The Term Loan may be prepaid at any time, in whole or in part, without premium or penalty
   (except as set forth in this Agreement with respect to Eurodollar Rate Loans), any such
   prepayments to be applied to the installments thereon in the inverse order of their maturity.

              13.2. Termination. The termination of the Agreement shall not affect any Borrower's,
    Agent's or any Lender's rights, or any of the Obligations having their inception prior to the
    effective date of such termination, and the provisions hereof shall continue to be fully operative
    until all transactions entered into, rights or interests created or Obligations have been fully and
    indefeasibly paid, disposed of, concluded or liquidated. The security interests, Liens and rights
    granted to Agent and Lenders hereunder and the financing statements filed hereunder shall
    continue in full force and effect, notwithstanding the tennination of this Agreement or the fact
    that Borrowers' Account may from time to time be temporarily in a zero or credit position, until
    all of the Obligations of each Borrower have been indefeasibly paid and performed in full after
   the termination of this Agreement or each Borrower has furnished Agent and Lenders with an
   indemnification satisfactory to Agent and Lenders with respect thereto. Accordingly, each
   Borrower waives any rights which it may have under the Uniform Commercial Code to demand
   the filing of termination statements with respect to the Collateral, and Agent shall not be required
   to send such termination statements to each Borrower, or to file them with any filing office,
   unless and until this Agreement shall have been terminated in accordance with its terms and all
   Obligations have been indefeasibly paid in full in immediately available funds. All
   representations, warranties, covenants, waivers and agreements contained herein shall survive
   termination hereof until all Obligations are indefeasibly paid and performed in full.

  XIV     REGARDING AGENT.

           14.1. Appointment. Each Lender hereby designates PNC to act as Agent for such
  Lender under this Agreement and the Other Documents. Each Lender hereby irrevocably
  authorizes Agent to take such action on its behalf under the provisions of this Agreement and the
  Other Documents and to exercise such powers and to perform such duties hereunder and
  thereunder as are specifically delegated to or required of Agent by the terms hereof and thereof
  and such other powers as are reasonably incidental thereto and Agent shall hold all Collateral,
  payments of principal and interest, fees (except the fees set forth in Sections 2.3(a) and 2.4),
  charges and collections (without giving effect to any collection days) received pursuant to this


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   Agreement, for the ratable benefit of Lenders. Agent may perform any of its duties hereunder by
   or through its agents or employees. As to any matters not expressly provided for by this
   Agreement (including collection of the Note) Agent shall not be required to exercise any
   discretion or take any action, but shall be required to act or to refrain from acting (and shall be
   fully protected in so acting or refraining from acting) upon the instructions of the Required
   Lenders, and such instructions shall be binding; provided, however, that Agent shall not be
   required to take any action which exposes Agent to liability or which is contrary to this
   Agreement or the Other Documents or Applicable Law unless Agent is furnished with an
   indemnification reasonably satisfactory to Agent with respect thereto.

              14.2. Nature of Duties. Agent shall have no duties or responsibilities except those
    expressly set forth in this Agreement and the Other Documents. As between Agent and Lenders,
    neither Agent nor any of its officers, directors, employees or agents shall be (i) liable for any
    action taken or omitted by them as such hereunder or in connection herewith, unless caused by
    their gross (not mere) negligence or willful misconduct, or (ii) responsible in any manner for any
    recitals, statements, representations or warranties made by any Borrower or any officer thereof
    contained in this Agreement, or in any of the Other Documents or in any certificate, report,
    statement or other document referred to or provided for in, or received by Agent under or in
    connection with, this Agreement or any of the Other Documents or for the value, validity,
    effectiveness, genuineness, due execution, enforceability or sufficiency of this Agreement, or
   any of the Other Documents or for any failure of any Borrower to perform its obligations
   hereunder. Agent shall not be under any obligation to any Lender to ascertain or to inquire as to
   the observance or performance of any of the agreements contained in, or conditions of, this
   Agreement or any of the Other Documents, or to inspect the properties, books or records of any
   Borrower. The duties of Agent as respects the Advances to Borrowers shall be mechanical and
   administrative in nature; Agent shall not have by reason of this Agreement a fiduciary
   relationship in respect of any Lender; and nothing in this Agreement, expressed or implied, is
   intended to or shall be so construed as to impose upon Agent any obligations in respect of this
   Agreement except as expressly set fotih herein.

             14.3. Lack 9f Reliance on Agent and Resignation. Independently and without reliance
   upon Agent or any other Lender, each Lender has made and shall continue to make (i) its own
   independent investigation of the financial condition and affairs of each Borrower in connection
   with the making and the continuance of the Advances hereunder and the taking or not taking of
   any action in connection herewith, and (ii) its own appraisal of the creditworthiness of each
   Borrower. Agent shall have no duty or responsibility, either initially or on a continuing basis, to
  provide any Lender with any credit or other information with respect thereto, whether coming
   into its possession before making of the Advances or at any time or times thereafter except as
  shall be provided by any Borrower pursuant to the terms hereof Agent shall not be responsible
  to any Lender for any recitals, statements, information, representations or warranties herein or in
  any agreement, document, certificate or a statement delivered in connection with or for the
  execution, effectiveness, genuineness, validity, enforceability, collcctibility or sufficiency of this
  Agreement or any Other Document, or of the financial condition of any Borrower, or be required
  to make any inquiry concerning either the performance or observance of any of the terms,
  provisions or conditions of this Agreement, the Note, the Other Documents or the financial
  condition of any Borrower, or the existence of any Event of Default or any Default.



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           Agent may resign on sixty (60) days' written notice to each of Lenders and Borrowing
    Agent and upon such resignation, the Required Lenders will promptly designate a successor
    Agent reasonably satisfactory to Borrowers.

           Any such successor Agent shall succeed to the rights, powers and duties of Agent, and
   the term "Agent" shall mean such successor agent effective upon its appointment, and the former
   Agent's rights, powers and duties as Agent shall be terminated, without any other or further act
   or deed on the part of such former Agent. After any Agent's resignation as Agent, the provisions
   of this Article XIV shall inure to its benefit as to any actions taken or omitted to be taken by it
   while it was Agent under this Agreement.

            14.4. Certain Rights of Agent. If Agent shall request instructions from Lenders with
   respect to any act or action (including failure to act) in connection with this Agreement or any
   Other Document, Agent shall be entitled to refrain from such act or taking such action unless and
   until Agent shall have received instructions from the Required Lenders; and Agent shall not
   incur liability to any Person by reason of so refraining. Without limiting the foregoing, Lenders
   shall not have any right of action whatsoever against Agent as a result of its acting or refraining
   from acting hereunder in accordance with the instructions of the Required Lenders.

           14.5. Reliance. Agent shall be entitled to rely, and shall be fully protected in relying,
  upon any note, writing, resolution, notice, statement, certificate, telex, teletype or telecopier
  message, cablegram, order or other document or telephone message believed by it to be genuine
  and correct and to have been signed, sent or made by the proper person or entity, and, with
  respect to all legal matters pertaining to this Agreement and the Other Documents and its duties
  hereunder, upon advice of counsel selected by it. Agent may employ agents and attorneys-in-
  fact and shall not be liable for the default or misconduct of any such agents or attorneys-in-fact
  selected by Agent with reasonable care.

            14.6. Notice of Default. Agent shall not be deemed to have knowledge or notice of the
  occurrence of any Default or Event of Default hereunder or under the Other Documents, unless
  Agent has received notice from a Lender or Borrowing Agent referring to this Agreement or the
  Other Documents, describing such Default or Event of Default and stating that such notice is a
  "notice of default". In the event that Agent receives such a notice, Agent shall give notice
  thereof to Lenders. Agent shall take such action with respect to such Default or Event of Default
  as shall be reasonably directed by the Required Lenders; provided, that, unless and until Agent
  shall have received such directions, Agent may (but shall not be obligated to) take such action, or
  refrain from taking such action, with respect to such Default or Event of Default as it shall deem
  advisable in the best interests of Lenders.

           14.7. Indernnific~tion. To the extent Agent is not reimbursed and indemnified by
  Borrowers, each Lender will reimburse and indemnify Agent in proportion to its respective
  portion of the Advances (or, if no Advances are outstanding, according to its Commitment
  Percentage), from and against any and all liabilities, obligations, losses, damages, penalties,
  actions, judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever
  which may be imposed on, incurred by or asserted against Agent in performing its duties
  hereunder, or in any way relating to or arising out of this Agreement or any Other Document;
  provided that, Lenders shall not be liable for any portion of such liabilities, obligations, losses,


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    damages, penalties, actions, judgments, suits, costs, expenses or disbursements resulting from
    Agent's gross (not mere) negligence or willful misconduct.

            14.8. Agent in its Individual Capacity. With respect to the obligation of Agent to lend
   under this Agreement, the Advances made by it shall have the same rights and powers hereunder
   as any other Lender and as if it were not performing the duties as Agent specified herein; and the
   term "Lender" or any similar term shall, unless the context clearly otherwise indicates, include
   Agent in its individual capacity as a Lender. Agent may engage in business with any Borrower
   as if it were not performing the duties specified herein, and may accept fees and other
   consideration from a:ny Borrower for services in connection with this Agreement or otherwise
   without having to account for the same to Lenders.

            14.9. Delivery of Documents. To the extent Agent receives financial statements
   required under Sections 9.7, 9.9, 9.12 and 9.13 or Borrowing Base Certificates from any
   Borrower pursuant to the terms of this Agreement which any Borrower is not obligated to deliver
   to each Lender, Agent will promptly furnish such documents and information to Lenders.

            14.10. _Borrowers' U nclertaking to Agent. Without prejudice to their respective
   obligations to Lenders under the other provisions of this Agreement, each Borrower hereby
   undertakes with Agent to pay to Agent from time to time on demand all amounts from time to
   time due and payable by it for the account of Agent or Lenders or any of them pursuant to this
   Agreement to the extent not already paid. Any payment made pursuant to any such demand shall
   pro tanto satisfy the relevant Borrower's obligations to make payments for the account of
   Lenders or the relevant one or more of them pursuant to this Agreement.

            14.11. No Reliance on Agent's Customer Identification Program. Each Lender
  acknowledges and agrees that neither such Lender, nor any of its Affiliates, paiiicipants or
  assignees, may rely on the Agent to carry out such Lender's, Affiliate's, participant's or
  assignee's customer identification program, or other obligations required or imposed under or
  pursuant to the USA PA TRI OT Act or the regulations thereunder, including the regulations
  contained in 31 CFR 103.121 (as hereafter amended or replaced, the "CIP Regulations"), or any
  other Anti-Terrorism Law, including any programs involving any of the following items relating
  to or in connection with any Borrower, its Affiliates or its agents, this Agreement, the Other
  Documents or the transactions hereunder or contemplated hereby: (1) any identity verification
  procedures, (2) any record-keeping, (3) comparisons with government lists, (4) customer notices
  or (5) other procedures required under the CIP Regulations or such other laws.

           14.12. Other Agreements. Each of the Lenders agrees that it shall not, without the
  express consent of Agent, and that it shall, to the extent it is lawfully entitled to do so, upon the
  request of Agent, set off against the Obligations, any amounts owing by such Lender to any
  Borrower or any deposit accounts of any Borrower now or hereafter maintained with such
  Lender. Anything in this Agreement to the contrary notwithstanding, each of the Lenders further
  agrees that it shall not, unless specifically requested to do so by Agent, take any action to protect
  or enforce its rights arising out of this Agreement or the Other Documents, it being the intent of
  Lenders that any such action to protect or enforce rights under this Agreement and the Other
  Documents shall be taken in concert and at the direction or with the consent of Agent or
  Required Lenders.


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    XV     BORROWING AGENCY.

            15.1. BoITowing Agency Provisions.

                    (a)    Each Borrower hereby irrevocably designates Borrowing Agent to be its
   attorney and agent and in such capacity to borrow, sign and endorse notes, and execute and
   deliver all instruments, documents, writings and futiher assurances now or hereafter required
   hereunder, on behalf of such Borrower or Bonowers, and hereby authorizes Agent to pay over or
   credit all loan proceeds hereunder in accordance with the request of Borrowing Agent.

                   (b)    The handling of this credit facility as a co-borrowing facility with a
   borrowing agent in the manner set forth in this Agreement is solely as an accommodation to
    Bonowers and at their request. Neither Agent nor any Lender shall incur liability to Borrowers
   as a result thereof. To induce Agent and Lenders to do so and in consideration thereof, each
   Borrower hereby indemnifies Agent and each Lender and holds Agent and each Lender harmless
   from and against any and all liabilities, expenses, losses, damages and claims of damage or
   injury asserted against Agent or any Lender by any Person arising from or incurred by reason of
   the handling of the financing arrangements of Borrowers as provided herein, reliance by Agent
   or any Lender on any request or instruction from Borrowing Agent or any other action taken by
   Agent or any Lender with respect to this Section 15 .1 except due to willful misconduct or gross
   (not mere) negligence by the indemnified paiiy.

                 (c)    All Obligations shall be joint and several, and each Borrower shall make
  payment upon the maturity of the Obligations by acceleration or otherwise, and such obligation
  and liability on the part of each Borrower shall in no way be affected by any extensions,
  renewals and forbearance granted to Agent or any Lender to any Borrower, failure of Agent or
  any Lender to give any Borrower notice of bon-owing or any other notice, any failure of Agent or
  any Lender to pursue or preserve its rights against any Borrower, the release by Agent or any
  Lender of any Collateral now or thereafter acquired from any Borrower, and such agreement by
  each Borrower to pay upon any notice issued pursuant thereto is unconditional and unaffected by
  prior recourse by Agent or any Lender to the other Borrowers or any Collateral for such
  Borrower's Obligations or the lack thereof. Each Borrower waives all suretyship defenses.

           15.2. Waiver of Subrogation. Each Borrower expressly waives any and all rights of
  subrogation, reimbursement, indemnity, exoneration, contribution of any other claim which such
  Borrower may now or hereafter have against the other Borrowers or other Person directly or
  contingently liable for the Obligations hereunder, or against or with respect to the other
  Borrowers' property (including, without limitation, any property which is Collateral for the
  Obligations), arising from the existence or performance of this Agreernent, until termination of
  this Agreement and repayment in full of the Obligations.

  XVI    MISCELLANEOUS.

           16.1. Governing Law. This Agreement shall be governed by and construed in
  accordance with the laws of the State of New York applied to contracts to be performed wholly
  within the State of New York. Any judicial proceeding brought by or against any Borrower with
  respect to any of the Obligations, this Agreement, the Other Documents or any related agreement



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    may be brought in any court of competent jurisdiction in the State of New York, United States of
    America, and, by execution and delivery of this Agreement, each Borrower accepts for itself and
    in connection with its properties, generally and unconditionally, the non-exclusive jurisdiction of
   the aforesaid courts, and irrevocably agrees to be bound by any judgment rendered thereby in
   connection with this Agreement. Each Borrower hereby waives personal service of any and all
   process upon it and consents that all such service of process may be made by registered mail
   (return receipt requested) directed to Borrowing Agent at its address set forth in Section 16.6 and
   service so made shall be deemed completed five (5) days after the same shall have been so
   deposited in the mails of the United States of America, or, at the Agent's option, by service upon
   Borrowing Agent which each Borrower irrevocably appoints as such Borrower's agent for the
   purpose of accepting service within the State of New York. Nothing herein shall affect the right
   to serve process in any manner permitted by law or shall limit the right of Agent or any Lender
   to bring proceedings against any Bonower in the courts of any other jurisdiction. Each Borrower
   waives any objection to jurisdiction and venue of any action instituted hereunder and shall not
   assert any defense based on lack of jurisdiction or venue or based upon forum non conveniens.
   Each Borrower waives the right to remove any judicial proceeding brought against such
   Borrower in any state court to any federal court. Any judicial proceeding by any Borrower
   against Agent or any Lender involving, directly or indirectly, any matter or claim in any way
   arising out of, related to or connected with this Agreement or any related agreement, shall be
   brought only in a federal or state court located in the County ofNew York, State of New York.

           16.2. Entire Understanding.

                 (a)·    This Agreement and the documents executed concurrently herewith
  contain the entire understanding between each Borrower, Agent and each Lender and supersedes
  all prior agreements and understandings, if any, relating to the subject matter hereof. Any
  promises, representations, warranties or guarantees not herein contained and hereinafter made
  shall have no force and effect unless in writing, signed by each Borrower's, Agent's and each
  Lender's respective officers. Neither this Agreement nor any portion or provisions hereof may
  be changed, modified, amended, waived, supplemented, discharged, cancelled or terminated
  orally or by any course of dealing, or in any manner other than by an agreement in writing,
  signed by the party to be charged. Each Borrower acknowledges that it has been advised by
  counsel in connection with the execution of this Agreement and Other Documents and is not
  relying upon oral representations or statements inconsistent with the terms and provisions of this
  Agreement.

                  (b)    The Required Lenders, Agent with the consent in writing of the Required
  Lenders, and Borrowers may, subject to the provisions of this Section 16.2 (b ), from time to time
  enter into written supplemental agreements to this Agreement or the Other Documents executed
  by Borrowers, for the purpose of adding or deleting any provisions or otherwise changing,
  varying or waiving in any manner the rights of Lenders, Agent or Borrowers thereunder or the
  conditions, provisions or terms thereof of waiving any Event of Default thereunder, but only to
  the extent specified in such written agreements; provided, however, that no such supplemental
  agreement shall, without the consent of all Lenders:

                      (i)    increase the Commitment Percentage, the maximum dollar
  commitment of any Lender or the Maximum Revolving Advance Amount.


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                          (ii)   extend the maturity of any Note or the due date for any amount
    payable hereunder, or decrease the rate of interest or reduce any fee payable by Borrowers to
    Lenders pursuant to this Agreement.

                         (iii)    alter the definition of the tenn Required Lenders or alter, amend or
   modify this Section 16. 2(b ).

                       (iv)   release any Collateral during any calendar year (other than in
   accordance with the provisions of this Agreement) having an aggregate value in excess of
   $100,000.

                          (v)      change the rights and duties of Agent.

                         (vi)  permit any Revolving Advance to be made if after giving effect
   thereto the total of Revolving Advances outstanding hereunder would exceed the Formula
   Amount for more than sixty (60) consecutive Business Days or exceed one hundred and five
   percent (105%) of the Formula Amount.

                          (vii)    increase the Advance Rates above the Advance Rates in effect on
   the Closing Date.

                          (viii)   release any Guarantor.

          Any such supplemental agreement shall apply equally to each Lender and shall be
  binding upon Borrowers, Lenders and Agent and all future holders of the Obligations. In the
  case of any waiver, Borrowers, Agent and Lenders shall be restored to their former positions and
  rights, and any Event of Default waived shall be deemed to be cured and not continuing, but no
  waiver of a specific Event cif Default shall extend to any subsequent Event of Default (whether
  or not the subsequent Event of Default is the same as the Event of Default which was waived), or
  impair any right consequent thereon.

           In the event that Agent requests the consent of a Lender pursuant to this Section 16.2 and
   such Lender shall not respond or reply to Agent in writing within five (5) days of delivery of
  such request, such Lender shall be deemed to have consented to the matter that was the subject of
  the request. In the event that Agent requests the consent of a Lender pursuant to this Section
   16.2 and such consent is denied, then PNC may, at its option, require such Lender to assign its
  interest in the Advances to PNC or to another Lender or to any other Person designated by the
  Agent (the "Designated Lender"), for a price equal to (i) the then outstanding principal amount
  thereof plus (ii) accrued and unpaid interest and fees due such Lender, which interest and fees
  shall be paid when collected from Borrowers. In the event PNC elects to require any Lender to
  assign its interest to PNC or to the Designated Lender, PNC will so notify such Lender in writing
  within forty five (45) days following such Lender's denial, and such Lender will assign its
  interest to PNC or the Designated Lender no later than five (5) days following receipt of such
  notice pursuant to a Commitment Transfer Supplement executed by such Lender, PNC or the
  Designated Lender, as appropriate, and Agent.

          Notwithstanding (a) the existence of a Default or an Event of Default, (b) that any of the
  other applicable conditions precedent set forth in Section 8.2 hereof have not been satisfied or (c)


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    any other provision of tbis Agreement, Agent may at its discretion and without the consent of the
    Required Lenders, voluntarily permit the outstanding Revolving Advances at any time to exceed
    an amount equal to the Formula Amount (such sum, the "Overadvance Threshold Amount") by
    up to ten percent (10%) of the Formula Amount for up to thirty (30) consecutive Business Days
   (the "Out-of-Formula Loans"). If Agent is willing in its sole and absolute discretion to make
   such Out-of-Formula Loans, such Out-of-Formula Loans shall be payable on demand and shall
   bear interest at the Default Rate for Revolving Advances consisting of Domestic Rate Loans;
   provided that, if Lenders do make Out-of-Formula Loans, neither Agent nor Lenders shall be
   deemed thereby to have changed the limits of Section 2.1 (a). For purposes of this paragraph, the
   discretion granted to Agent herew1der shall not preclude involuntary overadvances that may
   result from time to time due to the fact that the Formula Amount was unintentionally exceeded
   for any reason, including, but not limited to, Collateral previously deemed to be either "Eligible
   Receivables" or "Eligible Inventory", as applicable, becomes ineligible, collections of
   Receivables applied to reduce outstanding Revolving Advances are thereafter returned for
   insufficient funds or overadvances are made to protect or preserve the Collateral. In the event
   Agent involuntarily permits the outstanding Revolving Advances to exceed the Formula Amount
   by more than ten percent ( 10%), Agent shall use its efforts to have Borrowers decrease such
   excess in as expeditious a manner as is practicable under the circumstances and not inconsistent
   with the reason for such excess. Revolving Advances made after Agent has determined the
   existence of involuntary overadvances shall be deemed to be involuntary overadvances and shall
   be decreased in accordance with the preceding sentence.

          In addition to (and not in substitution of) the discretionary Revolving Advances permitted
  above in this Section 16.2, the Agent is hereby authorized by BolTowers and the Lenders, from
  time to time in the Agent's sole discretion, (A) after the occurrence and during the continuation
  of a Default or an Event of Default, or (B) at any time that any of the other applicable conditions
  precedent set forth in Section 8.2 hereof have not been satisfied, to make Revolving Advances to
  Borrowers on behalf of the Lenders which the Agent, in its reasonable business judgment, deems
  necessary or desirable (a) to preserve or protect the Collateral, or any portion thereof, (b) to
  enhance the likelihood of, or maximize the amount of, repayment of the Advances and other
  Obligations, or (c) to pay any other amount chargeable to Borrowers pursuant to the terms of this
  Agreement; provided, that at any time after giving effect to any such Revolving Advances the
  outstanding Revolving Advances do not exceed 110% of the Formula Amount.

           16.3. Successors and Assigns; Participations; New Lenders.

                 (a)     This Agreement shall be binding upon and inure to the benefit of
  Borrowers, Agent, each Lender, all future holders of the Obligations and their respective
  successors and assigns, except that no Borrower may assign or transfer any of its rights or
  obligations under this Agreement without the prior written consent of Agent and each Lender.

                  (b)    Each Borrower acknowledges that in the regular course of commercial
  banking business one or more Lenders may at any time and from time to time sell participating
  interests in the Advances to other financial institutions (each such transferee or purchaser of a
  participating interest, a "Participant"). Each Participant may exercise all rights of payment
  (including rights of set-off) with respect to the portion of such Advances held by it or other
  Obligations payable hereunder as fully as if such Participant were the direct holder thereof


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   provided that Borrowers shall not be required to pay to any Participant more than the amount
   which it would have been required to pay to Lender which granted an interest in its Advances or
   other Obligations payable hereunder to such Participant had such Lender retained such interest in
   the Advances hereunder or other Obligations payable hereunder and in no event shall Boffowers
   be required to pay any such amount arising from the same circumstances and with respect to the
   same Advances or other Obligations payable hereunder to both such Lender and such Participant.
   Each Borrower hereby gra11ts to any Participant a continuing security interest in any deposits,
   moneys or other property actually or constructively held by such Participant as security for the
   Participant's interest in the Advances.

                   (c)     Any Lender may with the consent of Agent which shall not be
    unreasonably withheld or delayed sell, assign or transfer all or any part of its rights under this
    Agreement and the Other Documents to one or more additional banks or financial institutions
    and one or more additional banks or financial institutions may commit to make Advances
    hereunder (each a "Purchasing Lender'', and together with each Participant, each a "Transferee"
    and collectively the "Transferees"), in minimum amounts of not less than $1,000,000, pursuant
   to a Commitment Transfer Supplement, executed by a Purchasing Lender, the transferor Lender,
   and Agent and delivered to Agent for recording. Upon such execution, delivery, acceptance and
   recording, from and after the transfer effective date determined pursuant to such Commitment
   Transfer Supplement, (i) Purchasing Lender thereunder shall be a party hereto and, to the extent
   provided in such Commitment Transfer Supplement, have the rights and obligations of a Lender
   thereunder with a Commitment Percentage as set forth therein, and (ii) the transferor Lender
   thereunder shall, to the extent provided in such Commitment Transfer Supplement, be released
   from its obligations under this Agreement, the Commitment Transfer Supplement creating a
   novation for that purpose. Such Commitment Transfer Supplement shall be deemed to amend
  this Agreement to the extent, and only to the extent, necessaiy to reflect the addition of such
  Purchasing Lender and the resulting adjustment of the Commitment Percentages arising from the
  purchase by such Purchasing Lender of all or a portion of the rights and obligations of such
  transferor Lender under this Agreement and the Other Documents. Each Borrower hereby
  consents to the addition of such Purchasing Lender and the resulting adjustment of the
  Commitment Percentages arising from the purchase by such Purchasing Lender of all or a
  portion of the rights and obligations of such transferor Lender under this Agreement and the
  Other Documents. Borrowers shall execute and deliver such further documents and do such
  further acts and things in order to effectuate the foregoing.

                  (d)     Agent shall maintain at its address a copy of each Commitment Transfer
  Supplement delivered to it and a register (the "Register") for the recordation of the names and
  addresses of each Lender and the outstanding principal, accrued and unpaid interest and other
  fees due hereunder. The entries in the Register shall be conclusive, in the absence of manifest
  error, and Borrowers, Agent and Lenders may treat each Person whose name is recorded in the
  Register as the owner of the Advance recorded therein for the purposes of this Agreement. The
  Register shall be available for inspection by Borrowers or any Lender at any reasonable time and
  from time to time upon reasonable prior notice. Agent shall receive a fee in the amount of
  $3,500 payable by the applicable Purchasing Lender upon the effective date of each transfer or
  assignment to such Purchasing Lender.




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                 (e)    Each Borrower authorizes each Lender to disclose to any Transferee and
   any prospective Transferee any and all financial information in such Lender's possession
   concerning such Borrower which has been delivered to such Lender by or on behalf of such
   Borrower pursuant to this Agreement or in connection with such Lender's credit evaluation of
   such Borrower.

            16.4. Application of Payments. Agent shall have the continuing and exclusive right to
   apply or reverse and re-apply any payment and any and all proceeds of Collateral to any portion
   of the Obligations. To the extent that any Borrower makes a payment or Agent or any Lender
   receives any payment or proceeds of the Collateral for any Borrower's benefit, which are
   subsequently invalidated, declared to be fraudulent or preferential, set aside or required to be
   repaid to a trustee, debtor in possession, receiver, custodian or any other party under any
   bankruptcy law, common law or equitable cause, then, to such extent, the Obligations or part
   thereof intended to be satisfied shall be revived and continue as if such payment or proceeds had
   not been received by Agent or such Lender.

              16.5. Indemnity. Each Borrower shall indemnify Agent, each Lender and each of their
    respective officers, directors, Affiliates, attorneys, employees and agents from and against any
    and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs,
    expenses and disbursements of any kind or nature whatsoever (including fees and disbursements
    of counsel) which may be imposed on, incurred by, or asserted against Agent or any Lender in
    any claim, litigation, proceeding or investigation instituted or conducted by any Governmental
    Body or instrumentality or any other Person with respect to any aspect of, or any transaction
    contemplated by, or referred to in, or any matter related to, this Agreement or the Other
   Documents, whether or not Agent or any Lender is a party thereto, except to the extent that any
   of the foregoing arises out of the gross negligence or willful misconduct of the party being
   indemnified. Without limiting the generality of the foregoing, this indemnity shall extend to any
   liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses and
   disbursements of any kind or nature whatsoever (including fees and disbursements of counsel)
   asserted against or incurred by any of the indemnitees described above in this Section 16.5 by
   any Person under any Environmental Laws or similar laws by reason of any Borrower's or any
   other Person's failure to comply with laws applicable to solid or hazardous waste materials,
   including Hazardous Substances and Hazardous Waste, or other Toxic Substances. Additionally,
   if any taxes (excluding taxes imposed upon or measured solely by the net income of Agent and
  Lenders, but including any intangibles taxes, stamp tax, recording tax or franchise tax) shall be
  payable by Agent, Lenders or Borrowers on account of the execution or delivery of this
  Agreement, or the execution, delivery, issuance or recording of any of the Other Documents, or
  the creation or repayment of any of the Obligations hereunder, by reason of any Applicable Law
  now or hereafter in effect, Borrowers will pay (or will promptly reimburse Agent and Lenders
  for payment of) all such taxes, including foterest and penalties thereon, and will indemnify and
  hold the indenmitees described above in this Section 16.5 harmless from and against all liability
  in connection therewith.

          16.6. tr.9_tice. Any notice or request hereunder may be given to Borrowing Agent or
  any Borrower or to Agent or any Lender at their respective addresses set forth below or at such
  other address as may hereafter be specified in a notice designated as a notice of change of
  address under this Section. Subject to the provisions of Section 16.1, any notice, request,


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   demand, direction or other communication (for purposes of this Section 16.6 only, a "Notice") to
   be given to or made upon any party hereto under any provision of this Loan Agreement shall be
   given or made by telephone or in writing (which includes by means of electronic transmission
   (i.e., "e-mail") or facsimile transmission or by setting forth such Notice on a site on the World
   Wide Web (a "Website Posting") if Notice of such Website Posting (including the information
   necessary to access such site) has previously been delivered to the applicable parties hereto by
   another means set forth in this Section 16.6) in accordance with this Section 16.6. Any such
   Notice must be delivered to the applicable parties hereto at the addresses and numbers set forth
   under their respective names on Section 16.6 hereof or in accordance with any subsequent
   unrevoked Notice from any such party that is given in accordance with this Section 16.6. Subject
   to the provisions of Section 16.1, any Notice shall be effective:

                 (a)     In the case of hand-delivery, when delivered;

                 (b)     If given by mail, four days after such Notice is deposited with the United
  States Postal Service, with first-class postage prepaid, return receipt requested;

                  ( c)   In the case of a telephonic Notice, when a party is contacted by telephone,
  if delivery of such telephonic Notice is confirmed no later than the next Business Day by hand
  delivery, a facsimile or electronic transmission, a Website Posting or an overnight courier
  delivery of a confirmatory Notice (received at or before noon on such next Business Day);

                 (d)      In the case of a facsimile transmission, when sent to the applicable party's
  facsimile machine's telephone number, if the paiiy sending such Notice receives confirmation of
  the delivery thereof from its own facsimile machine;

                 (e)     In the case of electronic transmission, when actually received;

                 (f)   In the case of a Website Posting, upon delivery of a Notice of such posting
  (including the information necessary to access such site) by another means set forth in this
  Section 16.6; and

                 (g)    If given by any other means (including by overnight courier), when
  actually received.

          Any Lender giving a Notice to Bonowing Agent or any Borrower shall concunently send
  a copy thereof to the Agent, and the Agent shall promptly notify the other Lenders of its receipt
  of such Notice.

                        (A)     If to Agent or PNC at:

                        PNC Bank, National Association
                        Two North Lake Avenue, Suite 440
                        Pasadena, California 91101
                        Attention:    Relationship Manager
                        Telephone:    (626) 432-6114
                        Facsimile:    (626) 432-4589



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                    with a copy to:

                    PNC Bank, National Association
                    Two Tower Center Boulevard
                    East Brunswick, Ne"v Jersey 08816
                    Attention:
                    Telephone:
                    Facsimile:

                    with a copy to:

                    PNC Bank, National Association
                    PNC Agency Services
                    PNC Firstside Center
                    500 First Avenue, 4th Floor
                    Pittsburgh, Pennsylvania 15219
                    Attention:     Lisa Pierce
                    Telephone:     (412) 762-6442
                    Facsimile:     (412) 762-8672

                    with an additional copy to:

                   Steven G. Small, Esq.
                   Levy, Small & Lallas
                   815 Moraga Drive
                   Los Angeles, CA 90049
                   Telephone:    (310) 471-3000
                   Facsimile:    (310) 4 71-7990

             (B)   If to a Lender other than Agent, as specified on the signature pages hereof

             (C)   If to any Borrower:

                   PCA Aerospace, Inc.
                   225 Oregon Street
                   El Segundo, California 90245
                   Attention:   Mr. David Patterson
                   Telephone:   (310) 322-2762
                   Facsimile:   (310) 322-3128

                   with a copy to:

                   Holland & Knight LLP
                   63 3 W. 51h Street, Suite 2100
                   Los Angeles, California 90071
                   Attention:      Tasha Nguyen, Esq.




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                          Telephone:      (213) 896-2400
                          Facsimile:      (213) 896-2450

            16.7. Survival. The obligations of Borrowers under Sections 2.2(f), 3.7, 3.8, 3.9,
   4.19(h), and 16.5 and the obligations of Lenders under Section 14.7, shall survive termination of
   this Agreement and the Other Documents and payment in full of the Obligations.

            16.8. Severability. If any part of this Agreement is contrary to, prohibited by, or
   deemed invalid under Applicable Laws or regulations, such provision shall be inapplicable and
   deemed omitted to the extent so contrary, prohibited or invalid, but the remainder hereof shall
   not be invalidated thereby and shall be given effect so far as possible.

            16.9. Expenses. All costs and expenses including reasonable attorneys' fees (including
   the allocated costs of in house counsel) and disbursements incurred by Agent on its behalf or on
   behalf of Lenders and Lenders (a) in all efforts made to enforce payment of any Obligation or
   effect collection of any Collateral, or (b) in connection with the entering into, modification,
   amendment, administration and enforcement of this Agreement, the Subordination Agreement or
  any consents or waivers hereunder or thereunder and all related agreements, documents and
  instruments, or (c) in instituting, maintaining, preserving, enforcing and foreclosing on Agent's
  security interest in or Lien on any of the Collateral, or maintaining, preserving or enforcing any
  of Agent's or any Lender's rights hereunder, under the Subordination Agreement and under all
  related agreements, documents and instruments, whether through judicial proceedings or
  otherwise, or (d) in defending or prosecuting any actions or proceedings arising out of or relating
  to Agent's or any Lender's transactions with any BolTOWer, or any Subordinated Lender or (e) in
  connection with any advice given to Agent or any Lender with respect to its rights and
  obligations under this Agreement, the Subordination Agreement and all related agreements,
  documents and instruments, may be charged to Borrowers' Account and shall be part of the
  Obligations.

            16. l 0. Injunctive Relief. Each Borrower recognizes that, in the event any Borrower
  fails to perform, observe or discharge any of its obligations or liabilities under this Agreement, or
  threatens to fail to perform, observe or discharge such obligations or liabilities, any remedy at
  law may prove to be inadequate relief to Lenders; therefore, Agent, if Agent so requests, shall be
  entitled to temporary and permanent injunctive relief in any such case without the necessity of
  proving that actual damages are not an adequate remedy.

            16.11. Consequential Damages. Neither Agent nor any Lender, nor any agent or
  attorney for any of them, shall be liable to any Borrower (or any Affiliate of any such Person) for
  indirect, punitive, exemplary or consequential damages arising from any breach of contract, tort
  or other wrong relating to the establishment, administration or collection of the Obligations or as
  a result of any transaction contemplated under this Agreement or any Other Document.

          16.12. Captions. The captions at various places in this Agreement are intended for
  convenience only and do not constitute and shall not be interpreted as part of this Agreement.

         16.13. Counterpa~ Facsimile Signatures. This Agreement may be executed in any
  number of and by different parties hereto on separate counterparts, all of which, when so



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                                              Exhibit "2"
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   executed, shall be deemed an original, but all such counterparts shall constitute one and the same
   agreement. Any signature delivered by a party by facsimile transmission shall be deemed to be
   an original signature hereto.

            16.14. Construction. The parties acknowledge that each party and its counsel have
   reviewed this Agreement and that the normal rule of construction to the effect that any
   ambiguities are to be resolved against the drafting party shall not be employed in the
   interpretation of this Agreement or any amendments, schedules or exhibits thereto.

            16.15. Confidentiality; Sharing Information.

           Agent, each Lender and each Transferee shall hold all non-public information obtained
    by Agent, such Lender or such Transferee pursuant to the requirements of this Agreement in
    accordance with Agent's, such Lender's and such Transferee's customary procedures for
    handling confidential information of this nature; provided, however, Agent, each Lender and
    each Transferee may disclose such confidential information (a) to its examiners, Affiliates,
   outside auditors, counsel and other professional advisors, (b) to Agent, any Lender or to any
   prospective Transferees, and (c) as required or requested by any Governmental Body or
   representative thereof or pursuant to legal process; provided, further that (i) unless specifically
   prohibited by Applicable Law or court order, Agent, each Lender and each Transferee shall use
   its reasonable best efforts prior to disclosure thereof, to notify the applicable Borrower of the
   applicable request for disclosure of such non-public information (A) by a Governmental Body or
   representative thereof (other than any such request in c01111ection with an examination of the
   financial condition of a Lender or a Transferee by such Governmental Body) or (B) pursuant to
   legal process and (ii) in no event shall Agent, any Lender or any Transferee be obligated to
   return any materials furnished by any Borrower other than those documents and instruments in
   possession of Agent or any Lender in order to perfect its Lien on the Collateral once the
   Obligations have been paid in full and this Agreement has been terminated. Each Borrower
   acknowledges that from time to time financial advisory, investment banking and other services
   may be offered or provided to such Borrower or one or more of its Affiliates (in c01111ection with
  this Agreement or otherwise) by any Lender or by one or more Subsidiaries or Affiliates of such
  Lender and each Borrower hereby authorizes each Lender to share any information delivered to
  such Lender by such Borrower and its Subsidiaries pursuant to this Agreement, or in connection
  with the decision of such Lender to enter into this Agreement, to any such Subsidiary or Affiliate
  of such Lender, it being understood that any such Subsidiary or Affiliate of any Lender receiving
  such information shall be bound by the provisions of this Section 16.15 as if it were a Lender
  hereunder. Such authorization shall survive the repayment of the other Obligations and the
  termination of this Agreement.

           16.16. Publicity. Each Borrower and each Lender hereby authorizes Agent to make
  appropriate announcements of the financial arrangement entered into among Borrowers, Agent
  and Lenders, including announcements which are commonly known as tombstones, in such
  publications and to such selected parties as Agent shall in its sole and absolute discretion deem
  appropriate.

          16.17. Certifications From Banks and Participants; US PATRIOT Act. Each Lender or
  assignee or participant of a Lender that is not incorporated under the Laws of the United States


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                                             Exhibit "2"
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   of America or a state thereof (and is not excepted from the certification requirement contained in
   Section 313 of the USA P ATRJOT Act and the applicable regulations because it is both (i) an
   affiliate of a depository institution or foreign bank that maintains a physical presence in the
   United States or foreign country, and (ii) subject to supervision by a banking authority regulating
   such affiliated depository institution or foreign bank) shall deliver to the Agent the certification,
   or, if applicable, recertification, certifying that such Lender is not a "shell" and ce1iifying to
   other matters as required by Section 313 of the USA PATRIOT Act and the applicable
   regulations: (1) within 10 days after the Closing Date, and (2) as such other times as are required
   under the USA PATRIOT Act.

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   ATTEST:




                                                           L ASSOCIATION,




                                      Commitment Percentage: 100%




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     STATE OF CALIFORNIA                       )
                                               ) SS.
     COUNTY OF LOS ANGELES                     )


     .       On N~vember 2, 2005, before me, the undersigned, ~obin \aJ~l J?,mm, a Notaiy Public
    111and for said State, personally appeared ·1:::_t;r u l~, Pcflf'ftr1:-£[__                    ,
    ~-t7\Nl1 to me (or proved to me on the basis of satisfactory evidence) to be the
    person(.s) whose name(zj' iskre-subscribed to the within instrument and acknowledged to me that
    he/shefthey executed the same in his/~ir authorized capacity(.ies}, and that by his/herfthcir·
    signature((.s) on the instrument the person0), or the entity upon behalf of which the person(s-f
    acted, executed the instrument.

              Witness my hand and official seal.




    (Seal)



   STATE OF CALIFORNIA                     )
                                           ) SS.
   COUNTY OF LOS ANGELES                   )


           On November 2, 2005, before me, the undersigned, Robin Carol Dunn, a Notary Public
   in and for said State, personally appeared ·Q;.i ()\U /.,. ~ ·J=b.~.::5Cif)                         ,
   personally knBWn to me '(or proved to me on the basis of satisfactory evidence) to be the
   person(81'whose nam~ is/are-subscribed to the within instrument and acknowledged to me that
   he/sheftfley executed the same in his/herA:freir authorized capacity(~ and that by his/fi.et:ftfteir
   signature(.aj" on the instrument the person(_s1;- or the entity upon behalf of which the person(l6
   acted, executed the instrument.

             Witness my hand and official seal.




  (Seal)




                                                   Exhibit "2"
Case 8:16-bk-10738-SC          Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                     Desc
                              Main Document    Page 118 of 180




     STA TE OF CALIFORNIA                  )
                                           ) SS.
     COUNTY OF LOS ANGELES                 )


              On November 2, 2005, before me, the undersigned, Robin Carol Dunn, a Notary Public
    in and for said State, personally appeared '?cu:.A ] ft , ~\DJ~P Jc:r                         ___ ,
    per:>onally known to me (or proved to me on the basis of satis ~tory evidence) to be the
    person(zj-whose name(s}is/arcsubscribed to the within instrument and acknowledged to me that
    he/sheft.fls-y executed the same in his/1™;lt.fl.eir authorized capacity~~ and that by his/hetfthcir
    signature.(5Jon the instrument the personef, or the entity upon behalf of which the person~
    acted, executed the instrument.

             Witness my hand and official seal.




    (Seal)




                                               Exhibit "2"
Case 8:16-bk-10738-SC       Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32   Desc
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                           LIST OF EXHIBITS AND SCHEDULES



   Exhibits

   Exhibit 1.2A        Borrowing Base Certificate
   Exhibit 1.2B        Compliance Certificate
   Exhibit 2. l(a)     Revolving Credit Note
   Exhibit 2.4         Term Note
   Exhibit 5.5(b)      Financial Projections
   Exhibit 8.1 (k)     Financial Condition Certificate
   Exhibit 16.3        Commitment Transfer Supplement


   Schedules

  Schedule 1.2         Permitted Encumbrances
  Schedule 4.5         Equipment and Inventory Locations
  Schedule 4. l 5(h)   Deposit and Investment Accounts
  Schedule 5.1         Consents
  Schedule 5.2(a)      States of Qualification and Good Standing
  Schedule 5.2(b)      Subsidiaries
  Schedule 5.4         Federal Tax Identification Number
  Schedule 5.6         Prior Names
  Schedule 5.8(b)      Litigation
  Schedule 5.8(d)      Plans
  Schedule 5.9         Intellectual Property, Source Code Escrow Agreements
  Schedule 5.10        Licenses and Permits
  Schedule 5.14        Labor Disputes




                                          Exhibit "2"
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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS (front and backl CAREFULLY                                                                                       DELAWARE DEPARTMENI' OF STATE
 A. NAME & PHONE OF CONTACT AT FILER [optional)                                                                                         U. C. C. FILING SECTION
    Robin Dunn                                               310-471-3000                                                             FILED 06:42 PM 10/19/2005
B. SEND ACl<NOVVt!OOt.'l!NT TO: (Name and Address)                                                                                  INITIAL FILING NUM: 5324596 7

         fLevy, Small & Lallas
                                                                                           -                                        AMENDMENI'    NUMBER: 0000000
                                                                                                                                              SRV: 050855408
          81 S Moraga Drive
          Los Angeles, CA 90049


         ~unn@lsl-Ia.com
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1 DEBTOR'S EXACTFULL LEGAL MAME-1n.. ~oniyQlll:dol><orn1mo(11or1b).do not1b!>rrA1t.orcombln1n.me•
      11. ORGANIZATION'SNAME
      PCA AEROSTRUCTURES COMPANY
OR 1 b. INDIVIDUAL'S LAST NAME                                                                                                                                     SUFFIX
                                                                               FIRST NAME                                       MOOl.ENAME


1e. W.11.lNGAOORESS                                                               CITV                                          STATE   rOSTALCOOE                 COUNTRY

 17800 GOTHARD STREET                                                             HUNTINGTON BEACH                              CA       92647                     USA
1d. llei;UllllIBUCD'21':1ll   IADO'LINFORE 111. lYPEOFORGANIZATION                1r. JURISDICTION OF ORGANIZATION              1g. ORGANllATIONAL 10 #. hny
                               ~;;~JZAnoN 1Corporation                         pelaware                                     ,2911992                                   nNONE
2 ADDITIONAL        DEBTOR'S EXACT FULL LEGAL NAME · ln..rtonly !Qlll dob1or Mm• (2a or 2b). do not abbr.viola or ccml>ln• names
      2•. OROANIZATIOtl'S NMIE

OR                                                                                                                                                                 SUrrlX
      2b. INDIVIDUAL'S LAST NAME                                               FIRST NAME                                       MIDDl.ENAME


2<- MAILING AOORESS                                                            CITY                                             STATE   IPOSTA~CODE                COUNTRY


2d. SEE lb!ll!Bl&IIQ.1:111    I,L.OO'L INFO RE / 2e. lYPE OF ORGANIZATION
                               ORGANIZATION
                                                                                  21. JURISOICTION OF ORGANIZATION              :lg. ORGANIZATIONAL ID#, H   •nv
                               DEBT DR        I                               I                                             I                                          nNONE
3   SEC UREO PAR TY'S NAA£ (0< NAME oHOTALASSIGNEEof ASSKlNORS/P)· lnHrtonlyQ1111...,...rodpart(nom1 (310<3b)
     31. oRQANIZ,L.TION'S NAME
      PNC BANK, NATIONAL ASSOCIATION
OR 3b. INDIVIOUAL'S I.AST NAME                                                 FIRST NAME                                       MIDDLE Nl'.ME                      SUFFIX


3c. MAIUNG AOORESS                                                             CITY                                         STATE       )POSTAL COOE               COUNTRY
2 NORTH LAKE A VENUE, SUITE 440                                                PASADENA                                         CA       91101                     USA
4. Th,. Fl>JANCING STATEMENT <OYOra lhe follawil>g ccU-11:
Debtor grants Secured Party a security interest in all assets of the Debtor, of every kind and nature, now
existing and hereafter acquired and arising and wherever located, including without limitation, accounts
(including health-care-insurance receivables and credit card receivables), deposit accounts, commercial tort
claims, letter of credit rights, chattel paper (including electronic chattel paper) documents, instruments,
investment property, general intangibles (including payment intangibles), software, goods, inventory,
equipment, furniture and fixtures, all supporting obligations of the foregoing, and all cash and non-cash
proceeds and products (including without limitation insurance proceeds) of the foregoing, and all additions and
accessions thereto, substitutions therefore and replacements thereof.




8. OPTIONAL Fil.ER REFERENCE DATA
Ref# 1286.393 7-DE - Secretary of State
FU.INQ OFFICE COPY -            UCC FINANCING STATEMENT (FORM UCC1) (REV. 05/22102)




                                                                               Exhibit "3"
  Case 8:16-bk-10738-SC                                            Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                                                  Desc
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FILING Ol'l'fCE COPY - NATIONAL UCC FINANCING STATEMENT AMENDMENT (FORM UCC3)- C.ALIFORNIA (Rl!V. 01/01/08)




                                                                                               Exhibit "3"
Case 8:16-bk-10738-SC    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                            Desc
                        Main Document    Page 122 of 180




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                                          Exhibit "3"
           Case 8:16-bk-10738-SC                                   Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                        Desc
                                                                  Main Document    Page 123 of 180
UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
 A. NAME & PHONE OF CONTACT AT FILER [optional]
                                                                                                                                 DELAWARE DEPARTMENT OF STATE
_______fQ_rporation Service Company~~~~~~~~~~~~~8_0_0_8_5_8_5_2_9_4~                                                                U.C.C. FILING SECTION
B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                     FILED 12:40 PM 05/19/2010
                                                                                                                                INITIAL FILING # 5324596 7
                                                                                                                                AMENDMENT      # 2010 1754450
           I   CORPORATION SERVICE COMPANY
                                                                                                                                        SRV: 100533502

               2711 CENTERVILLE ROAD

               SUITE 400



           ~I.MINGTON DE 19808
                                                                                                          _J
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                                 1b.   This FINANCING STATEMENT AMENDMENT is



2.
     5324596 7

     f l TERMINATION:
                                                                                                                                                  1   n     to be filed !for record] (or recorded) in the
                                                                                                                                                            REAL ESTATE RECORDS.
                              Ef1ectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party authorizing this Termination Statement.

3.   lliJ CONTINUATION:       Effectiveness of the Financing Statemenl identified above with respect to security interest(s) of the Secured Parly authorizing this Continuation Statement is
        continued for the additional period provided by applicable law.

4.      ASSIGNMENT (full or partial): Give name of assignee in item 7a or ?band address of assignee in ilem 7c; and also give name of assignor in item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment aftects                                                 Secured Party of record. Check only Qilll of these two boxes.
     Also check one of the following three boxes filll! provide appropriate information in items 6 and/or 7.
        CHANGE name and/or address: Give current record name in item 6a or 6b; also give new                   DELETE name: Give record name                 ADD name: Complete item 7a or 7b, and also
        name if name chan e in item 7a or 7b and/or new address if address chan e in item 7c.                  to be deleted in item 6a or 6b.               item 7c· also com lete items 7d·7 if a licable .
6, CURRENT RECORD INFORMATION:
    6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                                 FIRST NAME                                           MIDDLE NAME                                SUFFIX



7. CHANGED (NEW) OR ADDEO INFORMATION:
       7a. ORGANIZATION'S NAME


OR
      7b. INDIVIDUAL'S LAST NAME                                                              FIRST NAME                                           MIDDLE NAME                                SUFFIX



7c. MAILING ADDRESS                                                                           CITY                                                    STATE     IPOSTAL CODE                  COUNTRY


                                                      j7e. TYPE OF ORGANIZATION               7f. JURISDICTION OF ORGANIZATION         I
                                                      I
8. AMENDMENT (COLLATERAL CHANGE): check only one box.
     Describe collateral Odeleted or      Dadded, or give entireOrestated collateral description. or describe collateral         Oassigned.




9. NAME of SECURED PARTY of RECORD AUTHORIZING TIIlS AMENDMENT
       PNC Bank        National Association
10. OPTIONAL FILER REFERENCE DATA
Debtor: PC!\. Aerostructures GET IT 12832 #50232707

                                                                                               Exhibit "3"
           Case 8:16-bk-10738-SC                                 Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                        Desc
                                                                Main Document    Page 124 of 180
UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
 A. NAME & PHONE OF CONTACT AT FILER [optional]
                                                                                                                               DELAWARE DEPARTMENT OF STATE
~rporation Service Co!!1J')ally,~~~~~~~~~~~~~~8~00~8~5~8~5~2~9~4~
                                                                                                                                  U.C.C. FILING SECTION
B.   SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                 FILED 12:20 PM 04/30/2015
                                                                                                                              INITIAL FILING # 5324596 7
                                                                                                                              AMENDMENT      # 2015 1851434
          I   CXlRPORATION SERVICE CXlMPANY
                                                                                                                                      SRV: 150591583

              2711 CENTERVILLE ROAD

              SUITE 400



           ~LMINGTON DE 19808
                                                                                                       _J
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                               1b.   This FINANCING STATEMENT AMENDMENT is
     5324596 7                                                                                                                                  1   n     to be filed 11or record] (or recorded) in the
                                                                                                                                                          REAL ESTATE RECORDS.
2.1 ITERMINATION:            Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) ol the Secured PMy authorizing this Termination Statement.

3.   U!J CONTINUATION:        Effectiveness of the Financing Statement identified above with respect to security interest(s) of the Secured Party aut11orizing this Continuation Statement is
        continued for the additional period provided by applicable law.

4.      ASSIGNMENT (full or partial): Give name of assignee in item ?a or ?band address of assignee in item 7c; and also give name of assignor in item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment aftects                                              Secured Party of record. Chock only Qillt of these two boxes.
     Also check one of the following three boxes and provide appropriate information in items 6 and/or 7.
        CHANGE name and/or address: Give current record name in item 6a or 6b; also give new                DELETE name: Give record name                  ADD name: Complete item 7a or 7b, and also
        name if name chan e in item 7a or 7b and/or new address if address chan e in item 7c.               to be deleted in item 6a or 6b.                item 7c· also com lete items 7d-7 if a licable .
6. CURRENT RECORD INFORMATION:
    6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                           MIDDLE NAME                                SUFFIX



7. CHANGED (NEW) OR ADDED INFORMATION:
      7a. ORGANIZATION'S NAME


OR
      7b. INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                           MIDDLE NAME                                SUFFIX



7c. MAILING ADDRESS                                                                         CITY                                                    STATE     IPOSTAL CODE                  COUNTRY


                                                    I7e. TYPE OF ORGANIZATION              7!.JURISDICTION OF ORGANIZATION           I
                                                    I
8. AMENDMENT (COLLATERAL CHANGE): check only one box.
     Describe collateral Odeleted or    D    added, or give entireOrestated collateral description. or describe collateral Oassigned.




9. NAME of SECURED PARTY of RECORD AUIHORIZING TIITS AMENDMENT
       PNC Bank       National Association
10. OPTIONAL FILER REFERENCE DATA
Debtor: PCA Aerostructures Company - GET IT 233339

                                                                                             Exhibit "3"
           Case 8:16-bk-10738-SC                                     Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                         Desc
                                                                    Main Document    Page 125 of 180




      UCC FINANCING STATEMENT AMENDMENT
      FOLLOW INSTRUCTIONS front and back CAREFULLY
       A. NAME & PHONE OF CONTACT AT FILER [optionaQ                                                                                                      DELAWARE DEPARTMENT OF STATE
       Robin Dunn                                                  310-4 71-3000                                                                             U. C. C. FILING SECTION
       B. SEND ACKNOWLEDGMENT TO: (Name and Addr&86)                                                                                                      FILED 05:39 PM 06/02/2015
                                                                                                                                                        INITIAL FILING # 5324596 7
                                                                                                                                                        AMENI:X!dENT      # 2015 2344835
                 fLevy, Small & Lallas                                                                                                                             SRV: 150868718
                  815 Moraga Drive
                  Los Angeles, CA 90049


                 ~unn@lsl-la.com
                                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
      1a. INITIAL FINANCING STATEMENT FILE#                                                                                                              1b. This FINANCING STATEMENT AMENDMENT is
                                                                                                                                                             Ill btl liled (for record] (or r.corded) in th•
       5324596 7 10/19/2005                                                                                                                                  REA STA                    R


      3.      CONTINUATION: Eflectiveness at th• Financing statement identifled above with respect lo ueurity lnter&St(s) or Iha Secured Party authorizing thl• Continuation Slatement Is
               continued lor Iii• additional period provided by applicabht low.

      4.       ASSIGNMENT (lull or parti<llf: Give name ol anignee in lb>l)'l 7a or 7b and addn>H ol usigne• in itorn 7c; and •l&e give narne of assignor in !torn 9.
      5. AMENDMENT (PARTY INFORMATION): Thia Atnendrnentafleets                                  Debtor .QI.     Secured Porty ol record. Check only !l!l§ at these two bo>es.
         Al'IO check QWl of the following tliree boxes illit pr<Mcle •P1'roprilll1t info<malion in iterno 6 and/or 7.
               CHANGEnameand/oraddrn•: P1easeratertothedetalledlnlllructions
               Ir
      6, CURRENT RECORD INFORMATION:
          68. ORGANIZATION"S NAME


      OR 6b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                             MIDDLE NAME                           SUFFIX



      7. CHANGED (NEW) OR ADDED INFORMATION:
             71. ORGANIZA'TION'S NAME


      OR 7b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                             MIDDLE NAME                           SUFFIX


      7c. MAILING ADDRESS                                                                         CITY                                                   STATE      POSTAL CODE                COUNTRY


      7d. §EEINSTBUcJ!ONS                ADO'L INFO RE 7e. lYPEOF ORGANIZATION                    71. JURISDICTION OF ORGANIZATION                       7g, ORGANIZATIONAL ID#, II any
                                         ORGANIZATION
                                         DEBTOR                                                                                                                                                         NONE
      S. AMENDMENT (COLLATERAL CHANGE): check only lllll box.
           Deacribe collaterol   IX! deleted or 0 added, or give entire Orestated oollateral description, or     deoeribe collateral   0   anigned.

      The collateral described on Schedule II hereto that was sold by PCA Aerospace, Inc. and/or PCA
~··
      Aerostructures, Inc. on or about May 29, 2015 is deleted.




      9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT (narno of ouignor, ~ thi• i• an Anignrnon~. lfthi• i• on Amendment authonzed by o Debtorwtiic:h
         add• collateral or add• tho •~thorizl"ll Debtor. or~ this I•• T•rrnlnrion au1hor\tod by a Debtor, che<:k hero and enter name ol DEBTOR authorizing tliis Amendment
            ea. ORGANIZATION'S NAME
             PNC BANK, NATIONAL ASSOCIATION
      OR Qb. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                            MIDDLE NAME                           SUFFIX


      10. OPTIONAL FILER REFERENCE DAT A
                                                                                                                                                                                      Fil141620
      Ref# 1286.3937-DE- Secretary of State; Debtor: PCA AEROSTRUCTURES COMPANY                                                                                                       Ail665683
      FILING OFFICE COPY -                 ucc FINANCING STATEMENT AMENDMEn6rnw.o.34cc3) (REV. 05122102)


:,
Case 8:16-bk-10738-SC                   Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32           Desc
                                       Main Document    Page 126 of 180




                                                                                    Schedule II
     Garden Gl'ovc Equipmenl T111111fcr
     7100 Belgrave
     Altachm111t A lo MJF Aer(Hlpace lloldlnp P1m:liau Orilcr #1, datW llfl8/1'1.                        I
     Qty            Descl'lptlon

     I llA            (1979} C1NC1NNA11Mfi..ACRON .f.SPJNDLE,3-AXIS
                      GANTRY MACHfNE CllNTl:ll, VICKER ACRAMA'l1C 2100
                                                                                                         I
                      CONTROi. C-ONVERSION, 611' W. 120' BED. 30 Jl.P., J600
                      Rl'M.J.§:.WIDE SIN 431879-QOOS
                                                                                                         Ii
     1 EA             (1981) CINCINNATI MILACRON 3-SPINDLE. !..J\XIS
                      GANTRY MACHINE CFJ'ITER. «iO' llE(l.(lfl" WIDTH, 30
                      H.P.. 3600 RPM SPINDL:E, AC 9~ CONTROU; SIN 4318.Sl•
                      35

    2 Ea              (1) TRADEMARK 2 TON STAND Al,ONE TRAVELLlNG
                      BRIDGE CRANES, 90' X l 20' RAll.8 WI BUl'l'ORTS
                                              LSIN 260408

     l EA             KOMATSU MOD. FG3SST-7.14000 J,B.J,J'G FORKLWCSJN
                      162310A

    I EA             CROWN MOD. R1'35204S, 4500 LB. 1.LEC. FORJru.Yrs
                     SIN'S IAl88249. IAI8823

    I BA             'l'ORl1' DUST COLLl!:CTOR.

    Half Of Total   CANTILEVER & PALLET BBELVING.

    1 RA             (1006) 1NK MOD PM-6ll, 3..SPINDU:, 3-AX!S
                     GANTllY PBOFJLEB. FANUC l5lM CONTROLS, 10' X 12'
                     TABLE. 84" Y-TRAVEL, 8GS"X TRA VU. :28" Z TRAVEL, (lOOOOR PM, VACUUM
                     l'UJvfl', SNN/A

    I EA             (2005)1,R. MOD. SSREPT00, 100 H.P.ROTARY SCREW AIR
                    ,..!.,c...o. Ml'Jlt-SSOR WIDR'l:'ER S1N GlC6929U0!333




                                                             Exhibit "3"
Case 8:16-bk-10738-SC               Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                     Desc
                                   Main Document    Page 127 of 180




  Name:                              PCA Aerostructures Company

  Service:                           UCC/FTL - Certified

  Jurisdiction :                     US - DE - Secretary of State

  Thru Date:                         01/08/2016

  Results:



                                      5 Financing Statement(s)

                                      0 Federal Tax Lien(s)




      Reasonable care is exercised in the completion of all requests, however, as the responsibility for the accuracy
         of the public records rests with the filing officer, we accept no liability for the report contained herein.


                                                       Exhibit "4"
Case 8:16-bk-10738-SC                Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                Desc
                                    Main Document    Page 128 of 180




                                                Delaware                                        Page 1

                                                            The First State

                                                       CERTIFICATE

              SEARCHED JANUARY 25, 2016 AT 11:58 A.M.
              FOR DEBTOR, PCA AEROSTRUCTURES COMPANY

             1 OF 5                       FINANCING STATEMENT                     20052028570

                                EXPIRATION DATE: 06/30/2020
       DEBTOR:                PCA AEROSTRUCTURES COMPANY

                              17800 GOTHARD STREET                              ADDED     06-30-05

                              HUNTINGTON BEACH, CA 92647

       SECURED:               VINTAGE CAPITAL PARTNERS, L.P., AS AGENT

                              11611 SAN VICENTE BOULEVARD,                      ADDED     06-30-05

                              lOTH FLOOR                                        REMOVED 09-08-08

                              LOS ANGELES, CA 90049

       SECURED:               VINTAGE SBIC, L.P.

                              11611 SAN VICENTE BOULEVARD, lOT                  ADDED     09-08-08

                              H FLOOR

                              LOS ANGELES, CA 90049

       SECURED:               VINTAGE CAPITAL PARTNERS SIDE, L.P.

                              11611 SAN VICENTE BOULEVARD, lOT                  ADDED     09-08-08

                             H FLOOR

                              LOS ANGELES, CA 90049




    20160461244-UCCll                                                           Authentication: 201721661
    SR# 20160375043                                                                         Date: 01-25-16
    You may verify this certificate online at corp.delaware.gov/authver.shtml
                                                             Exhibit "4"
Case 8:16-bk-10738-SC                 Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                 Desc
                                     Main Document    Page 129 of 180



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                                                         The First State



                                                 FILING                 HISTORY

      20052028570                 FILED 06-30-05                 AT 7:21 P.M.   FINANCING STATEMENT

      20083044698                 FILED 09-02-08                 AT 2:16 P.M.   AMENDMENT

      20083033949                 FILED 09-08-08                 AT 6:32 P.M.   FULL ASSIGNMENT

      20100017057                 FILED 01-04-10                 AT 6:42 P.M.   CONTINUATION

      20150009281                 FILED 01-02-15                 AT 4:09 P.M.   CONTINUATION



         2 OF 5                        FINANCING STATEMENT                          20053245967

                            EXPIRATION DATE: 10/19/2020
    DEBTOR:               PCA AEROSTRUCTURES COMPANY

                           17800 GOTHARD STREET                                   ADDED     10-19-05

                          HUNTINGTON BEACH, CA 92647

    SECURED:              PNC BANK, NATIONAL ASSOCIATION

                          2 NORTH LAKE AVENUE, SUITE 440                          ADDED     10-19-05

                          PASADENA, CA 91101



                                                FILING                  HISTORY

      20053245967                FILED 10-19-05                  AT 6:42 P.M.   FINANCING STATEMENT




 20160461244-UCCll                                                                Authentication: 201721661
 SR# 20160375043                                                                              Date: 01-25-16
 You may verify this certificate online at corp.delaware.gov/authver.shtml
                                                           Exhibit "4"
Case 8:16-bk-10738-SC                  Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                 Desc
                                      Main Document    Page 130 of 180



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                                                         The First State

       20083044722                FILED 09-02-08                  AT 2:17 P.M.   AMENDMENT

       20101754450                FILED 05-19-10                 AT 12:40 P.M.   CONTINUATION

       20151851434                FILED 04-30-15                 AT 12:20 P.M.   CONTINUATION

       20152344835                FILED 06-02-15                 AT 5:39 P.M.    AMENDMENT



          3 OF 5                       FINANCING STATEMENT                           20123759836
                             EXPIRATION DATE: 09/28/2017
    DEBTOR:                PCA AEROSTRUCTURES COMPANY

                           17800 GOTHARD STREET                                    ADDED     09-28-12

                           HUNTINGTON BEACH, CA 92647

    SECURED:               PACIFIC STANDARD EQUIPMENT LEASING, LLC

                           11611 SAN VICENTE BLVD.,                                ADDED     09-28-12

                           lOTH FLR.

                           LOS ANGELES, CA 90049



                                                 FILING                 HISTORY

      20123759836                 FILED 09-28-12                 AT 6:46 P.M.    FINANCING STATEMENT

      20130033051                 FILED 01-03-13                 AT 2:55 P.M.    TERMINATION




 20160461244-UCCll                                                                 Authentication: 201721661
 SR# 20160375043                                                                               Date: 01-25-16
 You may verify this certificate online at corp.delaware.gov/authver.shtml
                                                           Exhibit "4"
Case 8:16-bk-10738-SC                 Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                 Desc
                                     Main Document    Page 131 of 180



                                             Delaware                                             Page 4


                                                         The First State

          4 OF 5                       FINANCING STATEMENT                           20123759901

                             EXPIRATION DATE: 09/28/2017
    DEBTOR:                PCA AEROSTRUCTURES COMPANY

                           17800 GOTHARD STREET                                   ADDED     09-28-12

                           HUNTINGTON BEACH, CA 92647

    SECURED:               PACIFIC STANDARD EQUIPMENT LEASING, LLC

                           11611 SAN VICENTE BLVD.,                               ADDED     09-28-12

                           10TH FLR.

                           LOS ANGELES, CA 90049



                                                 FILING                 HISTORY

      20123759901                 FILED 09-28-12                 AT 6:49 P.M.   FINANCING STATEMENT



         5 OF 5                        FINANCING STATEMENT                          20143624343

                            EXPIRATION DATE: 09/10/2019
    DEBTOR:               PCA AEROSTRUCTURES COMPANY

                           17800 GOTHARD STREET                                   ADDED     09-10-14

                          HUNTINGTON, CA 92467

    SECURED:               GEMCAP LENDING I, LLC




 20160461244-UCCll                                                                Authentication: 201721661
 SR# 20160375043                                                                              Date: 01-25-16
 You may verify this certificate online at corp.delaware.gov/authver.shtml
                                                           Exhibit "4"
Case 8:16-bk-10738-SC                 Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                  Desc
                                     Main Document    Page 132 of 180



                                             Delaware                                              Page 5

                                                         The First State

                           24955 PACIFIC COAST HIGHWAY, SUI                        ADDED     09-10-14

                           TE A202

                           MALIBU, CA 90265



                                                 FILING                 HISTORY

       20143624343                FILED 09-10-14                 AT 5:33 P.M.    FINANCING STATEMENT

       20152331667                FILED 06-02-15                 AT 12:25 P.M.   AMENDMENT



                                   END          OF       FILING              HISTORY

      THE UNDERSIGNED FILING OFFICER HEREBY CERTIFIES THAT THE ABOVE
 LISTING IS A RECORD OF ALL PRESENTLY EFFECTIVE FINANCING STATEMENTS,
 LAPSED FINANCING STATEMENTS, FEDERAL TAX LIENS AND UTILITY SECURITY
 INSTRUMENTS FILED IN THIS OFFICE WHICH NAME THE ABOVE DEBTOR, PCA
 AEROSTRUCTURES COMPANY AS OF JANUARY 8, 2016 AT 11:59 P.M.




 20160461244-UCCll                                                                 Authentication: 201721661
 SR# 20160375043                                                                               Date: 01-25-16
 You may verify this certificate online at corp.delaware.gov/authver.shtml
                                                           Exhibit "4"
          Case 8:16-bk-10738-SC                                   Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                   Desc
                                                                 Main Document    Page 133 of 180




           UCC FINANCING STATEMENT                                                                                              DELAWARE DEPARTMENI' OF STATE
                                                                                                                                   U. C. C. FILING SECTION
                                                                                                                                 FILED 07:21 PM 06/30/2005
                                                                                                                               INITIAL FILING NUM: 5202857 0
            B. SENO ACl<NOWLEOGMENTTO: (Nlme and Add,._)                                                                       AMENr:MENI'   NUMBER: 0000000
                                                                                                                                         SRV: 050549117
                       I
                       Thomas A. Weidman, Esq.
                       Bl'lahem McCutahen LLP
                       355 South Grand Avenue. 44th Floor
                       Los Angeles, CA 90071

                       L                                                                                             THE! ABOVE PACE 18 FOR FILING OFFICE UIEONLY
           1. DEBTOR'S l!XACT FULi. LEGAi. NAME. n.t a11y 1111 dllllal' n..,.. (1 • vt lb • ao not ab1i1Wa11 or OOlldllM -
               1
                "-                  PCA Aerosirucll.lres Compeny



           1o.

             17800 Golhard Street
           1d. TAX 111*. ll!IN DR



           2. ADOITIOtW. D
                 2&.
                                 BTOR'S EXACT FUU. u:oAL NAME-1nnrt
                                      tu.Ml!.
                                                                            onl.r-"'*"-lb or2ll)· donotllllllrWIM ... ~,,.namer
           OR 2b. INDMOIW.'SI.MT NAME




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                                                                                                                            MIDDLE HAI.I!


                                                                                                                            llTl\'tli
            11611SanVlcanteBoulevard,10th F!.                                        L.oa Angeles                              CA
           "4. Thill f'INANCING ST/11'l!M&NT _.. lhefcllo¥,1l)g ccll*ral:
           See Annex I (attached) ,

           This Financing Stamment shall at all times be subject to and subortlinate In 1!1 rtghlls to a Financing Statement filed on May 26, 2005,
           as number 05-7028488911, naming CapitalSource Finance LLC as the Se<:ured Party and PCA Aerospace, Inc. as 1he Debtor.




           RUNGI OFFICE COPY- NATIONAi. UCC FINANCING STATEMENT (FORM UCC1) (REV. 07129198}
            60B27l1l                                                                                                                             Template;          506465

                                                                                    Exhibit "4"
'-   --
Case 8:16-bk-10738-SC               Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                         Desc
                                   Main Document    Page 134 of 180




                                                     Annex.I
    DEBTOR:                             PCA AEROSTRUCTURES COMPANY

    SECURED PARTY:                      VINTAGE CAPITAL PARTNERS, L.P.


                The Financing Statement covers all of the following property.and interests in property of
    Debtor, whether now owned or existing or hereafter created or acquired or arising and
    wheresoever located:

                (a)    Accounts;

                (b)    Certificated Securities;

                (c)    Chattel Paper;

                (d)    Commercial Tort Claims;
                (e)    Computer Hardware and Software and all rights with respect thereto, including,
    any and all licenses, options, warranties, service contracts, program services, test rights,
    maintenance rights, support rights, improvement rights, renewal rights and indemnjfjcations, and
    any substitutions, replacements, additions or model conversions of     any of the foregoing;
               (fj     Contract Rights;

                (g)    Deposit Accounts;

               (h)     Documents;

                (i)    Electronic Chattel Paper;

               (j)     Equipment;

               (k)     Financial Assets;

               (1)     Fixtures;

               (m)     General Intangi'bles, including Payment Intangibles and Software;

            (n)     Goods (including all of its Equipment, Fixtures and Inventory). and all accessions,
    additions, attachments, improvements, substitutions and replacements thereto and therefor;

               (o)     Instrwnents;

               (p)     Patents, patent applications, trademarks, trademark applications, copyrights,
    l.N402965'l'2.1




                                                   Exhibit "4"
Case 8:16-bk-10738-SC                Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                           Desc
                                    Main Document    Page 135 of 180




    copyright applications, and all other intellectual property;

            (q)       Inventory;

            (r)       Investment Property;
            (s)       Money (of every jurisdiction whatsoever);

            (t)       Letter-cf-Credit Rights;

            (u)       Payment Intangibles;

           (v)        Security Entitlements;

           (w)        Software;

           (x)        Supporting Obligations;

           (y)        Uncertificated Securities; and

           (z)        to   the extent not included in the foregoing, all other personal property of any kind
    or description;
   together with all books, records, writings, databases, information and other property relating to,
   used or useful in connection with, or evidencing, embodying, incorporating or referring to any of
   the foregoing; and all Proceeds, products, ·offspring, rents. issues, profits and returns of and from
   any of the foregoing; provided that the Collateral shall not include, and no security interest is
   hereby granted with rer:ipect to, that certain Kolb Varimat, 5 axis, single-spindle, high speed CNC
   Gantry type vertical mill machine owned by Aerostructures; and provig,ed ~that to the
   extent that the provisions of any license_, permit, lease or contract expressly prohibit (which
   prohibition is enforceable under applicable Jaw) any assignment thereof, and the grant of security
   interest therein, the Secured Party will not enforce the security interest in that Obligor's rights
   under such license, permit, lease or contract (other than in respect of the Proceeds thereof) for so
   long as such prohibition continues, it being understood that upon request of the Secured Party,
   such Obligor will in good faith use reasonable efforts to obtain consent for the creation of a
   security interest in favor of the Secured Party (and to enforcement by the Secured Party of such
   security interest) in the Obligor)s rights under such license, pennit, lease or contract.




                                                     Exhibit "4"
 Case 8:16-bk-10738-SC                                          Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                             Desc
                                                               Main Document    Page 136 of 180

                                                                                                                                                        DELAWARE DEPARTMENT OF STATE
                                                                                                                                                            U. C. C. FILING SECTION
                                                                                                                                                         FILED 06:32 PM 09/08/2008
                                                                                                                                                       INITIAL FILING # 5202857 0
                                                                                                                                                       AMENIX!1ENT       # 2008 3033949
                                                                                                                                                                  SRV: 080935358
UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS lfront and baok) CAREFULLY
 A. NAME & PHONE OF CONT ACT AT FILER [optional]
 Kimberley Lathrop                                               213-680-6651
B. SEND ACKNOWLEDGMENT TO: (Name and Address)

            lBINGHAM MCCUTCHEN LLP
             355 South Grand Avenue
             Los Angeles, CA 90071


            ~mberley.lathrop@bingham.com                                                                        _J
                                                                                                                                   THE ASOVE SPACE IS FOR FILING OFFICE               use ONL y
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                                   1b.   Thi& FINANCING STATEMENT AMENDMENT i•

 52028570 6/30/2005                                                                                                                                    1n     10 be riled (for record] (or recorded) in the
                                                                                                                                                              REAL ESTATE RECORDS
2.   I f TERMINATION:          Effectiveness of the Fil'\ancinG Statement identified above is terminated wrui 1espeot to security mbm:tst(s) of the Secured Party authorizmg this Termination Statement.

3.   LJ   CO~TINUATION: Effect;veness of the Financing Statement identified above with respect to security inte1est(s) of the Secured Party authorizing this Continuation Statement •S
          cont111ued for the additional period provided by applfcable law.




5. AMENDMENT (PARTY INFORMATION}; This Amendment affects                                                       Secured Party of record Check only !20J. of these two boxes.
     Also check .Q.Wt oi the following three boxes   MSf provide appropriate information   in ftems 6 arid/or 7
                                                                                                        DELETE name· Give record name
                                                                                                        to be deleted in item 6a or Sb
6. CURRENT RECORD INFORMATION:
       6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                                        FIRST NAME                                         MIDDLE NAME                           SUFFIX



7. CHANGED (NEW) DR ADDED INFORMATION:
       7a ORGANIZATION'S NAME
        VINTAGE CAPITAL PARTNERS SIDE, L.P.
OR
       7b. INDIVIDUAL'S LAST NAME                                                                    FIRST NAME                                         MIDDLE NAME                           SUFFIX



7c. MAILING ADDRESS                                                                                  CJTY                                                                                     COUNTRY
                                                                                                                                                        cAE       l900oA490DE
1 I 611 San Vicente Boulevard, l 0th Floor                                                           Los Angeles                                                                              USA
7d llEE ll:l:>IBllQIIQll!i         IAPlYL INFO RE
                                    ORGANIZATION
                                                        j 7e. TYPE OF ORGANIZATION                   71 JURISDICTION OF ORGANIZATION                    7g. ORGANIZATIONAL ID#, if any

                                    DEBTOR              I                                                                                                                                          nNONE
8. AMENDMENT (COLLATERAL CHANGE): check only =box.
     Describe collateral   D  deleted or   D   added, or give entire   Ore$\ated collateral desc11plion, or describe collateral Oass1gned




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT (n•m• o1assignor,d1hi• ••an A•••Gnment) If thlS                                               IS en Am<lndment authorized by a Debtor which
     adds collate1al or adds 1he authorizing Dabtor, or if this 1& a Termination authorizl!ld   by   a 0Bbtor, check here      and enlot name of DEBTOR au1hotizing th~ Amendment
      9a ORGANIZATION'S NAME

        VINTAGE CAPITAL PARTNERS, L.P.
OR 9b. INDIVIDUAL'S LAST NAME                                          ------~F~IR~S~T~N-A-M""E-----------~-M-ID~D~L-E_N_A_M_E-------~S-U_F_F_IX--



10.0PTIONAL FILER REFERENCE DATA
                                                                                                                                                                                      F#230957
Filed with: DE - Secretary of State; Debtor: PCA AEROSTRUCTURES COMPANY                                                           L043 I 76          I pg attached                    All345251

FILING OFFICE COPY -                  UCC FINANCING STATEMENT AMENDMENT {FORM UCC3) (REV. 05122/02)



                                                                                            Exhibit "4"
 Case 8:16-bk-10738-SC                                Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                           Desc
                                                     Main Document    Page 137 of 180




UCC FINANCING STATEMENT AMENDMENT ADDITIONAL PARTY
FOLLOW INSTRUCTIONS (front and back) CAREFULLY

14. INITIAL FINANCING STATEMENT FILE ti (same os 1tern 1• on Amendment form)

 52028570 6/30/2005
15. NAME OF PARTY AUTHORIZING THIS AMENDMENT (same as item 9 on Amendment forrn)
    16a. ORGANIZATION'S NAME
         VINTAGE CAPITAL PARTNERS, L.P.
OR
        15b. INDIVIDUAL'S LAST NAME              IFIRST NAME                                     !MIDDLE NAME.SUFFIX



16.MISCELLANEOUS




                                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONL. Y

17 ADDITIONAL DEBTOR'S EXACT FULL L.EGAL NAME. insert only                   Qll.O   name (17a or 17b) - do not abbreviate or combine names
   17a. ORGANIZATION'S NAME


OR
        17b INDIVIDUAL'S LAST NAME                                                        FIRST NAME                                         MIDDLE NAME                        SUFFIX



17c MAILING ADDRESS                                                                       CITY                                                STATE   !POSTAL CODE              COUNTRY


17d. ~Ii~ lti:§IflWiIIQti:~    lADD'L INFO RE 1110. TYPE OF ORGANIZATION
                                ORGANIZATION
                                              I
                                                                                          17f. JURISDICTION OF ORGANIZATION                  179. ORGANIZATIONAL ID#, if any

                                DEBTOR                                                 I                                                 I                                          nNONE
18 ADDll'IONAL DEBTOR'S EXACT FULL LEGAL NAME -insert only= name (18• or 18b)-do nort abbreviate or combine names
   1Ba. ORGANIZATION'S NAME


OR
       18b INDIVIDUAL'S LAST NAME                                                         FIRST NAME                                         MIDDLE NAME                        SUFFIX



1Bc. MAILING ADDRESS                                                                      CrrY                                               STATE    rOSTALCODE                COUNTRY


1ad.   :;a; l~lHflUCIIQ!lS     l"DD'L INFO RE /18e. TYPE OF ORGANIZATION                  1Bf JURISDICTION OF ORGANIZATION                   1 Bg. ORGANIZATIONAL ID#, if any
                                ORGANIZATION
                                DEBTOR        I                                       I                                                  I                                          nNONE
19. ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME. insert only QJlll nome (1Baor19bl. do not abbreviate or combine names
    190. ORGANIZATION'S NAME


OR 19b INDIVIDUAL'S LAST NAME                                                -            FIRST NAME                                         MIDDLE NAME                        SUFFIX



19c. MAILING ADDRESS
                                                                        -·                CrrY                                                                                  COUNTRY
                                                                                                                                             STATE    rOSTALCOOE


19d. ~~~l!l~IBUQIIQl:I~        !ADD'L INFO RE J19e TYPE OF ORGANIZATION                   19f JURISDICTION OF ORGANIZATION                   19g. ORGANIZATIONAL 10 #, 1! any
                                ORGANIZATION
                                DEBTOR        I                                       I                                                  I                                          nNONE
20. ADDITIONAL SEC UR ED PARTY'S NAME (or Name of TOT AL ASSIGNEE) - insert only l1llJl name (2Da or 20b)
    20a. ORGANIZATION'S NAME
        VINTAGE SBIC, L.P.
OR
       '201'. INDIVIDUAL'S LAST NAME                                                      FIRST NAME                                         MIDDLE NAME                        SUFFIX


20c MAILING ADDRESS                                                                       CITY                                               STATE    'POSTAL CODE              COUNTRY

11611 San Vicente Boulevard, I 0th Floor                                                   Los Angeles                                       CA       90049                     USA
21. ADDITIONAL SECURED             PARTY'S   NAME (or Name ot TOTAL ASSIGNEE)· insert only 2llll name (21e or 21b}
    21a. ORGANIZATION'S NAME


OR
       21 b INDIVIDUAL'S LAST NAME                                                        FIRST NAME                                         MIDDLE NAME                        SUFFIX


21c MAILING 1'DDRESS                                                                   CITY                                                  STATE    I
                                                                                                                                                      POSTAL CODE               COUNTRY




FILING OFFICE COPY -            UCC FINANCING STATEMENT AMENDMENT ADDITIONAL PARTY (FORM UCC3AP) (REV. 05122102)



                                                                                 Exhibit "4"
      Case 8:16-bk-10738-SC                                               Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                       Desc
                                                                         Main Document    Page 138 of 180




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                                                                                                                                                                                                       l
       UCC FINANCING STATEMENT                                         AMENDMENT                                                                                 DELAWARE DEPARTMENT OF STATE (
      FOi.LOW INSTRIJCTIONS ton! and    CAREFULLY                                                                                                                   U. C. C. FILING SECTION     1.·
       . NAME & PHONE OF CONTACT AT FILER fopllonlllJ                                                                                                             FILED 02:16 PM 09/02/2008
                                                           I                                                                                                    INITIAL FILING # 5202857 O
                                                                                                                                                                AMENI:MENT       # 2008 3044698
                                                                                                                                                                          SRV: 080918205
                 r                                                                                          I
                                        fl)                    SA c 2&>Ci 8 '1 q CE
                          Flrst gorporats                      32 Loockerman Square,
                          ~...   {}   : ll   1 i   0   "       Ste. 1010
                                                               Dover, DE 19904
                 L                                                                                          _J              THE ABOVE SPACE 18 POR flLINO OFFICI!! use ONL y
      1a. INITIAi. FiNANc:ING STATEMEiNT FILE,                                                                                                      lb.     T~lsFIN....NCING STATEMENT A~OMENT 11
                                                                       5202857 0 (Delaware)                                                         D       ~A~:i~ (orrooordod)lnthoREAL

      2.    0 TERMINAT!ON; Eff•-•1& ol Ille Flnllndn~ el*monl ldtinlJ1td eboYe It te!m!nmd witl1 ""*"to sewity ~)cl tht Securod Party authoritlng thlt Temintllon ll!&lemont
      3.    0   CONTINUATION: El!'8cttY.,._.of the Financing Statenlenl ldonlilled •~OY• wtll . _ t l u """'rl!y Hereol[o) of !he Secmed Potty auiltortzng lhl• Con~"""1lon Slllltment ii
                oonllllued !or tht ad<lllonal p:rlod ptOYldod Ill' app!ic!blt low.
      -4,   0   ASSIGNMENT (Mor pallillQ: Give""""" of             •nllr>o'• In llo!oT1Taor7b a11d ..rd.,.. ol 1oolaneo i'1fttm7c; ind •loo~ namo of.....,, In lom 9.
      5. AMelJMENT (PARTY INFOfUMTIONJ: Thfl Amenclmenl a!f-Qi.blOr QI OsecuMd Party clroootd. Cheek only J!!ll ollflese tM> boml.
            A»oc:Md<g<1"'~--dl'f'O\ld•llfflf'CP'1ol•tnl....,.fonlnl...,,•5and.lor7.

            O:n::n=:c~~7b~,:~a:.~:::!=ti"i.m~c. D~~~=~~':""" o::i:~=".:.':.!~::O~;:~.~
      8. CURRENT RECORO INFORiJATION:
             81. ORGAr.rZATKlN'S NAME




                                                               TION:




                                                                                                 CIT'I                                             STAT!!    POST~   oooe           CO~TRY



                                              AVOl INl'O R! •7e, TYPE OF ORGAN!ZATION            ;'II· JURISCCCTOll OF OROANIZATION            : 7g, ORGll~ZATIONAI. 10#. I tny
                                              ORGANIZATION :
                                              llf8TOR          :                                                                               '
     6. AMENDMENT (COUA                  CHANGE): eheo~ only 21!! box.
        Dooc<1bo <Oiloletlll ISJduled or Dadd Id Of otve enti...         o ....
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            See attached list.




     0. NMIE OF Sl:@RED PARlY OF RECORD AUTHORIZING THIS AMENDMENT (nome ol mlgnor, It tRi.nn Aoolgn,,_,. If thb Is on ""'"ndrrent 1\llllOrbd by• Oeblo< wldch
     1dd1 a>lllllnll or-* U. outhorlzlng Debtor, or I this II eTomil!1911on 1uthor1Ze<I by1 Dll>tt>I, cltocl< he111  0
                                                                                                                    and en1*' ""mo of O'EBTOR o.U111orllln9 IN• Amondnuml



                                                                                                                                                MIDOLE NAME                        SUFFIX




     FILING OPFICE COPY - NATIONAL UCC FINANCING STATCMENT AMENDMENT (f'"OOM UCC3)-CAt.IFORNIA (REV. 01/01/08)




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    Case 8:16-bk-10738-SC    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                 Desc
                            Main Document    Page 139 of 180




                                     CNC PflOf'lLER, 10,000RPM,1oo HP, 612" x 1;!o; airo,
                                     Xa612", Y•104', z-28", A-+1·30', B;ot-1.:W, ACRAMAllC
                                     1l!lOCONTROLLER.1ll97;tNSTALLED IN 1998,SN:
                                                                                                    Il
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                                     ~--0008. WI (2) PORTABLE Cfilp SCHEENS; (1}
                                   FIXED CHIP SCREEN, WI MAYFRAN ClilP BY8'tEM WI
                                   P~IMARY CPN\'EYOR & SEPARATOR CONVEVOR, SN:
                                   1!9M3116      .


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                                   (CM\41, MDL. EPSILON 3305, FULLY MOTO'AlzED &
                                   PRCGRAMMAaLe WITH X•124', v"6e·. ~5', SN 11120
                                 4 KQMAilll FOBKUfI. rjrgpa F(i~1i9I·4o §Ni QIDM.
                                   8000#, 2-STAOE MAST, HEAOLIGHTS, 80LID TIRES
                                   TOOL CRfB L SHOP, MISC. SMALL MACHtNES ON
                                 IS •·MIFLOQR;
                                     DBLE·8'1D PEDESTAL DELTA GRINOER
                                     R~CKWal OSLE-END .PEDESTAL GRINDER;
                                     CABINETS, TABLE, BENCH VISE, SHOP FURNITURE,
                                      ILWAUKEE BENCH-MQDEL HEAVY Otm' ABRASIVE




-                                         Exhibit "4"
        Case 8:16-bk-10738-SC                                      Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                     Desc
                                                                  Main Document    Page 140 of 180




UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER [optional]


B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                                 DE.LAWARE DEPARTMENT OF STATE
                                                                                                                                                  U.C.C. FILING SECTION
                                                                                                                                               FILED 06:42 PM 01/04/2010
          lc1ruL WYATT-DONNELLY                                                                                                              INITIAL FILING # 5202857 0
           BINGHAM McCUTCHEN LLP                                                                                                             AME:Nl::MENT      # 2010 0017057
                                                                                                                                                        SRV: 100005786
             THREE EMBARCADERO CENTER
             SAN FRANCISCO, CA 94111


          L                                                                                              _J
                                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                            1b.    This FINANCING STATEMENT AMENDMENT is

 5202857 0 - filed in DE SOS on 06/30/2005                                                                                              1         n     to be filed [for record) (or recorded) in the
                                                                                                                                              REAL ESTATE RECORDS.
2.1 I TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party authorizing this Termination Statement
3. Ii] CONTINUATION: Effectiveness of the Financing Statement identified above with respect to security interest(s) of the Secured Party authorizing this Continuation Statement is
        continued for the additional period provided by applicable law.



5. AMENDMENT (PARTY INFORMATION): This Amendment affects                                                Secured Party of record. Check only 2Jllt of these two boxes.
   A,so check~ of the foltoWing three boxes .arul provide appropriate information      in items 6 and/or 7.
                                                                                                 DELETE name: Give record name                         ADD name Completertem7aor7b,andalsoitem 7c;
                                                                                                 to be dolete<J in item 6a or 6b.                      alsocom   1eteitems7e~7   ifa   licable.
6.   CURRENT RECORD INFORMATION
      6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                                FIRST NAME                                          MIDDLE NAME                                      SUFFIX



7. CHANGED (NEW) OR ADDED INFORMATION
       7a. ORGANIZATION'S NAME


OR
       7b. INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                           MIDDLE NAME                                     SUFFIX


7c. MAILING ADDRESS                                                                          CITY                             .                   STATE     IPOSTAL CODE                      COUNTRY



7d. lll:!:ll::lllIBl.!t<IIQ!!I~      !ADD'L INFO RE J 7e. TYPE OF ORGANIZATION
                                      ORGANIZATION
                                                                                             71. JURISDICTION OF ORGANIZATION                     7g. ORGANIZATIONAL ID#, if any

                                      DEBTOR        \                                                                                                                                                nNONE
8.   AMENDMENT (COLLATERAL CHANGE): check only QM box.
     Describe collateral    D     deleted or   D   added, or give entireOrestated collateral description. or describe collateral Oassigned.




9.   NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT {name of assignor. tt this is an Assignment). If this is an Amendment authorized by a Debtor which
     adds collateral or adds the authorizing Debtor, or tt this is a Termination authorized by a Debtor, check here and enter name of DEBTOR authorizing this Amendment
       9a. ORGANIZATION'S NAME

OR     VINTAGE CAPITAL PARTNERS SIDE, L.P.
       9b. INDIVIDUAL'S LAST NAME                                                            FIRST NAME                                          MIDDLE NAME                                  SUFFIX



10.0PTIONAL FILER REFERENCE DATA

 Debtor: PCA Aerostructures Company - DE SOS
                                                                                             X   I I
FILING OFFICE COPY -                     UCC FINANCING STATEMENT AMENDMENT (FORM UCC3) (REV. 05122102)
  Case 8:16-bk-10738-SC                            Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                    Desc
                                                  Main Document    Page 141 of 180




UCC FINANCING STATEMENT AMENDMENT ADDENDUM
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
11. INITIAL FINANCING STATEMENT FILE# (same as item 1a on Amendment form)
 5202857 0 - filed in DE SOS on 06/30/2005
12. NAME OF PARTY AUTHORIZING THIS AMENDMENT (same as item 9 on Amendment form)
    12a. ORGANIZATION'S NAME

     VINTAGE CAPITAL PARTNERS SIDE, L.P.
OR 12b. INDIVIDUAL'S LAST NAME
                                                IFIRSTNAME                  'MIDDLE NAME, SUFFIX



13. Use this space for additional Information



                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 Name of Additional Party Authorizing this amendment:

 VINTAGE SBIC, L.P.




FILING OFFICE COPY-NATIONAL UCC FINANCING STATEMENlfx~~f1~T ADDENDUM (FORM UCC3Ad) (REV. 07129198)
        Case 8:16-bk-10738-SC                                    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                                 Desc
                                                                Main Document    Page 142 of 180




 UCC FINANCING STATEMENT AMENDMENT
 FOLLOW INSTRUCTIONS
                                                                                                                                                      DELAWARE DEPARTMENT OF STATE
    A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                                                       u.c.c. FILING SECTION
     MORGAN, LEWIS & BOCKIUS LLP                                                 ( 213) 680-6400                                                       FILED 04:09 PM 01/02/2015
     B. E-MAIL CONTACT AT FILER (optional)                                                                                                           INITIAL FILING # 5202857 0
     kirn berley.lathrop@rnorganlewis.com                                                                                                            AMEN£:1.1ENT      # 2015 0009281
                                                                                                                                                                SRV: 150003484
 C. SEND ACKNOWLEDGMENT TO                       (Name and Address)


      (Morgan, Lewis & Bockius LLP                                                                     I
       355 South Grand Avenue, Suite 4400
       Los Angeles, CA 90071-3106

      L                                                                                                _J
                                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1a. INITIAL FINANCING STATE'-!ENT FILE NUMBER
    52028570 613012005
                                                                                                              rb·D      This FINANCING STATEMENT AMENDMENT is to !Je filed {for record)
                                                                                                                        tor rocorded) 111 the REAL ESTATE RECORDS
                                                                                                                        Flier: attach AmendrnentAdjendum (Form UCCJAd} and oro'IOO'eDebtor's name       mitem   13

2.   LJ TERMINATION: Effectiveness of the Financing Statement identified above is lerm1nat~d with respect lo !he security interest(s) af Secured Party a1Jthorizing this Termination
          Statement

3         ASSIGNMENT lfull or partial): Provide name of Assignee 111 1lem 7a or 7b. j.a.Q addres$ of Assignee m item 7c ilil9_ name of Assignor in item 9
          Far parttal assignment. complete items 7 and 9 fill!! also indicate affecled collateral in ilem 8

4         CONTINUATION: Effectiveness of the Frnencing Statement identified above with respect lo the fiecurity interest(s) of Secured Party aut'1orizing this Conlinuatian Statement rs
          continued for the additional period provided by appticf!ble raw

5.   D    PARTY INFORMATION CHANGE:
                                                                          ~      Cheek .Q.!il1_ oJ these lhree boxes lo
      Check rum of these two boxes:
                                                                                    CHANGE name and/or address: Complete                  ADD name: Complete item            DELETE 11ame: Give record name
      Thie Change affects                    Sec~red   Party of record              item 6a or 6b; ~item 7a or 7b ~item 7c                7e or 7b. ~ item 7c                to be deleted in rtem Sa or 6b
6.                                                  Complete for Party Information Change - provide only one name (6a or 6b)




OR Sb. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)llNITIAL(S)               SUFFIX



7 CHANGED OR ADDED INFORMATION· Complete for A11signmen1 or Party lnlorma11ar} Change - pro'.'!d&on!y ooe name l7a or 7bi [u&e e>"Aci full nam~r dO not omit mooity or abbre\11ate any pitrt of theUebtots name)
   7a. ORGANIZATION'S NAME


OR
        7b. INOIVIDUAL'S SURNAME



           INDIVIDUAl'S FIRST PERSONAL NAME


           INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                            SUFFIX


7c. MAILING ADDRESS                                                                                                                                  STATE      rOSTAL CODE                      COUNTRY
                                                                                            IC/TY
                                                                                                                                                    1
8.   D COLLATERAL CHANGE:               ~check QU!!       of/hose four boxes      LJ ADD collateral           0    OE LETE collateral         LJ RESTATE covered eo11a1era1             u ASSIGN colla!aral
          Indicate collateral:




9 NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only Jlllll.Oame (9a or 9bi (name of Assrgnor, rt this is an A06ignmen/)
      U this is an Amendment authorized by a DEBTOR. check here              and provide name of authorizing Deblor
       9a. ORGANIZATION·S NAME
        VINTAGE CAPITAL PARTNERS SIDE, L.P.
OR Bb. INOIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX



10. OPTIONAL FILER REFERENCE DATA                                                                                                                                                        F#456245
 Filed with: DE - Secretary of State; Debtor: PCA AEROSTRUCTURES COMPANY                                                                                                                 A#643706
                                                                                                                           International Association of Commercial Administrators (IACA)
FILING OFFICE COPY -              UCC FINANCING STATEMENT AMENDMENT!!fimnJi'f'."4l'(Rev 04120111)
     Case 8:16-bk-10738-SC                            Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                    Desc
                                                     Main Document    Page 143 of 180




UCC FINANCING STATEMENT AMENDMENT ADDITIONAL PARTY
FOLLOW INSTRUCTIONS

 19. INITIAL FINANCING STATEMENT FILE NUMBER: Same as 1tom 1a on Amendment form
     52028570 613012005
20. NAME OF PARTY AUTHORIZING THIS AMENDMENT Same•• item 9 on Amendment form
       20a. ORGANIZATION'S NAME
         VINTAGE CAPITAL PARTNERS SIDE, L.P.

OR
       2Db. INDIVIDUAL'S SURNAME


              FIRST PERSONAL NAME



              ADDITIONAL NAME(S)llNITIALISi                                               ISUFFIX

                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

21. ADDITIONAL DEBTOR'S NAME. Provide only .QM Debtor name (21a or 21 b) (use exact. full name: do nol omil. modify. or abbreviate any part of the Debtor's name)
      21a ORGANIZATION'S NAME


OR
      21 b INDIVIDUAL'S SURNAME                                                f IRST PERSONAL NAME                              ADDITIONAL NAME(S)llNITIAL(S}           SUFFIX


21 t. MAILING ADDRESS                                                          CITY                                              STATE    'POSTAL CODE                   COUNTRY



22. ADDITIONAL DEBTOR'S NAME. Provide only QM Debtor name (22a or 22b)           (use exact. full name do nol om1I. modify, or abbreviate any pan of the Debtors name)
      22a ORGANIZATION'S NAME


OR
      22b. INDIVIDUALS SURNAME                                                 FIRST PERSONAL NAME                               ADDITIONAL NAME(S)llNITIAL(Sl           SUFFIX


22c. MAILING ADDRESS                                                           CITY                                              STATE    rOSTAL CODE                    COUNTRY



23. ADDITIONAL DEBTOR'S NAME. Provide only one Debtor name {23a or 23b) (use exact. full name. do not omit. modify. or abbreviate any part of tho Dablor's name}
                                                     -
      23a ORGANIZATION'S NAME

OR
      23b INDIVIDUAL'S SURNAME                                                 FIRST PERSONAL NAME                              ADDITIONAL NAME ($)11NfTIAL(S)           SUFFIX


23c MAILING ADDRESS                                                            CITY                                             STATE     rOSTAL CODE                    COUNTRY



24   'X'.J   ADDITIONAL SECURED PARTY'S NAME             /;/.!   rl   ASSIGNOR SECURED PARTY'S NAME: Provide only one name (24e or 24bJ
     24a ORGANIZATION'S NAME
        VINTAGE SBIC, L.P.
OR
     24b. INDIVIDUAL'S SURNAME                                                 FIRST PERSONAL NAME                              ADDITIONAL NAME(S)llNITIAL[S)            SUFFIX


24c. MAILING ADDRESS                                                           CITY                                             STATE     rOSTAL CODE                    COUNTRY
  11611 San Vicente Boulevard, l 0th Floor          Los Angeles                                                                 CA         90049                         USA
25. l ADDITIONAL SECURED PARTY'S NAME or f l ASSIGNOR SECURED PARTY'S                                        NAME Provide     only~     name (25a or 25b)
     25a. ORGANIZATION'S NAME


OR
     25b INDIVIDUAL'S SURNAME                                                  FIRST PERSONAL NAME                              ADDITIONAL NAMEtS)llNITIAL(S)            SUFFIX



25c MAILING ADDRESS                                                            CITY                                             STATE     rOSTAL CODE                    COUNlRY



26 MISCELLANEOUS




                                                                                                        International Association of Commercial Administrators               (IACA)
FILING OFFICE COPY- UCC FINANCING STATEMENT AMENDME~1Xf.™lf~~L PARTY                                        (Form UCC3AP) (Rev. 08/22/11)
Case 8:16-bk-10738-SC                                Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                              Desc
                                                    Main Document    Page 144 of 180




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIOHS tfronl alld back) CAREFULLY                                                                                    DELAWARE DEPARTMENT OF STATE
A. NNdf & PHONE OF CONTACT AT FILER [optional]                                                                                        U. C. C. FILING SECTION
  Robin Dunn                                                310-471-3000                                                            FILED 06:42 PM 10/19/2005
B. SEND ACKNOWL!OG~NT TO: (Name and Addresti)                                                                                     INITIAL FILING NUM: 5324596 7
                                                                                                                                  AMENDMENT     NUMBER: 0000000
         ~vy, Small &  Lallas                                                                                                               SRV: 050855408
         815 Moraga Drive
         Los Angeles, CA 90049


        ~unn@lsl-la.com
                                                                                                        THE! ABOVI! SPACI! IS l'Olt P'ILING Ol'P'IC! USI! ONLY
1. DEBTOR'S EXACTFULL LEGALNAME-lnMrtonlywadelltorn1mo(hcr1b)·dc not•bl11W'A1t.oroombln1 nome1
     11. ORGANIZA TION·S NAME
     PCA AEROSTRUCTURES COMPANY
OR 1b. INDIVIDUAL'S I.AST NAME
                                                                              FIRSTNllME                                      MOOLEtlAME                     SUFFIX


1c. MAILINGADDRESS                                                            CIT'(                                           STATE   rOSTALCOOE             COUNTRY
 17800 GOTHARD STREET                                                         HUNTINGTON BEACH                                CA       92647                 USA
Id. llEEl~llIBllCIKl!l:S     IAOO'L INFO RE 111. n'PE OF ORGANIZATION
                              ~~~IZAnoN          Corporation
                                                                              If. JURISDICTION OF ORGANIZATION                1g. DRGANllATIONAL ID#,~ any
                                                                                                                          12911992
                                             1                             1Delaware                                                                             nN<lNe
2. ADDITIONAL DEBTOR'S EXACT FULl. LEGAL NAME· ln..rt011iY®t dob1or nome              r.z,, or 2b) ·do natobb~ otocml>ln• names
    2o. OROANIZATJON'S NAME


OR
     2i>. INDIVIDUAL'S LAST NAME                                              FIRST NAME                                      MIDDLE NAME                    SUFFIX


2c. MAILING ADDRESS                                                           CnY                                             STATE   IPOSlALCODE            COUNTRY


2d. SEE INnIBl&IIQN:\I       I AOO-L INFO RE J2o. TIPE OF ORGANllA TION       2f. JURISDICTION OF ORGANIZATION                2g. ORGANIZATIOOAL ID#, Hany
                               ORGANl2ATION
                               DEBTOR        I                            I                                               l                                      nNONE
3. SECURED PAR TYS NAi.£ (ct NAME<ofTOTALASSIGNEE or ASSKlNORS/P)· l...,rtonly~.-irodpall)'l\lll'lle (310<3b)
    31. ORQANIZ/<1 toH'S HAME
     PNC BANK, NATIONAL ASSOCIATION
OR
     3b. INDIVIDUAVS f..AST N"'ME                                             FIRST NAME                                      MIOOLEN,.,ME                   SUFFIX


3c MAILING ADDRESS                                                         CITY                                               STATE   'POSTAL cooe           COUNTRY
2 NORTH LAKE A VENUE, SUITE 440                                               PASADENA                                        CA       91101                 USA
4. Th,. FNANCING STATEMENT°"""'" tho IOl!owifig cc11-.i1:
Debtor grants Secured Party a security interest in all assets of the Debtor, of every kind and nature, now
existing and hereafter acquired and arising and wherever located, including without limitation, accounts
(including health-care-insurance receivables and credit card receivables), deposit accounts, commercial tort
claims, letter of credit rights, chattel paper (incluiling electronic chattel paper) documents, instruments,
investment property, general intangibles (including payment intangibles), software, goods, inventory,
equipment, furniture and fixtures, all supporting obligations of the foregoing, and all cash and non-cash
proceeds and products (including without limitation insurance proceeds) of the foregoing, and all additions and
accessions thereto, substitutions therefore and replacements thereof.




FILING OFFICE COPY -           UCC FINANCING STATEMENT (FORM UCC1) (REV. 0!5122102)




                                                                          Exhibit "4"
 Case 8:16-bk-10738-SC                                    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                           Desc
                                                         Main Document    Page 145 of 180




                                                                                                                                           DELAWARE DEPARTMENT OF STATE
                                                                                                                                              U. C. C. FILING SECTION
                                                                                                                                            FILED 02: 17 PM 09/02/2008
                                                                                                                                          INITIAL FILING # 5324596 7
                                                                                                                                          AMENrl>1ENT      # 2008 3044722
                                                                                                                                                    SRV: 080918215




                First Corporate            32 Loockerman Square,
                " "     ' u t    ., " .,   Ste. 101D
          l                                Dover, DE 19904                                 _J                THE ABOV!! &PACI! IS FOR RUNG Of'l'ICE USE CNLY
 1a, INITIM. ANANONG STATEMENT FILE II                                                                                         1b.   Thie FtNANCINCl 5T,t.Te.IENT AMENDMENT t•
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 3. D CONTINUffflON: ~ ol ttio Flnanciog Stl-ldllltllled llbcW1 "'1h fMf'ectkl MC<Jnty lntarlOl(o) of lie Seellr.d Ptrty authorllilig this C<>mitluol!on Sl...rnanl II
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 ~.AMENDMENT (PARTY INFORMATION): Tlll1 Amendment- 00oblor Rt Os.c..r..t Party ol "'°"d. Checltonly QM althelO t.w boocH,
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 e CURRelT RECORD INFORMATION·
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7.     ·~ci~ .. ·-~ORA ·-· "-ORMl'.TION:
       7o. OR<WUllTI0!-18 NAAIE

 OR
       71>. l~OllAL'S LA!lT NAME                                               FIRST NAME                                   MIDCUtW.!E                            8UFfll(


 Tc. IAAJUOO ADORES8                                                           CITY                                         STATE rOSTAI. COllE                   COUNT RV


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      See attached list.




9. NM£ OF Sf CORED PARTY OF REOORD AUTf.IORIZING THIS AMENDMENT (n1mo o1 auignor, Wlhio lun ~rnent). If lhl&lun Amendrmnhu1hod1ed by a Deblorwhl::ll
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                                  OAT



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                                                                                   Exhibit "4"
Case 8:16-bk-10738-SC    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                           Desc
                        Main Document    Page 146 of 180




                                    CHO PROFILER, 10,000 RPM, 100 HP, 612" X 1~; &eD,
                                  . X•812', Y•104', Z"'28", A-ff·3D',B'!'f1"30°, ACRAMATIC
                                    1150 CONTROLLER. te97:1NsTALLEO IN 1998, SNi
                                    4320COl97-od08, WI (2) PORTABLE otilf' 8CHEEN9; (1)
                                    Fl~D CHIP SCAEeff, WI IMYFIWI CHIP SYS'tEM WI
                                   PRIMARY CoNllEVOR & s&AAATOR CONVEYOR, SN:
                                   00""3116            .
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                                   APPROX.110'+1·            .               .
                              a   IJml.liWi.<mfll2/NIUliJWl!.llBlltilUJ~~
                                   (CMM), MDL EPSILON 3305, FULi.V!.AOTOAIZEI) &:
                                   PFIOGRMIMA!lle WITH X..124', Y..S6',Z"55',$N 11120
                              4 JCOUAT8t/ FPRKU11I. MQPI!!. EMSST-4. BN: tpgiA.
                                8000#, NITAOE MAST, HeAOLIGHTa, SOLID TIRES
                                TOOL CRIB L SHOP, MISC. SMALL MAC!iNES ON
                              6 M!IW;·Pl,ANTfLOOR:                       .
                                DBLE-END PEDESTAL OE~TA GRINDER
                                ROCKWELL OBLE-END Pl:DESTAL Gl'llNOER.
                                cAalNETS, TABU:, BENCH VISE, SHOP FURNITURE,
                                  t.'WLWAUKeE BENCH-MODEL HEAVY DUTY ABRASIVE


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                             HIJli:lliJBIB:AmUAJ~QJW:gwrAIJIMU.J.:.ll!AB.!r&l..'!l
                                 •. VEliTIOAL SPINDLE, 3000 RPM, 8311' X$4'
                                    ABLE. VACUUM HOLC-OOWN FORTASU:, TRACER
                                HEADSNN/A
                             12 PACIFIC HYQBAUL!CpB!!f9BflMF. MPL: aOJlc12. .
                                  200·T00, 120' WIDE X41' THROi-.T, OAP; 1b' ic 114'. AGE 195457
                                  BASED ON SN, SN: 161&
                             13 BRl®llf9BT§Ef!lE9 I ~8TICAL MIJJ.!HiJ MACHINE,
                                  SN:~7,PFT42',XVORO            .         .   .
                             141ml!ID.WifQli1Ufillllig&..YJl,.l.!HJ~lmtlifC..
                                ' SN NOT AVAILABLE, ACCUAITE XV ORO, PFT, VAAIABLE SPEED
                                  HEAo WISN 100160                '




                                        Exhibit "4"
           Case 8:16-bk-10738-SC                                   Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                        Desc
                                                                  Main Document    Page 147 of 180
UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
 A. NAME & PHONE OF CONTACT AT FILER [optional]
                                                                                                                                  DELAWARE DEPARTMENT OF STATE
~rporation                 Service Company,~~~~~~~~~~~~~~80~0~8~5~8~5~2~9'-=14                                                       U.C.C. FILING SECTION
 B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                     FILED 12:40 PM 05/19/2010
                                                                                                                                 INITIAL FILING # 5324596 7
                                                                                                                                 AMENDMENT      # 2010 1754450
           I   O:lRPORATION SERVICE O:lMPANY
                                                                                                                                         SRV: 100533502

               2711 CENTERVILLE ROAD

               SUITE 400



           ~LMINGTON DE 19808
                                                                                                          _J
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                                  1b.   This FINANCING STATEMENT AMENDMENT is
      5324596 7                                                                                                                                    1   n     to be filed lior record] (or recorded) in the
                                                                                                                                                             REAL ESTATE RECORDS.
2.1 l TERMINATION:             Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party authorizing this Termination Statement.

3.   GlJ CONTINUATION:         Eifectiveness of the Financing Statement identified above with respect to security interest(s) of the Secured Party authorizing this Continuation Statement is
         continued for the additional period provided by applicable law.

4.       ASSIGNMENT {full or partial): Give name of assignee in item ?a or ?band address of assignee in item ?c; and also give name of assignor in item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment affects                                                  Secured Party of record. Check only Q!lll of these two boxes.
   Also check Qfill. of the following three boxes filJJ! provide appropriate information in items 6 and/or 7.
         CHANGE name and/or address: Give current record name in item 6a or 6b; also give new                  DELETE name: Give record name                 ADD name: Complete item ?a or 7b, and also
         name if name chan e in item ?a or 7b and/or new address if address chan e in item 7c.                 to be deleted in item 6a or 6b.               item ?c· also com lete items ?d-7 if a \icable.
6. CURRENT RECORD INFORMATION:
       6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                                 FIRST NAME                                            MIDDLE NAME                               SUFFIX



7. CHANGED (NEW) OR ADDED INFORMATION:
       ?a. ORGANIZATION'S NAME


OR
       7b. INDIVIDUAL'S LAST NAME                                                             FIRST NAME                                            MIDDLE NAME                               SUFFIX



7c. MAILING ADDRESS                                                                           CITY                                                     STATE     [POSTAL CODE                 COUNTRY


                                                      l7e. TYPE OF ORGANIZATION              7f. JURISDICTION OF ORGANIZATION           I
                                                      I
8. AMENDMENT (COLLATERAL CHANGE): check only one box.
     Describe collateral   Ddeleted or    D   added, or give entireOrestated collateral description. or describe collateral Oassigned.




9. NAME of SECURED PARTY of RECORD AUTIIORIZING TIIIS AMENDMENT
       PNC Bank       National Association
10. OPTIONAL FILER REFERENCE DATA
Debtor: PCA Aerostructures GET IT 12832 #50232707

                                                                                               Exhibit "4"
           Case 8:16-bk-10738-SC                                 Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                 Desc
                                                                Main Document    Page 148 of 180
UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
 A. NAME & PHONE OF CONTACT AT FILER [optional]
                                                                                                                             DELAWARE DEPARTMENT OF STATE
~rporation                  Service     Col!IPilllV.~~~~~~~~~~~~~~80_0_8_5_8_5_2_9_4~                                           U.C.C. FILING SECTION
 B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                FILED 12:20 PM 04/30/2015
                                                                                                                            INITIAL FILING # 5324596 7
                                                                                                                            AMENDMENT      # 2015 1851434
           I   CXJRPORATION SERVICE COMPANY
                                                                                                                                    SRV: 150591583

               2711 CENTERVILLE ROAD

               SUITE 400



           ~I.MINGTON DE 19808
                                                                                                       _J
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                         1b.   This FINANCING STATEMENT AMENDMENT is
      5324596 7                                                                                                                               n
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                                                                                                                                                    to be filed !ior record] (or recorded) in the
                                                                                                                                                    REAL ESTATE RECORDS.
2.   f l TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party authorizing this Termination Statement.
3.   ll!J CONTINUATION: Eifectiveness of the Financing Statemenl identified above with respect to securily interest(s) of the Secured Party aut11orizing this Continuation Statement is
         continued for lhe additional period provided by applicable law.

4.       ASSIGNMENT (full or partial): Give name of assignee in ilem ?a or 7b and address of assignee in ilem 7c; and also give name of assignor in ilem 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment attecls                                              Secured Parly of record. Check only Q® of these 1wo boxes.
     Also check one of the following three boxes and provide appropriate information in items 6 and/or 7.
         CHANGE name and/or address: Give current record name in item 6a or 6b; also give new               DELETE name: Give record name           ADD name: Complete item 7a or 7b, and also
         name if name chan e in item 7a or 7b and/or new address if address chan e in item 7c.              to be deleted in item 6a or 6b.         item 7c· also com lete items 7d·7 if a licable.
6. CURRENT RECORD INFORMATION:
       6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                        MIDDLE NAME                             SUFFIX



7. CHANGED (NEW) OR ADDED INFORMATION:
       7a. ORGANIZATION'S NAME


OR
       7b. INDIVIDUAL'S LAST NAME                                                           FIRST NAME                                        .MIDDLE NAME                            SUFFIX



7c. MAILING ADDRESS                                                                         CITY                                              STATE    IPOSTAL CODE                   COUNTRY


                                                    17e. TYPE OF ORGANIZATION              7f. JURISDICTION OF ORGANIZATION       I
                                                    I
8. AMENDMENT (COLLATERAL CHANGE): check only one box.
     Describe collateral   Ddeleted or Dadded. or give enlireOrestated collateral description. or describe collateral        Oassigned.




9. NAME of SECURED PARTY of RECORD AU1HORIZING THIS AMENDMENT
       PNC Bank       National Association
10. OPTIONAL FILER REFERENCE DATA
Debtor: PCA Aerostructures Company - GET IT 233339

                                                                                            Exhibit "4"
            Case 8:16-bk-10738-SC                                       Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                          Desc
                                                                       Main Document    Page 149 of 180




      UCC FINANCING STATEMENT AMENDMENT
      FOLLOW INSTRUCTIONS front and back CAREFULLY
       A. NAME & PHONE OF CONTACT AT FILER [optionaO                                                                                                    DELAWARE DEPARTMENT OF STATE
       Robin Dunn                                                      310-4 71-3000                                                                       U.C.C. FILING SECTION
       B. SENC ACKNOWLECGMENT TO: (Name and Addr$&6)
                                                                                                                                                         FILED 05:39 PM 06/02/2015
                                                                                                                                                       INITIAL FILING # 5324596 7
                                                                                                                                                       AMENIX!dENT      # 2015 2344835
                 fLevy, Small & Lallas                                                                                                                           SRV: 150868718
                  815 Moraga Drive
                  Los Angeles, CA 90049


                 ~unn@lsl-la.com
                                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
      1o. INITIAL FINANCING STATEMENT FILE#
       5324596 7 10/19/2005

      3.       CONTINUATION: eneetiveness crt tho Financing Statement identlfled above "1th respeet10 aeculity Interest(•) of the Secured Perty authorizing thla             Con~nuatlon Stat<lllltlnt Is
               continued for the additional period provided by opplicobre low.



      5.   AMENDMENT (PARTY INFORMATION): Thi• Amendment affects                                  Debtor .Qt         Secured Party of record. Check only Qllll of these two bo•••·
           Ahlo checl< Qlll of the lollowin~ three ba>:es al1Ji pr<Wide appropriott> information in ite11\11 6 and/or 7.
               CHANGE name ancj/oradd<eso: Ploaurofertothe detollod ln.tructions                                                                                   ADD name: Camplete~em7aorTu,lllldalsoltem7o;
               i r                                                                                                                                           hlocom ..teile a7 7            '
      6, CURRENT RECORD INFORMATION:
             Sa. ORGANIZATION·s NAME


      OR 6b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                            MIDDLE NAME                               SUFFIX



      7. CHANGED (NEW) OR ADDED INFORMATION:
             7a. ORGANIZATION'S NAME


      OR 7b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                            MIDDLE NAME                               SUFFIX


      7o. MAILING ADDRESS                                                                         CITY                                                  STATE       POSTAL CODE                   COUNTRY


      7d. SEEIMSTBUCTIONS                  AOO'L INFO RE       7e. lYPE OF ORCJ"NIZATION          7f. JURISDICTION OF ORGANIZATION                      7g, ORGANIZATIONAL 10 #, It any
                                           ORGANIZATION
                                           DEBTOR                                                                                                                                                           NOOE
      8. AMENDMENT (COLLATERAL CHANGE): check only jj1lA box.
           Describe collateral   181   deleted or   0   added, or give entire Ore1tated collateral desoriplion, or describe collateral Oanigned.

      The collateral described on Schedule II hereto that was sold by PCA Aerospace, Inc. and/or PCA
~··
      Aerostructures, Inc. on or about May 29, 2015 is deleted.




      9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENCMENT (n.llm• of o..ignor, tt thi• io an Anignmen~. If thia iun Am&ndmont aUthonzed by a Oebtorwtilch
         acid• collateral or add• tho authorizing Debtor. or ~this I• • Torrnlnatfon authortz&d by• Debtor, oheck here ond enler name ol DEBTOR authorizing thhl Amendment
            ea. ORGANIZATION'S NAME

             PNC BANK, NATIONAL ASSOCIATION
      OR Qb, INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                            MIDDLE NAME                               SUFFIX


      10, OPTIONAL FILER REFERENCE DATA
                                                                                                                                                                                         F#141620
      Ref# 1286.3937-DE - Secretary of State; Debtor: PCA AEROSTRUCTURES COMPANY                                                                                                         M665683

      FILING OFFICE COPY -                   UCC FINANCING STATEMENT AMENDME~Jc~il)>/lt.6.,¥CC3) (REV. 05/22/02)
Case 8:16-bk-10738-SC                   Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32             Desc
                                       Main Document    Page 150 of 180




     Gudat Gl'nvc Equipment Tt'IUlllfcr
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     Altacbmut A co MJF AerOliptlCe lloldlnp Purel1111e Orilcr #1, dattd 12118/t 4.

     Q1y             Descl'lptlon
                                                                                      Schedule II
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                                                                                                           I




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     I liA             (1979} ClNCINNAl1M1i..ACRON •·SPINDLE,3-AXIS
                       GANTRY MAClUNE CKN'T'l:R, VTCKER ACRAMA'l1C 2100
                       CONTROi. C-ONVERSlON, 60' W. 120' BED. 30 JJ.P., 3600
                      RPM.J.§:.WIDE SIN 4.li879~
                                                                                                           i
     1U               {1981) CINCINNA Tl MILACRON J.SPINDLE. !.JOOS
                      GANTRY MACIUNE CF,NTlll, fill'        mm.
                                                        !lll" WlDTH, 30
                      H.P.. 3600 RPM SMNDL~ AC 950 CONTROi.'! SIN 4318·81·
                      35

     2 Ea             (l) TRADEMARK 2 TON STAND AWNE 'JRAYELLING
                      BRIDG.E CRANES, !W XI 20' RAJLS JY/ BUl'l'OR'IS
                                             LSJN 260408

     l EA             KOMATSU MOD. FG3SST-7.14000 Ul.I,!'G FORKLW£SJN
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     I EA            CROWN MOD. Rl'3520-45, 4500 LB. f.LEC. FOR1'LIYI'S
                     SIN'S IAl811249. IAI8823

     l BA            TORIT DUST COLLECTOIL

    HalfOfTOOll    CANTILEV.ER & PALLET SHELVING.

    lF.A             (lOOfi) 1NK MOD PM-lill, 3.SPJNDU:, l-AX!S
                     GANTllY PBOFJLEB. FANUC 15JM CONTROLS, 70' X 12'
                     TABLE. 84" V-TMVEL, 86S"X 'lll.AVEL. 23" Z TRAVEL, (lOOOOR PM, VACUUM
                     l'UJvfP, SNN/A

    IEA              (ZOOS)J,R. MOD. SSREPI00, 100 H.l'.llOTARY SCREW AIR
                    ...:..C...O. MPRt·SSOR WIDR\'ER STN GK6929U05333




                                                              Exhibit "4"
     Case 8:16-bk-10738-SC                                Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                  Desc
                                                         Main Document    Page 151 of 180




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS (front and back\ CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER [optionaij
                                                                                                                                      DELAWARE DEPARTMENT OF STATE
     KIMBERLEY A LATHROP                                        213-680-6400                                                             U.C.C. FILING SECTION
B. SEND ACKNOWLEDGMENT TO:                (Name and Address)                                                                           FILED 06:46 PM 09/28/2012
                                                                                                                                     INITIAL FILING # 2012 3759836
         IBtNGHAM MCCUTCHEN LLP
                                                                                                                                                       SRV: 121082450
          355 South Grand A venue
          Los Angeles, CA 90071


          ~m berley. lathrop@bingham.com
                                                                                                  -                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
     DEBTOR'S EXACT FULL LEGAL NAME inse~only.cm£debtorname (1aor 1b) -do notabbrowiateorcombinenames
      1a. ORGANIZATION'S NAME

       PCA AEROSTRUCTURES COMPANY
OR 1b INOIVIDUAL'SLASTNAME                                                                                                              MIDDLE NAME                         SUFFiX
                                                                                         FIRST NAME



1c MAILINGADDRESS                                                                        CfTY                                              STATE   IPOSTAL CODE             COUtlTRY

 17800 Gothard Street                                                                    Huntington Beach                                  CA       92647                   us
1ct. :tlilil~IBU~Il!:lli:a    IADD'L INFO RE    j 1e   TYPE OF ORGANIZATION
                                                    Corporation
                                                                                         lf. JURISDICTION OF ORGANIZATION               1g. ORGANIZATIONAL ID# if any
                               0RGAN1ZAT10N
                               DEBTOR           I                                    pelaware                                          I                                        nNONE

2 ADDITIONAL       DEBTOR'S EXACT FULL LEGAL               NAME ·insert only QW: debtor name (2• or 21>) ·do not abbreviate or combine nomes
      2o. ORGANIZATION'S NAME


OR                                                                                                                                      MIDDLE NAME                         SUFFIX
      2b. INDIVIDUAL'S LAST NAME                                                         FIRST NAME



2c. MAILING ADDRESS                                                                      C11Y                                              STATE   rOSTAL CODE              cou:m~Y




2d. SE!: ltiSIRU!:<IIQ!iS     IADD'L INFO RE
                               ORGANIZATION
                                                j 2e. TYPE OF ORGANIZATION               2f. JURISDICTION OF ORGANIZATION                  2g. ORGANIZATIONAL ID#. ifaoy

                               DEBTOR           I                                    I                                                 I                                       nOONE

3 SECURED PARTY'S NAME(orNAME ofTOTALASSIGNEEof ASSIGNOR SIP)                        1nsertonly!lllllsecuredpar1yname(3oor3b)
      3a. ORGANIZATION'S NAME
       PACIFIC STANDA RD EQUIPMENT LEASING, LLC
OR
      3b. INDIVIDUAL'S LAST NAME                                                      FIRST NAME                                        MIDDLE NAME                         SUFF X



3c MAILING ADDRESS                                                                    CITY                                              ST ATE     rOST AL CODE             COUNTRY
clo Vintage fuud Management. LLC, 11611 San Vicente Bh·d .. 10th Fir.                    Los Angeles                                       CA       90049                   USA
4. This FINANCING STATEMENT c<Ners the follov.inQ collateral:

 See Exhibit A (attached)




8.   OPTIONAL FILER REFERENCE DATA
 Filed with: DE - Secretary of State                                                                                            l 3 pages attached

FILING OFFICE COPY -            UCC FINANCING STA TE ME NT (FORM u§~W~t:\i4o5122/02)
Case 8:16-bk-10738-SC             Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                     Desc
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                                               EXHlBlT A
                                                  TO
                                      UCC-1 FINANCING STATEMENT

   Debtor:                PCA AEROSTRUCTURES COMPANY

   Secured Party:         PACIFIC STANDARD EQUIPMENT LEASING, LLC


   Description of Collateral:

   Aii right, title and interest of Debtor in and to:

   1.          all Equipment and Fixtures listed on Schedule 1 attached hereto;

   2.          All books and records pertaining to such Equipment and Fixtures;

   3.          All additions to and substitutions for such Equipment and Fixtures;

   4.          All present and future rights. claims, remedies and privileges of Debtor pertaining to such
               Equipment and Fixtures;

   5.          All general intangibles, payment intangibles, and contract rights of Debtor, in each case
               relating to such Equipment and Fixtures; and

   6.          All proceeds, products and profits of such Equipment and Fixtures (including proceeds of
               proceeds, proceeds of insurance policies and claims against third parties), in each case
               whether now existing or hereafter arising or acquired.




   Al7~ 170329 .2

                                                  Exhibit "4"
Case 8:16-bk-10738-SC    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32   Desc
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                                   SCHEDULE 1

                                    See attached.




   AJ1S 170329.2

                                   Exhibit "4"
Case 8:16-bk-10738-SC           Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32   Desc
                               Main Document    Page 154 of 180




                     BUILDING#A

 Leica Mod. LTD706, Port. Laser Tracker.
    SIN 2055

 36" x 48" Granite Sulface PJate.

 (2) 16" x 72" x 144" Granite Surface Plates.

 (1994) Leica Smart 310, Type 803314 Laser lnforomete
 w/ PC Comp\lter.
    SIN 039

 (1990) Fadal Mod. YMCA020, CNC Vert. Machine
 Center, 20-Station A.T.C., Fadal CNC 88 Controls, Tabl
 Vise.
    SIN 9006329

 (2) (1989) Fadal Mod. VMC6030, CNC Vert. Machin
 Centers, 22-Station A.T.C.'s, Facial CNC88 Controls w.
 Receiving Tanks.
    SIN 8905384
    SIN 8902118

 (1994) Facial Mod. VMC 8030, CNC Vert. Machin
 Center, 22-Station ATC, Fadul CNC88 Controls.
    SIN 9303069

 Brown & Sharpe Mod. 5851-12, Hite-lcator.

 (2) Mitutoyo 24" Height lndicators.

 Mitutoyo 18" Height Indicator.

 Misc. Inspection Devices, Fixtures & Equipment.




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 (1996) Cincinnati Milacron Mod. 30V, Single-Spindle, S
 Axis Gantry Type Profiler, 19' x 72' Table, 10,000 RPM,
 100 H.P. Spindle, Acramatic 950 Controls, ConSep 200
 Chip Conveyor, 72' x 110" x 60" Travels.
    SIN 3239EO 196-0004

 Trimos Mod. TPR40H3050, Tool Setter Height Gauge.
    SIN l42lffDVO/H-2

 3 Ton Single-Girder Bridge Crane.

 Aeronca Mod. 1-5, 120 Ton Stretchforrner, J8' x 62'
 Movement, 72" Wide Jaws w/ (2) 70 Ton Overhea
 Rams, Max. Part 6 1 W x l 8'L.

 DoAJI Mod. 1612-0, 16" Vert. Baud Saw w/ Blad
 Welder.
    SIN 277-69614

 Elephant Disc Sander.

 112 Ton Hoist.

 W.f'. Wells Mod. W-9, 9" Horiz. .Band Saw.
   SIN WB-94481

 Greenerd No. 3 1/2, Arbor Press.

 5' x 20' T-Slot Layout Table.

 USATCO Mod. 6-A. Sheet Metal Shrinking & Stretchi
 Machine.
   SIN 6087

 2 1/2" x 48" x 120" Steel Layout Table.

 2 1/2" x 40" x 108" Steel Layout Table.



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 Aeronca No. 1-12, 1200 Ton Side Pull Stretchformer, 15
 Long Jaws, Man. 8' Wide Die w/ 300 Ton Overhea
 Ram.

 Aeronca No. 1-11, 800 Ton Stretchfonncr, 61 x 26
 Movement, 110" Wide Skin Jaws w/ (2) 100 To
 Overhead Rams, Max. Part Size i 6'W x 26'L.

 Aeronca No. 1-9, 400 Ton Stretchformer, 69" x 21'
 Movement, 120" Wide Skin Jaws w/ (2) 100 To
 Overhead Rams, Max. Part Size 16'W x 26'L

 4 1 x 48" x 144" Steel Layout Table.

 Moak 36" Vert. Band Saw.
   SIN 8132

 Bridgeport 2 H.P. V.S. Vert. Mill.
    SIN 354560281 V

 Parlee Mod. 975, Tool Presetter.

 Cincirmati Milacron Four-Gantry, 13·Spindle Profiler, 12
 x 174' Table:
 Gantry #4: 3-Spindle, 5-Axis, 3600 lU'M Spindles
 VickeTS Acromatic 2100 Controls SIN 4318-8_1-0034;
 Gantry #5: 3-Spindle, 5-Axis, 3600 RPM Spindles
 Vickers Acromatic 2100 Controls SIN 43 J 8-81-0038;
 Gantry #3: 4-Spindle, 3-Axis, 3600 RPM Spindles
 Vicli::ers Acramatic 2100 Controls SfN 4318-79-0005;
 Gantry #2: 3·Spindle, 3-Axis, 3600 RPM Spindles
 Vickers Acromatic 2100 Controls SIN 4318·79-0004.

 Acco Mod. 5600-8-2-6-4-820-N30, 6400 Lb. Yacuun
 Piute Hoist Clamp.
    SIN 86-.5312




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                                                               ",.
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  (2) (1983 & 198 l) Cincinnati Milacron Mod. 20V80, 80'
  Travel, 5-Axis CNC Hydrotels, 40" x 144" Tables
  Cincinnati Milacron Controls.
     SIN XX-XXXXXXX-1
     SIN XX-XXXXXXX-1

  Cincinnati Milacron Mod. 1OHC-2500-A, 4-Axis (,'NC
  Horiz. Machine Center, 30" x 96" Table w/ (2) 30" Dia.
  Rotary Index Tables.
    SIN 49954

 (15) Nu-Era Tool Cabinets w/ Contents.

 lndoco 12' x 30' x l O'H, 2.5 Million BTIJ Gas-Fi
 Aging Oven.
    SIN 5572

 MEC Mod. 2548HT, Scissors Lift

 Burr-King Mod. 482, I 112" Belt Sander.

 Arboga Mod. E830, G.H. Drill Press.
   SIN 171876

 Acra-Tum Mod. LS-430, J7" x 30 11 Engine Lathe.
   SIN 80513

 3-Ton Bridge Crane, 30' Span.

 AcTek Bridge Crane, 3 Ton, 30' x 320' Span.

 Misc. Maintenance Shop Toois & Equipment.

 Hufford Mod. A-10, Stretchformer. (Rebuilt 2005)

 RockweJl Hardness Tester.

 (10) Monornil Hoist Systems.


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                                           --        ----   ~




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 Gardner Denver Mod. FAO, 150 H.P. Rotary Screw Ai
 Compressor.
   SIN M64709

 Tennant Mod. 6400, Floor Sweeper.

 (2004) Sul1air Mod. SR-800, Refrig. Air Dryer.
     SIN 2612320002

 (2) l.R. Mod. SSR-EP60, 60 H.P. Rotary Screw Ai
 Compressors.
    S/NCA4161UI 1018 (201 l)
    SIN CA41 l IU10293 (2010)

 (2010) 1.R. Mod. IR.N60II-CC, 60 H.P. Rotary Screw A"
 Compressor.
    SIN NU3820U10295

 (3) Vert. Air Receivers.

 Motion Industries .Port. Hyd. Oil Filters Pump Unit.

 Delco Mnrk 2000, Steam     Clean~r.



               YARD & ROLLlNGSTOCK

 (77) Sects. Dbl. Sided Cantilever Racks.

 (l O) Sects. Cantilever Racks.

 (2) Cooling Towers.
    SIN GA2754
    SINN/A

 12' x 20' Port. Office.

 12' x 40' Port. Office.




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  (2) 40' Storage Containers.

  (8) Port. Dump Bins.

  Mark Industries Mod. 80C4X4, Telescoping Boo1.
  Manlift.
       SIN   A90~M4688


 (2004) Ford F250, Ext. Cab. Pick-Up Truck.
    Vin. #EA34572
    Lie. #7M34896

 *(2003) International.
    Vin. #11080

 *(2002) Jnternational.
    Vin. #52189

 (2) EZ-Go Electric Golf Carts w/ Chargers.

 EZ-Go Truck Type Electric Utility Cart w/ Charger.

 Taylor-Dunn 3-Wheel Elec. Utility Cart.

 Hyster Mod. H80E, 8000 Lb. L.P .G. Forklift.
 ff20 SIN DOOSDO l 693D

 Hyster Mod. H40XL, 4000 Lb. L.P.G. Forklift.
 #25 SIN A 177B 143356

 Hyster Mod. S l 50A, 13,500 Lb. L.P .G. Forklift.
 #30 S!N A024DOS164D

 *Hyster Mod. H60JS, 7500 Lb. L.P.G. Forklift.
 #35     SIN F003D02538D

 Cat Mod. 6C60K, 14000 Lb. L.P.G. Forklift.
    SIN AT8900766

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 Hyster Mod. Ht lOE, l IOOO Lb. L.P.G. Forklift.
 #75 SfN D004D11057Y

 Hyster Mod. S30MX, 2600 Lb. L.P.G. Forklift.
 #45 SIN COIOH02348

 Hyster Mod. H25XL, 3000 Lb. L.P.G. Forklift.
 #65    S/N COOIB02044E

 Taylor Mod. TY4SWOS, 45000 Lb. L.P.G. Forklift.
 #50 SIN 11-383-101-21

 Hyster 8000 Lb. L.P .G. Forklift.

 Yale 3000 Lb. L.P .G. Forklift.
 #70    SIN A809Nl l326Y


                      BUILDING#B

 DoAU Mod. 36-2, 36" Vert. Baud Saw w/ Blade Welder.

    SIN 52-57404

 Apex 16'' Disc (}rinder.

 Craftsman Ped. Drill Press.

 Bridgeport 1 1/2 H.P. V.S. Vert. Mill.
    SIN 170756

 Wolverine Bronze Co. 1 x 94" x 144" Steel Layou
                            11


 Table.
   SfN W/S-0226&

 Jet Mod. 1024PY, 10" x 24" Toolroom Lathe.
     SIN H81-J0-195


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 2" x 36" x 240" Steel Layout Table.

 (2) 14" x 72" x 96° Granite Surface Plates.

 10" x 48" x 46" Grar1ite Surface Plate.

 (8) Cad Cam Stations.

 HP Design:jet Mod. I055CM, Printer.

 Linco]n Mod. CN655, 650 Amp. Arc Welder w/ Wir
 Feed.

 1 Ton Jib Hoist.


                      BUILDING#C

 Cincirmati Mod. 3FL, 20' x 3/4"' Hyd. Sheet Metal Shear
 F.O.P.B.G ..
    SIN NIA

 Vacu-Lift 3200 Lb. Vacuum Plate Hoist Clmnp.

 Delta 10" Unisaw Table Saw.

 DeWttlt Radial Arm Saw.

 (12) Sects. Cantilever Rack.

 (4) l Ton Bridge Cranes, 35' Span.


                     BUILDING #E

 Heco Dual Girder Bridge Crane, 50 Ton & 20 To
 Hoists, 90' Spun.
   SIN 1899R




                                               Exhibit "4"
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  Heco Dual Girder Bridge Crane, 35 Ton & 15· To
  Hoists, 90' Span.
    SIN 18'99R

 °Cyril Bath Mod. VTL-1000, 1250 Ton CNC Stretc
 Press, (28) Individual Prog. Axis & Feedback Servos
 Tension/Strain Control & Tangency Sensors, 170" x 56
 Sheet Cap., S Jaws, Curvature 55" Radius Min. x 70'
 Width, 14" Dia. Extrusion Jaws, SO' Max Part Ltlll
 Strong Back For Bullnose & Deep Drawforming, 1
 Degree Jaw Oscillation, 15 Degree Yoke Oscillation, 3
 Degree Jaw Rotation, 90 Degree Horiz. To Vert. Yo
 Angulation, 24" Tension Cyl. Stroke, (3) Die Tables
 2250 Ton In Tandem Cap., 152" Stmke, 15 Degree Tilt, ·
 Position Center Die Table, Transverse & Longitudina
 lOOO Ton Thrust. (2) Poutboard Die Tables, 750 To
 Thrust Each, 400 Ton Bulldozer, 60" Stroke.
    S/NM-9200

                     BUILDING#D

 (1983) Hassleholms Mod. PS255, 22 1 x 12 Ga. Pyrami
 Rolls.
    SIN 833084

 Chicago Mod. 13 J, 48 11 x 1&Ga. Power Press Brake.
   SIN 6W-!0098

 Niagara 84" Sheet Metal Rolls.
    SINN/A

 Webb 6' Primary Bending Rolls.

 (1986) Roundo Mod. R-4-S, 4" x 4" x 1/2" Vert. Angl
 Rolls.
    SIN 863818

 F.A. Nugier Mod. Hl 50-MD, 150 Ton H-Frame Press.
    SIN 1250

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  Pneu. Punch.

  Marchant Mod. H-30,          Sheet Metal       Shrinking
  Stretching Machine.
     SINN/A

  Marchant Mod. 4-8, Sheet Metal Shrinking & Stretch:in
  Machine.
    SIN 44

 P.A. Nugicr Mod. H40, 40 Ton H-Frame Press.
    SIN 1188090

 Hot Press.

 1 Ton Cap. Bridge Crane, 25' Span.

 Pacific Mod. 400-24, 24' x 400 Ton Hyd. Press Brake.
   S/N 2701

 Pacific Mod. 400-32, 32' x 400 Ton Hyd. Press Brake.
   SIN 9939

 Bertsch Power Bencling Rolls, 37' x 26 1/2" Dia. Rolls.
   SINN/A

 (4) Small Hyd. C-Fra,e Presses For Stretchers.

 (2)   Large Byd. C-Frame Presses For Stertche1'8.

 (8) 5' x 8' Contour Inspection Test Fixtures.

 Misc. Stretchformer Parts. (Outside)

 "'Not Inspected & Not Installed Is The Cincinnati 5-Axi
 Gantry Milling Machine, 30' x 120" x 48" Travels. 2400
 RPM.




                                                     Exhibit "4"
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 Misc. Office Equipmenl & Furniture Including: Offic
 Suites: PC Computers; Laser Printers; Fax Machines.
 Copiers; Conference Room; HP DesignJet 1055CM Plu.
 Plotter; LAN System; Dell Poweredge 4200, 1400SC
 2400; (2) Racks.




                    -




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                                            Exhibit "4"
           Case 8:16-bk-10738-SC
                        Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                                                                   Desc
                       Main Document
UCC FINANCING STATEMENTAMENDMENT
                                        Page 165 of 180
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
 A. NAME & PHONE OF CONTACT AT FILER (optional]
                                                                                                                                  DELAWARE DEPARTMENT OF STATE
                                                                                                 3027341450                          U.C.C. FILING SECTION
B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                      FILED 02:55 PM 01/03/2013
                                                                                                                                 INITIAL FILING # 2012 3759836
                                                                                                                                 AMENDMENT      # 2013 0033051
           I   NATIONAL OORPORATE RESEARCH, LTD.
                                                                                                                                         SRV: 130010061

               615 S DUPONT HWY




           L.'.::>VE.R DE 19901
                                                                                                            _J
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                               1b.    This FINANCING STATEMENT AMENDMENT is
     2012 3759836                                                                                                                                  1   n   to be filed lior record] (or recorded) in the
                                                                                                                                                           REAL ESTATE RECORDS.
2.1 #I TERMINATION:            Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party authorizing this Termination Statement.

3.   LJ CONTINUATION:         Effectiveness of the Financing Statement identitied above with respect to security interest(s) of the Secured Party authorizing this Continuation Statement is
        continued for the additional period provided by applicable law.

4.       ASSIGNMENT (full or partial): Give name of assignee in item 7a or 7b and address of assignee in item 7c; and also give name of assignor in item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment affects                                                   Secured Party of record. Check only QM of these two boxes.
     Also check Qilll of the following three boxes ll!1'! provide appropriate information in items 6 and/or 7.
         CHANGE name and/or address: Give current record name in item 6a or 6b; also give new                    DELETE name: Give record name             ADD name: Complete item 7a or 7b, and also
         name if name chan e in item 7a or 7b and/or new address if address chan e in item 7c.                   to be deleted in item 6a or 6b.           item 7c· also com lete items 7d·7 if a licable.
6. CURRENT RECORD INFORMATION:
    6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                                   FIRST NAME                                          MIDDLE NAME                               SUFFIX



7. CHANGED (NEW) OR ADDED INFORMATION:
       7a. ORGANIZA TtON'S NAME


OR
       7b. INDIVIDUAL'S LAST NAME                                                               FIRST NAME                                          MIDDLE NAME                               SUFFIX



7c. MAILING ADDRESS                                                                             CITY                                                STATE      IPOSTAL CODE                   COUNTRY


                                                       I7e. TYPE OF ORGANIZATION                7f. JURISDICTION OF ORGANIZATION        I
                                                       I
8. AMENDMENT (COLLATERAL CHANGE): check only one box.
     Describe collateral   Ddeleted or Dadded, or give entireOrestated collateral description. or describe collateral             Oassigned.




9. NAME of SECURED PARTY of RECORD AUTifORIZING TIIlS AMENDMENT
       PACIFIC STANDARD EQUIPMi;:NT LEASING                        LLC
10. OPTIONAL FILER REFERENCE DATA
DE -      SOS; Debtor: PCA AEROSTRUCTURES OJMPANY

                                                                                                 Exhibit "4"
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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER [oplionaij                                                                          DELAWARE DEPARTMENT OF STATE
  KIMBERLEY A LATHROP                                          213-680-6400                                                U. C. C. FILING SECTION
 B. SEND ACKNOWLEDGMENT TO:               (Name and Address)                                                             FILED 06:49 PM 09/28/2012
                                                                                                                       INITIAL FILING # 2012 3759901
         IBINGHAM MCCUTCHEN LLP                                                                                                           SRV: 121082461
          355 South Grand A venue
          Los Angeles, CA 90071


         ~m berley .lathrop@bingham.com                                                     _J
                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S EXACTFULLLEGALNAME-1nsertonlyllllt:debtorname(1aor1b)-donotabbreviatoorcombinenames
     1a. ORGANIZATION'S NAME

     PCA AEROSTRUCTURES COMPANY
OR 1 b. INDIVIDUAL"S LAST NAME                                                                                            MIDDLE NAME                          SUFF•X
                                                                               FIRST NAME



1c. MAILING ADDRESS                                                            CllY                                          STATE   1POSTAL CODE              COUNTRY

 17800 Gothard Street                                                              Huntington Beach                          CA       92647
                                                                                                                                      1
                                                                                                                                                               us
1d. ~i; l!ilSIBLIS:<IIQtili   IADD'L INFO RE   11 •. ll'PE OF ORGANIZATION
                                                   Corporation
                                                                                   H JURISDICTION OF ORGANIZATION            1g. ORGANIZATIONAL ID#, •f any
                               ORGAN1ZAT10N
                               DEBTOR          I                               pelaware                                  I                                         nNONE
2 ADDITIONAL        DEBTOR'S EXACT FULL LEGAL NAME • •nsert only~ debtor namo (2a or 2b). do not abbrO\/late or eombine names
     2a. ORGANIZATION'S NAME

OR                                                                                                                                                             SUFFIX
     2b. INDIVIDUAL'S LAST NAME                                                FIRST NAME                                 MIDDLE NAME



2c. MAILING ADDRESS                                                            CITY                                       STATE      IPOSTAL CODE              COUNTRY



2d. :;i;i; ltiSIBUl<IIQl'JS   IADO'L INFO RE 12•. TYPE OF ORGANIZATION             21. JURISDICTION OF ORGANIZATION       2g. ORGANIZATIONAL 10 ti, if any
                               ORGANIZATION
                               DEBTOR        I                                 I                                         I                                        nNONE

J. SECURED PARTY'S NAME (arNAME ofTOTALASSIGNEEof ASSIGNOR SIP) - •noeitonly ll!lll;secured party name (3a or3b)
     3a. ORGANIZATION'S NAME
      PACIFIC STANDARD EQUIPMENT LEASING, LLC
OR                                                                                                                                                             SUFFIX
     3b. INDIVIDUAL'S LAST NAME                                                FIRST NAME                                 MIDDLE NAME



.3c MAILINGADORESS                                                             CITY                                       STATE      IPOSTALCODE               COUNTRY
c/o Vintage Fund Management, LLC, 11611 San Vicente Blvd., 10th Fir.           Los Angeles                                   CA       90049                    USA
4. Thi& FINANCING STATEMENT covers the following collateral:

 See Annex I (attached)




8. OPTIONAL FILER REFERENCE DATA

 Filed with: DE - Secretary of State                                                                                    2 pages attached               A#518435

FILING OFFICE COPY -            UCC FINANCING STATEMENT (FORM                u~N~i:\t'.°~S/22102)
Case 8:16-bk-10738-SC            Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                  Desc
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                                                  Annex J

   DEBTOR:                           PCA AEROSTRUCTURES COMPANY

   SECURED PARTY:                    PACIFIC STANDARD EQUIPMENT LEASING, LLC


          The Financing Statement covers all of the following property and interests in property of
   Debtor, whether now owned or existing or hereafter created or acquired or arising and
   wheresoever located:

              (a)   Accounts;

              (b)   Certificated Securities;

              (c)   Chattel Paper;

              (d)   Commercial Tort Claims;

          (e)      Computer Hardware and Software and all rights with respect thereto, including,
   any and all licenses, options, warranties, service contracts, program services, test rights,
   maintenance rights, support rights, improvement rights, renewal rights and indemnifications, and
   any substitutions, replacements, additions or model conversions of any of the foregoing;

              (f)   Contract Rights;

              (g)   Deposit Accounts;

              (h)   Documents;

              (i)   Electronic Chattel Paper;

              U)    Equipment;

              (k)   Financial Assets;

              (!)   Fixtures;

              (m)   General Intangibles, including Payment Intangibles and Software;

          (n)      Goods (including all of its Equipment, Fixtures and Inventory), and all accessions,
   additions, attachments, improvements, substitutions and replacements thereto and therefor;

              (o)   Instruments;

          (p)     Patents, patent applications, trademarks, trademark applications, copyrights,
   copyright applications, and all other intellectual property;
   A/40296l68.2




                                                Exhibit "4"
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             (q)   Inventory;

             (r)   Investment Property;

             (s)   Money (of every jurisdiction whatsoever);

             (t)   Letter-of-Credit Rights;

             (u)   Payment Intangibles;

             (v)   Security Entitlements;

             {w)   Software;

             (x)   Supporting Obligations;

             (y)   Uncertificated Securities; and

          (z)     to the extent not included in the foregoing, all other personal property of any kind
  or description;

  together with all books, records, writings, databases, information and other property relating to,
  used or useful in connection with, or evidencing, embodying, incorporating or referring to any of
  the foregoing; and all Proceeds, products, offspring, rents, issues, profits and returns of and from
  any of the foregoing; provided that the Collateral shall not include, and no security interest is
  hereby granted with respect to, that certain Kolb Varimat, 5 axis, single-spindle, high speed CNC
  Gantry type vertical mill machine owned by Aerostructures; and provided further that to the
  extent that the provisions of any license, permit, lease or contract expressly prohibit (which
  prohibition is enforceable under applicable law) any assignment thereof, and the grant of security
  interest therein, the Secured Party will not enforce the security interest in that Obligor's rights
  under such license, permit, lease or contract (other than in respect of the Proceeds thereof) for so
  long as such prohibition continues, it being understood that upon request of the Secured Party,
  such Obligor will in good faith use reasonable efforts to obtain consent for the creation of a
  security interest in favor of the Secured Party (and to enforcement by the Secured Party of such
  security interest) in the Obligor's rights under such license, permit, lease or contract.




  A140296l68.2




                                               Exhibit "4"
          Case 8:16-bk-10738-SC
                         Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                       Desc
UCC FINANCING STATEMENT Main Document    Page 169 of 180
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER [optional]
                                                                                                           DELAWARE DEPARTMENT OF STATE
                                                                          3027341450                          U.C.C. FILING SECTION
B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                               FILED 05:33 PM 09/10/2014
                                                                                                          INITIAL FILING # 2014 3624343
          I   NATIONAL CORPORATE RESEARCH, LTD.
                                                                                                                        SRV: 141164949

              615 S DUPONT HWY"




          ~OVER DE 19901
                                                                                      _J
1. DEBTOR'S EXACT FULL LEGAL NAME· insert only Qllil debtor name {1a or 1b) ·do not abbreviate or combine names
       1a. ORGANIZATION'S NAME
        PCA AEROSTRUCTURES COMPANY

OR 1b. INDIVIDUAL'S LAST NAME                                               FIRST NAME                                   MIDDLE NAME            SUFFIX



le. MAILING ADDRESS                                                         CITY                                         STATE   rOSTALCODE     COUNTRY
       17800 GOTHARD STREET                                                 HUNTINGTON                                     CA      92467         us
                                            11e. TYPE OF ORGANIZATION        1f. JURISDICTION OF ORGANIZATION



2. ADDITIONAL     DEBTOR'S EXACT FULL LEGAL NAME· insert only one debtor name (2a or 2b) ·do not abbreviate or combine names
      2a. ORGANIZATION'S NAME


OR                                                                          FIRST NAME                                   MIDDLE NAME            SUFFIX
      2b. INDIVIDUAL'S LAST NAME



2c. MAILING ADDRESS                                                         CITY                                         STATE   I
                                                                                                                                 POSTAL CODE    COUNTRY



                                            12e. TYPE OF ORGANIZATION       21. JURISDICTION OF ORGANIZATION


3.   SECURED PARTY'S NAME (or NAME ofTOTAL ASSIGNEE of ASSIGNOR SIP)· insert only -one secured party name (3a or 3b)
      3a. ORGANIZATION'S NAME

       GEMCAP LENDING I, LLC
OR
      3b. INDIVIDUAL'S LAST NAME                                            FIRST NAME                                   MIDDLE NAME            SUFFIX


3c. MAILING ADDRESS                                                         CITY                                        STATE    rOSTALCODE     COUNTRY

       24955 PACIFIC COAST HIGHWAY, SUI TE A202                             MALIBU                                        CA      90265          us
4. This FINANCING STATEMENT covers the following collateral:

        (i) All "Equipment", (as such term is defined in the Uniform Commercial Code as
        adopted in the State of California) , now owned or hereafter acquired by each
        Debtor, wherever located, and shall include, without limitation, the
        machinery and equipment set forth on Section 5.4(j) to the Borrower's
        Disclosure Schedule delivered to Secured Party, and all other equipment,
        machiner¥, furniture, Fixtures, computer equi~ment, telephone equipment, molds,
        tools, dies, partitions, toolin~, transportation equipment, all other
        tangible assets used in connection with the manufacture, sale or lease of goods
        or rendition of services, and each Debtor's interests in an¥ leased
        equipment, and all repairs, modifications, alterations, additions, controls and
        operating accessories, attachments and parts thereof or thereto, and all
        substitutions and replacements therefor; provided, that, equipment excludes
        molds that are owned by customers of each Debtor.
        (ii) All "Fixtures" (as such term is defined in the Uniform Commercial Code
        as adopted in the State of California) , now owned or hereafter acquired by each
        Debtor.


                                                                                                                                                      Debtor 2


      Filed with: DE - Secretary of State

                                                                             Exhibit "4"
      Case 8:16-bk-10738-SC                 Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32   Desc
                                           Main Document    Page 170 of 180
UCC FINANCING STATEMENT ADDENDUM - COLLATERAL
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
9. NAME OF FIRST DEBTOR (1a or lb) ON RELATED FINANCING STATEMENT
   9a. ORGANIZATION'S NAME
    PCA   AEROSTROCTURES COMPANY
OR1--~~~~~~~~~~~~~~~~~~~~~~~~~--1
   9b. INDIVIDUAL'S LAST NAME        IFIRST NAME              I MIDDLE NAME.SUFFIX



      This FINANCING STATEMENT covers the following collateral

(iii) All accessories, attachments, parts, equipment and repairs now or
hereafter attached or affixed to or used in connection with any of the property
described in (i) and (ii) above, and all substitutions and replacements
therefor.
(iv) All books and records relating to any of the above including, without
limitation, all purchase and sale agreements, invoices, statements,
correspondence, memoranda, and other data relating to the Collateral,
together with the ta~es, disks, diskettes and other data and software storage
media and devices, file cabinets or containers in or on which the foregoing are
stored (including any rights of each Debtor with respect to any of the
foregoing maintained witli or by any other person or entity).
(v) Any and all products and "Proceeds" (as such term is defined in the Uniform
Commercial Code as adopted in the State of California) of the above described
property in any form including, without limitation, all insurance claims,
warranty claims and proceeds and claims against third parties for loss or
destruction of or damage to any of the above described property.
    Case 8:16-bk-10738-SC Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                                                                                                 Desc
                          Main Document
UCC FINANCING STATEMENT AMENDMENT         Page 171 of 180
FOLLOW INSTRUCTIONS {front and back) CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER (optional]
                                                                                                                                  DELAWARE DEPARTMENT OF STATE
                                                                                                3027341450                           U.C.C. FILING SECTION
B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                      FILED 12:25 PM 06/02/2015
                                                                                                                                 INITIAL FILING # 2014 3624343
                                                                                                                                 AMENDMENT      # 2015 2331667
          I   NATIONAL CORPORATE RESEARCH, LTD.
                                                                                                                                         SRV: 150865016

              615 S. DUI'ONT HWY




           ~VER DE 19901
                                                                                                          _J
1a. INITIAL FINANCING STATEMENT FILE#                                                                                                                  1b.   This FINANCING STATEMENT AMENDMENT is

     2014 3624343                                                                                                                                  1   n     to be filed iior record] (or recorded) in the
                                                                                                                                                             REAL ESTATE RECORDS.
2.1 ITERMINATION:              Effectiveness of the Financing Statement identified above is terminated with respect to security interest(s) of the Secured Party authorizing this Termination Statement.

3.   DCONTINUATION:           E11ectiveness of the Financing Statement identified above with respect to security interest(s) of the Secured Party authorizing this Continuation Statement is
        continued for the additional period provided by applicable law.

4.       ASSIGNMENT (full or partial): Give name of assignee in item 7a or 7b and address of assignee in item 7c; and also give name of assignor in item 9.

5. AMENDMENT (PARTY INFORMATION): This Amendment affects                                                 Secured Party of record. Check only Q!lQ of these two boxes.
     Also check one of the following three boxes ll.DJ! provide appropriate information in items 6 and/or 7.
        CHANGE name and/or address: Give current record name in item 6a or 6b; also give new                   DELETE name: Give record name                 ADD name: Complete item 7a or lb, and also
        name if name chan e in item 7a or 7b and/or new address if address chan e in item 7c.                  to be deleted in item 6a or 6b.               item le· also com lete items 7d-l if a licable .
6. CURRENT RECORD INFORMATION:
    6a. ORGANIZATION'S NAME


OR 6b. INDIVIDUAL'S LAST NAME                                                                 FIRST NAME                                            MIDDLE NAME                               SUFFIX



7. CHANGED (NEW) OR ADDED INFORMATION:
       7a. ORGANIZATION'S NAME


OR
       7b. INDIVIDUAL'S LAST NAME                                                             FIRST NAME                                            MIDDLE NAME                               SUFFIX



le. MAILING ADDRESS                                                                           CITY                                                     STATE     IPOSTALCODE                  COUNTRY


                                                         l7e. TYPE OF ORGANIZATION            71. JURISDICTION OF ORGANIZATION          I
                                                         I
8. AMENDMENT (COLLATERAL CHANGE): check only one box.
     Describe collateral   [iil deleted   or   Dadded, or give entireOrestated collateral description. or describe collateral     Oassigned.




Collateral Description                         - please see attachment




9. NAME of SECURED PARTY of RECORD AlITHORJZING THIS AMENDMENT
     GEM::.AP LEND ING I   LLC
10. OPTIONAL FILER REFERENCE DATA

Filed      w/   DE-SOS; Debtor: PCA                   llEROSTRUCTURES COMPA

                                                                                               Exhibit "4"
Case 8:16-bk-10738-SC                   Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32     Desc
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     Qfy           Descrlptlo11

     J BA            (1979) ClNC1NNA"J1Mli..ACRON4-SPINDLE,3-AXIS
                     GANTRY MACHfNJt Cl!:IVn:n, VlCKF.R AC.RAMATIC 21011
                     CONTROi. CONVERSION, Gil' W. 120' BED. 30 JI.P., J600
                     Rl'fYI ..J.§:.WJDE SJN 4Jl879-QOGS

    l EA             {1981) CINCINNA.TI MILACRON 3-SPINDLE. 5.J\XlS
                     GANTRY MACH'.lNE CENTER. 60' llED.lZO" WIDTH, 30
                     l'.l,P •• 3600 RPM SPINDLE, AC 950 CONTROLS SIN 4318·81..
                    35

    2 Ea            (2) TRADEMARK 2 TON STAND AJ,ONE TRA VEl.LING
                    BJUDGE CRANES, 90' X 120' RATLS Wl SUPPORTS
                                           LSJN 260408

    I EA            KOMATSU MOD. FGSSSi-7.14-000 LB.LPG l'ORKLWfSJN
                    102310A

    I EA            CROWN MOD. RP3520-45, 4500 LD. F.LEC, FORKLlYfS
                    SIN'S 1Al1l8249. IAJ8823

    l EA            TOIUT DUST COLLECTOR.

   Half Of Total   CANTII,EVER & PALLET SHELVING.

    I P.A           (2006) sNK MOD PM-6ll, 3-SPINDl..F., 3·AX!S
                    GANTnY l'ROFlLER. FANUC lSiM CONTilOl,S, 70' X 12'
                    TABLE, 84" Y-TRAVEL, 865"XTRAVEL. ::?8" Z.TRAYt<;L,(IOOOOR PM, VACUUM
                    PUJvfP. SNN/A

   l EA             (2005)J,R. MOD. SSREPTOO, rnn H.l'.ROTARYSCREW AIR
                   ,_,_c...o. MPR£·SSOR WIDRYER SIN GK6929UOS333




                                                             Exhibit "4"
                           .
                 Case 8:16-bk-10738-SC            Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32              Desc
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                        Riddell Williams P.S.
                        Robert N. Amkraut, Bar No. 27412
                    2   1001 Fourth Avenue
                        Suite 4500
                    3   Seattle, WA 98154-1192
                        Telephone:    206.624.3600
                    4   Facsimile:    (206) 3 89-1708

                    5   Attorneys for Fuji Heavy Industries USA, Inc. (pro
                        hac vice application to be filed)
                    6

                    7

                    8                                  UNITED STATES BANKRUPTCY COURT

                    9                                  CENTRAL DISTRICT OF CALIFORNIA

                 10

                 11     PCA Aerostructures Company,                          Case No. 16-10738-SC

                 12                          Debtor,                         Chapter Number: 7

                 13                                                          DECLARATION OF SATOSHI
                                                                             KAWAZOE
                 14

                 15

                 16

                 17               I, Satoshi Kawazoe, declare as follows:

                 18            1. I make this Declaration based on personal knowledge and on records kept ir the ordinary

                 19               course of business. I am competent to testify about the following matters.

                 20            2. I am employed by Fuji Heavy Industries USA, Inc. ("FUSA") as its Procurement

                 21               Manager. FUSA is a subsidiary of Fuji Heavy Industries Ltd. ("FHI"), a Japanese

                 22               company.

                 23            3. FHI manufactures center wings for Boeing 777 aircraft. FHI must provide the center

                 24               wings to Boeing on an agreed schedule. A late delivery of the center wings could cause a

                 25               delay in the entire 777 production line.

                 26            4. FHI has been doing business with PCA Aerostructures Company ("PCA") for about 20

                 27               years. Among other things, PCA fabricates and finishes parts that are shipped to FHI and

                 28               ultimately become component parts of the center wings.
RIDDELL WILLIAMS
      P.S.              4812-8732-1134.03
                                                                                    DECLARATION OF SA TOSH! KAW AZOE
 ATTORNEYS AT LAW       65972.00001
     5F.ATTI E
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                    1        5. As of February 25, 2016, the date PCA filed its Chapter 7 bankruptcy petition, PCA was

                    2             working on eight (8) FHI purchase orders (the "Purchase Orders"). A list of the Purchase

                    3             Orders is attached to this Declaration as Exhibit A. The Purchase Orders are included in

                    4             Kintetsu World Express Sales, Inc.'s ("KSI") purchase order PCA-20150213REVO to

                    5             PCA attached to this Declaration as Exhibit B. KSI is FHI's agent. This work in process

                    6             ("WIP") was in various states of production, but all of it will require additional work. The

                    7             WIP requires further machining, painting, and other work.

                    8        6. Some of the WIP is currently in the possession of a third party subcontractor for PCA,

                    9             Metal Improvement Co., Inc. (also known as Curtiss-Wright). This WIP is referenced in

                 10               PCA purchaser order numbers 108609 and 108650.

                 11          7. The due dates for the Purchase Orders range from December 4, 2015 through February 12,

                 12               2016. Because the parts ordered under the Purchase Orders have still not been completed,

                 13               PCA has breached all of the Purchase Orders.

                 14          8. The total agreed price for the Purchase Orders listed above, if the work was completed on

                 15               time, is $107,428.

                 16          9. FHI will incur significant additional and unexpected expense to complete the WIP and to

                 17               ship it by air. FHI estimates that it will incur over $80,000 of these additional expenses.

                 18               These additional expenses do not include the possible cost to obtain WIP held by Metal

                 19               Improvement Co., who may assert a lien on WIP in its possession. This also does not

                 20               include FHI's significant administrative expenses and attorney's fees incurred in trying to

                 21               resolve issues relating to the WIP.

                 22          10. If FHI obtains control of the WIP, it will immediately seek to complete the WIP and ship

                 23               it to Japan by air freight. Because the WIP is in various states of incompletion, FHI does

                 24               not know precisely how long it will take to complete the WIP. Our best estimate is at

                 25               least 5 working days. To meet FHI production schedules, it is important to ship the WIP

                 26               by March 14, 2016.

                 27          11. FHI needs to complete the WIP, and ship it to Japan as soon as possible. A delay in

                 28               obtaining the WIP will delay center wing manufacturing, and ultimately delay Boeing's
RIDDELL WILLIAMS
      P.S.              4812-8732-1134 .03
 ATTORNEYS AT LAW       65972.00001
                                                                          -2-         DECLARATION OF SATOSHI KAW AZOE
     5f.ATTI E
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                                         777 production line. If the Boeing production line is delayed due to FHI's failure to

                           2             timely supply center wings, Boeing will have a large damages claim against FHI.

                           3             I declare under penalty of perjury that the foregoing is   true and correct.
                           4
                           5   Dated: March 4, 2016
                           6

                           7                                                        Satoshi Kawazoe           (/
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RI ODELL WILLIAMS
         P,S .                 4812-8732-1134.03
 tlilT()JOJIO'i!' AT LAW       65972.00001                                       -3-        DECLARATION OF SA TOSH! KA WAZOE
       SP.ATTI f.
Case 8:16-bk-10738-SC    Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32   Desc
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                             EXHIBIT A
                           Case 8:16-bk-10738-SC        Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32   Desc
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777 PCA Status Check List
                    KSI Ref.# 1                                   Ex-Fact
    FHI                                                FHI P.O.             PO
                                               P/N                 Due
    PO#          Issue#          PO#                   Due Date             Qty
                                                                   Date2
15009055    20150213      RO   50005000   111W2321-3    2/4/16    12/4/15     9
15009056    20150213      RO   50005001   111W2322-5    2/4/16    12/4/15     2
15009058    20150213      RO   50005003   111W2321-3    3/8/16    1/8/16      9
15009059    20150213      RO   50005004   111W2322-5    3/8/16    1/8/16      9
15009060 20150213 RO 50005005 111W2322-6                3/8/16    1/8/16      9
15009061 20150213 RO 50005006 111W2321-3               4/12/16    2/12/16     9
15009062 20150213 RO 50005007 111W2322-5               4/12/16    2/12/16     9
15009063 20150213 RO 50005008 111W2322-6               4/12/16    2/12/16     9




1
 KSI refers to FHl's agent, Kiutetsu World
Express Sales, Inc.
2
   This is the date the purchase order was due
from PCA.




4820-5435-7806
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                              EXHIBITB
Case 8:16-bk-10738-SC                     Doc 13 Filed 03/04/16 Entered 03/04/16 13:56:32                                          Desc
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            /<WE          Kintetsu World Express Sales Inc.                                 PURCHASE ORDER
           CNEE I BILL TO :                                                                      01\Dl:RDATE
            K!NTETSLJ WORL D EXPRESS SALES,INC,
            ...SUPPORT SALES DEPT.                                                                   2015f2/13
            5F, TDS MITA BLDG 2-7-13 MITA
            MINAT~U .    TOKYO , JAPAN                                               Issue#                PCA·20150213REVO

           MESSRS:                                                           TRADE TERMS:
            PCA Aet0struc.."ll.res Company                                               EXW YOUR FACILITY
            17800 GDlha1d Sires~ Huntinglon Beach, CA F:264T
                                                                             PAYMENT TERMS:
            ATTN; Mr. John Pruett                                                        NET45DAYS

          DELIVER TO:                                                        SHIP VIA:
            KllHETSU WORLD EXPRESSIU.S.A.), INC. Leng Beach Branch
            18450 SD. Wilmington AVG. Rancho Dortlh'IQIJ."JZ, CA902ZO                    Will.CALL
            TEU10.667-4500
            ATTN: Mr.Bo Hara
                                                                                                                       DELIVERY
                                                                                         UNIT PRICE     AMOUNT       REQUIREMENT
               PONO        ITEM NO                ITEM DESCRIPTION           UOM QTY        USS            USS          DATE




                          - -- ·                                                                                     ---
                                                     PLEASE REFER TO AITACHEO SHEET(Sl




                                                        SUB TTL                                         342.090.00
                                                                        GRAND TOTAL IN US DOLLAR :      342,090.00


          BASIC CONTRACT BETWEEN FHI AND YOUR COMPANY IS APPLIED.
          MOU FOR 201515 IN PROCESS OF CONCLUSION.
          DOCUMENT REQUIREMENT:
          - COC(CERTIFICATION OF CONFORMANCE) WILL BE REQUIRED ON ALL SHIPSET.
          ac REQUIREMENT:
          • FASOP-Q.011
          SPECIFICA.TION;
          - OPCCP# AMSl-1001
          PRODUCTION SOURCE INSPECTION:
          - WILL BE ANNOUNCED IF NECESSARY.
          FIRST ARTICLE INSPECTION (FA.I):
          - REQUIRED.

          PLEASE A.CKNOWLEDGE RECEIPT OF THIS PURCHASE ORDER BY SIGNING BELOW AND RETURNING IT TO US.




                                                                                          Kintetsu WMd E1<prass Sales Inc.
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     Kwe                                        Kintetsu World Express Sales Inc.

                                                                                                           Issue#: PCA-20150213REVO
                                                                            PURCHASE ORDER
                                                                                       DELIVERY
                                                             UNIT PRICE AMOUNT        REQUIRE ME
   No. PONO       ITEM NO    ITEM DESCRIPTION UOM QTY             US$         US$      NT DATE               NOTE         FHIPO
   H 600949!*-        - -3- l::eWER-WEB-GHeR.E>- EA-- i - 9 l---.:>.,7&M9- ~S&OD- ~1»511f)f}6 9PGGP.AMSf.'I O&             "000049 .
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                                                                                                                         2015/1214 OPCCP-AMSl-1001          15009055
    I! 50005001     111W2322-6    LOWER WEB CHORD EA                             J., ~..&    1 774.00       15.966.00    201611214 OPCCP·AMSl-1001          150090SS
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   10   50005003    111W2321-3    LOWER WEB CHORD EA                                   9     2,767.00       25,083.00    201611/B      OPCCP·AMSl·1001      15009058
   11   50005004    111W232Z-5    LOWER WEB CHORD EA                                   9     1,774.00       15,966.00    2016/118      OPCCP·AMSl·1001      15009059
   12   50005005    111W2322-6    LOWER WEB CHORD EA                                   9     1,774.00       15,966.00    2016/1/B      OPCCP·AMSl·1001      15009060
   13   50005006    111W2321-3    LOWER WEB CHORD EA                                   9     2,787.00       25.083.00   201612112      OPCCP-AMS1·1001      15009061
   14   50006007    111W2322-5    LOWER WEB CHORD EA                                   9     1.774.00       15,966.00   201612112      OPCCP·AMSl-1001      15009062
   15   50005008    111W2322-6    LOWER. WEB CHORD EA                                  9     1,774.00       15,966.00   201612112      OPCCP-AMSl-1001      15009063
   16   500060(19   111W2321-3    LOWER WEB CHORD EA                                   9     2.787.00       25.083.00   201613116      OPCCP-AMSl·1001      15009064
   17   50005010    111W2322-5    LOWER WEB CHORD EA                                   9     1 774.00       15.966.00   2016/3118      OPCCP·AMS1·1001      15009065
   18   50005011    111W2322-6    LOWER WEB CHORD EA                                  9      1.774.00       15.966.00   2016/3/16      OPCCP·AMSl-1001      15009066
                                          TOTAL                                     162                    342,090.00
